EXHIBIT 1
(Page 1 of 5)
(Page 2 of 5)
(Page 3 of 5)
(Page 4 of 5)
(Page 5 of 5)
EXHIBIT 2
EXHIBIT 3
EXHIBIT 4
EXHIBIT 5
SR497CR-01                     Nationstar Mortgage LLC                                 6/09/16   8:03:28
JLEI499A                     DETAIL TRANSACTION HISTORY                               JOB DT:    6/09/16




             Processing Options Selected:

                   1.           -              Loan Number Range

                   2. 000000 - 060916           Date Range

                   3. Y                         Output Type

                   4.                           Select State

                   5.                           Escrow Group Code

                   6.                           Message Code

                   7.                           Investor

                   8. 0000000                   Pool

                   9. Y                         Select only loans with Transactions

                  10. Y                         Include liquidated loans
SR497CR-02                                            Nationstar Mortgage LLC                                       6/09/16 8:03:28
JLEI499A                                            DETAIL TRANSACTION HISTORY                                     JOB DT:    6/09/16
                                                                                                                        PAGE:        1
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LOAN#                INV# EAQ    POOL#          INV LN#             NEXT DUE 2/01/16   INTEREST RATE 3.900    PRIN.BAL           .00
BORR1 RYSZARD KOZIKOWSKI         TYPE: 03-00 Conv/Unins    STATUS P TOT.DELQ       .00 SUSP-235B        .00   ESC.BAL            .00
BORR2 ADDL INFORMATION           MSGS: 56 65      #PMT D00000       P&I            .00 SUSP-SUBS        .00   ESC.ADV      4,983.70
PROP: 99 WILSON AVENUE           MAIL: 99 WILSON AVE                                   SUSP-HAZ         .00   TOT.PMT      3,266.50
                                                                        SRVFEES .02500 SUSP-FOR         .00   P&I          1,631.49
      AMITYVILLE NY 11701              AMITYVILLE       NY 11701        YDIFF   .00000 SUSP-MIS         .00   ESC.PMT      1,635.01
                                                                   INT PD TO 1/01/16   P&I SHORT        .00   CORP AD            .00
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---TRANSACTION----                           NEXT -AFTER TRANS.BALANCES-       TOTAL      ----------------APPLIED----------------- MISC.PMTS
NBR    DATE   CODE -----DESCRIPTION------    DUE   PRINCIPAL     ESCROW       AMOUNT       PRINCIPAL INTEREST   ESCROW SUSPENSE/CD &SRV.FEES

 316   6/08/16 1919 RECOVER ESCROW ADVANCE   2/16          .00        .00     858.00-            .00     .00    858.00-      .00
              S/F AD REF#
 315   6/08/16 1530 ESCROW DEPOSIT           2/16          .00     858.00     858.00             .00     .00    858.00       .00
              S/F AD REF#
 314   6/08/16 2643 ESCROW ADJ               2/16          .00        .00     858.00-            .00     .00    858.00-      .00
              S/F AD REF#
 313   6/07/16 1919 RECOVER ESCROW ADVANCE   2/16          .00     858.00        10.00-          .00     .00     10.00-      .00
              S/F AD REF#
 312   6/07/16 1530 ESCROW DEPOSIT           2/16          .00     868.00        10.00           .00     .00     10.00       .00
              S/F AD REF#
 311   6/07/16 2526 CORP ADVANCE ADJUST      2/16          .00     858.00        35.00           .00     .00       .00     35.00 26
              S/F AD REF#
 310   6/07/16 2526 CORP ADVANCE ADJUST      2/16          .00     858.00     300.00             .00     .00       .00    300.00 26
              S/F AD REF#
 309   6/07/16 2626 CORP ADVANCE ADJUST      2/16          .00     858.00     345.00-            .00     .00       .00    345.00-26
              S/F AD REF#
 308   6/06/16 1919 RECOVER ESCROW ADVANCE   2/16          .00     858.00     817.58-            .00     .00    817.58-      .00
              S/F WR REF#
 307   6/06/16 1530 ESCROW DEPOSIT           2/16          .00    1675.58     817.58             .00     .00    817.58       .00
              S/F WR REF#
 306   6/06/16 2643 ESCROW ADJ               2/16          .00     858.00    6669.28-            .00     .00   6669.28-      .00
              S/F AD REF# 0000
 305   6/06/16 19   ESCROW ADVANCE           2/16          .00    7527.28    6669.28             .00     .00   6669.28       .00
              S/F AD REF# 0000
 304   6/06/16 1550 HAZARD SFR   DEPOSIT     2/16          .00     858.00     858.00             .00     .00    858.00       .00
              S/F WR REF# 0000
 303   6/03/16 2576 CORP ADV NOCASH ADJ      2/16          .00        .00   69818.36             .00     .00       .00 69818.36 26
              S/F AD REF#
 302   6/03/16 2576 CORP ADV NOCASH ADJ      2/16          .00        .00   99999.99             .00     .00       .00 99999.99 26
              S/F AD REF#
 301   6/03/16 2626 CORP ADVANCE ADJUST      2/16          .00        .00   99999.99-            .00     .00       .00 99999.99-26
              S/F AD REF#
 300   6/03/16 2626 CORP ADVANCE ADJUST      2/16          .00        .00   69818.36-            .00     .00       .00 69818.36-26
              S/F AD REF#
 299   6/03/16 2526 CORP ADVANCE ADJUST      2/16          .00        .00   69818.36             .00     .00       .00 69818.36 26
              S/F AD REF#
 298   6/03/16 2526 CORP ADVANCE ADJUST      2/16          .00        .00   99999.99             .00     .00       .00 99999.99 26
              S/F AD REF#
 297   6/02/16 2676 CORP ADV NOCASH ADJ      2/16          .00        .00   69818.36-            .00     .00       .00 69818.36-26
              S/F AD REF# 0000
 296   6/02/16 2676 CORP ADV NOCASH ADJ      2/16          .00        .00   99999.99-            .00     .00       .00 99999.99-26
              S/F AD REF# 0000
 295   6/02/16 2676 CORP ADV NOCASH ADJ      2/16          .00        .00        35.00-          .00     .00       .00     35.00-26
SR497CR-02                                         Nationstar Mortgage LLC                                               6/09/16 8:03:28
JLEI499A                                         DETAIL TRANSACTION HISTORY                                             JOB DT:    6/09/16
                                                                                                                             PAGE:       2
---TRANSACTION----                          NEXT -AFTER TRANS.BALANCES-       TOTAL    ----------------APPLIED----------------- MISC.PMTS
NBR    DATE   CODE -----DESCRIPTION------   DUE   PRINCIPAL     ESCROW       AMOUNT     PRINCIPAL INTEREST   ESCROW SUSPENSE/CD &SRV.FEES

LOAN#                       CONTINUED

               S/F AD REF# 0000
 294    6/02/16 2676 CORP ADV NOCASH ADJ     2/16       .00        .00       300.00-          .00      .00       .00    300.00-26
               S/F AD REF# 0000
 293    6/02/16 2576 CORP ADV NOCASH ADJ     2/16       .00        .00       345.00           .00      .00       .00    345.00 26
               S/F AD REF# 0000
 292    6/01/16 3103 PAYOFF NOCASH           2/16       .00        .00    396242.80     396242.80      .00       .00       .00
               S/F SR REF#
 291    6/01/16 1919 RECOVER ESCROW ADVANCE 2/16 396242.80         .00      6669.28-          .00      .00   6669.28-      .00
               S/F SR REF#
 290    6/01/16 2543 ESCROW ADJ              2/16 396242.80    6669.28      6669.28           .00      .00   6669.28       .00
               S/F SR REF#
 289    6/01/16 2576 CORP ADV NOCASH ADJ     2/16 396242.80        .00     69818.36           .00      .00       .00 69818.36 26
               S/F AD REF# 0000
 288    6/01/16 2576 CORP ADV NOCASH ADJ     2/16 396242.80        .00     99999.99           .00      .00       .00 99999.99 26
               S/F AD REF# 0000
 287    6/01/16 2676 CORP ADV NOCASH ADJ     2/16 396242.80        .00       345.00-          .00      .00       .00    345.00-26
               S/F AD REF# 0000
 286    6/01/16 2576 CORP ADV NOCASH ADJ     2/16 396242.80        .00        35.00           .00      .00       .00     35.00 26
               S/F AD REF# 0000
 285    6/01/16 2576 CORP ADV NOCASH ADJ     2/16 396242.80        .00       300.00           .00      .00       .00    300.00 26
               S/F AD REF# 0000
 284    5/18/16 6036 TOWN TAX      DISBURSED 2/16 396242.80        .00      6669.28-          .00      .00   6669.28-      .00
               PAYEE 36NY0GI #0005115021 DUE 5/31/16
               S/F SC REF# 0005115021
 283    5/18/16 1936 TOWN TAX      ADVANCE   2/16 396242.80    6669.28      6669.28           .00      .00   6669.28       .00
               S/F SC REF# 0005115021
 282    4/28/16 2626 CORP ADVANCE ADJUST     2/16 396242.80        .00        35.00-          .00      .00       .00     35.00-26
               S/F TR REF#
 281    4/28/16 2626 CORP ADVANCE ADJUST     2/16 396242.80        .00       300.00-          .00      .00       .00    300.00-26
               S/F TR REF#
 280    4/28/16 2626 CORP ADVANCE ADJUST     2/16 396242.80        .00     69818.36-          .00      .00       .00 69818.36-26
               S/F TR REF#
 279    4/28/16 2626 CORP ADVANCE ADJUST     2/16 396242.80        .00     99999.99-          .00      .00       .00 99999.99-26
               S/F TR REF#
 278    4/28/16 2526 CORP ADVANCE ADJUST     2/16 396242.80        .00       345.00           .00      .00       .00    345.00 26
               S/F TR REF#
 277    4/28/16 8199 NEW INV EAQ/0000001     2/16 396242.80        .00    396242.80-    396242.80-     .00       .00       .00
               S/F TR REF#
 276    4/28/16 3199 OLD INV ASD/0000004     2/16       .00        .00    396242.80     396242.80      .00       .00       .00
               S/F TR REF#
 275    4/28/16 2526 CORP ADVANCE ADJUST     2/16 396242.80        .00        35.00           .00      .00       .00     35.00 26
               S/F TR REF#
 274    4/28/16 2526 CORP ADVANCE ADJUST     2/16 396242.80        .00       300.00           .00      .00       .00    300.00 26
               S/F TR REF#
 273    4/28/16 2526 CORP ADVANCE ADJUST     2/16 396242.80        .00     69818.36           .00      .00       .00 69818.36 26
               S/F TR REF#
 272    4/28/16 2526 CORP ADVANCE ADJUST     2/16 396242.80        .00     99999.99           .00      .00       .00 99999.99 26
               S/F TR REF#
 271    4/28/16 2626 CORP ADVANCE ADJUST     2/16 396242.80        .00       345.00-          .00      .00       .00    345.00-26
               S/F TR REF#
 270    4/08/16 6226 CORP ADV DISB           2/16 396242.80        .00       300.00-          .00      .00       .00    300.00-26
SR497CR-02                                         Nationstar Mortgage LLC                                               6/09/16 8:03:28
JLEI499A                                         DETAIL TRANSACTION HISTORY                                             JOB DT:    6/09/16
                                                                                                                             PAGE:       3
---TRANSACTION----                          NEXT -AFTER TRANS.BALANCES-      TOTAL     ----------------APPLIED----------------- MISC.PMTS
NBR    DATE   CODE -----DESCRIPTION------   DUE   PRINCIPAL     ESCROW      AMOUNT      PRINCIPAL INTEREST   ESCROW SUSPENSE/CD &SRV.FEES

LOAN#                       CONTINUED

               PAYEE 61PIROS #0001471545 DUE 4/07/16
               S/F SC REF# 0001471545
 269    4/08/16 6226 CORP ADV DISB           2/16 396242.80        .00        35.00-          .00      .00      .00     35.00-26
               PAYEE 61PIROS #0001471545 DUE 4/07/16
               S/F SC REF# 0001471545
 268    3/31/16 2664 NON CASH FEE ADJ       11/08 396242.80        .00        40.17-          .00      .00      .00       .00      40.17-01
               S/F D   REF#
 267    3/31/16 2664 NON CASH FEE ADJ       11/08 396242.80        .00        40.17-          .00      .00      .00       .00      40.17-01
               S/F C   REF#
 266    3/31/16 2664 NON CASH FEE ADJ       11/08 396242.80        .00        40.17-          .00      .00      .00       .00      40.17-01
               S/F C   REF#
 265    3/31/16 2664 NON CASH FEE ADJ       11/08 396242.80        .00        40.17-          .00      .00      .00       .00      40.17-01
               S/F C   REF#
 264    3/31/16 2664 NON CASH FEE ADJ       11/08 396242.80        .00        40.17-          .00      .00      .00       .00      40.17-01
               S/F C   REF#
 263    3/31/16 5691 Decrease UPB - Non Cas 11/08 396242.80        .00    79818.35       79818.35      .00      .00       .00
               S/F CM REF#
 262    3/31/16 5691 Decrease UPB - Non Cas 11/08 476061.15        .00    90000.00       90000.00      .00      .00       .00
               S/F CM REF#
 261    3/31/16 5676 Inc Corp Adv Deferred 11/08 566061.15         .00    79818.35-           .00      .00      .00 79818.35-26
               S/F CM REF#
 260    3/31/16 5676 Inc Corp Adv Deferred 11/08 566061.15         .00    90000.00-           .00      .00      .00 90000.00-26
               S/F CM REF#
 259    3/31/16 5591 Increase UPB - Non Cas 11/08 566061.15        .00    10709.73-      10709.73-     .00      .00       .00
               S/F CM REF#
 258    3/31/16 5591 Increase UPB - Non Cas 11/08 555351.42        .00    90000.00-      90000.00-     .00      .00       .00
               S/F CM REF#
 257    3/31/16 5591 Increase UPB - Non Cas 11/08 465351.42        .00    90000.00-      90000.00-     .00      .00       .00
               S/F CM REF#
 256    3/31/16 5591 Increase UPB - Non Cas 11/08 375351.42        .00    90000.00-      90000.00-     .00      .00       .00
               S/F CM REF#
 255    3/31/16 5576 DecCorp Adv Deferred I 11/08 285351.42        .00      345.00            .00      .00      .00    345.00 26
               S/F CM REF#
 254    3/31/16 5576 DecCorp Adv Deferred I 11/08 285351.42        .00    52562.01            .00      .00      .00 52562.01 26
               S/F CM REF#
 253    3/31/16 5576 DecCorp Adv Deferred I 11/08 285351.42        .00      771.00            .00      .00      .00    771.00 26
               S/F CM REF#
 252    3/31/16 5576 DecCorp Adv Deferred I 11/08 285351.42        .00        80.00           .00      .00      .00     80.00 26
               S/F CM REF#
 251    3/31/16 5576 DecCorp Adv Deferred I 11/08 285351.42        .00      610.00            .00      .00      .00    610.00 26
               S/F CM REF#
 250    3/31/16 5576 DecCorp Adv Deferred I 11/08 285351.42        .00      770.00            .00      .00      .00    770.00 26
               S/F CM REF#
 249    3/31/16 5576 DecCorp Adv Deferred I 11/08 285351.42        .00     3782.50            .00      .00      .00   3782.50 26
               S/F CM REF#
 248    3/31/16 5692 Decrease Int - Non Cas 11/08 285351.42        .00    62573.84-           .00 62573.84-     .00       .00
               S/F CM REF#
 247    3/31/16 5692 Decrease Int - Non Cas 11/08 285351.42        .00    90000.00-           .00 90000.00-     .00       .00
               S/F CM REF#
 246    3/31/16 5599 LOAN MODIFICATION      11/08 285351.42        .00    62573.84            .00 62573.84      .00       .00
               S/F CM REF#
SR497CR-02                                         Nationstar Mortgage LLC                                               6/09/16 8:03:28
JLEI499A                                         DETAIL TRANSACTION HISTORY                                             JOB DT:    6/09/16
                                                                                                                             PAGE:       4
---TRANSACTION----                          NEXT -AFTER TRANS.BALANCES-      TOTAL     ----------------APPLIED----------------- MISC.PMTS
NBR    DATE   CODE -----DESCRIPTION------   DUE   PRINCIPAL     ESCROW      AMOUNT      PRINCIPAL INTEREST   ESCROW SUSPENSE/CD &SRV.FEES

LOAN#                     CONTINUED

 245  3/31/16 5599 LOAN MODIFICATION      11/08 285351.42          .00    90000.00            .00 90000.00        .00        .00
             S/F CM REF#
 244 3/31/16 1919 RECOVER ESCROW ADVANCE 11/08 285351.42           .00    69215.38-           .00       .00 69215.38-        .00
             S/F CM REF#
 243 3/31/16 2593 ESCROW       NOCASH ADJ 11/08 285351.42     69215.38    69215.38            .00       .00 69215.38         .00
             S/F CM REF#
 242 3/31/16 1919 RECOVER ESCROW ADVANCE 11/08 285351.42           .00      784.62-           .00       .00    784.62-       .00
             S/F CM REF#
 241 3/31/16 1530 ESCROW DEPOSIT          11/08 285351.42       784.62      784.62            .00       .00    784.62        .00
             S/F CM REF#
 240 3/31/16 2624 FORBEARANCE ADJ         11/08 285351.42          .00      784.62-           .00       .00       .00     784.62-24
             S/F CM REF#
 239 12/16/15 2626 CORP ADVANCE ADJUST    11/08 285351.42          .00    14745.37-           .00       .00       .00 14745.37-26
             S/F AD REF# 0000
 238 12/16/15 1919 RECOVER ESCROW ADVANCE 11/08 285351.42          .00    14745.37-           .00       .00 14745.37-        .00
             S/F AD REF# 0000
 237 12/16/15 1530 ESCROW DEPOSIT         11/08 285351.42     14745.37    14745.37            .00       .00 14745.37         .00
             S/F AD REF# 0000
 236 12/15/15 6036 TOWN TAX     DISBURSED 11/08 285351.42          .00     6669.29-           .00       .00   6669.29-       .00
             PAYEE 36NY0GI #0004509414 DUE 1/31/16
             S/F SC REF# 0004509414
 235 12/15/15 1936 TOWN TAX     ADVANCE   11/08 285351.42      6669.29     6669.29            .00       .00   6669.29        .00
             S/F SC REF# 0004509414
 234 12/07/15 6051 FLOOD SFR    DISBURSED 11/08 285351.42          .00     2152.75-           .00       .00   2152.75-       .00
             PAYEE 5126309 #12072015IN DUE 10/19/15
             S/F WR REF# 12072015INS
 233 12/07/15 1951 FLOOD SFR    ADVANCE   11/08 285351.42      2152.75     2152.75            .00       .00   2152.75        .00
             S/F WR REF# 12072015INS
 232 11/30/15 1408 ZZZZF-E PAY FEE        11/08 285351.42          .00        19.00           .00       .00       .00        .00      19.00 08
             S/F C   REF#
 231 11/30/15 1499 ZZZZF-E PAY FEE        11/08 285351.42          .00        19.00           .00       .00       .00        .00      19.00 08
             S/F     REF#
 230 11/30/15 1919 RECOVER ESCROW ADVANCE 11/08 285351.42          .00      951.41-           .00       .00    951.41-       .00
             S/F SP REF#
 229 11/30/15 0116 PMT FROM FORB SUSP     11/08 285351.42       951.41     2959.89         253.20   1755.28    951.41    2959.89-R4   94.96 11
                             Int pd to: 10/01/08
             S/F SP REF#
 228 11/30/15 16   FORBEARANCE SUSPENSE   10/08 285604.62          .00     3221.43            .00       .00       .00    3221.43 24
             S/F SP REF#
 227 11/04/15 6225 MISC SUSP DISB         10/08 285604.62          .00        15.00-          .00       .00       .00      15.00-25
             PAYEE 63SSFSL #0004390827 DUE 10/30/15
             S/F SC REF# 0004390827
 226 11/02/15 1408 ZZZZF-E PAY FEE        10/08 285604.62          .00        19.00           .00       .00       .00        .00      19.00 08
             S/F C   REF#
 225 11/02/15 1499 ZZZZF-E PAY FEE        10/08 285604.62          .00        19.00           .00       .00       .00        .00      19.00 08
             S/F     REF#
 224 11/02/15 1919 RECOVER ESCROW ADVANCE 10/08 285604.62          .00      951.41-           .00       .00    951.41-       .00
             S/F SP REF#
 223 11/02/15 0116 PMT FROM FORB SUSP     10/08 285604.62       951.41     2959.89         251.66   1756.82    951.41    2959.89-R4   95.05 11
                             Int pd to: 9/01/08
             S/F SP REF#
SR497CR-02                                         Nationstar Mortgage LLC                                               6/09/16 8:03:28
JLEI499A                                         DETAIL TRANSACTION HISTORY                                             JOB DT:    6/09/16
                                                                                                                             PAGE:       5
---TRANSACTION----                          NEXT -AFTER TRANS.BALANCES-     TOTAL      ----------------APPLIED----------------- MISC.PMTS
NBR    DATE   CODE -----DESCRIPTION------   DUE   PRINCIPAL     ESCROW     AMOUNT       PRINCIPAL INTEREST   ESCROW SUSPENSE/CD &SRV.FEES

LOAN#                     CONTINUED

 222 11/02/15 16   FORBEARANCE SUSPENSE    9/08 285856.28          .00    3221.43             .00       .00       .00    3221.43 24
             S/F SP REF#
 221 11/02/15 2526 CORP ADVANCE ADJUST     9/08 285856.28          .00        15.00           .00       .00       .00      15.00 26
             S/F BT REF# 0000
 220 10/30/15 6226 CORP ADV DISB           9/08 285856.28          .00        15.00-          .00       .00       .00      15.00-26
             PAYEE 63SSFSL #0001433723 DUE 10/30/15
             S/F SC REF# 0001433723
 219 10/29/15 1325 PMT-MISC SUSP           9/08 285856.28          .00        15.00           .00       .00       .00      15.00 25
             S/F AD REF# 0000
 218 10/27/15 6226 CORP ADV DISB           9/08 285856.28          .00        15.00-          .00       .00       .00      15.00-26
             PAYEE 63SSFSL #0000000000 DUE 10/26/15
             S/F SC REF# 0000000000
 217 10/22/15 6050 HAZARD SFR    DISBURSED 9/08 285856.28          .00    2259.00-            .00       .00   2259.00-       .00
             PAYEE 50ASGHM #10222015IN DUE 10/19/15
             S/F WR REF# 10222015INS
 216 10/22/15 1950 HAZARD SFR    ADVANCE   9/08 285856.28      2259.00    2259.00             .00       .00   2259.00        .00
             S/F WR REF# 10222015INS
 215 10/01/15 1408 ZZZZF-E PAY FEE         9/08 285856.28          .00        19.00           .00       .00       .00        .00      19.00 08
             S/F C   REF#
 214 10/01/15 1499 ZZZZF-E PAY FEE         9/08 285856.28          .00        19.00           .00       .00       .00        .00      19.00 08
             S/F     REF#
 213 10/01/15 1919 RECOVER ESCROW ADVANCE 9/08 285856.28           .00     951.41-            .00       .00    951.41-       .00
             S/F SP REF#
 212 10/01/15 0116 PMT FROM FORB SUSP      9/08 285856.28       951.41    2959.89          250.12   1758.36    951.41    2959.89-R4   95.13 11
                              Int pd to: 8/01/08
             S/F SP REF#
 211 10/01/15 16   FORBEARANCE SUSPENSE    8/08 286106.40          .00    3221.43             .00       .00       .00    3221.43 24
             S/F SP REF#
 210 9/10/15 6226 CORP ADV DISB            8/08 286106.40          .00        15.00-          .00       .00       .00      15.00-26
             PAYEE 63SSFSL #0001423287 DUE 9/09/15
             S/F SC REF# 0001423287
 209 8/11/15 6226 CORP ADV DISB            8/08 286106.40          .00        15.00-          .00       .00       .00      15.00-26
             PAYEE 63SSFSL #0001416926 DUE 8/10/15
             S/F SC REF# 0001416926
 208 7/30/15 6226 CORP ADV DISB            8/08 286106.40          .00        45.00-          .00       .00       .00      45.00-26
             PAYEE 61KZYNM #0001413954 DUE 7/29/15
             S/F SC REF# 0001413954
 207 7/16/15 6226 CORP ADV DISB            8/08 286106.40          .00        15.00-          .00       .00       .00      15.00-26
             PAYEE 63SSFSL #0001410949 DUE 7/15/15
             S/F SC REF# 0001410949
 206 6/23/15 2526 CORP ADVANCE ADJUST      8/08 286106.40          .00        15.00           .00       .00       .00      15.00 26
             S/F BT REF# 0000
 205 6/22/15 6226 CORP ADV DISB            8/08 286106.40          .00        15.00-          .00       .00       .00      15.00-26
             PAYEE 63SSFSL #0001405303 DUE 6/19/15
             S/F SC REF# 0001405303
 204 6/03/15 6226 CORP ADV DISB            8/08 286106.40          .00        15.00-          .00       .00       .00      15.00-26
             PAYEE 63SSFSL #0001401595 DUE 6/02/15
             S/F SC REF# 0001401595
 203 5/18/15 6226 CORP ADV DISB            8/08 286106.40          .00        15.00-          .00       .00       .00      15.00-26
             PAYEE 63SSFSL #0001397834 DUE 5/15/15
             S/F SC REF# 0001397834
SR497CR-02                                         Nationstar Mortgage LLC                                               6/09/16 8:03:28
JLEI499A                                         DETAIL TRANSACTION HISTORY                                             JOB DT:    6/09/16
                                                                                                                             PAGE:       6
---TRANSACTION----                          NEXT -AFTER TRANS.BALANCES-      TOTAL     ----------------APPLIED----------------- MISC.PMTS
NBR    DATE   CODE -----DESCRIPTION------   DUE   PRINCIPAL     ESCROW      AMOUNT      PRINCIPAL INTEREST   ESCROW SUSPENSE/CD &SRV.FEES

LOAN#                      CONTINUED

 202  5/18/15 6036 TOWN TAX      DISBURSED 8/08 286106.40          .00     6518.56-           .00      .00   6518.56-       .00
             PAYEE 36NY0GI #0003767780 DUE 5/31/15
             S/F SC REF# 0003767780
 201 5/18/15 1936 TOWN TAX       ADVANCE     8/08 286106.40    6518.56     6518.56            .00      .00   6518.56        .00
             S/F SC REF# 0003767780
 200 4/10/15 6226 CORP ADV DISB              8/08 286106.40        .00        15.00-          .00      .00       .00      15.00-26
             PAYEE 63SSFSL #0001389488 DUE 4/09/15
             S/F SC REF# 0001389488
 199 3/23/15 2576 CORP ADV NOCASH ADJ        8/08 286106.40        .00        30.00           .00      .00       .00      30.00 26
             S/F AD REF# 0000
 198 3/19/15 6226 CORP ADV DISB              8/08 286106.40        .00        15.00-          .00      .00       .00      15.00-26
             PAYEE 63SSFSL #0001383214 DUE 3/18/15
             S/F SC REF# 0001383214
 197 2/17/15 6226 CORP ADV DISB              8/08 286106.40        .00        15.00-          .00      .00       .00      15.00-26
             PAYEE 63SSFSL #0001374478 DUE 2/13/15
             S/F SC REF# 0001374478
 196 2/04/15 6226 CORP ADV DISB              8/08 286106.40        .00        15.00-          .00      .00       .00      15.00-26
             PAYEE 63SSFSL #0001371764 DUE 2/03/15
             S/F SC REF# 0001371764
 195 1/12/15 6226 CORP ADV DISB              8/08 286106.40        .00        15.00-          .00      .00       .00      15.00-26
             PAYEE 63SSFSL #             DUE 11/14/14
             S/F WR REF#
 194 12/31/14 6226 CORP ADV DISB             8/08 286106.40        .00        15.00-          .00      .00       .00      15.00-26
             PAYEE 63SSFSL #0001363304 DUE 12/30/14
             S/F SC REF# 0001363304
 193 12/23/14 2626 CORP ADVANCE ADJUST       8/08 286106.40        .00    17863.68-           .00      .00       .00 17863.68-26
             S/F AD REF# 0000
 192 12/23/14 1919 RECOVER ESCROW ADVANCE 8/08 286106.40           .00    17863.68-           .00      .00 17863.68-        .00
             S/F AD REF# 0000
 191 12/23/14 1530 ESCROW DEPOSIT            8/08 286106.40   17863.68    17863.68            .00      .00 17863.68         .00
             S/F AD REF# 0000
 190 12/22/14 6036 TOWN TAX      DISBURSED 8/08 286106.40          .00     6518.57-           .00      .00   6518.57-       .00
             PAYEE 36NY0GI #0003319932 DUE 1/31/15
             S/F SC REF# 0003319932
 189 12/22/14 1936 TOWN TAX      ADVANCE     8/08 286106.40    6518.57     6518.57            .00      .00   6518.57        .00
             S/F SC REF# 0003319932
 188 12/15/14 6226 CORP ADV DISB             8/08 286106.40        .00        15.00-          .00      .00       .00      15.00-26
             PAYEE 63SSFSL #0001359921 DUE 12/12/14
             S/F SC REF# 0001359921
 187 12/03/14 6226 CORP ADV DISB             8/08 286106.40        .00     1032.50-           .00      .00       .00    1032.50-26
             PAYEE 61KZYNM #0001355932 DUE 12/02/14
             S/F SC REF# 0001355932
 186 10/23/14 6051 FLOOD SFR     DISBURSED 8/08 286106.40          .00     2250.00-           .00      .00   2250.00-       .00
             PAYEE 51ASGFM #10232014IN DUE 10/19/14
             S/F WR REF# 10232014INS
 185 10/23/14 1951 FLOOD SFR     ADVANCE     8/08 286106.40    2250.00     2250.00            .00      .00   2250.00        .00
             S/F WR REF# 10232014INS
 184 10/23/14 6050 HAZARD SFR    DISBURSED 8/08 286106.40          .00     2621.00-           .00      .00   2621.00-       .00
             PAYEE 50ASGHM #10232014IN DUE 10/19/14
             S/F WR REF# 10232014INS
 183 10/23/14 1950 HAZARD SFR    ADVANCE     8/08 286106.40    2621.00     2621.00            .00      .00   2621.00        .00
SR497CR-02                                         Nationstar Mortgage LLC                                               6/09/16 8:03:28
JLEI499A                                         DETAIL TRANSACTION HISTORY                                             JOB DT:    6/09/16
                                                                                                                             PAGE:       7
---TRANSACTION----                          NEXT -AFTER TRANS.BALANCES-      TOTAL     ----------------APPLIED----------------- MISC.PMTS
NBR    DATE   CODE -----DESCRIPTION------   DUE   PRINCIPAL     ESCROW      AMOUNT      PRINCIPAL INTEREST   ESCROW SUSPENSE/CD &SRV.FEES

LOAN#                      CONTINUED

             S/F WR REF# 10232014INS
 182 10/17/14 6226 CORP ADV DISB             8/08 286106.40        .00        15.00-          .00      .00       .00     15.00-26
             PAYEE 63SSFSL #             DUE 10/17/14
             S/F WR REF#
 181 9/30/14 6226 CORP ADV DISB              8/08 286106.40        .00        15.00-          .00      .00       .00     15.00-26
             PAYEE 63SSFSL #             DUE 9/30/14
             S/F WR REF#
 180 8/12/14 6226 CORP ADV DISB              8/08 286106.40        .00        15.00-          .00      .00       .00     15.00-26
             PAYEE 63SSFSL #             DUE 8/11/14
             S/F WR REF#
 179 7/24/14 6226 CORP ADV DISB              8/08 286106.40        .00        15.00-          .00      .00       .00     15.00-26
             PAYEE 63SSFSL #             DUE 7/23/14
             S/F WR REF#
 178 6/17/14 6226 CORP ADV DISB              8/08 286106.40        .00        15.00-          .00      .00       .00     15.00-26
             PAYEE 63SSFSL #             DUE 6/13/14
             S/F WR REF#
 177 6/13/14 6226 CORP ADV DISB              8/08 286106.40        .00        15.00-          .00      .00       .00     15.00-26
             PAYEE 63SSFSL #             DUE 6/11/14
             S/F WR REF#
 176 5/22/14 6226 CORP ADV DISB              8/08 286106.40        .00        15.00-          .00      .00       .00     15.00-26
             PAYEE 63SSFSL #             DUE 5/22/14
             S/F WR REF#
 175 5/19/14 6036 TOWN TAX       DISBURSED 8/08 286106.40          .00     6474.11-           .00      .00   6474.11-      .00
             PAYEE 36NY0GI #0002710816 DUE 5/31/14
             S/F SC REF# 0002710816
 174 5/19/14 1936 TOWN TAX       ADVANCE     8/08 286106.40    6474.11     6474.11            .00      .00   6474.11       .00
             S/F SC REF# 0002710816
 173 5/05/14 6226 CORP ADV DISB              8/08 286106.40        .00        15.00-          .00      .00       .00     15.00-26
             PAYEE 63SSFSL #             DUE 5/05/14
             S/F WR REF#
 172 4/30/14 6226 CORP ADV DISB              8/08 286106.40        .00        15.00-          .00      .00       .00     15.00-26
             PAYEE 63SSFSL #             DUE 4/30/14
             S/F WR REF#
 171 4/10/14 6226 CORP ADV DISB              8/08 286106.40        .00      400.00-           .00      .00       .00    400.00-26
             PAYEE 61KOZMC #0001285367 DUE 4/09/14
             S/F SC REF# 0001285367
 170 4/10/14 6226 CORP ADV DISB              8/08 286106.40        .00      600.00-           .00      .00       .00    600.00-26
             PAYEE 61KOZMC #0001285367 DUE 4/09/14
             S/F SC REF# 0001285367
 169 4/10/14 6226 CORP ADV DISB              8/08 286106.40        .00      610.00-           .00      .00       .00    610.00-26
             PAYEE 61KOZMC #0001285367 DUE 4/09/14
             S/F SC REF# 0001285367
 168 4/03/14 2626 CORP ADVANCE ADJUST        8/08 286106.40        .00    19952.96-           .00      .00       .00 19952.96-26
             S/F AD REF# 0000
 167 4/03/14 1919 RECOVER ESCROW ADVANCE 8/08 286106.40            .00    19952.96-           .00      .00 19952.96-       .00
             S/F AD REF# 0000
 166 4/03/14 1530 ESCROW DEPOSIT             8/08 286106.40   19952.96    19952.96            .00      .00 19952.96        .00
             S/F AD REF# 0000
 165 1/31/14 6226 CORP ADV DISB              8/08 286106.40        .00        12.00-          .00      .00       .00     12.00-26
             PAYEE 63CYPRE #0001266422 DUE 1/30/14
             S/F SC REF# 0001266422
SR497CR-02                                         Nationstar Mortgage LLC                                               6/09/16 8:03:28
JLEI499A                                         DETAIL TRANSACTION HISTORY                                             JOB DT:    6/09/16
                                                                                                                             PAGE:       8
---TRANSACTION----                          NEXT -AFTER TRANS.BALANCES-     TOTAL      ----------------APPLIED----------------- MISC.PMTS
NBR    DATE   CODE -----DESCRIPTION------   DUE   PRINCIPAL     ESCROW     AMOUNT       PRINCIPAL INTEREST   ESCROW SUSPENSE/CD &SRV.FEES

LOAN#                     CONTINUED

 164  1/17/14 6226 CORP ADV DISB           8/08 286106.40          .00     400.00-            .00      .00       .00    400.00-26
             PAYEE 61KOZMC #0001262638 DUE 1/16/14
             S/F SC REF# 0001262638
 163 1/17/14 6226 CORP ADV DISB            8/08 286106.40          .00     150.00-            .00      .00       .00    150.00-26
             PAYEE 61KOZMC #0001262638 DUE 1/16/14
             S/F SC REF# 0001262638
 162 1/17/14 6226 CORP ADV DISB            8/08 286106.40          .00        95.00-          .00      .00       .00     95.00-26
             PAYEE 61KOZMC #0001262638 DUE 1/16/14
             S/F SC REF# 0001262638
 161 1/17/14 6226 CORP ADV DISB            8/08 286106.40          .00        80.00-          .00      .00       .00     80.00-26
             PAYEE 61KOZMC #0001262638 DUE 1/16/14
             S/F SC REF# 0001262638
 160 1/17/14 6226 CORP ADV DISB            8/08 286106.40          .00     400.00-            .00      .00       .00    400.00-26
             PAYEE 61KOZMC #0001262638 DUE 1/16/14
             S/F SC REF# 0001262638
 159 1/08/14 6226 CORP ADV DISB            8/08 286106.40          .00        12.00-          .00      .00       .00     12.00-26
             PAYEE 63CYPRE #0001260045 DUE 1/07/14
             S/F SC REF# 0001260045
 158 12/26/13 6226 CORP ADV DISB           8/08 286106.40          .00        12.00-          .00      .00       .00     12.00-26
             PAYEE 63CYPRE #0001256858 DUE 12/24/13
             S/F SC REF# 0001256858
 157 12/23/13 6036 TOWN TAX      DISBURSED 8/08 286106.40          .00    6474.12-            .00      .00   6474.12-      .00
             PAYEE 36NY0GI #0002176995 DUE 1/31/14
             S/F SC REF# 0002176995
 156 12/23/13 1936 TOWN TAX      ADVANCE   8/08 286106.40      6474.12    6474.12             .00      .00   6474.12       .00
             S/F SC REF# 0002176995
 155 11/05/13 6226 CORP ADV DISB           8/08 286106.40          .00        12.00-          .00      .00       .00     12.00-26
             PAYEE 63SAFGD #0001243278 DUE 11/04/13
             S/F SC REF# 0001243278
 154 10/24/13 6051 FLOOD SFR     DISBURSED 8/08 286106.40          .00    2250.00-            .00      .00   2250.00-      .00
             PAYEE 51ASGFM #10242013IN DUE 10/19/13
             S/F WR REF# 10242013INS
 153 10/24/13 1951 FLOOD SFR     ADVANCE   8/08 286106.40      2250.00    2250.00             .00      .00   2250.00       .00
             S/F WR REF# 10242013INS
 152 10/24/13 6050 HAZARD SFR    DISBURSED 8/08 286106.40          .00    2621.00-            .00      .00   2621.00-      .00
             PAYEE 50ASGHM #10242013IN DUE 10/19/13
             S/F WR REF# 10242013INS
 151 10/24/13 1950 HAZARD SFR    ADVANCE   8/08 286106.40      2621.00    2621.00             .00      .00   2621.00       .00
             S/F WR REF# 10242013INS
 150 10/16/13 2676 CORP ADV NOCASH ADJ     8/08 286106.40          .00        15.00-          .00      .00       .00     15.00-26
   Effective date: 10/16/12
             S/F AD REF# 0000
 149 10/07/13 6226 CORP ADV DISB           8/08 286106.40          .00        12.00-          .00      .00       .00     12.00-26
             PAYEE 63SAFGD #0001235956 DUE 10/04/13
             S/F SC REF# 0001235956
 148 9/17/13 6226 CORP ADV DISB            8/08 286106.40          .00        12.00-          .00      .00       .00     12.00-26
             PAYEE 63SAFGD #0001230801 DUE 9/16/13
             S/F SC REF# 0001230801
 147 9/16/13 1499 ZZZZF-Late Charges       8/08 286106.40          .00        40.17           .00      .00       .00       .00      40.17 01
             S/F     REF#
 146 8/16/13 2664 NON CASH FEE ADJ         8/08 286106.40          .00        40.17-          .00      .00       .00       .00      40.17-01
SR497CR-02                                         Nationstar Mortgage LLC                                               6/09/16 8:03:28
JLEI499A                                         DETAIL TRANSACTION HISTORY                                             JOB DT:    6/09/16
                                                                                                                             PAGE:       9
---TRANSACTION----                          NEXT -AFTER TRANS.BALANCES-     TOTAL      ----------------APPLIED----------------- MISC.PMTS
NBR    DATE   CODE -----DESCRIPTION------   DUE   PRINCIPAL     ESCROW     AMOUNT       PRINCIPAL INTEREST   ESCROW SUSPENSE/CD &SRV.FEES

LOAN#                       CONTINUED

               S/F WC REF#
 145    8/16/13 1499 ZZZZF-Late Charges      8/08 286106.40        .00        40.17           .00      .00       .00      .00      40.17 01
               S/F     REF#
 144    7/24/13 6226 CORP ADV DISB           8/08 286106.40        .00        12.00-          .00      .00       .00    12.00-26
               PAYEE 63SAFGD #0001217575 DUE 7/22/13
               S/F SC REF# 0001217575
 143    7/16/13 2664 NON CASH FEE ADJ        8/08 286106.40        .00        40.17-          .00      .00       .00      .00      40.17-01
               S/F WC REF#
 142    7/16/13 1499 ZZZZF-Late Charges      8/08 286106.40        .00        40.17           .00      .00       .00      .00      40.17 01
               S/F     REF#
 141    6/19/13 6051 FLOOD SFR     DISBURSED 8/08 286106.40        .00     744.52-            .00      .00    744.52-     .00
               PAYEE 51ASGFM #06192013IN DUE 9/19/13
               S/F WR REF# 06192013INS
 140    6/19/13 1951 FLOOD SFR     ADVANCE   8/08 286106.40     744.52     744.52             .00      .00    744.52      .00
               S/F WR REF# 06192013INS
 139    6/19/13 6050 HAZARD SFR    DISBURSED 8/08 286106.40        .00     867.30-            .00      .00    867.30-     .00
               PAYEE 50ASGHM #06192013IN DUE 9/19/13
               S/F WR REF# 06192013INS
 138    6/19/13 1950 HAZARD SFR    ADVANCE   8/08 286106.40     867.30     867.30             .00      .00    867.30      .00
               S/F WR REF# 06192013INS
 137    6/17/13 2664 NON CASH FEE ADJ        8/08 286106.40        .00        40.17-          .00      .00       .00      .00      40.17-01
               S/F WC REF#
 136    6/17/13 1499 ZZZZF-Late Charges      8/08 286106.40        .00        40.17           .00      .00       .00      .00      40.17 01
               S/F     REF#
 135    5/29/13 6226 CORP ADV DISB           8/08 286106.40        .00        12.00-          .00      .00       .00    12.00-26
               PAYEE 63SAFGD #0001204769 DUE 5/28/13
               S/F SC REF# 0001204769
 134    5/22/13 6036 TOWN TAX      DISBURSED 8/08 286106.40        .00    6179.24-            .00      .00   6179.24-     .00
               PAYEE 36NY0GI #0001526670 DUE 5/31/13
               S/F SC REF# 0001526670
 133    5/22/13 1936 TOWN TAX      ADVANCE   8/08 286106.40    6179.24    6179.24             .00      .00   6179.24      .00
               S/F SC REF# 0001526670
 132    5/21/13 6051 FLOOD SFR     DISBURSED 8/08 286106.40        .00     186.14-            .00      .00    186.14-     .00
               PAYEE 51ASGFM #05212013IN DUE 5/19/13
               S/F WR REF# 05212013INS
 131    5/21/13 1951 FLOOD SFR     ADVANCE   8/08 286106.40     186.14     186.14             .00      .00    186.14      .00
               S/F WR REF# 05212013INS
 130    5/21/13 6050 HAZARD SFR    DISBURSED 8/08 286106.40        .00     216.83-            .00      .00    216.83-     .00
               PAYEE 50ASGHM #05212013IN DUE 5/19/13
               S/F WR REF# 05212013INS
 129    5/21/13 1950 HAZARD SFR    ADVANCE   8/08 286106.40     216.83     216.83             .00      .00    216.83      .00
               S/F WR REF# 05212013INS
 128    5/16/13 2664 NON CASH FEE ADJ        8/08 286106.40        .00        40.17-          .00      .00       .00      .00      40.17-01
               S/F WC REF#
 127    5/16/13 1499 ZZZZF-Late Charges      8/08 286106.40        .00        40.17           .00      .00       .00      .00      40.17 01
               S/F     REF#
 126    4/29/13 6226 CORP ADV DISB           8/08 286106.40        .00        12.00-          .00      .00       .00    12.00-26
               PAYEE 63SAFGD #0001198774 DUE 4/26/13
               S/F SC REF# 0001198774
 125    4/19/13 6051 FLOOD SFR     DISBURSED 8/08 286106.40        .00     186.14-            .00      .00    186.14-     .00
               PAYEE 51ASGFM #04192013IN DUE 4/19/13
SR497CR-02                                         Nationstar Mortgage LLC                                               6/09/16 8:03:28
JLEI499A                                         DETAIL TRANSACTION HISTORY                                             JOB DT:    6/09/16
                                                                                                                             PAGE:      10
---TRANSACTION----                          NEXT -AFTER TRANS.BALANCES-     TOTAL      ----------------APPLIED----------------- MISC.PMTS
NBR    DATE   CODE -----DESCRIPTION------   DUE   PRINCIPAL     ESCROW     AMOUNT       PRINCIPAL INTEREST   ESCROW SUSPENSE/CD &SRV.FEES

LOAN#                       CONTINUED

               S/F WR REF# 04192013INS
 124    4/19/13 1951 FLOOD SFR     ADVANCE   8/08 286106.40     186.14     186.14             .00      .00   186.14      .00
               S/F WR REF# 04192013INS
 123    4/19/13 6050 HAZARD SFR    DISBURSED 8/08 286106.40        .00     216.83-            .00      .00   216.83-     .00
               PAYEE 50ASGHM #04192013IN DUE 4/19/13
               S/F WR REF# 04192013INS
 122    4/19/13 1950 HAZARD SFR    ADVANCE   8/08 286106.40     216.83     216.83             .00      .00   216.83      .00
               S/F WR REF# 04192013INS
 121    4/16/13 2664 NON CASH FEE ADJ        8/08 286106.40        .00        40.17-          .00      .00      .00      .00      40.17-01
               S/F WC REF#
 120    4/16/13 1499 ZZZZF-Late Charges      8/08 286106.40        .00        40.17           .00      .00      .00      .00      40.17 01
               S/F     REF#
 119    3/31/13 6226 CORP ADV DISB           8/08 286106.40        .00        12.00-          .00      .00      .00    12.00-26
               PAYEE 63SAFGD #0001192941 DUE 3/29/13
               S/F SC REF# 0001192941
 118    3/19/13 6051 FLOOD SFR     DISBURSED 8/08 286106.40        .00     186.14-            .00      .00   186.14-     .00
               PAYEE 51ASGFM #03192013IN DUE 3/19/13
               S/F WR REF# 03192013INS
 117    3/19/13 1951 FLOOD SFR     ADVANCE   8/08 286106.40     186.14     186.14             .00      .00   186.14      .00
               S/F WR REF# 03192013INS
 116    3/19/13 6050 HAZARD SFR    DISBURSED 8/08 286106.40        .00     216.83-            .00      .00   216.83-     .00
               PAYEE 50ASGHM #03192013IN DUE 3/19/13
               S/F WR REF# 03192013INS
 115    3/19/13 1950 HAZARD SFR    ADVANCE   8/08 286106.40     216.83     216.83             .00      .00   216.83      .00
               S/F WR REF# 03192013INS
 114    3/18/13 1499 ZZZZF-Late Charges      8/08 286106.40        .00        40.17           .00      .00      .00      .00      40.17 01
               S/F     REF#
 113    3/07/13 2526 CORP ADVANCE ADJUST     8/08 286106.40        .00        35.00           .00      .00      .00    35.00 26
               S/F AD REF#
 112    3/07/13 2626 CORP ADVANCE ADJUST     8/08 286106.40        .00        35.00-          .00      .00      .00    35.00-26
               S/F AD REF#
 111    3/01/13 6226 CORP ADV DISB           8/08 286106.40        .00        12.00-          .00      .00      .00    12.00-26
               PAYEE 63SAFGD #0001186816 DUE 2/28/13
               S/F SC REF# 0001186816
 110    2/20/13 6051 FLOOD SFR     DISBURSED 8/08 286106.40        .00     186.14-            .00      .00   186.14-     .00
               PAYEE 51ASGFM #02202013IN DUE 2/19/13
               S/F WR REF# 02202013INS
 109    2/20/13 1951 FLOOD SFR     ADVANCE   8/08 286106.40     186.14     186.14             .00      .00   186.14      .00
               S/F WR REF# 02202013INS
 108    2/20/13 6050 HAZARD SFR    DISBURSED 8/08 286106.40        .00     216.83-            .00      .00   216.83-     .00
               PAYEE 50ASGHM #02202013IN DUE 2/19/13
               S/F WR REF# 02202013INS
 107    2/20/13 1950 HAZARD SFR    ADVANCE   8/08 286106.40     216.83     216.83             .00      .00   216.83      .00
               S/F WR REF# 02202013INS
 106    2/04/13 6226 CORP ADV DISB           8/08 286106.40        .00        12.00-          .00      .00      .00    12.00-26
               PAYEE 63SAFGD #0001181238 DUE 2/01/13
               S/F SC REF# 0001181238
 105    1/29/13 6051 FLOOD SFR     DISBURSED 8/08 286106.40        .00     760.92-            .00      .00   760.92-     .00
               PAYEE 51ASGFM #01292013IN DUE 1/19/13
               S/F WR REF# 01292013INS
 104    1/29/13 1951 FLOOD SFR     ADVANCE   8/08 286106.40     760.92     760.92             .00      .00   760.92      .00
SR497CR-02                                         Nationstar Mortgage LLC                                               6/09/16 8:03:28
JLEI499A                                         DETAIL TRANSACTION HISTORY                                             JOB DT:    6/09/16
                                                                                                                             PAGE:      11
---TRANSACTION----                          NEXT -AFTER TRANS.BALANCES-     TOTAL      ----------------APPLIED----------------- MISC.PMTS
NBR    DATE   CODE -----DESCRIPTION------   DUE   PRINCIPAL     ESCROW     AMOUNT       PRINCIPAL INTEREST   ESCROW SUSPENSE/CD &SRV.FEES

LOAN#                     CONTINUED

             S/F WR REF# 01292013INS
 103  1/28/13 6226 CORP ADV DISB           8/08 286106.40          .00        12.00-          .00      .00       .00    12.00-26
             PAYEE 63SAFGD #0001179661 DUE 1/22/13
             S/F SC REF# 0001179661
 102 1/03/13 6050 HAZARD SFR     DISBURSED 8/08 286106.40          .00     886.38-            .00      .00    886.38-     .00
             PAYEE 50ASGHM #01032013ID DUE 1/19/13
             S/F WR REF# 01032013IDE
 101 1/03/13 1950 HAZARD SFR     ADVANCE   8/08 286106.40       886.38     886.38             .00      .00    886.38      .00
             S/F WR REF# 01032013IDE
 100 12/19/12 6036 TOWN TAX      DISBURSED 8/08 286106.40          .00    6179.24-            .00      .00   6179.24-     .00
             PAYEE 36NY0GI #0001245482 DUE 1/31/13
             S/F SC REF# 0001245482
  99 12/19/12 1936 TOWN TAX      ADVANCE   8/08 286106.40      6179.24    6179.24             .00      .00   6179.24      .00
             S/F SC REF# 0001245482
  98 12/17/12 1499 ZZZZF-Late Charges      8/08 286106.40          .00        40.17           .00      .00       .00      .00      40.17 01
             S/F     REF#
  97 11/16/12 1499 ZZZZF-Late Charges      8/08 286106.40          .00        40.17           .00      .00       .00      .00      40.17 01
             S/F     REF#
  96 10/30/12 1919 RECOVER ESCROW ADVANCE 8/08 286106.40           .00     915.51-            .00      .00    915.51-     .00
   Effective date: 10/29/12
             S/F WR REF# 0000
  95 10/30/12 1530 ESCROW DEPOSIT          8/08 286106.40       915.51     915.51             .00      .00    915.51      .00
   Effective date: 10/29/12
             S/F WR REF# 0000
  94 10/24/12 2676 CORP ADV NOCASH ADJ     8/08 286106.40          .00        80.00-          .00      .00       .00    80.00-26
             S/F AD REF# 0000
  93 10/24/12 2576 CORP ADV NOCASH ADJ     8/08 286106.40          .00        35.00           .00      .00       .00    35.00 26
             S/F AD REF# 0000
  92 10/24/12 2576 CORP ADV NOCASH ADJ     8/08 286106.40          .00         5.00           .00      .00       .00     5.00 26
             S/F AD REF# 0000
  91 10/24/12 2676 CORP ADV NOCASH ADJ     8/08 286106.40          .00        15.00-          .00      .00       .00    15.00-26
             S/F AD REF# 0000
  90 10/24/12 2576 CORP ADV NOCASH ADJ     8/08 286106.40          .00         5.00           .00      .00       .00     5.00 26
             S/F AD REF# 0000
  89 10/24/12 2676 CORP ADV NOCASH ADJ     8/08 286106.40          .00        15.00-          .00      .00       .00    15.00-26
             S/F AD REF# 0000
  88 10/24/12 2676 CORP ADV NOCASH ADJ     8/08 286106.40          .00        15.00-          .00      .00       .00    15.00-26
             S/F AD REF# 0000
  87 10/24/12 2676 CORP ADV NOCASH ADJ     8/08 286106.40          .00        15.00-          .00      .00       .00    15.00-26
             S/F AD REF# 0000
  86 10/24/12 2676 CORP ADV NOCASH ADJ     8/08 286106.40          .00        15.00-          .00      .00       .00    15.00-26
             S/F AD REF# 0000
  85 10/24/12 2676 CORP ADV NOCASH ADJ     8/08 286106.40          .00        15.00-          .00      .00       .00    15.00-26
             S/F AD REF# 0000
  84 10/24/12 2676 CORP ADV NOCASH ADJ     8/08 286106.40          .00        15.00-          .00      .00       .00    15.00-26
             S/F AD REF# 0000
  83 10/24/12 2676 CORP ADV NOCASH ADJ     8/08 286106.40          .00        15.00-          .00      .00       .00    15.00-26
             S/F AD REF# 0000
  82 10/24/12 2676 CORP ADV NOCASH ADJ     8/08 286106.40          .00        15.00-          .00      .00       .00    15.00-26
             S/F AD REF# 0000
  81 10/24/12 2676 CORP ADV NOCASH ADJ     8/08 286106.40          .00        15.00-          .00      .00       .00    15.00-26
SR497CR-02                                           Nationstar Mortgage LLC                                               6/09/16 8:03:28
JLEI499A                                           DETAIL TRANSACTION HISTORY                                             JOB DT:    6/09/16
                                                                                                                               PAGE:      12
---TRANSACTION----                          NEXT -AFTER TRANS.BALANCES-       TOTAL      ----------------APPLIED----------------- MISC.PMTS
NBR    DATE   CODE -----DESCRIPTION------   DUE   PRINCIPAL     ESCROW       AMOUNT       PRINCIPAL INTEREST   ESCROW SUSPENSE/CD &SRV.FEES

LOAN#                     CONTINUED

             S/F AD REF# 0000
  80 10/24/12 2676 CORP ADV NOCASH ADJ      8/08    286106.40        .00        15.00-          .00      .00      .00     15.00-26
             S/F AD REF# 0000
  79 10/24/12 2676 CORP ADV NOCASH ADJ      8/08    286106.40        .00        15.00-          .00      .00      .00     15.00-26
             S/F AD REF# 0000
  78 10/24/12 2676 CORP ADV NOCASH ADJ      8/08    286106.40        .00        15.00-          .00      .00      .00     15.00-26
             S/F AD REF# 0000
  77 10/24/12 2676 CORP ADV NOCASH ADJ      8/08    286106.40        .00        15.00-          .00      .00      .00     15.00-26
             S/F AD REF# 0000
  76 10/24/12 2676 CORP ADV NOCASH ADJ      8/08    286106.40        .00        15.00-          .00      .00      .00     15.00-26
             S/F AD REF# 0000
  75 10/24/12 2676 CORP ADV NOCASH ADJ      8/08    286106.40        .00        15.00-          .00      .00      .00     15.00-26
             S/F AD REF# 0000
  74 10/24/12 2676 CORP ADV NOCASH ADJ      8/08    286106.40        .00        15.00-          .00      .00      .00     15.00-26
             S/F AD REF# 0000
  73 10/24/12 2676 CORP ADV NOCASH ADJ      8/08    286106.40        .00        15.00-          .00      .00      .00     15.00-26
             S/F AD REF# 0000
  72 10/24/12 2676 CORP ADV NOCASH ADJ      8/08    286106.40        .00        15.00-          .00      .00      .00     15.00-26
             S/F AD REF# 0000
  71 10/24/12 2676 CORP ADV NOCASH ADJ      8/08    286106.40        .00        15.00-          .00      .00      .00     15.00-26
             S/F AD REF# 0000
  70 10/24/12 2676 CORP ADV NOCASH ADJ      8/08    286106.40        .00        15.00-          .00      .00      .00     15.00-26
             S/F AD REF# 0000
  69 10/24/12 2676 CORP ADV NOCASH ADJ      8/08    286106.40        .00        15.00-          .00      .00      .00     15.00-26
             S/F AD REF# 0000
  68 10/24/12 2676 CORP ADV NOCASH ADJ      8/08    286106.40        .00        15.00-          .00      .00      .00     15.00-26
             S/F AD REF# 0000
  67 10/24/12 2676 CORP ADV NOCASH ADJ      8/08    286106.40        .00     450.00-            .00      .00      .00    450.00-26
             S/F AD REF# 0000
  66 10/24/12 2576 CORP ADV NOCASH ADJ      8/08    286106.40        .00     210.00             .00      .00      .00    210.00 26
             S/F AD REF# 0000
  65 10/24/12 2676 CORP ADV NOCASH ADJ      8/08    286106.40        .00    1110.00-            .00      .00      .00   1110.00-26
             S/F AD REF# 0000
  64 10/19/12 1499 ZZZZF-Late Charges       8/08    286106.40        .00        40.17           .00      .00      .00       .00      40.17 01
             S/F     REF#
  63 10/17/12 1499 ZZZZF-Late Charges       8/08    286106.40        .00          .00           .00      .00      .00       .00            01
             S/F     REF#
  62 9/17/12 1499 ZZZZF-Late Charges        8/08    286106.40        .00          .00           .00      .00      .00       .00            01
             S/F     REF#
  61 8/17/12 1499 ZZZZF-Late Charges        8/08    286106.40        .00          .00           .00      .00      .00       .00            01
             S/F     REF#
  60 7/17/12 1499 ZZZZF-Late Charges        8/08    286106.40        .00          .00           .00      .00      .00       .00            01
             S/F     REF#
  59 6/17/12 1499 ZZZZF-Late Charges        8/08    286106.40        .00          .00           .00      .00      .00       .00            01
             S/F     REF#
  58 5/17/12 1499 ZZZZF-Late Charges        8/08    286106.40        .00          .00           .00      .00      .00       .00            01
             S/F     REF#
  57 4/17/12 1499 ZZZZF-Late Charges        8/08    286106.40        .00          .00           .00      .00      .00       .00            01
             S/F     REF#
  56 3/17/12 1499 ZZZZF-Late Charges        8/08    286106.40        .00          .00           .00      .00      .00       .00            01
             S/F     REF#
SR497CR-02                                           Nationstar Mortgage LLC                                            6/09/16 8:03:28
JLEI499A                                           DETAIL TRANSACTION HISTORY                                          JOB DT:    6/09/16
                                                                                                                            PAGE:      13
---TRANSACTION----                          NEXT -AFTER TRANS.BALANCES-       TOTAL   ----------------APPLIED----------------- MISC.PMTS
NBR    DATE   CODE -----DESCRIPTION------   DUE   PRINCIPAL     ESCROW       AMOUNT    PRINCIPAL INTEREST   ESCROW SUSPENSE/CD &SRV.FEES

LOAN#                     CONTINUED

  55  2/17/12 1499 ZZZZF-Late Charges       8/08    286106.40        .00        .00          .00      .00      .00      .00           01
             S/F     REF#
  54 1/17/12 1499 ZZZZF-Late Charges        8/08    286106.40        .00        .00          .00      .00      .00      .00           01
             S/F     REF#
  53 12/17/11 1499 ZZZZF-Late Charges       8/08    286106.40        .00        .00          .00      .00      .00      .00           01
             S/F     REF#
  52 11/17/11 1499 ZZZZF-Late Charges       8/08    286106.40        .00        .00          .00      .00      .00      .00           01
             S/F     REF#
  51 10/17/11 1499 ZZZZF-Late Charges       8/08    286106.40        .00        .00          .00      .00      .00      .00           01
             S/F     REF#
  50 9/17/11 1499 ZZZZF-Late Charges        8/08    286106.40        .00        .00          .00      .00      .00      .00           01
             S/F     REF#
  49 8/17/11 1499 ZZZZF-Late Charges        8/08    286106.40        .00        .00          .00      .00      .00      .00           01
             S/F     REF#
  48 7/17/11 1499 ZZZZF-Late Charges        8/08    286106.40        .00        .00          .00      .00      .00      .00           01
             S/F     REF#
  47 6/17/11 1499 ZZZZF-Late Charges        8/08    286106.40        .00        .00          .00      .00      .00      .00           01
             S/F     REF#
  46 5/17/11 1499 ZZZZF-Late Charges        8/08    286106.40        .00        .00          .00      .00      .00      .00           01
             S/F     REF#
  45 4/17/11 1499 ZZZZF-Late Charges        8/08    286106.40        .00        .00          .00      .00      .00      .00           01
             S/F     REF#
  44 3/17/11 1499 ZZZZF-Late Charges        8/08    286106.40        .00        .00          .00      .00      .00      .00           01
             S/F     REF#
  43 2/17/11 1499 ZZZZF-Late Charges        8/08    286106.40        .00        .00          .00      .00      .00      .00           01
             S/F     REF#
  42 1/17/11 1499 ZZZZF-Late Charges        8/08    286106.40        .00        .00          .00      .00      .00      .00           01
             S/F     REF#
  41 12/17/10 1499 ZZZZF-Late Charges       8/08    286106.40        .00        .00          .00      .00      .00      .00           01
             S/F     REF#
  40 11/17/10 1499 ZZZZF-Late Charges       8/08    286106.40        .00        .00          .00      .00      .00      .00           01
             S/F     REF#
  39 10/17/10 1499 ZZZZF-Late Charges       8/08    286106.40        .00        .00          .00      .00      .00      .00           01
             S/F     REF#
  38 9/17/10 1499 ZZZZF-Late Charges        8/08    286106.40        .00        .00          .00      .00      .00      .00           01
             S/F     REF#
  37 8/17/10 1499 ZZZZF-Late Charges        8/08    286106.40        .00        .00          .00      .00      .00      .00           01
             S/F     REF#
  36 7/17/10 1499 ZZZZF-Late Charges        8/08    286106.40        .00        .00          .00      .00      .00      .00           01
             S/F     REF#
  35 6/17/10 1499 ZZZZF-Late Charges        8/08    286106.40        .00        .00          .00      .00      .00      .00           01
             S/F     REF#
  34 5/17/10 1499 ZZZZF-Late Charges        8/08    286106.40        .00        .00          .00      .00      .00      .00           01
             S/F     REF#
  33 4/17/10 1499 ZZZZF-Late Charges        8/08    286106.40        .00        .00          .00      .00      .00      .00           01
             S/F     REF#
  32 3/17/10 1499 ZZZZF-Late Charges        8/08    286106.40        .00        .00          .00      .00      .00      .00           01
             S/F     REF#
  31 2/17/10 1499 ZZZZF-Late Charges        8/08    286106.40        .00        .00          .00      .00      .00      .00           01
             S/F     REF#
  30 1/17/10 1499 ZZZZF-Late Charges        8/08    286106.40        .00        .00          .00      .00      .00      .00           01
SR497CR-02                                           Nationstar Mortgage LLC                                              6/09/16 8:03:28
JLEI499A                                           DETAIL TRANSACTION HISTORY                                            JOB DT:    6/09/16
                                                                                                                              PAGE:      14
---TRANSACTION----                          NEXT -AFTER TRANS.BALANCES-        TOTAL    ----------------APPLIED----------------- MISC.PMTS
NBR    DATE   CODE -----DESCRIPTION------   DUE   PRINCIPAL     ESCROW        AMOUNT     PRINCIPAL INTEREST   ESCROW SUSPENSE/CD &SRV.FEES

LOAN#                     CONTINUED

             S/F     REF#
  29 12/17/09 1499 ZZZZF-Late Charges       8/08    286106.40        .00         .00           .00        .00      .00    .00           01
             S/F     REF#
  28 11/17/09 1499 ZZZZF-Late Charges       8/08    286106.40        .00         .00           .00        .00      .00    .00           01
             S/F     REF#
  27 10/17/09 1499 ZZZZF-Late Charges       8/08    286106.40        .00         .00           .00        .00      .00    .00           01
             S/F     REF#
  26 9/17/09 1499 ZZZZF-Late Charges        8/08    286106.40        .00         .00           .00        .00      .00    .00           01
             S/F     REF#
  25 8/17/09 1499 ZZZZF-Late Charges        8/08    286106.40        .00         .00           .00        .00      .00    .00           01
             S/F     REF#
  24 7/17/09 1499 ZZZZF-Late Charges        8/08    286106.40        .00         .00           .00        .00      .00    .00           01
             S/F     REF#
  23 6/17/09 1499 ZZZZF-Late Charges        8/08    286106.40        .00         .00           .00        .00      .00    .00           01
             S/F     REF#
  22 5/17/09 1499 ZZZZF-Late Charges        8/08    286106.40        .00         .00           .00        .00      .00    .00           01
             S/F     REF#
  21 4/17/09 1499 ZZZZF-Late Charges        8/08    286106.40        .00         .00           .00        .00      .00    .00           01
             S/F     REF#
  20 3/17/09 1499 ZZZZF-Late Charges        8/08    286106.40        .00         .00           .00        .00      .00    .00           01
             S/F     REF#
  19 2/17/09 1499 ZZZZF-Late Charges        8/08    286106.40        .00         .00           .00        .00      .00    .00           01
             S/F     REF#
  18 1/17/09 1499 ZZZZF-Late Charges        8/08    286106.40        .00         .00           .00        .00      .00    .00           01
             S/F     REF#
  17 12/17/08 1499 ZZZZF-Late Charges       8/08    286106.40        .00         .00           .00        .00      .00    .00           01
             S/F     REF#
  16 11/17/08 1499 ZZZZF-Late Charges       8/08    286106.40        .00         .00           .00        .00      .00    .00           01
             S/F     REF#
  15 10/17/08 1499 ZZZZF-Late Charges       8/08    286106.40        .00         .00           .00        .00      .00    .00           01
             S/F     REF#
  14 9/17/08 1499 ZZZZF-Late Charges        8/08    286106.40        .00         .00           .00        .00      .00    .00           01
             S/F     REF#
  13 8/17/08 1499 ZZZZF-Late Charges        8/08    286106.40        .00         .00           .00        .00      .00    .00           01
             S/F     REF#
  12 10/19/12 2643 ESCROW ADJ               8/08    286106.40        .00    62293.87-          .00        .00 62293.87-   .00
   Effective date: 10/15/12
             S/F LB REF#
  11 10/19/12 19   ESCROW ADVANCE           8/08    286106.40   62293.87    62293.87           .00        .00 62293.87    .00
   Effective date: 10/15/12
             S/F LB REF#
  10 10/19/12 8103 NEW LOAN NOCASH          8/08    286106.40        .00   286106.40-    286106.40-       .00      .00    .00
   Effective date: 10/15/12
             S/F LB REF#
                   * * * * TOTALS * * * *                                                      .00    5270.46
                     CUSTOMER ACCOUNT ACTIVITY STATEMENT          DATE 08/26/21
REQ BY LZ1                                                             PAGE   1


RYSZARD KOZIKOWSKI              THANK YOU FOR CONTACTING RUSHMORE LOAN
99 WILSON AVENUE                MANAGEMENT SERVICES
AMITYVILLE           NY 11701



LOAN NUMBER:
*******************************************************************************
-------------------------- CURRENT ACCOUNT INFORMATION ------------------------
  DATE        TOTAL       PRINCIPAL        LOAN        CURRENT
 PAYMENT      PAYMENT     & INTEREST    INTEREST      PRINCIPAL        ESCROW
  DUE         AMOUNT       PAYMENT         RATE        BALANCE         BALANCE
02-01-16      3,266.50      1,631.49     3.90000      396,242.80     98,163.71-
  2ND MORTGAGE:                       0.00    0.00000   169,818.35
*******************************************************************************

                 ACTIVITY FOR PERIOD 01/01/00 - 08/25/21
PROCESS    DUE   TRANSACTION           TRANSACTION               EFFECTIVE DATE
 DATE      DATE  CODE                  DESCRIPTION               OF TRANSACTION
-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
08-24-21 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.11       0.00       0.00      0.00
08-23-21 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
08-23-21 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
08-20-21 02-16 161 ESCROW ADVANCE
      240.91        0.00       0.00    240.91
                                     98163.71- NEW PRINCIPAL/ESCROW BALANCES
08-20-21 08-21 352 FLOOD INSURANCE DISBURSEMENT
      240.91-       0.00       0.00    240.91-
                                     98163.71- NEW PRINCIPAL/ESCROW BALANCES
08-16-21 02-16 152 LATE CHARGE ASSESSMENT
         0.00       0.00       0.00      0.00      32.63-1 LATE CHARGES
                     CUSTOMER ACCOUNT ACTIVITY STATEMENT         DATE 08/26/21
REQ BY LZ1                                                            PAGE   2


RYSZARD KOZIKOWSKI
LOAN NUMBER:

                 ACTIVITY FOR PERIOD 01/01/00 - 08/25/21
PROCESS    DUE   TRANSACTION           TRANSACTION               EFFECTIVE DATE
 DATE      DATE  CODE                  DESCRIPTION               OF TRANSACTION
-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
08-03-21 02-16 161 ESCROW ADVANCE
      169.00        0.00       0.00    169.00
                                     97922.80- NEW PRINCIPAL/ESCROW BALANCES
08-03-21 08-21 351 HAZARD INSURANCE
      169.00-       0.00       0.00    169.00-
                                     97922.80- NEW PRINCIPAL/ESCROW BALANCES
07-28-21 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.83       0.00       0.00      0.00
07-23-21 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.13       0.00       0.00      0.00
07-21-21 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
07-21-21 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
07-20-21 02-16 161 ESCROW ADVANCE
      240.91        0.00       0.00    240.91
                                     97753.80- NEW PRINCIPAL/ESCROW BALANCES
07-20-21 07-21 352 FLOOD INSURANCE DISBURSEMENT
      240.91-       0.00       0.00    240.91-
                                     97753.80- NEW PRINCIPAL/ESCROW BALANCES
07-16-21 02-16 152 LATE CHARGE ASSESSMENT
         0.00       0.00       0.00      0.00      32.63-1 LATE CHARGES
07-15-21 00-00 631 PROPERTY PRESERVATION
        85.00       0.00       0.00      0.00
07-15-21 00-00 631 PROPERTY PRESERVATION
      200.00        0.00       0.00      0.00
07-02-21 02-16 161 ESCROW ADVANCE
      169.00        0.00       0.00    169.00
                                     97512.89- NEW PRINCIPAL/ESCROW BALANCES
                     CUSTOMER ACCOUNT ACTIVITY STATEMENT         DATE 08/26/21
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PROCESS    DUE   TRANSACTION           TRANSACTION               EFFECTIVE DATE
 DATE      DATE  CODE                  DESCRIPTION               OF TRANSACTION
-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
07-02-21 07-21 351 HAZARD INSURANCE
      169.00-       0.00       0.00    169.00-
                                     97512.89- NEW PRINCIPAL/ESCROW BALANCES
06-24-21 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.83       0.00       0.00      0.00
06-22-21 02-16 161 ESCROW ADVANCE
      240.91        0.00       0.00    240.91
                                     97343.89- NEW PRINCIPAL/ESCROW BALANCES
06-22-21 06-21 352 FLOOD INSURANCE DISBURSEMENT
      240.91-       0.00       0.00    240.91-
                                     97343.89- NEW PRINCIPAL/ESCROW BALANCES
06-22-21 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.13       0.00       0.00      0.00
06-16-21 02-16 152 LATE CHARGE ASSESSMENT
         0.00       0.00       0.00      0.00      32.63-1 LATE CHARGES
06-15-21 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
06-15-21 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
06-02-21 02-16 161 ESCROW ADVANCE
      169.00        0.00       0.00    169.00
                                     97102.98- NEW PRINCIPAL/ESCROW BALANCES
06-02-21 06-21 351 HAZARD INSURANCE
      169.00-       0.00       0.00    169.00-
                                     97102.98- NEW PRINCIPAL/ESCROW BALANCES
05-26-21 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.83       0.00       0.00      0.00
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 DATE      DATE  CODE                  DESCRIPTION               OF TRANSACTION
-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
05-25-21 00-00 601 MISC. CORPORATE DISBURSEMENT
        0.11        0.00       0.00      0.00
05-20-21 02-16 161 ESCROW ADVANCE
      240.91        0.00       0.00    240.91
                                     96933.98- NEW PRINCIPAL/ESCROW BALANCES
05-20-21 05-21 352 FLOOD INSURANCE DISBURSEMENT
      240.91-       0.00       0.00    240.91-
                                     96933.98- NEW PRINCIPAL/ESCROW BALANCES
05-18-21 02-16 161 ESCROW ADVANCE
    7,043.54        0.00       0.00   7043.54
                                     96693.07- NEW PRINCIPAL/ESCROW BALANCES
05-18-21 05-21 316 TOWN/BORO
    7,043.54-       0.00       0.00   7043.54-
                                     96693.07- NEW PRINCIPAL/ESCROW BALANCES
05-17-21 02-16 152 LATE CHARGE ASSESSMENT
        0.00        0.00       0.00      0.00      32.63-1 LATE CHARGES
05-04-21 02-16 161 ESCROW ADVANCE
      169.00        0.00       0.00    169.00
                                     89649.53- NEW PRINCIPAL/ESCROW BALANCES
05-04-21 05-21 351 HAZARD INSURANCE
      169.00-       0.00       0.00    169.00-
                                     89649.53- NEW PRINCIPAL/ESCROW BALANCES
04-28-21 00-00 601 MISC. CORPORATE DISBURSEMENT
        1.83        0.00       0.00      0.00
04-26-21 00-00 601 MISC. CORPORATE DISBURSEMENT
        0.11        0.00       0.00      0.00
04-20-21 02-16 161 ESCROW ADVANCE
      240.91        0.00       0.00    240.91
                                     89480.53- NEW PRINCIPAL/ESCROW BALANCES
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PROCESS    DUE   TRANSACTION           TRANSACTION               EFFECTIVE DATE
 DATE      DATE  CODE                  DESCRIPTION               OF TRANSACTION
-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
04-20-21 04-21 352 FLOOD INSURANCE DISBURSEMENT
      240.91-       0.00       0.00    240.91-
                                     89480.53- NEW PRINCIPAL/ESCROW BALANCES
04-02-21 02-16 161 ESCROW ADVANCE
      169.00        0.00       0.00    169.00
                                     89239.62- NEW PRINCIPAL/ESCROW BALANCES
04-02-21 04-21 351 HAZARD INSURANCE
      169.00-       0.00       0.00    169.00-
                                     89239.62- NEW PRINCIPAL/ESCROW BALANCES
03-30-21 00-00 601 MISC. CORPORATE DISBURSEMENT
        1.83        0.00       0.00      0.00
03-25-21 00-00 601 MISC. CORPORATE DISBURSEMENT
        0.14        0.00       0.00      0.00
03-23-21 00-00 601 MISC. CORPORATE DISBURSEMENT
      215.00        0.00       0.00      0.00
03-22-21 02-16 161 ESCROW ADVANCE
      240.91        0.00       0.00    240.91
                                     89070.62- NEW PRINCIPAL/ESCROW BALANCES
03-22-21 03-21 352 FLOOD INSURANCE DISBURSEMENT
      240.91-       0.00       0.00    240.91-
                                     89070.62- NEW PRINCIPAL/ESCROW BALANCES
03-02-21 02-16 161 ESCROW ADVANCE
      169.00        0.00       0.00    169.00
                                     88829.71- NEW PRINCIPAL/ESCROW BALANCES
03-02-21 03-21 351 HAZARD INSURANCE
      169.00-       0.00       0.00    169.00-
                                     88829.71- NEW PRINCIPAL/ESCROW BALANCES
                     CUSTOMER ACCOUNT ACTIVITY STATEMENT         DATE 08/26/21
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 DATE      DATE  CODE                  DESCRIPTION               OF TRANSACTION
-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
02-25-21 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
02-25-21 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
02-24-21 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.83       0.00       0.00      0.00
02-22-21 02-16 161 ESCROW ADVANCE
      240.91        0.00       0.00    240.91
                                     88660.71- NEW PRINCIPAL/ESCROW BALANCES
02-22-21 02-21 352 FLOOD INSURANCE DISBURSEMENT
      240.91-       0.00       0.00    240.91-
                                     88660.71- NEW PRINCIPAL/ESCROW BALANCES
02-19-21 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.13       0.00       0.00      0.00
02-12-21 00-00 631 PROPERTY PRESERVATION
        75.00       0.00       0.00      0.00
02-09-21 00-00 631 PROPERTY PRESERVATION
        95.00       0.00       0.00      0.00
02-02-21 02-16 161 ESCROW ADVANCE
      169.00        0.00       0.00    169.00
                                     88419.80- NEW PRINCIPAL/ESCROW BALANCES
02-02-21 02-21 351 HAZARD INSURANCE
      169.00-       0.00       0.00    169.00-
                                     88419.80- NEW PRINCIPAL/ESCROW BALANCES
01-30-21 00-00 601 MISC. CORPORATE DISBURSEMENT
      645.00        0.00       0.00      0.00
01-29-21 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
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-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
01-29-21 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
01-29-21 00-00 631 PROPERTY PRESERVATION
        85.00       0.00       0.00      0.00
01-29-21 00-00 631 PROPERTY PRESERVATION
      200.00        0.00       0.00      0.00
01-28-21 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.83       0.00       0.00      0.00
01-25-21 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.13       0.00       0.00      0.00
01-20-21 02-16 161 ESCROW ADVANCE
      240.91        0.00       0.00    240.91
                                     88250.80- NEW PRINCIPAL/ESCROW BALANCES
01-20-21 01-21 352 FLOOD INSURANCE DISBURSEMENT
      240.91-       0.00       0.00    240.91-
                                     88250.80- NEW PRINCIPAL/ESCROW BALANCES
01-19-21 02-16 152 LATE CHARGE ASSESSMENT
         0.00       0.00       0.00      0.00      32.63-1 LATE CHARGES
01-05-21 02-16 161 ESCROW ADVANCE
      169.00        0.00       0.00    169.00
                                     88009.89- NEW PRINCIPAL/ESCROW BALANCES
01-05-21 01-21 351 HAZARD INSURANCE
      169.00-       0.00       0.00    169.00-
                                     88009.89- NEW PRINCIPAL/ESCROW BALANCES
12-30-20 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
12-30-20 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
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-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
12-29-20 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.83       0.00       0.00      0.00
12-22-20 02-16 161 ESCROW ADVANCE
      240.91        0.00       0.00    240.91
                                     87840.89- NEW PRINCIPAL/ESCROW BALANCES
12-22-20 12-20 352 FLOOD INSURANCE DISBURSEMENT
      240.91-       0.00       0.00    240.91-
                                     87840.89- NEW PRINCIPAL/ESCROW BALANCES
12-21-20 02-16 161 ESCROW ADVANCE
    7,043.54        0.00       0.00   7043.54
                                     87599.98- NEW PRINCIPAL/ESCROW BALANCES
12-21-20 12-20 316 TOWN/BORO
    7,043.54-       0.00       0.00   7043.54-
                                     87599.98- NEW PRINCIPAL/ESCROW BALANCES
12-17-20 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.10       0.00       0.00      0.00
12-07-20 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
12-07-20 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
12-02-20 02-16 161 ESCROW ADVANCE
      169.00        0.00       0.00    169.00
                                     80556.44- NEW PRINCIPAL/ESCROW BALANCES
12-02-20 12-20 351 HAZARD INSURANCE
      169.00-       0.00       0.00    169.00-
                                     80556.44- NEW PRINCIPAL/ESCROW BALANCES
11-25-20 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.83       0.00       0.00      0.00
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-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
11-20-20 02-16 161 ESCROW ADVANCE
      240.91        0.00       0.00    240.91
                                     80387.44- NEW PRINCIPAL/ESCROW BALANCES
11-20-20 11-20 352 FLOOD INSURANCE DISBURSEMENT
      240.91-       0.00       0.00    240.91-
                                     80387.44- NEW PRINCIPAL/ESCROW BALANCES
11-20-20 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.13       0.00       0.00      0.00
11-03-20 02-16 161 ESCROW ADVANCE
      169.00        0.00       0.00    169.00
                                     80146.53- NEW PRINCIPAL/ESCROW BALANCES
11-03-20 11-20 351 HAZARD INSURANCE
      169.00-       0.00       0.00    169.00-
                                     80146.53- NEW PRINCIPAL/ESCROW BALANCES
10-26-20 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.83       0.00       0.00      0.00
10-23-20 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.14       0.00       0.00      0.00
10-21-20 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
10-21-20 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
10-20-20 02-16 161 ESCROW ADVANCE
      240.91        0.00       0.00    240.91
                                     79977.53- NEW PRINCIPAL/ESCROW BALANCES
10-20-20 10-20 352 FLOOD INSURANCE DISBURSEMENT
      240.91-       0.00       0.00    240.91-
                                     79977.53- NEW PRINCIPAL/ESCROW BALANCES
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-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
10-05-20 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.83       0.00       0.00      0.00
10-02-20 02-16 161 ESCROW ADVANCE
      169.00        0.00       0.00    169.00
                                     79736.62- NEW PRINCIPAL/ESCROW BALANCES
10-02-20 10-20 351 HAZARD INSURANCE
      169.00-       0.00       0.00    169.00-
                                     79736.62- NEW PRINCIPAL/ESCROW BALANCES
09-22-20 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                     79567.62- NEW PRINCIPAL/ESCROW BALANCES
09-22-20 09-20 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                     79567.62- NEW PRINCIPAL/ESCROW BALANCES
09-18-20 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
09-18-20 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
09-17-20 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.12       0.00       0.00      0.00
09-02-20 02-16 161 ESCROW ADVANCE
      169.00        0.00       0.00    169.00
                                     79326.82- NEW PRINCIPAL/ESCROW BALANCES
09-02-20 09-20 351 HAZARD INSURANCE
      169.00-       0.00       0.00    169.00-
                                     79326.82- NEW PRINCIPAL/ESCROW BALANCES
08-26-20 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.83       0.00       0.00      0.00
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-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
08-21-20 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.14       0.00       0.00      0.00
08-20-20 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                     79157.82- NEW PRINCIPAL/ESCROW BALANCES
08-20-20 08-20 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                     79157.82- NEW PRINCIPAL/ESCROW BALANCES
08-18-20 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
08-18-20 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
08-13-20 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.83       0.00       0.00      0.00
08-06-20 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.16       0.00       0.00      0.00
08-04-20 02-16 161 ESCROW ADVANCE
      169.00        0.00       0.00    169.00
                                     78917.02- NEW PRINCIPAL/ESCROW BALANCES
08-04-20 08-20 351 HAZARD INSURANCE
      169.00-       0.00       0.00    169.00-
                                     78917.02- NEW PRINCIPAL/ESCROW BALANCES
07-24-20 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.83       0.00       0.00      0.00
07-22-20 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
07-22-20 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
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-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
07-22-20 00-00 631 PROPERTY PRESERVATION
        85.00       0.00       0.00      0.00
07-22-20 00-00 631 PROPERTY PRESERVATION
      200.00        0.00       0.00      0.00
07-21-20 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                     78748.02- NEW PRINCIPAL/ESCROW BALANCES
07-21-20 07-20 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                     78748.02- NEW PRINCIPAL/ESCROW BALANCES
07-10-20 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.18       0.00       0.00      0.00
07-02-20 02-16 161 ESCROW ADVANCE
      169.00        0.00       0.00    169.00
                                     78507.22- NEW PRINCIPAL/ESCROW BALANCES
07-02-20 07-20 351 HAZARD INSURANCE
      169.00-       0.00       0.00    169.00-
                                     78507.22- NEW PRINCIPAL/ESCROW BALANCES
06-22-20 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                     78338.22- NEW PRINCIPAL/ESCROW BALANCES
06-22-20 06-20 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                     78338.22- NEW PRINCIPAL/ESCROW BALANCES
06-17-20 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
06-17-20 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
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 DATE      DATE  CODE                  DESCRIPTION               OF TRANSACTION
-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
06-16-20 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.83       0.00       0.00      0.00
06-10-20 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.18       0.00       0.00      0.00
06-03-20 00-00 631 PROPERTY PRESERVATION
        95.00       0.00       0.00      0.00
06-02-20 02-16 161 ESCROW ADVANCE
      169.00        0.00       0.00    169.00
                                     78097.42- NEW PRINCIPAL/ESCROW BALANCES
06-02-20 06-20 351 HAZARD INSURANCE
      169.00-       0.00       0.00    169.00-
                                     78097.42- NEW PRINCIPAL/ESCROW BALANCES
05-20-20 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                     77928.42- NEW PRINCIPAL/ESCROW BALANCES
05-20-20 05-20 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                     77928.42- NEW PRINCIPAL/ESCROW BALANCES
05-19-20 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
05-19-20 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
05-18-20 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.83       0.00       0.00      0.00
05-15-20 02-16 161 ESCROW ADVANCE
    6,917.13        0.00       0.00   6917.13
                                     77687.62- NEW PRINCIPAL/ESCROW BALANCES
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-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
05-15-20 05-20 316 TOWN/BORO
    6,917.13-       0.00       0.00   6917.13-
                                     77687.62- NEW PRINCIPAL/ESCROW BALANCES
05-06-20 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.19       0.00       0.00      0.00
05-04-20 02-16 161 ESCROW ADVANCE
      137.80        0.00       0.00    137.80
                                     70770.49- NEW PRINCIPAL/ESCROW BALANCES
05-04-20 05-20 351 HAZARD INSURANCE
      137.80-       0.00       0.00    137.80-
                                     70770.49- NEW PRINCIPAL/ESCROW BALANCES
04-21-20 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                     70632.69- NEW PRINCIPAL/ESCROW BALANCES
04-21-20 04-20 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                     70632.69- NEW PRINCIPAL/ESCROW BALANCES
04-16-20 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
04-16-20 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
04-15-20 00-00 633 MISC. F/C AND B/R EXPENSES
        27.19       0.00       0.00      0.00
04-15-20 00-00 630 ATTORNEY ADVANCES
      150.00        0.00       0.00      0.00
04-15-20 00-00 630 ATTORNEY ADVANCES
      192.50        0.00       0.00      0.00
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-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
04-10-20 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.83       0.00       0.00      0.00
04-02-20 02-16 161 ESCROW ADVANCE
      137.80        0.00       0.00    137.80
                                     70391.89- NEW PRINCIPAL/ESCROW BALANCES
04-02-20 04-20 351 HAZARD INSURANCE
      137.80-       0.00       0.00    137.80-
                                     70391.89- NEW PRINCIPAL/ESCROW BALANCES
03-25-20 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.18       0.00       0.00      0.00
03-20-20 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                     70254.09- NEW PRINCIPAL/ESCROW BALANCES
03-20-20 03-20 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                     70254.09- NEW PRINCIPAL/ESCROW BALANCES
03-19-20 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
03-19-20 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
03-16-20 02-16 152 LATE CHARGE ASSESSMENT
         0.00       0.00       0.00      0.00      32.63-1 LATE CHARGES
03-03-20 02-16 161 ESCROW ADVANCE
      137.80        0.00       0.00    137.80
                                     70013.29- NEW PRINCIPAL/ESCROW BALANCES
03-03-20 03-20 351 HAZARD INSURANCE
      137.80-       0.00       0.00    137.80-
                                     70013.29- NEW PRINCIPAL/ESCROW BALANCES
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 DATE      DATE  CODE                  DESCRIPTION               OF TRANSACTION
-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
02-27-20 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
02-27-20 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
02-26-20 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.83       0.00       0.00      0.00
02-21-20 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.17       0.00       0.00      0.00
02-20-20 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                     69875.49- NEW PRINCIPAL/ESCROW BALANCES
02-20-20 02-20 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                     69875.49- NEW PRINCIPAL/ESCROW BALANCES
02-18-20 02-16 152 LATE CHARGE ASSESSMENT
         0.00       0.00       0.00      0.00      32.63-1 LATE CHARGES
02-04-20 02-16 161 ESCROW ADVANCE
      137.80        0.00       0.00    137.80
                                     69634.69- NEW PRINCIPAL/ESCROW BALANCES
02-04-20 02-20 351 HAZARD INSURANCE
      137.80-       0.00       0.00    137.80-
                                     69634.69- NEW PRINCIPAL/ESCROW BALANCES
01-31-20 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
01-31-20 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
01-28-20 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.83       0.00       0.00      0.00
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 DATE      DATE  CODE                  DESCRIPTION               OF TRANSACTION
-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
01-23-20 00-00 631 PROPERTY PRESERVATION
        85.00       0.00       0.00      0.00
01-23-20 00-00 631 PROPERTY PRESERVATION
      200.00        0.00       0.00      0.00
01-23-20 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.23       0.00       0.00      0.00
01-22-20 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                     69496.89- NEW PRINCIPAL/ESCROW BALANCES
01-22-20 01-20 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                     69496.89- NEW PRINCIPAL/ESCROW BALANCES
01-16-20 02-16 152 LATE CHARGE ASSESSMENT
         0.00       0.00       0.00      0.00      32.63-1 LATE CHARGES
01-03-20 02-16 161 ESCROW ADVANCE
      137.80        0.00       0.00    137.80
                                     69256.09- NEW PRINCIPAL/ESCROW BALANCES
01-03-20 01-20 351 HAZARD INSURANCE
      137.80-       0.00       0.00    137.80-
                                     69256.09- NEW PRINCIPAL/ESCROW BALANCES
12-31-19 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
12-31-19 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
12-27-19 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.83       0.00       0.00      0.00
12-23-19 02-16 161 ESCROW ADVANCE
    6,917.14        0.00       0.00   6917.14
                                     69118.29- NEW PRINCIPAL/ESCROW BALANCES
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-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
12-23-19 12-19 316 TOWN/BORO
    6,917.14-       0.00       0.00   6917.14-
                                     69118.29- NEW PRINCIPAL/ESCROW BALANCES
12-20-19 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                     62201.15- NEW PRINCIPAL/ESCROW BALANCES
12-20-19 12-19 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                     62201.15- NEW PRINCIPAL/ESCROW BALANCES
12-18-19 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.17       0.00       0.00      0.00
12-16-19 02-16 152 LATE CHARGE ASSESSMENT
         0.00       0.00       0.00      0.00      32.63-1 LATE CHARGES
12-10-19 00-00 631 PROPERTY PRESERVATION
        75.00       0.00       0.00      0.00
12-03-19 02-16 161 ESCROW ADVANCE
      137.80        0.00       0.00    137.80
                                     61960.35- NEW PRINCIPAL/ESCROW BALANCES
12-03-19 12-19 351 HAZARD INSURANCE
      137.80-       0.00       0.00    137.80-
                                     61960.35- NEW PRINCIPAL/ESCROW BALANCES
12-03-19 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.83       0.00       0.00      0.00
11-21-19 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.18       0.00       0.00      0.00
11-20-19 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                     61822.55- NEW PRINCIPAL/ESCROW BALANCES
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-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
11-20-19 11-19 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                     61822.55- NEW PRINCIPAL/ESCROW BALANCES
11-18-19 02-16 152 LATE CHARGE ASSESSMENT
         0.00       0.00       0.00      0.00      32.63-1 LATE CHARGES
11-05-19 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
11-05-19 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
11-04-19 02-16 161 ESCROW ADVANCE
      137.80        0.00       0.00    137.80
                                     61581.75- NEW PRINCIPAL/ESCROW BALANCES
11-04-19 11-19 351 HAZARD INSURANCE
      137.80-       0.00       0.00    137.80-
                                     61581.75- NEW PRINCIPAL/ESCROW BALANCES
10-29-19 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.83       0.00       0.00      0.00
10-24-19 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.20       0.00       0.00      0.00
10-23-19 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                     61443.95- NEW PRINCIPAL/ESCROW BALANCES
10-23-19 10-19 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                     61443.95- NEW PRINCIPAL/ESCROW BALANCES
10-16-19 02-16 152 LATE CHARGE ASSESSMENT
         0.00       0.00       0.00      0.00      32.63-1 LATE CHARGES
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-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
10-14-19 00-00 631 PROPERTY PRESERVATION
        95.00       0.00       0.00      0.00
10-02-19 02-16 161 ESCROW ADVANCE
      137.80        0.00       0.00    137.80
                                     61203.15- NEW PRINCIPAL/ESCROW BALANCES
10-02-19 10-19 351 HAZARD INSURANCE
      137.80-       0.00       0.00    137.80-
                                     61203.15- NEW PRINCIPAL/ESCROW BALANCES
10-02-19 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
10-02-19 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
10-02-19 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.83       0.00       0.00      0.00
09-20-19 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                     61065.35- NEW PRINCIPAL/ESCROW BALANCES
09-20-19 09-19 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                     61065.35- NEW PRINCIPAL/ESCROW BALANCES
09-19-19 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.17       0.00       0.00      0.00
09-16-19 02-16 152 LATE CHARGE ASSESSMENT
         0.00       0.00       0.00      0.00      32.63-1 LATE CHARGES
09-11-19 02-16 161 ESCROW ADVANCE
      137.80        0.00       0.00    137.80
                                     60824.55- NEW PRINCIPAL/ESCROW BALANCES
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-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
09-11-19 09-19 351 HAZARD INSURANCE
      137.80-       0.00       0.00    137.80-
                                     60824.55- NEW PRINCIPAL/ESCROW BALANCES
09-05-19 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
09-05-19 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
08-28-19 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.17       0.00       0.00      0.00
08-26-19 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                     60686.75- NEW PRINCIPAL/ESCROW BALANCES
08-26-19 08-19 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                     60686.75- NEW PRINCIPAL/ESCROW BALANCES
08-26-19 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.75       0.00       0.00      0.00
08-16-19 02-16 152 LATE CHARGE ASSESSMENT
         0.00       0.00       0.00      0.00      32.63-1 LATE CHARGES
08-08-19 02-16 161 ESCROW ADVANCE
      137.80        0.00       0.00    137.80
                                     60445.95- NEW PRINCIPAL/ESCROW BALANCES
08-08-19 08-19 351 HAZARD INSURANCE
      137.80-       0.00       0.00    137.80-
                                     60445.95- NEW PRINCIPAL/ESCROW BALANCES
07-29-19 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.75       0.00       0.00      0.00
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-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
07-26-19 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                     60308.15- NEW PRINCIPAL/ESCROW BALANCES
07-26-19 07-19 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                     60308.15- NEW PRINCIPAL/ESCROW BALANCES
07-24-19 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
07-24-19 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
07-23-19 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.18       0.00       0.00      0.00
07-17-19 00-00 631 PROPERTY PRESERVATION
        85.00       0.00       0.00      0.00
07-17-19 00-00 631 PROPERTY PRESERVATION
      200.00        0.00       0.00      0.00
07-16-19 02-16 152 LATE CHARGE ASSESSMENT
         0.00       0.00       0.00      0.00      32.63-1 LATE CHARGES
07-08-19 02-16 161 ESCROW ADVANCE
      137.80        0.00       0.00    137.80
                                     60067.35- NEW PRINCIPAL/ESCROW BALANCES
07-08-19 07-19 351 HAZARD INSURANCE
      137.80-       0.00       0.00    137.80-
                                     60067.35- NEW PRINCIPAL/ESCROW BALANCES
06-27-19 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
06-27-19 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
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-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
06-26-19 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                     59929.55- NEW PRINCIPAL/ESCROW BALANCES
06-26-19 06-19 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                     59929.55- NEW PRINCIPAL/ESCROW BALANCES
06-26-19 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.75       0.00       0.00      0.00
06-21-19 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.19       0.00       0.00      0.00
06-17-19 02-16 152 LATE CHARGE ASSESSMENT
         0.00       0.00       0.00      0.00      32.63-1 LATE CHARGES
06-10-19 02-16 161 ESCROW ADVANCE
      137.80        0.00       0.00    137.80
                                     59688.75- NEW PRINCIPAL/ESCROW BALANCES
06-10-19 06-19 351 HAZARD INSURANCE
      137.80-       0.00       0.00    137.80-
                                     59688.75- NEW PRINCIPAL/ESCROW BALANCES
05-29-19 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
05-29-19 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
05-28-19 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                     59550.95- NEW PRINCIPAL/ESCROW BALANCES
05-28-19 05-19 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                     59550.95- NEW PRINCIPAL/ESCROW BALANCES
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-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
05-28-19 00-00 601 MISC. CORPORATE DISBURSEMENT
        1.75        0.00       0.00      0.00
05-23-19 00-00 601 MISC. CORPORATE DISBURSEMENT
        0.20        0.00       0.00      0.00
05-16-19 02-16 152 LATE CHARGE ASSESSMENT
        0.00        0.00       0.00      0.00      32.63-1 LATE CHARGES
05-16-19 02-16 161 ESCROW ADVANCE
    6,796.29        0.00       0.00   6796.29
                                     59310.15- NEW PRINCIPAL/ESCROW BALANCES
05-16-19 05-19 316 TOWN/BORO
    6,796.29-       0.00       0.00   6796.29-
                                     59310.15- NEW PRINCIPAL/ESCROW BALANCES
05-08-19 02-16 161 ESCROW ADVANCE
      136.85        0.00       0.00    136.85
                                     52513.86- NEW PRINCIPAL/ESCROW BALANCES
05-08-19 05-19 351 HAZARD INSURANCE
      136.85-       0.00       0.00    136.85-
                                     52513.86- NEW PRINCIPAL/ESCROW BALANCES
05-02-19 00-00 601 MISC. CORPORATE DISBURSEMENT
        1.75        0.00       0.00      0.00
04-29-19 00-00 601 MISC. CORPORATE DISBURSEMENT
        0.19        0.00       0.00      0.00
04-26-19 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                     52377.01- NEW PRINCIPAL/ESCROW BALANCES
04-26-19 04-19 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                     52377.01- NEW PRINCIPAL/ESCROW BALANCES
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-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
04-26-19 00-00 631 PROPERTY PRESERVATION
        95.00       0.00       0.00      0.00
04-25-19 00-00 631 PROPERTY PRESERVATION
        75.00       0.00       0.00      0.00
04-23-19 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
04-23-19 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
04-19-19 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.75       0.00       0.00      0.00
04-16-19 02-16 152 LATE CHARGE ASSESSMENT
         0.00       0.00       0.00      0.00      32.63-1 LATE CHARGES
04-10-19 00-00 633 MISC. F/C AND B/R EXPENSES
      220.00        0.00       0.00      0.00
04-10-19 00-00 633 MISC. F/C AND B/R EXPENSES
        95.00       0.00       0.00      0.00
04-10-19 00-00 633 MISC. F/C AND B/R EXPENSES
      105.00        0.00       0.00      0.00
04-10-19 00-00 633 MISC. F/C AND B/R EXPENSES
      105.00        0.00       0.00      0.00
04-10-19 00-00 633 MISC. F/C AND B/R EXPENSES
      105.00        0.00       0.00      0.00
04-10-19 00-00 633 MISC. F/C AND B/R EXPENSES
        95.00       0.00       0.00      0.00
04-10-19 00-00 633 MISC. F/C AND B/R EXPENSES
        81.56       0.00       0.00      0.00
04-10-19 00-00 630 ATTORNEY ADVANCES
      990.00        0.00       0.00      0.00
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-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
04-09-19 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.14       0.00       0.00      0.00
04-08-19 02-16 161 ESCROW ADVANCE
      136.85        0.00       0.00    136.85
                                     52136.21- NEW PRINCIPAL/ESCROW BALANCES
04-08-19 04-19 351 HAZARD INSURANCE
      136.85-       0.00       0.00    136.85-
                                     52136.21- NEW PRINCIPAL/ESCROW BALANCES
03-28-19 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
03-28-19 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
03-27-19 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.75       0.00       0.00      0.00
03-26-19 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                     51999.36- NEW PRINCIPAL/ESCROW BALANCES
03-26-19 03-19 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                     51999.36- NEW PRINCIPAL/ESCROW BALANCES
03-25-19 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.19       0.00       0.00      0.00
03-18-19 02-16 152 LATE CHARGE ASSESSMENT
         0.00       0.00       0.00      0.00      32.63-1 LATE CHARGES
03-12-19 00-00 631 PROPERTY PRESERVATION
      400.00        0.00       0.00      0.00
03-08-19 02-16 161 ESCROW ADVANCE
      136.85        0.00       0.00    136.85
                                     51758.56- NEW PRINCIPAL/ESCROW BALANCES
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-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
03-08-19 03-19 351 HAZARD INSURANCE
      136.85-       0.00       0.00    136.85-
                                     51758.56- NEW PRINCIPAL/ESCROW BALANCES
03-05-19 00-00 631 PROPERTY PRESERVATION
        85.00       0.00       0.00      0.00
03-05-19 00-00 631 PROPERTY PRESERVATION
      200.00        0.00       0.00      0.00
03-05-19 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.75       0.00       0.00      0.00
02-28-19 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
02-28-19 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
02-27-19 00-00 633 MISC. F/C AND B/R EXPENSES
      400.00        0.00       0.00      0.00
02-27-19 00-00 633 MISC. F/C AND B/R EXPENSES
      220.00        0.00       0.00      0.00
02-27-19 00-00 630 ATTORNEY ADVANCES
      990.00        0.00       0.00      0.00
02-26-19 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                     51621.71- NEW PRINCIPAL/ESCROW BALANCES
02-26-19 02-19 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                     51621.71- NEW PRINCIPAL/ESCROW BALANCES
02-26-19 00-00 631 PROPERTY PRESERVATION
        75.00       0.00       0.00      0.00
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-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
02-22-19 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.31       0.00       0.00      0.00
02-19-19 02-16 152 LATE CHARGE ASSESSMENT
         0.00       0.00       0.00      0.00      32.63-1 LATE CHARGES
02-12-19 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.75       0.00       0.00      0.00
02-08-19 02-16 161 ESCROW ADVANCE
      136.85        0.00       0.00    136.85
                                     51380.91- NEW PRINCIPAL/ESCROW BALANCES
02-08-19 02-19 351 HAZARD INSURANCE
      136.85-       0.00       0.00    136.85-
                                     51380.91- NEW PRINCIPAL/ESCROW BALANCES
01-29-19 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                     51244.06- NEW PRINCIPAL/ESCROW BALANCES
01-29-19 01-19 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                     51244.06- NEW PRINCIPAL/ESCROW BALANCES
01-25-19 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
01-25-19 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
01-16-19 02-16 152 LATE CHARGE ASSESSMENT
         0.00       0.00       0.00      0.00      32.63-1 LATE CHARGES
01-14-19 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.25       0.00       0.00      0.00
01-09-19 02-16 161 ESCROW ADVANCE
      136.85        0.00       0.00    136.85
                                     51003.26- NEW PRINCIPAL/ESCROW BALANCES
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-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
01-09-19 01-19 351 HAZARD INSURANCE
      136.85-       0.00       0.00    136.85-
                                     51003.26- NEW PRINCIPAL/ESCROW BALANCES
01-04-19 00-00 633 MISC. F/C AND B/R EXPENSES
      555.50        0.00       0.00      0.00
01-04-19 00-00 633 MISC. F/C AND B/R EXPENSES
    2,947.35        0.00       0.00      0.00
01-04-19 00-00 630 ATTORNEY ADVANCES
      215.00        0.00       0.00      0.00
12-28-18 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
12-28-18 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
12-26-18 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                     50866.41- NEW PRINCIPAL/ESCROW BALANCES
12-26-18 12-18 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                     50866.41- NEW PRINCIPAL/ESCROW BALANCES
12-20-18 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.75       0.00       0.00      0.00
12-18-18 02-16 161 ESCROW ADVANCE
    6,796.30        0.00       0.00   6796.30
                                     50625.61- NEW PRINCIPAL/ESCROW BALANCES
12-18-18 12-18 316 TOWN/BORO
    6,796.30-       0.00       0.00   6796.30-
                                     50625.61- NEW PRINCIPAL/ESCROW BALANCES
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 DATE      DATE  CODE                  DESCRIPTION               OF TRANSACTION
-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
12-18-18 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.29       0.00       0.00      0.00
12-17-18 02-16 152 LATE CHARGE ASSESSMENT
         0.00       0.00       0.00      0.00      32.63-1 LATE CHARGES
12-10-18 02-16 161 ESCROW ADVANCE
      136.85        0.00       0.00    136.85
                                     43829.31- NEW PRINCIPAL/ESCROW BALANCES
12-10-18 12-18 351 HAZARD INSURANCE
      136.85-       0.00       0.00    136.85-
                                     43829.31- NEW PRINCIPAL/ESCROW BALANCES
12-07-18 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
12-07-18 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
12-06-18 00-00 631 PROPERTY PRESERVATION
        75.00       0.00       0.00      0.00
12-05-18 00-00 631 PROPERTY PRESERVATION
        95.00       0.00       0.00      0.00
12-05-18 00-00 630 ATTORNEY ADVANCES
    1,485.00        0.00       0.00      0.00
11-29-18 00-00 633 MISC. F/C AND B/R EXPENSES
      325.00        0.00       0.00      0.00
11-26-18 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                     43692.46- NEW PRINCIPAL/ESCROW BALANCES
11-26-18 11-18 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                     43692.46- NEW PRINCIPAL/ESCROW BALANCES
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-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
11-19-18 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.75       0.00       0.00      0.00
11-16-18 02-16 152 LATE CHARGE ASSESSMENT
         0.00       0.00       0.00      0.00      32.63-1 LATE CHARGES
11-08-18 02-16 161 ESCROW ADVANCE
      136.85        0.00       0.00    136.85
                                     43451.66- NEW PRINCIPAL/ESCROW BALANCES
11-08-18 11-18 351 HAZARD INSURANCE
      136.85-       0.00       0.00    136.85-
                                     43451.66- NEW PRINCIPAL/ESCROW BALANCES
11-08-18 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.24       0.00       0.00      0.00
11-05-18 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
11-05-18 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
11-05-18 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.23       0.00       0.00      0.00
10-31-18 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.75       0.00       0.00      0.00
10-26-18 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                     43314.81- NEW PRINCIPAL/ESCROW BALANCES
10-26-18 10-18 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                     43314.81- NEW PRINCIPAL/ESCROW BALANCES
10-17-18 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
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-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
10-17-18 00-00 631 PROPERTY PRESERVATION
        1.50        0.00       0.00      0.00
10-16-18 02-16 152 LATE CHARGE ASSESSMENT
        0.00        0.00       0.00      0.00      32.63-1 LATE CHARGES
10-08-18 02-16 161 ESCROW ADVANCE
      136.85        0.00       0.00    136.85
                                     43074.01- NEW PRINCIPAL/ESCROW BALANCES
10-08-18 10-18 351 HAZARD INSURANCE
      136.85-       0.00       0.00    136.85-
                                     43074.01- NEW PRINCIPAL/ESCROW BALANCES
10-08-18 00-00 601 MISC. CORPORATE DISBURSEMENT
        1.75        0.00       0.00      0.00
09-28-18 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                     42937.16- NEW PRINCIPAL/ESCROW BALANCES
09-28-18 09-18 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                     42937.16- NEW PRINCIPAL/ESCROW BALANCES
09-17-18 02-16 152 LATE CHARGE ASSESSMENT
        0.00        0.00       0.00      0.00      32.63-1 LATE CHARGES
09-14-18 00-00 601 MISC. CORPORATE DISBURSEMENT
        1.75        0.00       0.00      0.00
09-12-18 02-16 161 ESCROW ADVANCE
      136.85        0.00       0.00    136.85
                                     42696.36- NEW PRINCIPAL/ESCROW BALANCES
09-12-18 09-18 351 HAZARD INSURANCE
      136.85-       0.00       0.00    136.85-
                                     42696.36- NEW PRINCIPAL/ESCROW BALANCES
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-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
08-29-18 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.33       0.00       0.00      0.00
08-28-18 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
08-28-18 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
08-27-18 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                     42559.51- NEW PRINCIPAL/ESCROW BALANCES
08-27-18 08-18 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                     42559.51- NEW PRINCIPAL/ESCROW BALANCES
08-24-18 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.29       0.00       0.00      0.00
08-16-18 02-16 152 LATE CHARGE ASSESSMENT
         0.00       0.00       0.00      0.00      32.63-1 LATE CHARGES
08-15-18 00-00 631 PROPERTY PRESERVATION
        60.00       0.00       0.00      0.00
08-08-18 02-16 161 ESCROW ADVANCE
      136.85        0.00       0.00    136.85
                                     42318.71- NEW PRINCIPAL/ESCROW BALANCES
08-08-18 05-19 351 HAZARD INSURANCE
      136.85-       0.00       0.00    136.85-
                                     42318.71- NEW PRINCIPAL/ESCROW BALANCES
07-30-18 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.75       0.00       0.00      0.00
07-27-18 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
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-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
07-27-18 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
07-26-18 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                     42181.86- NEW PRINCIPAL/ESCROW BALANCES
07-26-18 07-18 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                     42181.86- NEW PRINCIPAL/ESCROW BALANCES
07-25-18 00-00 711 PROPERTY PRESERVATION REPAYMENT
        12.00       0.00       0.00      0.00
07-25-18 00-00 631 PROPERTY PRESERVATION
        12.00       0.00       0.00      0.00
07-20-18 00-00 631 PROPERTY PRESERVATION
        12.00       0.00       0.00      0.00
07-16-18 02-16 152 LATE CHARGE ASSESSMENT
         0.00       0.00       0.00      0.00      32.63-1 LATE CHARGES
07-13-18 00-00 631 PROPERTY PRESERVATION
        75.00       0.00       0.00      0.00
07-10-18 02-16 161 ESCROW ADVANCE
      136.85        0.00       0.00    136.85
                                     41941.06- NEW PRINCIPAL/ESCROW BALANCES
07-10-18 07-18 351 HAZARD INSURANCE
      136.85-       0.00       0.00    136.85-
                                     41941.06- NEW PRINCIPAL/ESCROW BALANCES
06-29-18 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
06-29-18 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
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-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
06-28-18 00-00 631 PROPERTY PRESERVATION
      105.00        0.00       0.00      0.00
06-28-18 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.31       0.00       0.00      0.00
06-26-18 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                     41804.21- NEW PRINCIPAL/ESCROW BALANCES
06-26-18 06-18 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                     41804.21- NEW PRINCIPAL/ESCROW BALANCES
06-18-18 02-16 152 LATE CHARGE ASSESSMENT
         0.00       0.00       0.00      0.00      32.63-1 LATE CHARGES
06-08-18 02-16 161 ESCROW ADVANCE
      136.85        0.00       0.00    136.85
                                     41563.41- NEW PRINCIPAL/ESCROW BALANCES
06-08-18 06-18 351 HAZARD INSURANCE
      136.85-       0.00       0.00    136.85-
                                     41563.41- NEW PRINCIPAL/ESCROW BALANCES
05-30-18 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.26       0.00       0.00      0.00
05-29-18 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                     41426.56- NEW PRINCIPAL/ESCROW BALANCES
05-29-18 05-18 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                     41426.56- NEW PRINCIPAL/ESCROW BALANCES
05-29-18 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
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-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
05-25-18 00-00 601 MISC. CORPORATE DISBURSEMENT
        1.75        0.00       0.00      0.00
05-16-18 02-16 152 LATE CHARGE ASSESSMENT
        0.00        0.00       0.00      0.00      32.63-1 LATE CHARGES
05-15-18 02-16 161 ESCROW ADVANCE
    6,657.49        0.00       0.00   6657.49
                                     41185.76- NEW PRINCIPAL/ESCROW BALANCES
05-15-18 05-18 316 TOWN/BORO
    6,657.49-       0.00       0.00   6657.49-
                                     41185.76- NEW PRINCIPAL/ESCROW BALANCES
05-15-18 00-00 601 MISC. CORPORATE DISBURSEMENT
        1.75        0.00       0.00      0.00
05-15-18 00-00 601 MISC. CORPORATE DISBURSEMENT
        0.34        0.00       0.00      0.00
05-10-18 00-00 601 MISC. CORPORATE DISBURSEMENT
        1.75        0.00       0.00      0.00
05-09-18 02-16 161 ESCROW ADVANCE
      136.85        0.00       0.00    136.85
                                     34528.27- NEW PRINCIPAL/ESCROW BALANCES
05-09-18 05-18 351 HAZARD INSURANCE
      136.85-       0.00       0.00    136.85-
                                     34528.27- NEW PRINCIPAL/ESCROW BALANCES
05-08-18 00-00 601 MISC. CORPORATE DISBURSEMENT
        0.38        0.00       0.00      0.00
05-02-18 00-00 601 MISC. CORPORATE DISBURSEMENT
        0.41        0.00       0.00      0.00
05-02-18 00-00 601 MISC. CORPORATE DISBURSEMENT
        1.75        0.00       0.00      0.00
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-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
04-30-18 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
04-26-18 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                     34391.42- NEW PRINCIPAL/ESCROW BALANCES
04-26-18 04-18 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                     34391.42- NEW PRINCIPAL/ESCROW BALANCES
04-16-18 02-16 152 LATE CHARGE ASSESSMENT
         0.00       0.00       0.00      0.00      32.63-1 LATE CHARGES
04-11-18 02-16 161 ESCROW ADVANCE
      136.85        0.00       0.00    136.85
                                     34150.62- NEW PRINCIPAL/ESCROW BALANCES
04-11-18 04-18 351 HAZARD INSURANCE
      136.85-       0.00       0.00    136.85-
                                     34150.62- NEW PRINCIPAL/ESCROW BALANCES
04-10-18 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.43       0.00       0.00      0.00
04-09-18 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.37       0.00       0.00      0.00
03-30-18 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
03-29-18 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.75       0.00       0.00      0.00
03-26-18 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                     34013.77- NEW PRINCIPAL/ESCROW BALANCES
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-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
03-26-18 03-18 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                     34013.77- NEW PRINCIPAL/ESCROW BALANCES
03-22-18 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.18       0.00       0.00      0.00
03-16-18 02-16 152 LATE CHARGE ASSESSMENT
         0.00       0.00       0.00      0.00      32.63-1 LATE CHARGES
03-08-18 02-16 161 ESCROW ADVANCE
      136.85        0.00       0.00    136.85
                                     33772.97- NEW PRINCIPAL/ESCROW BALANCES
03-08-18 03-18 351 HAZARD INSURANCE
      136.85-       0.00       0.00    136.85-
                                     33772.97- NEW PRINCIPAL/ESCROW BALANCES
03-01-18 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
02-27-18 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                     33636.12- NEW PRINCIPAL/ESCROW BALANCES
02-27-18 02-18 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                     33636.12- NEW PRINCIPAL/ESCROW BALANCES
02-16-18 02-16 152 LATE CHARGE ASSESSMENT
         0.00       0.00       0.00      0.00      32.63-1 LATE CHARGES
02-08-18 02-16 161 ESCROW ADVANCE
      136.85        0.00       0.00    136.85
                                     33395.32- NEW PRINCIPAL/ESCROW BALANCES
02-08-18 02-18 351 HAZARD INSURANCE
      136.85-       0.00       0.00    136.85-
                                     33395.32- NEW PRINCIPAL/ESCROW BALANCES
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-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
01-31-18 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
01-31-18 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
01-29-18 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                     33258.47- NEW PRINCIPAL/ESCROW BALANCES
01-29-18 01-18 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                     33258.47- NEW PRINCIPAL/ESCROW BALANCES
01-24-18 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
01-24-18 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
01-22-18 02-16 161 ESCROW ADVANCE
      136.85        0.00       0.00    136.85
                                     33017.67- NEW PRINCIPAL/ESCROW BALANCES
01-22-18 01-18 351 HAZARD INSURANCE
      136.85-       0.00       0.00    136.85-
                                     33017.67- NEW PRINCIPAL/ESCROW BALANCES
01-18-18 00-00 631 PROPERTY PRESERVATION
        95.00       0.00       0.00      0.00
01-16-18 02-16 152 LATE CHARGE ASSESSMENT
         0.00       0.00       0.00      0.00      32.63-1 LATE CHARGES
01-09-18 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.01       0.00       0.00      0.00
01-04-18 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                     32880.82- NEW PRINCIPAL/ESCROW BALANCES
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 DATE      DATE  CODE                  DESCRIPTION               OF TRANSACTION
-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
01-04-18 12-17 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                     32880.82- NEW PRINCIPAL/ESCROW BALANCES
12-29-17 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.18       0.00       0.00      0.00
12-29-17 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.36       0.00       0.00      0.00
12-28-17 02-16 161 ESCROW ADVANCE
    6,657.50        0.00       0.00   6657.50
                                     32640.02- NEW PRINCIPAL/ESCROW BALANCES
12-28-17 12-17 316 TOWN/BORO
    6,657.50-       0.00       0.00   6657.50-
                                     32640.02- NEW PRINCIPAL/ESCROW BALANCES
12-18-17 02-16 152 LATE CHARGE ASSESSMENT
         0.00       0.00       0.00      0.00      32.63-1 LATE CHARGES
12-11-17 02-16 161 ESCROW ADVANCE
      136.85        0.00       0.00    136.85
                                     25982.52- NEW PRINCIPAL/ESCROW BALANCES
12-11-17 12-17 351 HAZARD INSURANCE
      136.85-       0.00       0.00    136.85-
                                     25982.52- NEW PRINCIPAL/ESCROW BALANCES
12-04-17 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
12-04-17 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
11-28-17 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                     25845.67- NEW PRINCIPAL/ESCROW BALANCES
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 DATE      DATE  CODE                  DESCRIPTION               OF TRANSACTION
-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
11-28-17 11-17 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                     25845.67- NEW PRINCIPAL/ESCROW BALANCES
11-16-17 02-16 152 LATE CHARGE ASSESSMENT
         0.00       0.00       0.00      0.00      32.63-1 LATE CHARGES
11-09-17 02-16 161 ESCROW ADVANCE
      136.85        0.00       0.00    136.85
                                     25604.87- NEW PRINCIPAL/ESCROW BALANCES
11-09-17 11-17 351 HAZARD INSURANCE
      136.85-       0.00       0.00    136.85-
                                     25604.87- NEW PRINCIPAL/ESCROW BALANCES
10-31-17 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.18       0.00       0.00      0.00
10-30-17 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                     25468.02- NEW PRINCIPAL/ESCROW BALANCES
10-30-17 10-17 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                     25468.02- NEW PRINCIPAL/ESCROW BALANCES
10-27-17 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
10-27-17 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
10-16-17 02-16 152 LATE CHARGE ASSESSMENT
         0.00       0.00       0.00      0.00      32.63-1 LATE CHARGES
10-11-17 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.33       0.00       0.00      0.00
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-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
10-10-17 02-16 161 ESCROW ADVANCE
      136.85        0.00       0.00    136.85
                                     25227.22- NEW PRINCIPAL/ESCROW BALANCES
10-10-17 10-17 351 HAZARD INSURANCE
      136.85-       0.00       0.00    136.85-
                                     25227.22- NEW PRINCIPAL/ESCROW BALANCES
10-09-17 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.18       0.00       0.00      0.00
09-29-17 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
09-29-17 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
09-27-17 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                     25090.37- NEW PRINCIPAL/ESCROW BALANCES
09-27-17 09-17 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                     25090.37- NEW PRINCIPAL/ESCROW BALANCES
09-19-17 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.33       0.00       0.00      0.00
09-18-17 02-16 152 LATE CHARGE ASSESSMENT
         0.00       0.00       0.00      0.00      32.63-1 LATE CHARGES
09-08-17 02-16 161 ESCROW ADVANCE
      136.85        0.00       0.00    136.85
                                     24849.57- NEW PRINCIPAL/ESCROW BALANCES
09-08-17 09-17 351 HAZARD INSURANCE
      136.85-       0.00       0.00    136.85-
                                     24849.57- NEW PRINCIPAL/ESCROW BALANCES
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-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
09-07-17 00-00 631 PROPERTY PRESERVATION
        75.00       0.00       0.00      0.00
08-29-17 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                     24712.72- NEW PRINCIPAL/ESCROW BALANCES
08-29-17 08-17 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                     24712.72- NEW PRINCIPAL/ESCROW BALANCES
08-29-17 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
08-29-17 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
08-23-17 00-00 631 PROPERTY PRESERVATION
        95.00       0.00       0.00      0.00
08-17-17 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.18       0.00       0.00      0.00
08-16-17 02-16 152 LATE CHARGE ASSESSMENT
         0.00       0.00       0.00      0.00      32.63-1 LATE CHARGES
08-16-17 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.30       0.00       0.00      0.00
08-04-17 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.18       0.00       0.00      0.00
08-02-17 02-16 161 ESCROW ADVANCE
      136.85        0.00       0.00    136.85
                                     24471.92- NEW PRINCIPAL/ESCROW BALANCES
08-02-17 08-17 351 HAZARD INSURANCE
      136.85-       0.00       0.00    136.85-
                                     24471.92- NEW PRINCIPAL/ESCROW BALANCES
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-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
07-26-17 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
07-26-17 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
07-20-17 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                     24335.07- NEW PRINCIPAL/ESCROW BALANCES
07-20-17 07-17 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                     24335.07- NEW PRINCIPAL/ESCROW BALANCES
07-19-17 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.28       0.00       0.00      0.00
07-17-17 02-16 152 LATE CHARGE ASSESSMENT
         0.00       0.00       0.00      0.00      32.63-1 LATE CHARGES
07-07-17 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.18       0.00       0.00      0.00
07-06-17 02-16 161 ESCROW ADVANCE
      136.85        0.00       0.00    136.85
                                     24094.27- NEW PRINCIPAL/ESCROW BALANCES
07-06-17 07-17 351 HAZARD INSURANCE
      136.85-       0.00       0.00    136.85-
                                     24094.27- NEW PRINCIPAL/ESCROW BALANCES
06-27-17 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
06-27-17 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
06-20-17 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                     23957.42- NEW PRINCIPAL/ESCROW BALANCES
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-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
06-20-17 06-17 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                     23957.42- NEW PRINCIPAL/ESCROW BALANCES
06-16-17 02-16 152 LATE CHARGE ASSESSMENT
         0.00       0.00       0.00      0.00      32.63-1 LATE CHARGES
06-05-17 02-16 161 ESCROW ADVANCE
      136.85        0.00       0.00    136.85
                                     23716.62- NEW PRINCIPAL/ESCROW BALANCES
06-05-17 06-17 351 HAZARD INSURANCE
      136.85-       0.00       0.00    136.85-
                                     23716.62- NEW PRINCIPAL/ESCROW BALANCES
06-02-17 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.31       0.00       0.00      0.00
05-30-17 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.18       0.00       0.00      0.00
05-25-17 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
05-25-17 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
05-22-17 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                     23579.77- NEW PRINCIPAL/ESCROW BALANCES
05-22-17 05-17 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                     23579.77- NEW PRINCIPAL/ESCROW BALANCES
05-19-17 02-16 161 ESCROW ADVANCE
    6,606.56        0.00       0.00   6606.56
                                     23338.97- NEW PRINCIPAL/ESCROW BALANCES
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-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
05-19-17 05-17 316 TOWN/BORO
    6,606.56-       0.00       0.00   6606.56-
                                     23338.97- NEW PRINCIPAL/ESCROW BALANCES
05-03-17 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.27       0.00       0.00      0.00
05-02-17 02-16 161 ESCROW ADVANCE
      147.58        0.00       0.00    147.58
                                     16732.41- NEW PRINCIPAL/ESCROW BALANCES
05-02-17 05-17 351 HAZARD INSURANCE
      147.58-       0.00       0.00    147.58-
                                     16732.41- NEW PRINCIPAL/ESCROW BALANCES
04-27-17 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
04-27-17 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
04-21-17 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.18       0.00       0.00      0.00
04-20-17 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                     16584.83- NEW PRINCIPAL/ESCROW BALANCES
04-20-17 04-17 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                     16584.83- NEW PRINCIPAL/ESCROW BALANCES
04-20-17 00-00 631 PROPERTY PRESERVATION
        12.50       0.00       0.00      0.00
04-17-17 02-16 152 LATE CHARGE ASSESSMENT
         0.00       0.00       0.00      0.00      32.63-1 LATE CHARGES
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-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
04-14-17 00-00 631 PROPERTY PRESERVATION
        65.00       0.00       0.00      0.00
04-13-17 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.18       0.00       0.00      0.00
04-12-17 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.37       0.00       0.00      0.00
04-12-17 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.31       0.00       0.00      0.00
04-12-17 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.32       0.00       0.00      0.00
04-12-17 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.35       0.00       0.00      0.00
04-04-17 02-16 161 ESCROW ADVANCE
      147.58        0.00       0.00    147.58
                                     16344.03- NEW PRINCIPAL/ESCROW BALANCES
04-04-17 04-17 351 HAZARD INSURANCE
      147.58-       0.00       0.00    147.58-
                                     16344.03- NEW PRINCIPAL/ESCROW BALANCES
03-29-17 00-00 631 PROPERTY PRESERVATION
        95.00       0.00       0.00      0.00
03-27-17 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
03-27-17 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
03-21-17 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                     16196.45- NEW PRINCIPAL/ESCROW BALANCES
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-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
03-21-17 03-17 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                     16196.45- NEW PRINCIPAL/ESCROW BALANCES
03-16-17 02-16 152 LATE CHARGE ASSESSMENT
         0.00       0.00       0.00      0.00      32.63-1 LATE CHARGES
03-13-17 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.18       0.00       0.00      0.00
03-02-17 02-16 161 ESCROW ADVANCE
      147.58        0.00       0.00    147.58
                                     15955.65- NEW PRINCIPAL/ESCROW BALANCES
03-02-17 03-17 351 HAZARD INSURANCE
      147.58-       0.00       0.00    147.58-
                                     15955.65- NEW PRINCIPAL/ESCROW BALANCES
02-27-17 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
02-27-17 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
02-22-17 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                     15808.07- NEW PRINCIPAL/ESCROW BALANCES
02-22-17 02-17 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                     15808.07- NEW PRINCIPAL/ESCROW BALANCES
02-16-17 02-16 152 LATE CHARGE ASSESSMENT
         0.00       0.00       0.00      0.00      32.63-1 LATE CHARGES
02-08-17 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.18       0.00       0.00      0.00
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-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
02-03-17 02-16 161 ESCROW ADVANCE
      147.58        0.00       0.00    147.58
                                     15567.27- NEW PRINCIPAL/ESCROW BALANCES
02-03-17 02-17 351 HAZARD INSURANCE
      147.58-       0.00       0.00    147.58-
                                     15567.27- NEW PRINCIPAL/ESCROW BALANCES
01-31-17 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
01-31-17 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
01-20-17 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                     15419.69- NEW PRINCIPAL/ESCROW BALANCES
01-20-17 01-17 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                     15419.69- NEW PRINCIPAL/ESCROW BALANCES
01-17-17 02-16 152 LATE CHARGE ASSESSMENT
         0.00       0.00       0.00      0.00      32.63-1 LATE CHARGES
01-12-17 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.18       0.00       0.00      0.00
01-04-17 02-16 161 ESCROW ADVANCE
      147.58        0.00       0.00    147.58
                                     15178.89- NEW PRINCIPAL/ESCROW BALANCES
01-04-17 01-17 351 HAZARD INSURANCE
      147.58-       0.00       0.00    147.58-
                                     15178.89- NEW PRINCIPAL/ESCROW BALANCES
12-30-16 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
                     CUSTOMER ACCOUNT ACTIVITY STATEMENT         DATE 08/26/21
REQ BY LZ1                                                            PAGE 50


RYSZARD KOZIKOWSKI
LOAN NUMBER:

                 ACTIVITY FOR PERIOD 01/01/00 - 08/25/21
PROCESS    DUE   TRANSACTION           TRANSACTION               EFFECTIVE DATE
 DATE      DATE  CODE                  DESCRIPTION               OF TRANSACTION
-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
12-30-16 00-00 631 PROPERTY PRESERVATION
        1.50        0.00       0.00      0.00
12-29-16 02-16 161 ESCROW ADVANCE
    6,606.57        0.00       0.00   6606.57
                                     15031.31- NEW PRINCIPAL/ESCROW BALANCES
12-29-16 12-16 316 TOWN/BORO
    6,606.57-       0.00       0.00   6606.57-
                                     15031.31- NEW PRINCIPAL/ESCROW BALANCES
12-20-16 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                      8424.74- NEW PRINCIPAL/ESCROW BALANCES
12-20-16 12-16 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                      8424.74- NEW PRINCIPAL/ESCROW BALANCES
12-16-16 02-16 152 LATE CHARGE ASSESSMENT
        0.00        0.00       0.00      0.00      32.63-1 LATE CHARGES
12-08-16 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                      8183.94- NEW PRINCIPAL/ESCROW BALANCES
12-08-16 11-16 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                      8183.94- NEW PRINCIPAL/ESCROW BALANCES
12-07-16 02-16 161 ESCROW ADVANCE
      240.80        0.00       0.00    240.80
                                      7943.14- NEW PRINCIPAL/ESCROW BALANCES
12-07-16 10-16 352 FLOOD INSURANCE DISBURSEMENT
      240.80-       0.00       0.00    240.80-
                                      7943.14- NEW PRINCIPAL/ESCROW BALANCES
                     CUSTOMER ACCOUNT ACTIVITY STATEMENT         DATE 08/26/21
REQ BY LZ1                                                            PAGE 51


RYSZARD KOZIKOWSKI
LOAN NUMBER:

                 ACTIVITY FOR PERIOD 01/01/00 - 08/25/21
PROCESS    DUE   TRANSACTION           TRANSACTION               EFFECTIVE DATE
 DATE      DATE  CODE                  DESCRIPTION               OF TRANSACTION
-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
12-07-16 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.63       0.00       0.00      0.00
12-05-16 02-16 161 ESCROW ADVANCE
      147.58        0.00       0.00    147.58
                                      7702.34- NEW PRINCIPAL/ESCROW BALANCES
12-05-16 12-16 351 HAZARD INSURANCE
      147.58-       0.00       0.00    147.58-
                                      7702.34- NEW PRINCIPAL/ESCROW BALANCES
11-29-16 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.18       0.00       0.00      0.00
11-28-16 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
11-28-16 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
11-16-16 02-16 152 LATE CHARGE ASSESSMENT
         0.00       0.00       0.00      0.00      32.63-1 LATE CHARGES
11-09-16 00-00 631 PROPERTY PRESERVATION
        12.50       0.00       0.00      0.00
11-07-16 02-16 161 ESCROW ADVANCE
      147.58        0.00       0.00    147.58
                                      7554.76- NEW PRINCIPAL/ESCROW BALANCES
11-07-16 11-16 351 HAZARD INSURANCE
      147.58-       0.00       0.00    147.58-
                                      7554.76- NEW PRINCIPAL/ESCROW BALANCES
11-01-16 00-00 601 MISC. CORPORATE DISBURSEMENT
         0.79       0.00       0.00      0.00
10-31-16 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.18       0.00       0.00      0.00
                     CUSTOMER ACCOUNT ACTIVITY STATEMENT         DATE 08/26/21
REQ BY LZ1                                                            PAGE 52


RYSZARD KOZIKOWSKI
LOAN NUMBER:

                 ACTIVITY FOR PERIOD 01/01/00 - 08/25/21
PROCESS    DUE   TRANSACTION           TRANSACTION               EFFECTIVE DATE
 DATE      DATE  CODE                  DESCRIPTION               OF TRANSACTION
-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
10-26-16 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.18       0.00       0.00      0.00
10-25-16 00-00 631 PROPERTY PRESERVATION
        90.00       0.00       0.00      0.00
10-25-16 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
10-25-16 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
10-24-16 00-00 631 PROPERTY PRESERVATION
        65.00       0.00       0.00      0.00
10-17-16 02-16 152 LATE CHARGE ASSESSMENT
         0.00       0.00       0.00      0.00      32.63-1 LATE CHARGES
10-06-16 02-16 161 ESCROW ADVANCE
      147.58        0.00       0.00    147.58
                                      7407.18- NEW PRINCIPAL/ESCROW BALANCES
10-06-16 10-16 351 HAZARD INSURANCE
      147.58-       0.00       0.00    147.58-
                                      7407.18- NEW PRINCIPAL/ESCROW BALANCES
09-30-16 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
09-30-16 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
09-16-16 02-16 152 LATE CHARGE ASSESSMENT
         0.00       0.00       0.00      0.00      32.63-1 LATE CHARGES
09-15-16 00-00 601 MISC. CORPORATE DISBURSEMENT
         5.00       0.00       0.00      0.00
09-07-16 02-16 161 ESCROW ADVANCE
      590.32        0.00       0.00    590.32
                                      7259.60- NEW PRINCIPAL/ESCROW BALANCES
                     CUSTOMER ACCOUNT ACTIVITY STATEMENT         DATE 08/26/21
REQ BY LZ1                                                            PAGE 53


RYSZARD KOZIKOWSKI
LOAN NUMBER:

                 ACTIVITY FOR PERIOD 01/01/00 - 08/25/21
PROCESS    DUE   TRANSACTION           TRANSACTION               EFFECTIVE DATE
 DATE      DATE  CODE                  DESCRIPTION               OF TRANSACTION
-------------------------------------------------------------------------------
  TRANSACTION PRIN. PAID/           ESCROW PAID/ ------------OTHER-------------
    AMOUNT      BALANCE    INTEREST   BALANCE    AMOUNT CODE/DESCRIPTION
-------------------------------------------------------------------------------
09-07-16 06-16 351 HAZARD INSURANCE
      590.32-       0.00       0.00    590.32-
                                      7259.60- NEW PRINCIPAL/ESCROW BALANCES
09-06-16 00-00 601 MISC. CORPORATE DISBURSEMENT
         1.18       0.00       0.00      0.00
08-29-16 00-00 631 PROPERTY PRESERVATION
         1.50       0.00       0.00      0.00
08-29-16 00-00 631 PROPERTY PRESERVATION
        15.00       0.00       0.00      0.00
08-16-16 02-16 152 LATE CHARGE ASSESSMENT
         0.00       0.00       0.00      0.00      32.63-1 LATE CHARGES
                                         Account History:                            [ Account Data Views:102 ]

Borrower:         KOZIKOWSKI,RYSZARD            Address: 99 WILSON AVENUE        Prin Bal:         $396,242.80                                   Investor Type:      Other
Co-Borrower Name:                               City:     AMITYVILLE             Add Prin Bal:     $169,818.35 (P)                               Investor #:
Due Date:         02/01/2016                    State:    NY                     Account Type:     First Mortgage - Conventional Without PMI     Investor Account #:
Last Pmt Appd On:                               Zip Code: 11701-0000             Total Pmt Amt:    $3,266.50                                     PLS Client ID:


                           Request Criteria: Type = All, Date Range = From 08/01/2021 To 12/01/2022

Row Count = 148
Transaction             Applied                        Principal   Interest     Escrow                                Suspense    Corp Adv       L/C Amt    Fee Amt     Fee
                                   Due Date Payment                                           Esc Bal   Adv Bal
Description             Dt                             Applied     Applied      Applied                               Applied     Applied        Applied    Applied     Cd
Misc Corporate Adv
                        11/29/2022                                                                      $118,621.70                      $1.83
Disb
Escrow Advance          11/22/2022 02/01/2016 $240.91                               $240.91             $118,621.70
Flood Ins Disbursement 11/22/2022 11/01/2022 -$240.91                              -$240.91    -$240.91 $118,380.79
Escrow Advance          11/02/2022 02/01/2016 $169.00                               $169.00             $118,380.79
Hazard Ins Disbursement 11/02/2022 11/01/2022 -$169.00                             -$169.00    -$169.00 $118,211.79
Misc Corporate Adv
                        10/31/2022                                                                      $118,211.79                      $0.13
Disb
Misc Corporate Adv
                        10/27/2022                                                                      $118,211.79                      $1.83
Disb
Property Pres Corp Adv 10/25/2022                                                                       $118,211.79                     $20.00
Escrow Advance          10/20/2022 02/01/2016 $240.91                               $240.91             $118,211.79
Flood Ins Disbursement 10/20/2022 10/01/2022 -$240.91                              -$240.91    -$240.91 $117,970.88
Escrow Advance          10/04/2022 02/01/2016 $169.00                               $169.00             $117,970.88
Hazard Ins Disbursement 10/04/2022 10/01/2022 -$169.00                             -$169.00    -$169.00 $117,801.88
Misc Corporate Adv
                        09/29/2022                                                                      $117,801.88                      $0.13
Disb
Misc Corporate Adv
                        09/26/2022                                                                      $117,801.88                      $1.83
Disb
Property Pres Corp Adv 09/23/2022                                                                       $117,801.88                     $20.00
Escrow Advance          09/20/2022 02/01/2016 $240.91                               $240.91             $117,801.88
Flood Ins Disbursement 09/20/2022 09/01/2022 -$240.91                              -$240.91    -$240.91 $117,560.97
Misc Corporate Adv
                        09/12/2022                                                                      $117,560.97                      $0.14
Disb
Escrow Advance          09/02/2022 02/01/2016 $169.00                               $169.00             $117,560.97
Hazard Ins Disbursement 09/02/2022 09/01/2022 -$169.00                             -$169.00    -$169.00 $117,391.97
Attorney Corp Advance 08/31/2022                                                                        $117,391.97                  $1,505.00
Misc Corporate Adv
                        08/26/2022                                                                      $117,391.97                      $1.83
Disb
Property Pres Corp Adv 08/25/2022                                                                       $117,391.97                     $20.00
Misc Corporate Adv
                        08/23/2022                                                                      $117,391.97                      $0.17
Disb
Escrow Advance          08/22/2022 02/01/2016 $240.91                               $240.91             $117,391.97
Flood Ins Disbursement 08/22/2022 08/01/2022 -$240.91                              -$240.91    -$240.91 $117,151.06
Escrow Advance          08/02/2022 02/01/2016 $169.00                               $169.00             $117,151.06
Hazard Ins Disbursement 08/02/2022 08/01/2022 -$169.00                             -$169.00    -$169.00 $116,982.06
Misc Corporate Adv
                        08/02/2022                                                                      $116,982.06                      $1.83
Disb
Property Pres Corp Adv 07/28/2022                                                                       $116,982.06                   $200.00
Property Pres Corp Adv 07/28/2022                                                                       $116,982.06                    $85.00
Property Pres Corp Adv 07/27/2022                                                                       $116,982.06                    $20.00
Property Pres Corp Adv 07/27/2022                                                                       $116,982.06                     $1.50
Escrow Advance          07/20/2022 02/01/2016 $240.91                               $240.91             $116,982.06
Flood Ins Disbursement 07/20/2022 07/01/2022 -$240.91                              -$240.91    -$240.91 $116,741.15
Escrow Advance          07/04/2022 02/01/2016 $169.00                               $169.00             $116,741.15
Hazard Ins Disbursement 07/04/2022 07/01/2022 -$169.00                             -$169.00    -$169.00 $116,572.15
Property Pres Corp Adv 06/28/2022                                                                       $116,572.15                     $20.00
Property Pres Corp Adv 06/28/2022                                                                       $116,572.15                      $1.50
Property Pres Corp Adv 06/24/2022                                                                       $116,572.15                     $95.00
Misc Corporate Adv
                        06/22/2022                                                                      $116,572.15                      $1.83
Disb
Escrow Advance          06/21/2022 02/01/2016 $240.91                               $240.91             $116,572.15
Flood Ins Disbursement 06/21/2022 06/01/2022 -$240.91                              -$240.91    -$240.91 $116,331.24
Misc Corporate Adv
                        06/17/2022                                                                      $116,331.24                      $0.16
Disb
Escrow Advance          06/02/2022 02/01/2016 $169.00                               $169.00             $116,331.24
Hazard Ins Disbursement 06/02/2022 06/01/2022 -$169.00                             -$169.00    -$169.00 $116,162.24
Property Pres Corp Adv 06/01/2022                                                                       $116,162.24                     $20.00
Property Pres Corp Adv 06/01/2022                                                                       $116,162.24                      $1.50
Misc Corporate Adv
                        05/27/2022                                                                      $116,162.24                      $1.83
Disb
Misc Corporate Adv

                                                                              Page 1 of 3                                        Generated: 12/01/2022 3:34:23 PM
Disb                    05/25/2022                                                   $116,162.24         $0.14
Escrow Advance          05/20/2022 02/01/2016 $240.91             $240.91            $116,162.24
Flood Ins Disbursement 05/20/2022 05/01/2022 -$240.91            -$240.91 -$240.91 $115,921.33
Escrow Advance          05/13/2022 02/01/2016 $7,154.67         $7,154.67            $115,921.33
Tax Disbursement        05/13/2022 05/01/2022 -$7,154.67       -$7,154.67 -$7,154.67 $108,766.66
Property Pres Corp Adv 05/04/2022                                                    $108,766.66         $1.50
Property Pres Corp Adv 05/04/2022                                                    $108,766.66        $15.00
Escrow Advance          05/03/2022 02/01/2016 $169.00             $169.00            $108,766.66
Hazard Ins Disbursement 05/03/2022 05/01/2022 -$169.00           -$169.00 -$169.00 $108,597.66
Misc Corporate Adv
                        05/02/2022                                                  $108,597.66          $1.83
Disb
Misc Corporate Adv
                        04/27/2022                                                  $108,597.66          $0.16
Disb
Escrow Advance          04/20/2022 02/01/2016 $240.91            $240.91            $108,597.66
Flood Ins Disbursement 04/20/2022 04/01/2022 -$240.91           -$240.91   -$240.91 $108,356.75
Misc Default Exp Corp
                        04/18/2022                                                  $108,356.75        $226.58
Adv
Fee Waive/Assess        04/05/2022 02/01/2016                                       $108,356.75                            $783.12 C
Escrow Advance          04/04/2022 02/01/2016 $169.00            $169.00            $108,356.75
Hazard Ins Disbursement 04/04/2022 04/01/2022 -$169.00          -$169.00   -$169.00 $108,187.75
Property Pres Corp Adv 03/31/2022                                                   $108,187.75          $1.50
Property Pres Corp Adv 03/31/2022                                                   $108,187.75         $15.00
Misc Corporate Adv
                        03/30/2022                                                  $108,187.75          $1.83
Disb
Misc Corporate Adv
                        03/28/2022                                                  $108,187.75          $0.20
Disb
Escrow Advance          03/22/2022 02/01/2016 $240.91            $240.91            $108,187.75
Flood Ins Disbursement 03/22/2022 03/01/2022 -$240.91           -$240.91   -$240.91 $107,946.84
Attorney Corp Advance 03/21/2022                                                    $107,946.84        $602.00
Property Pres Corp Adv
                        03/16/2022              $570.00                             $107,946.84        $570.00
Repay
Misc Corporate Adv
                        03/08/2022                                                  $107,946.84        $570.00
Disb
Escrow Advance          03/02/2022 02/01/2016 $169.00            $169.00            $107,946.84
Hazard Ins Disbursement 03/02/2022 03/01/2022 -$169.00          -$169.00   -$169.00 $107,777.84
Misc Corporate Adv
                        03/01/2022                                                  $107,777.84          $1.83
Disb
Property Pres Corp Adv 02/28/2022                                                   $107,777.84          $1.50
Property Pres Corp Adv 02/28/2022                                                   $107,777.84         $15.00
Misc Corporate Adv
                        02/25/2022                                                  $107,777.84          $0.15
Disb
Escrow Advance          02/23/2022 02/01/2016 $240.91            $240.91            $107,777.84
Flood Ins Disbursement 02/23/2022 02/01/2022 -$240.91           -$240.91   -$240.91 $107,536.93
Escrow Advance          02/02/2022 02/01/2016 $169.00            $169.00            $107,536.93
Hazard Ins Disbursement 02/02/2022 02/01/2022 -$169.00          -$169.00   -$169.00 $107,367.93
Misc Corporate Adv
                        01/28/2022                                                  $107,367.93          $1.83
Disb
Property Pres Corp Adv 01/25/2022                                                   $107,367.93         $15.00
Property Pres Corp Adv 01/25/2022                                                   $107,367.93          $1.50
Misc Corporate Adv
                        01/25/2022                                                  $107,367.93          $0.13
Disb
Escrow Advance          01/20/2022 02/01/2016 $240.91            $240.91            $107,367.93
Flood Ins Disbursement 01/20/2022 01/01/2022 -$240.91           -$240.91   -$240.91 $107,127.02
Late Charge Assessed    01/18/2022 02/01/2016                                       $107,127.02                  -$32.63
Escrow Advance          01/04/2022 02/01/2016 $169.00            $169.00            $107,127.02
Hazard Ins Disbursement 01/04/2022 01/01/2022 -$169.00          -$169.00   -$169.00 $106,958.02
Property Pres Corp Adv 12/30/2021                                                   $106,958.02         $85.00
Property Pres Corp Adv 12/30/2021                                                   $106,958.02        $200.00
Misc Corporate Adv
                        12/29/2021                                                  $106,958.02          $1.83
Disb
Property Pres Corp Adv 12/27/2021                                                   $106,958.02         $15.00
Property Pres Corp Adv 12/27/2021                                                   $106,958.02          $1.50
Misc Corporate Adv
                        12/23/2021                                                  $106,958.02          $0.13
Disb
Escrow Advance          12/22/2021 02/01/2016 $7,154.67         $7,154.67           $106,958.02
Tax Disbursement        12/22/2021 12/01/2021 -$7,154.67       -$7,154.67 -$7,154.67 $99,803.35
Escrow Advance          12/21/2021 02/01/2016 $240.91             $240.91            $99,803.35
Flood Ins Disbursement 12/21/2021 12/01/2021 -$240.91            -$240.91 -$240.91 $99,562.44
Late Charge Assessed    12/16/2021 02/01/2016                                        $99,562.44                  -$32.63
Misc Corporate Adv
                        12/08/2021                                                   $99,562.44          $1.83
Disb
Misc Corporate Adv
                        12/03/2021                                                   $99,562.44          $0.13
Disb
Escrow Advance          12/02/2021 02/01/2016 $169.00            $169.00            $99,562.44
Hazard Ins Disbursement 12/02/2021 12/01/2021 -$169.00          -$169.00   -$169.00 $99,393.44
Property Pres Corp Adv 11/23/2021                                                   $99,393.44           $1.50



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Property Pres Corp Adv 11/23/2021                                                   $99,393.44        $15.00
Escrow Advance          11/22/2021 02/01/2016    $240.91         $240.91            $99,393.44
Flood Ins Disbursement 11/22/2021 11/01/2021    -$240.91        -$240.91   -$240.91 $99,152.53
Late Charge Assessed    11/16/2021 02/01/2016                                       $99,152.53                 -$32.63
Escrow Advance          11/02/2021 02/01/2016    $169.00         $169.00            $99,152.53
Hazard Ins Disbursement 11/02/2021 11/01/2021   -$169.00        -$169.00   -$169.00 $98,983.53
Property Pres Corp Adv 11/02/2021                                                   $98,983.53        $75.00
Misc Corporate Adv
                        10/28/2021                                                  $98,983.53         $1.83
Disb
Misc Corporate Adv
                        10/26/2021                                                  $98,983.53         $0.13
Disb
Attorney Corp Advance 10/25/2021                                                    $98,983.53       $107.50
Property Pres Corp Adv 10/21/2021                                                   $98,983.53         $1.50
Property Pres Corp Adv 10/21/2021                                                   $98,983.53        $15.00
Escrow Advance          10/20/2021 02/01/2016    $240.91         $240.91            $98,983.53
Flood Ins Disbursement 10/20/2021 10/01/2021    -$240.91        -$240.91   -$240.91 $98,742.62
Late Charge Assessed    10/18/2021 02/01/2016                                       $98,742.62                 -$32.63
Property Pres Corp Adv 10/06/2021                                                   $98,742.62        $95.00
Escrow Advance          10/04/2021 02/01/2016    $169.00         $169.00            $98,742.62
Hazard Ins Disbursement 10/04/2021 10/01/2021   -$169.00        -$169.00   -$169.00 $98,573.62
Property Pres Corp Adv 09/28/2021                                                   $98,573.62         $1.50
Property Pres Corp Adv 09/28/2021                                                   $98,573.62        $15.00
Misc Corporate Adv
                        09/28/2021                                                  $98,573.62         $1.83
Disb
Misc Corporate Adv
                        09/24/2021                                                  $98,573.62         $0.12
Disb
Escrow Advance          09/21/2021 02/01/2016    $240.91         $240.91            $98,573.62
Flood Ins Disbursement 09/21/2021 09/01/2021    -$240.91        -$240.91   -$240.91 $98,332.71
Property Pres Corp Adv 09/21/2021                                                   $98,332.71        $15.00
Property Pres Corp Adv 09/21/2021                                                   $98,332.71         $1.50
Late Charge Assessed    09/16/2021 02/01/2016                                       $98,332.71                 -$32.63
Escrow Advance          09/02/2021 02/01/2016    $169.00         $169.00            $98,332.71
Hazard Ins Disbursement 09/02/2021 09/01/2021   -$169.00        -$169.00   -$169.00 $98,163.71
Misc Corporate Adv
                        08/27/2021                                                  $98,163.71         $1.83
Disb
Misc Corporate Adv
                        08/24/2021                                                  $98,163.71         $0.11
Disb
Property Pres Corp Adv 08/23/2021                                                   $98,163.71         $1.50
Property Pres Corp Adv 08/23/2021                                                   $98,163.71        $15.00
Escrow Advance          08/20/2021 02/01/2016    $240.91         $240.91            $98,163.71
Flood Ins Disbursement 08/20/2021 08/01/2021    -$240.91        -$240.91   -$240.91 $97,922.80
Late Charge Assessed    08/16/2021 02/01/2016                                       $97,922.80                 -$32.63
Escrow Advance          08/03/2021 02/01/2016    $169.00         $169.00            $97,922.80
Hazard Ins Disbursement 08/03/2021 08/01/2021   -$169.00        -$169.00   -$169.00 $97,753.80




                                                           Page 3 of 3                           Generated: 12/01/2022 3:34:23 PM
EXHIBIT 6
                      7600367995_NOI_000048_04252018




                                                            ANNA CHELSTOWSKA


  Rushmore Loan Management Services LLC
  PO Box 111209
  Nashville, TN 37222
  (For Return Mail Only)

7600367995 81150355 NC120 900845 01




                                                                               April 25, 2018




                                      000048 S2BA
                                      ANNA CHELSTOWSKA
                                      99 WILSON AVE
                                      AMITYVILLE NY 11701
             Rushmore Loan Management Services LLC
             PO Box 111209
             Nashville, TN 37222
             (For Return Mail Only)




   000048 S2BA
                                                                                    Date: April 25, 2018
   RYSZARD KOZIKOWSKI
   CZESLAW CHELSTOWSKI
   ANNA CHELSTOWSKA
   99 WILSON AVE                                                                    RE: Loan Number:
   AMITYVILLE, NY 11701
                                                                                    Property Address:
                                                                                    99 WILSON AVENUE
                                                                                    AMITYVILLE, NY 11701




Dear Mortgagor(s):
                       YOU MAY BE AT RISK OF FORECLOSURE.
                  PLEASE READ THE FOLLOWING NOTICE CAREFULLY
As of April 25, 2018, your home loan is 814 days, and $88,848.10 dollars in default.
Under New York state law, we are required to send you this notice to inform you that you are
at risk of losing your home.
Attached to this notice is a list of government approved housing counseling agencies in your
area which provide free counseling.
You can also call the NYS Office of the Attorney General’s Homeowner Protection Program
(HOPP) toll-free consumer hotline to be connected to free housing counseling services in
your area at 1-855-HOME-456 (1-855-466-3456), or visit their website at
http://www.aghomehelp.com/. A statewide listing by county is also available at:
http://www.dfs.ny.gov/consumer/mortg_nys_np_counseling_agencies.htm
Qualified free help is available; watch out for companies or people who charge a fee for these
services.
Housing counselors from New York-based agencies listed on the website above are trained to
help homeowners who are having problems making their mortgage payments and can help
you find the best option for your situation. If you wish, you may contact the Loss Mitigation
Department at 1-888-504-7300.




                                               Rushmore Loan Management Services LLC
                                             15480 Laguna Canyon Rd. #100, Irvine, CA 92618
 NC120-NY 90Day-16                                                                                         Page 2
While we cannot assure that a mutually agreeable resolution is possible, we encourage you to
take immediate steps to try to achieve a resolution. The longer you wait the fewer options you
may have.
If you have not taken any actions to resolve this matter within 90 days from the date this notice
was mailed, we may commence legal action against you (or sooner if you cease to live in the
dwelling as your primary residence).
If you need further information, please call the New York State Department of Financial
Services’ toll-free helpline at 800-342-3736 or visit the Department’s website at
http://www.dfs.ny.gov.
IMPORTANT: You have the right to remain in your home until you receive a court order
telling you to leave the property. If a foreclosure action is filed against you in court, you still
have the right to remain in the home until court orders you to leave. You legally remain the
owner of and are responsible for the property until the property is sold by you or by order of
the court at the conclusion of any foreclosure proceedings. This notice is not an eviction
notice, and a foreclosure action has not yet been commenced against you.
This matter is very important. Please give it your immediate attention.
Sincerely,
Rushmore Loan Management Services LLC
15480 Laguna Canyon Rd. #100
Irvine, CA 92618
PH: 1-888-504-7300
FAX: 949-341-2200

It is possible that after payment of the amounts detailed above, there may be other fees
still due and owing, including but not limited to other fees, escrow advances or corporate
advances that Rushmore paid on your behalf or advanced to your account.
(See disclosures on page 3)




                                     Rushmore Loan Management Services LLC
                                   15480 Laguna Canyon Rd. #100, Irvine, CA 92618
  NC120-NY 90Day-16                                                                      Page 3
Federal law requires us to advise you that Rushmore Loan Management Services LLC is a debt
collector and that this is an attempt to collect a debt. Any information obtained may be used for
that purpose. To the extent your obligation has been discharged or is subject to the automatic
stay in a bankruptcy proceeding, this notice is for informational purposes only and does not
constitute a demand for payment or an attempt to collect indebtedness as your personal
obligation. If you are represented by an attorney, please provide us with the attorney’s name,
address and telephone number.
For New York Residents: Please be advised that Rushmore Loan Management Services LLC is
registered with the Superintendent of Financial Services for the State of New York. Borrowers
may file complaints about Rushmore Loan Management Services LLC with the New York State
Department of Financial Services. Borrowers may also obtain further information from the
New York State Department by calling the Department’s Consumer Assistance Unit at
800-342-3736 or by visiting the Department’s website at www.dfs.ny.gov.
Notice to Customers: Rushmore Loan Management Services LLC may report information
about your mortgage account to credit bureaus. Late payments, missed payments, or other
defaults on your account may be reflected in your credit report.
Failure to cure the default on or before 07/24/2018 may result in acceleration of the sums
secured by this Security Instrument, foreclosure by judicial proceeding and sale of the Property.
Partial payments received may be applied to any amounts outstanding, but any partial payments
that are applied will not invalidate our right to commence foreclosure proceedings.
You have the right to reinstate after acceleration and the right to assert in the foreclosure
proceeding the non-existence of a default or any other defense to acceleration and foreclosure.
DEBT COLLECTION
This communication is for the purpose of collecting a debt, and any information obtained from
the trustor(s) will be used for that purpose. Rushmore is acting as a “debt collector” as that term
is defined in the Federal Fair Debt Collection Practices Act. This notice is required by the
provisions of the Fair Debt Collection Practices Act and does not imply that we are attempting
to collect money from any one who has discharged the debt under the bankruptcy laws of the
United States.




                                     Rushmore Loan Management Services LLC
                                   15480 Laguna Canyon Rd. #100, Irvine, CA 92618
   NC120-NY 90Day-16                                                                     Page 4
CREDIT REPORTING
We may report information about your account to credit bureaus. Late payments, missed
payments, or other defaults on your account may be reflected in your credit report.
BANKRUPTCY
If you have received a discharge of this debt through bankruptcy, you are not personally liable
to us if you do not pay us the above amount. We can recover only the real property from you
and you will not be obligated to pay us the difference between what we may get from the sale of
the real property and the balance due on the loan. This notice is provided to inform you of what
you must do to retain possession of your real property.
HUD STATEMENT
Pursuant to section 169 of the Housing and Community Development Act of 1987, you may
have the opportunity to receive counseling from various local agencies regarding the retention
of your home. You may obtain a list of the HUD approved housing counseling agencies by
calling the HUD nationwide toll free telephone at 1-800-569-4287.
ADDITIONAL NOTICES
Rushmore Loan Management Services LLC is a Debt Collector, who is attempting to collect a
debt. Any information obtained will be used for that purpose. However, if you are in
Bankruptcy or received a Bankruptcy Discharge of this debt, this letter is being sent for
informational purposes only, is not an attempt to collect a debt and does not constitute a notice
of personal liability with respect to the debt.




                                     Rushmore Loan Management Services LLC
                                   15480 Laguna Canyon Rd. #100, Irvine, CA 92618
   NC120-NY 90Day-16                                                                   Page 5
    Servicemembers Civil Relief                     U . S. Department of Housing                            OMB Approval 2502 - 0584
    Act Notice Disclosure                               and Urban Development                                         Exp 3/31/2021
                                                           Office of Housing

    Legal Rights and Protections Under the SCRA

    6HUYLFHPHPEHUVRQ³DFWLYHGXW\´RU³DFWLYHVHUYLFH´RUDVSRXVHRUGHSHQGHQWRIVXFKDVHUYLFHPHPEHUPD\EHHQWLWOHGWR
    FHUWDLQOHJDOSURWHFWLRQVDQGGHEWUHOLHISXUVXDQWWRWKH6HUYLFHPHPEHUV&LYLO5HOLHI$FW 86&3901-4043 
     6&5$ 


      x 5HJXODUPHPEHUVRIWKH86$UPHG)RUFHV $UP\1DY\$LU)RUFH0DULQH&RUSVDQG&RDVW
    Who May Be Entitled to Legal Protections Under the SCRA?

             *XDUG 
        x    5HVHUYHDQG 1DWLRQDO*XDUGSHUVRQQHOZKRKDYHEHHQDFWLYDWHGDQGDUHRQ)HGHUDODFWLYHGXW\
        x    1DWLRQDO*XDUGSHUVRQQHOXQGHUDFDOORURUGHUWRDFWLYHGXW\IRUPRUHWKDQFRQVHFXWLYHGD\VXQGHU
             VHFWLRQ I RIWLWOH8QLWHG6WDWHV&RGHIRUSXUSRVHVRIUHVSRQGLQJWRDQDWLRQDOHPHUJHQF\
             GHFODUHGE\WKH3UHVLGHQWDQGVXSSRUWHGE\)HGHUDOIXQGV
        x    $FWLYHVHUYLFHPHPEHUVRIWKHFRPPLVVLRQHGFRUSVRIWKH3XEOLF+HDOWK6HUYLFHDQGWKH1DWLRQDO
             2FHDQLFDQG$WPRVSKHULF$GPLQLVWUDWLRQ
        x    &HUWDLQ8QLWHG6WDWHVFLWL]HQVVHUYLQJZLWKWKHDUPHGIRUFHVRIDQDWLRQZLWKZKLFKWKH8QLWHG6WDWHV
             LVDOOLHGLQWKHSURVHFXWLRQRIDZDURUPLOLWDU\DFWLRQ

    What Legal Protections Are Servicemembers Entitled To Under the SCRA? 
        x    7KH6&5$VWDWHVWKDWDGHEWLQFXUUHGE\DVHUYLFHPHPEHURUVHUYLFHPHPEHUDQGVSRXVHMRLQWO\SULRUWR
             HQWHULQJPLOLWDU\VHUYLFHVKDOOQRWEHDULQWHUHVWDWDUDWHDERYHGXULQJWKHSHULRGRIPLOLWDU\VHUYLFHDQGRQH
             \HDUWKHUHDIWHULQWKHFDVHRIDQREOLJDWLRQRUOLDELOLW\FRQVLVWLQJRIDPRUWJDJHWUXVWGHHGRURWKHUVHFXULW\LQWKHQDWXUH
             RIDPRUWJDJHRUGXULQJWKHSHULRGRIPLOLWDU\VHUYLFHLQWKHFDVHRIDQ\RWKHUREOLJDWLRQRUOLDELOLW\
        x    7KH6&5$VWDWHVWKDWLQDOHJDODFWLRQWRHQIRUFHDGHEWDJDLQVWUHDOHVWDWHWKDWLVILOHGGXULQJRUZLWKLQRQH
             \HDUDIWHUWKHVHUYLFHPHPEHU¶VPLOLWDU\VHUYLFHDFRXUWPD\VWRSWKHSURFHHGLQJVIRUDSHULRGRIWLPHRU
             DGMXVWWKHGHEW,QDGGLWLRQWKHVDOHIRUHFORVXUHRUVHL]XUHRIUHDOHVWDWHVKDOOQRWEHYDOLGLILWRFFXUVGXULQJ
             RUZLWKLQRQH\HDUDIWHUWKHVHUYLFHPHPEHU¶VPLOLWDU\VHUYLFHXQOHVVWKHFUHGLWRUKDVREWDLQHGDYDOLGFRXUW
             RUGHUDSSURYLQJWKHVDOHIRUHFORVXUHRUVHL]XUHRIWKHUHDOHVWDWH
        x    7KH6&5$FRQWDLQVPDQ\RWKHUSURWHFWLRQVEHVLGHVWKRVHDSSOLFDEOHWRKRPHORDQV

    How Does A Servicemember or Dependent Request Relief Under the SCRA?

        x    ,QRUGHUWRUHTXHVWUHOLHIXQGHUWKH6&5$IURPORDQVZLWKLQWHUHVWUDWHVDERYHDVHUYLFHPHPEHURUVSRXVH
             PXVWSURYLGHDZULWWHQUHTXHVWWRWKHOHQGHUWRJHWKHUZLWKDFRS\RIWKHVHUYLFHPHmEHU¶VPLOLWDU\RUGHUV
             >1RWH /HQGHUVKRXOGSODFHLWVQDPHDGGUHVVDQGFRQWDFWLQIRUPDWLRQKHUH@
        x    7KHUHLVQRUHTXLUHPHQWXQGHUWKH6&5$KRZHYHUIRUDVHUYLFHPHPEHUWRSURYLGHDZULWWHQQRWLFHRUDFRS\
             RIDVHUYLFHPHPEHU¶VPLOLWDU\RUGHUVWRWKHOHQGHULQFRQQHFWLRQZLWKDIRUHFORVXUHRURWKHUGHEWHQIRUFHPHQW
             DFWLRQDJDLQVWUHDOHVWDWH 8QGHUWKHVHFLUFXPVWDQFHVOHQGHUVVKRXOGLQTXLUHDERXWWKHPLOLWDU\VWDWXVRID
             SHUVRQE\VHDUFKLQJWKH'HSDUWPHQWRI'HIHQVH¶V'HIHQVH0DQSRZHU'DWD&HQWHU¶VZHEVLWHFRQWDFWLQJWKH
             VHUYLFHPHPEHUDQGH[DPLQLQJWKHLUILOHVIRULQGLFLDRIPLOLWDU\VHUYLFH $OWKRXJKWKHUHLVQRUHTXLUHPHQWIRU
             VHUYLFHPHPEHUVWRDOHUWWKHOHQGHURIWKHLUPLOLWDU\VWDWXVLQWKHVHVLWXDWLRQVLWVWLOOLVDJRRGLGHDIRUWKH
             VHUYLFHPHPEHUWRGRVR

    How Does a Servicemember or Dependent Obtain Information About the SCRA? 

        x    6HUYLFHPHPEHUVDQGGHSHQGHQWVZLWKTXHVWLRQVDERXWWKH6&5$VKRXOGFRQWDFWWKHLUXQLW¶V-XGJH$GYRFDWHRU
             WKHLULQVWDOODWLRQ¶V/HJDO$VVLVWDQFH2IILFHU$PLOLWDU\OHJDODVVLVWDQFHRIILFHORFDWRUIRUDOOEUDQFKHVRIWKH
             $UPHG)RUFHVLVDYDLODEOHDWKWWSOHJDODVVLVWDQFHODZDIPLOFRQWHQWORFDWRUSKS


        x    ³0LOLWDU\2QH6RXUFH´LVWKH86'HSDUWPHQWRI'HIHQVH¶VLQIRUPDWLRQ UHVRXUFH,I\RXDUHOLVWHGDVHQWLWOHGWR
             OHJDOSURWHFWLRQVXQGHUWKH6&5$ VHHDERYH SOHDVHJRWRZZZPLOLWDU\RQHVRXUFHPLOOHJDORUFDOO
              WROOIUHHIURPWKH8QLWHG6WDWHV WRILQGRXWPRUHLQIRUPDWLRQ'LDOLQJLQVWUXFWLRQVIRUDUHDVRXWVLGH
             WKH8QLWHG6WDWHVDUHSURYLGHGRQWKHZHEVLWH


                                                                                                                           form HUD-92070
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=>?@ABCB?@DEA?FB>CG@HCIJ@K?LB@MEGG?NBIEF@OJCNBIN?A@PNB@CFQ@B>?@R?Q?JCG@HCIJ@K?LB@MEGG?NBIEF@OJCNBIN?A@PNB@J?STIJ?@B>CBU@?VN?WB@
TFQ?J@TFTATCG@NIJNTXABCFN?AU@NEGG?NBEJA@XCY@FEB@NEFBCNB@YET@L?REJ?@Z[\\@C]X]@EJ@CRB?J@^[\\@W]X]@=>?Y@XCY@FEB@>CJCAA@YET@LY@
TAIF_@B>J?CBA@ER@`IEG?FN?@EJ@CJJ?AB@EJ@LY@TAIF_@ELAN?F?@GCF_TC_?]@MEGG?NBEJA@XCY@FEB@TA?@RCGA?@EJ@XIAG?CQIF_@ABCB?X?FBA@EJ@NCGG@
YET@CB@aEJb@IR@B>?Y@bFEa@EJ@>C`?@J?CAEF@BE@bFEa@B>CB@YET@XCY@FEB@J?N?Ì?@W?JAEFCG@NCGGA@CB@aEJb]@HEJ@B>?@XEAB@WCJBU@
NEGG?NBEJA@XCY@FEB@B?GG@CFEB>?J@W?JAEFU@EB>?J@B>CF@YETJ@CBBEJF?Y@EJ@AWETA?U@CLETB@YETJ@Q?LB]@MEGG?NBEJA@XCY@NEFBCNB@CFEB>?J@
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1+,4-.//.012342.415,4677/1,844.46./.96:.49,81:,2484.2/;<4
OG?CA?@FEB?[@P@NEFATX?J@>CA@B>?@JI_>B@BE@J?ST?AB@IF@aJIBIF_@B>CB@C@Q?LB@NEGG?NBEJ@EJ@NEGG?NBIEF@C_?FNY@N?CA?@RTJB>?J@
NEXXTFINCBIEF@aIB>@B>?@NEFATX?J]@P@aJIBB?F@J?ST?AB@BE@N?CA?@NEXXTFINCBIEF@aIGG@FEB@WJE>ILIB@B>?@Q?LB@NEGG?NBEJ@EJ@
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OG?CA?@L?@CQ`IA?Q@B>CB@YET@NCF@J?CN>@B>?@MEGEJCQE@HEJ?NGEATJ?@gEBGIF?@CB@deZffey\degqOh@jy\demyfko]@
iENCG@DTA>XEJ?@iECF@tCFC_?X?FB@w?J`IN?A@iiM@P_?FB@REJ@MEGEJCQE@D?AIQ?FBA[@
rJ`IF@uEJ?FAB?IF@
dkddd@h]@uJICJaEEQ@P`?]@wB?@zkm\@
M?FB?FFICGU@Mq@Z\ddl@
1+,4-.//.012342.415,4677/1,844.4{68865+|8,44849,81:,2484.2/;<4
sEBIN?@ER@rtOqD=Ps=@Dr}g=w[@~ET@>C`?@B>?@JI_>B@BE@XCb?@C@aJIBB?F@EJ@EJCG@J?ST?AB@B>CB@B?G?W>EF?@NCGGA@J?_CJQIF_@YETJ@
Q?LB@FEB@L?@XCQ?@BE@YET@CB@YETJ@WGCN?@ER@?XWGEYX?FB]@PFY@ATN>@EJCG@J?ST?AB@aIGG@L?@`CGIQ@REJ@EFGY@B?F@jd\o@QCYA@TFG?AA@YET@
WJE`IQ?@aJIBB?F@NEFRIJXCBIEF@ER@B>?@J?ST?AB@WEABXCJb?Q@EJ@Q?GÌ?J?Q@aIB>IF@A?`?F@jfo@QCYA@ER@ATN>@J?ST?AB]@~ET@XCY@
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aIGG@L?@TA?Q@REJ@B>CB@WTJWEA?]@gEa?`?JU@IR@YET@CJ?@IF@uCFbJTWBNY@EJ@J?N?Ì?Q@C@uCFbJTWBNY@KIAN>CJ_?@ER@B>IA@Q?LBU@B>IA@G?BB?J@IA@
L?IF_@A?FB@REJ@IFREJXCBIEFCG@WTJWEA?A@EFGYU@IA@FEB@CF@CBB?XWB@BE@NEGG?NB@C@Q?LB@CFQ@QE?A@FEB@NEFABIBTB?@C@FEBIN?@ER@W?JAEFCG@
GICLIGIBY@aIB>@J?AW?NB@BE@B>?@Q?LB]@
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rR@YET@CJ?@C@NEFRIJX?Q@wTNN?AAEJeIFerFB?J?AB@a>E@>CA@FEB@CAATX?Q@B>?@XEJB_C_?@GECF@ELGI_CBIEF@TFQ?J@wBCB?@iCaU@B>IA@G?BB?J@IA@
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                    Approved housing counseling agencies located in New York
                                          by County

  COUNTY        AGENCY                       ADDRESS                           CONTACT INFO       NOTES

  Albany        Affordable Housing           255 Orange St., Albany, NY        518-434-1730       HOPP
                Partnership                  12210                                                Also serves
                                                                                                  surrounding areas

                Albany County Rural          24 Martin Road,                   518-765-2425       HOPP
                Housing Alliance             Voorheesville, NY 12186                              Also serves
                                                                                                  surrounding areas

                United Tenants of Albany     33 Clinton Ave., Albany,          518-436-8997       HOPP
                                             NY 12207                                             For tenants whose
                                                                                                  buildings are in the
                                                                                                  process of foreclosure
                                                                                                  or have been
                                                                                                  foreclosed on

                Better Neighborhoods,        986 Albany St.,                   518-372-6469       HOPP
                Inc.                         Schenectady, NY 12307                                Spanish speaking staff
                                                                                                  available

                Clearpoint Credit            2 Computer Drive West,            1-800-750-2227     Formerly known as
                Counseling Solutions         Albany, NY 12205                                     Consumer Credit
                                                                                                  Counseling Service

                NYS Office For People        44 Holland Ave. Albany,           518-473-1973       Serving all NYS
                With Developmental           NY 12229                                             residents with
                Disabilities (OPWDD)                                                              developmental
                                                                                                  disabilities and their
                                                                                                  families

  Allegany      ACCORD                       84 Schuyler St., Belmont,         585-268-7605       HOPP
                                             NY 14813

                Neighborhood Housing         1937 South Park Ave.              716-823-3630       Also serving
                Services of Buffalo          Buffalo, NY 14220                                    surrounding counties

  Bronx         Neighborhood Housing         848 Concourse Village             718-992-5979       HOPP
                Services- South Bronx        West, Bronx, NY 10451                                Spanish speaking staff
                                                                                                  available

                Neighborhood Housing         1451 East Gun Hill Rd.,           718-881-1180       HOPP
                Services- North Bronx        Bronx, NY 10469                                      Spanish speaking staff
                                                                                                  available

                Parodneck Foundation         121 6th Ave., Suite 501           212-431-9700 ext   HOPP
                                             New York, NY 10013                391                Spanish speaking staff
                                                                                                  available

                MHANY Management,            1 Metro Tech Center North         718-246-8080 ext   HOPP
                Inc.                         11th Floor, Brooklyn, NY          203                Spanish speaking staff
                                             11201                                                available

                Brooklyn Housing and         415 Albemarle Rd.,                718-435-7585       HOPP
                Family Services, Inc.        Brooklyn, NY 11218                                   Spanish and French


                                             Rushmore Loan Management Services LLC
                                           15480 Laguna Canyon Rd. #100, Irvine, CA 92618
NC120-NY 90Day-16                                                                                                  Page 8
                                                                                                    Creole speaking staff
                                                                                                    available

                Grow Brooklyn, Inc.           1474 Myrtle Ave.,                 718-418-8232 ext.   HOPP
                                              Brooklyn, NY 11237                206                 Spanish and Bengali
                                                                                                    speaking staff
                                                                                                    available

                NYC Commission on             1932 Arthur Avenue, Room          718-579-6728 OR     Spanish speaking staff
                Human Rights                  203A, Bronx, NY 10457             718-579-6900        available

  Broome        Metro Interfaith Housing      21 New St., Binghamton,           607-772-6766        HOPP
                Council                       NY 13903

                Clearpoint Credit             The Metro Center, 49 Court        1-800-750-2227
                Counseling Solutions          St., Binghamton, NY 13901

  Cattaraugus   Chautauqua Opportunities,     402 Chandler St.,                 716-661-9430        HOPP
                Inc.                          Jamestown, NY 14701

                ACCORD                        84 Schuyler St., Belmont,         585-268-7605        HOPP
                                              NY 14813

                Neighborhood Housing          1937 South Park Ave.,             716-823-3630
                Services of South Buffalo     Buffalo, NY 14220

  Cayuga        Home Headquarters, Inc.       990 James St., Suite 1,           315-474-1939        HOPP
                                              Syracuse NY 13203                                     Spanish speaking staff
                                                                                                    available

                Clearpoint Financial          5794 Widewaters Parkway,          1-877-412-2227      Formerly known as
                Solutions                     Syracuse, NY 13214                                    Consumer Credit
                                                                                                    Counseling Service of
                                                                                                    Central NY

  Chautauqua    Chautauqua Opportunities,     402 Chandler St.,                 716-661-9430        HOPP
                Inc.                          Jamestown, NY 14701

                Chautauqua Home               2 Academy St., Mayville,          716-753-4650        Spanish speaking staff
                Rehabilitation and            NY 14757                                              available
                Improvement Corp.
                (CHRIC)

                Neighborhood Housing          1937 South Park Ave.,             716-823-3630
                Services of South Buffalo     Buffalo, NY 14220

  Chemung       Arbor Housing and             26 Bridge St., Corning, NY        607-654-7487        HOPP
                Development                   14830

                Catholic Charities of         215 East Church St., Suite        607-734-9784        HOPP
                Chemung                       101, Elmira, NY 14901

  Chenango      Metro Interfaith Housing      21 New St., Binghamton,           607-772-2766        HOPP
                Council                       NY 13903

                Clearpoint Credit             The Metro Center, 49 Court        1-800-750-2227
                Counseling Solutions          St., Binghamton, NY 13901

  Clinton       Friends of the North          1 Mill St., Keeseville, NY        518-834-9606        HOPP
                Country                       12944




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                Housing Assistance            103 Hand Ave.,                    518-873-6888           HOPP
                Program of Essex County       Elizabethtown, NY 12932
                (HAPEC)

  Columbia      Housing Resources of          252 Columbia St., Hudson,         518-822-0707           HOPP
                Columbia County, Inc.         NY 12534

  Cortland      Home Headquarters, Inc.       990 James St., Suite 1,           315-474-1939           HOPP
                                              Syracuse NY 13203                                        Spanish speaking staff
                                                                                                       available

                Cortland Housing              36 Taylor St. Cortland, NY        607-753-8271
                Assistance Council, Inc.      13045

                Clearpoint Credit             The Metro Center, 49 Court        1-800-750-2227
                Counseling Solutions          St., Binghamton, NY 13901

                Western Catskills             125 Main St., Suite A,            607-652-2823           HOPP
                Community Revitilization      Stamford, NY 12167
                Council

  Delaware      RUPCO                         301 Fair St. Kingston, NY         845-331-9860           HOPP
                                              12401                                                    Spanish speaking staff
                                                                                                       available

                Delaware Opportunities,       35430 State Hgwy. 10              607-746-1650
                Inc.                          Hamden, NY 13782

                Clearpoint Credit             The Metro Center, 49 Court        1-800-750-2227
                Counseling Solutions          St., Binghamton, NY 13901

  Dutchess      Hudson River Housing          291 Mill St Poughkeepsie,         845-454-9288           HOPP
                                              NY 12601

                Putnam County Housing         11 Seminary Hill Rd.,             845-225-8493
                Corp.                         Carmel, NY 10512

  Erie          Belmont Housing               1195 Main St. Buffalo, NY         716-884-7791           HOPP
                Resources                     14209

                West Side & Black Rock        359 Connecticut St.,              Tuesdays and           HOPP
                Riverside NHS, Inc.           Buffalo, NY 14213                 Wednesdays at (716)
                                                                                885-2344, Thursdays
                                                                                and Fridays at (716)
                                                                                877-3910

                Buffalo Urban League          15 Genesee Street                 (716) 250-2400         HOPP
                                              Buffalo, NY 14203

                Chautauqua Opportunities,     402 Chandler St.,                 716-661-9430           HOPP
                Inc.                          Jamestown, NY 14701

                Consumer Credit               40 Gardenville Parkway,           1-800-926-9685 or      HOPP
                Counseling Services of        Suite 300, West Seneca, NY        716-712-2060
                Buffalo, Inc.                 14224

                Neighborhood Assistance       135 Delaware Ave Ste 102          716-834-6222
                Corp. of America              Buffalo, New York 14202-
                                              2410

                Neighborhood Housing          1937 South Park Ave.,             716-823-3630



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                Services of South Buffalo     Buffalo, NY 14220

  Essex         Friends of the North          1 Mill St., Keeseville, NY        518-834-9606        HOPP
                Country                       12944

                Housing Assistance            103 Hand Ave.,                    518-873-6888        HOPP
                Program of Essex County       Elizabethtown, NY 12932
                (HAPEC)

                Homefront Development         568 Lower Allen St.,              518-747-8250
                Corp.                         Hudson Falls, NY 12839

  Franklin      Friends of the North          1 Mill St., Keeseville, NY        518-834-9606        HOPP
                Country                       12944

                Housing Assistance            103 Hand Ave.,                    518-873-6888        HOPP
                Program of Essex County       Elizabethtown, NY 12932
                (HAPEC)

                Franklin County               337 West Main St. Malone,         (518) 483-5934      HOPP
                Community Housing             NY 12953
                Council Inc.

                Clearpoint Credit             215 Washington St. Suite          1-800-750-2227
                Counseling Solutions          005, Watertown, NY 13601

  Fulton        Better Neighborhoods,         986 Albany St.,                   518-372-6469        HOPP
                Inc.                          Schenectady, NY 12307

                UNHS NeighborWorks            1611 Genesee Street, Utica,       315-724-4197        HOPP
                Homeownership Center          NY 13501

  Genesee       The Housing Council           75 College Ave., 4th Floor,       585-546-3700 ext.   HOPP
                                              Rochester, NY 14607               3015

                Consumer Credit               1000 University Ave., Suite       1-888-724-2227      HOPP
                Counseling Services of        900 Rochester, NY 14607
                Rochester, Inc.

                Belmont Housing               1195 Main St., Buffalo, NY        716-884-7791        HOPP
                Resources                     14209

                Consumer Credit               40 Gardenville Parkway,           1-800-926-9685 or
                Counseling Services of        Suite 300, West Seneca, NY        716-712-2060
                Buffalo, Inc.                 14224

  Greene        Albany County Rural           24 Martin Road,                   518-765-2425        HOPP
                Housing Alliance              Voorheesville, NY 12186

                RUPCO                         301 Fair St. Kingston, NY         845-331-9860        HOPP
                                              12401                                                 Spanish speaking staff
                                                                                                    available

                Western Catskills             125 Main St., Suite A,            607-652-2823
                Community Revitilization      Stamford, NY 12167
                Council

                Clearpoint Credit             2 Computer Drive West,            1-800-750-2227      Formerly known as
                Counseling Solutions          Albany, NY 12205                                      Consumer Credit
                                                                                                    Counseling Service of
                                                                                                    Central NY



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  Hamilton      Housing Assistance           103 Hand Ave.,                    518-873-6888     HOPP
                Program of Essex County      Elizabethtown, NY 12932
                (HAPEC)

                Clearpoint Credit            289 Genesee St., Utica, NY        1-800-750-2227
                Counseling Solutions         13501

                Homefront Development        568 Lower Allen St.,              518-747-8250
                Corp.                        Hudson Falls, NY 12839

  Herkimer      UNHS NeighborWorks           1611 Genesee Street, Utica,       315-724-4197     HOPP
                Homeownership Center         NY 13501

                Clearpoint Credit            289 Genesee St., Utica, NY        1-800-750-2227
                Counseling Solutions         13501

  Jefferson     Home Headquarters, Inc.      990 James St., Suite 1,           315-474-1939     HOPP
                                             Syracuse NY 13203                                  Spanish speaking staff
                                                                                                available

                Clearpoint Credit            215 Washington St. Suite          1-800-750-2227
                Counseling Solutions         005, Watertown, NY 13601

  Kings         Cypress Hills Local Dev.     625 Jamaica Avenue,               718-647-2800     HOPP
                Corp.                        Brooklyn, NY 11208                                 Spanish speaking staff
                                                                                                available

                Pratt Area Community         1000 Dean St., Brooklyn,          718-522-2613     HOPP
                Council                      NY 11238

                Grow Brooklyn, Inc.          1474 Myrtle Ave.,                 718-418-8232     HOPP
                                             Brooklyn, NY 11237                                 Spanish and Bengali
                                                                                                speaking staff
                                                                                                available

                Bridge Street Dev. Corp.     460 Nostrand Ave.,                718-636-7596     HOPP
                                             Brooklyn, NY 11216                                 Spanish Speaking
                                                                                                staff available

                MHANY Management,            1 Metro Tech Center North         718-246-8080     HOPP
                Inc.                         11th Floor, Brooklyn, NY                           Spanish speaking staff
                                             11201                                              available

                Neighbors Helping            621 Degraw St., Brooklyn,         718-237-2017     HOPP
                Neighbors (NHN)              NY 11217                                           Spanish speaking staff
                                                                                                available

                Brooklyn Housing and         415 Albemarle Rd.,                718-435-7585     HOPP
                Family Services, Inc.        Brooklyn, NY 11218                                 Spanish and French
                                                                                                Creole speaking staff
                                                                                                available

                Parodneck Foundation         121 6th Ave., Suite 501           212-431-9700     HOPP
                                             New York, NY 10013                                 Spanish speaking staff
                                                                                                available

                Neighborhood Housing         1012 Gates Ave., 2nd Floor,       718-919-2100     HOPP
                Services of Bedford-         Brooklyn, NY 11221
                Stuyvesant

                CAMBA                        1720 Church Ave., 2nd             718-287-0010     HOPP



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                                               Floor, Brooklyn, NY 11226

                Neighborhood Housing           2806 Church Ave.,                 718-469-4679       HOPP
                Services- East Flatbush        Brooklyn, NY 11226                                   Spanish speaking staff
                                                                                                    available

                Greater Sheepshead Bay         2105 East 22nd St.,               718-332-0520
                Dev. Corp.                     Brooklyn, NY 11229

                Southern Brooklyn              4006 18th Ave., Brooklyn,         718-435-1300
                Community Organization         NY 11218

                Brooklyn Neighborhood          1482 Saint James Pl., Suite       718-773-4116
                Improvement Association        1C, Brooklyn, NY 11213

                Council of Jewish              1523 Avenue M, Brooklyn,          718-377-2900 ext   Arabic, Russian and
                Organizations of Flatbush,     NY 11230                          7625               Spanish speaking staff
                Inc.                                                                                available

                Money Management               26 Court St., Suite 2610,         1-866-232-9080     Spanish speaking staff
                International, Inc.            Brooklyn, NY 11242                                   available

                GreenPath Debt Solutions       175 Remsen St., Suite 1102,       866-285-4033
                                               Brooklyn, NY 11201

                NY Commission of               275 Livingston St.,               718-722-3130       Spanish speaking staff
                Human Rights- Brooklyn         Brooklyn, NY 11217                                   available

  Lewis         Home Headquarters, Inc.        990 James St., Suite 1,           315-474-1939       HOPP
                                               Syracuse NY 13203

                Clearpoint Credit              215 Washington St. Suite          1-800-750-2227
                Counseling Solutions           005, Watertown, NY 13601

  Livingston    Consumer Credit                1000 University Ave., Suite       1-888-724-2227     HOPP
                Counseling Services of         900 Rochester, NY 14607
                Rochester, Inc.

                The Housing Council            75 College Ave., 4th Floor,       585-546-3700       HOPP
                                               Rochester, NY 14607

  Madison       Home Headquarters, Inc.        990 James St., Suite 1,           315-474-1939       HOPP
                                               Syracuse NY 13203                                    Spanish speaking staff
                                                                                                    available

                UNHS NeighborWorks             1611 Genesee Street, Utica,       315-724-4197       HOPP
                Homeownership Center           NY 13501

                Community Action               3 East Main St., Morrisville,     315-684-3144       ASL trained staff
                Program for Madison            NY 13408                                             available
                County

                Clearpoint Credit              289 Genesee St., Utica, NY        1-800-750-2227
                Counseling Solutions           13501

  Monroe        Consumer Credit                1000 University Ave., Suite       1-888-724-2227     HOPP
                Counseling Services of         900 Rochester, NY 14607
                Rochester, Inc.

                Marketview Heights             308 North Street, Rochester,      585-423-1540       HOPP
                Association                    NY 14605



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                The Housing Council          75 College Ave., 4th Floor,       585-546-3700          HOPP
                                             Rochester, NY 14607

                Urban League of              265 North Clinton Ave.,           585-325-6530
                Rochester                    Rochester, NY

  Montgomery    Better Neighborhoods,        986 Albany St.,                   518-372-6469          HOPP
                Inc.                         Schenectady, NY 12307                                   Spanish speaking staff
                                                                                                     available

                UNHS NeighborWorks           1611 Genesee Street, Utica,       315-724-4197          HOPP
                Homeownership Center         NY 13501

  Nassau        American Debt Resources,     248C Larkfield Road, East         1-800-498-0766        HOPP
                Inc.                         Northport, NY 11731                                     Spanish speaking staff
                                                                                                     available

                Community Development        333 No Main St., Freeport,        631-471-1215 x158     HOPP
                Corporation of Long          NY 11520                                                Spanish speaking staff
                Island                                                                               available

                Hispanic Brotherhood of      59 Clinton Ave., Rockville        516-766-6610          HOPP
                Rockville Centre, Inc.       Centre, NY 11570                                        Spanish speaking staff
                                                                                                     available

                La Fuerza Unida, Inc.        1 School St., Suite 302,          516-759-0788          HOPP
                                             Glen Cove, NY 11542                                     Spanish speaking staff
                                                                                                     available

                LIFE, Inc.                   112 Spruce St., Cedarhurst,       516-374-4564          HOPP
                                             NY 11516                                                Spanish speaking staff
                                                                                                     available

                Long Island Housing          180 Oser Ave.,                    631-435-4710          HOPP
                Partnership, Inc.            Hauppaugue, NY 11788                                    Spanish speaking staff
                                                                                                     available

                Long Island Housing          640 Johnson Ave., Suite 8,        631-567-5111 x383     HOPP
                Services, Inc.               Bohemia, NY 11716                                       Spanish speaking staff
                                                                                                     available

                Rockaway Development         1920 Mott Ave. Rm #2, Far         718-327-5300          HOPP
                and Revitilization Corp      Rockaway, NY 11691                                      funded in NYC Serves
                                                                                                     Western Nassau

                CHHAYA                       37-43 77th St., Jackson           718-478-3848          HOPP
                                             Heights, NY 11372                                       funded in NYC
                                                                                                     Southeast Asian
                                                                                                     speaking Counselors
                                                                                                     on staff

                GreenPath Debt Solutions     300 Garden City Plaza,            888-776-6738          HOPP
                                             Suite 220 Garden City, NY
                                             11530

                Debt Counseling Corp.        3033 Express Dr. N,               1-888-354-6332 ext.   HOPP
                                             Hauppauge, NY 11749               316                   Spanish speaking staff
                                                                                                     available

                Safeguard Credit             67 Salonga Rd. Northport,         1-800-673-6933        HOPP
                Counseling, Inc.             NY 11768                                                Spanish speaking staff



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                                                                                                       available

  New York      MHANY Management,             1 Metro Tech Center North         718-246-8080           HOPP
                Inc.                          11th Floor, Brooklyn, NY                                 Spanish speaking staff
                                              11201                                                    available

                Grow Brooklyn, Inc.           1474 Myrtle Ave.,                 718-418-8232           HOPP
                                              Brooklyn, NY 11237                                       Spanish and Bengali
                                                                                                       speaking staff
                                                                                                       available

                Parodneck Foundation          121 6th Ave., Suite 501           212-431-9700           HOPP
                                              New York, NY 10013                                       Spanish speaking staff
                                                                                                       available

                AAFE Community                111 Division St., New York,       212-964-2288           Chinese and Korean
                Development Fund, Inc.        NY 10002                                                 speaking staff
                                                                                                       available

                Abyssinian Development        2283 7th Avenue, New              646-442-6545
                Corp.                         York, NY 10030

                Neighborhood Housing          307 West 36th St., 12th           212-519-2500           Spanish and Creole
                Services of NYC               floor, New York, NY 10018                                speaking staff
                                                                                                       available

                Harlem Congregations for      2854 Frederick Douglass           212-281-4887 ext.      Spanish speaking staff
                Community Development         Blvd., New York, NY 10039         206 or 231             available

                West Harlem Group             1652 Amsterdam Ave. New           212-862-1399
                Assistance, Inc.              York, NY 10031

                GreenPath Debt Solutions      One Penn Plaza, Suite 2108,       866-285-4059
                                              New York, NY 10119

  Niagara       Belmont Housing               1195 Main St., Buffalo, NY        716-884-7791           HOPP
                Resources                     14209

                West Side & Black Rock        203 Military Rd., Buffalo,        Tuesdays and           HOPP
                Riverside NHS, Inc.           NY 14207                          Wednesdays at (716)
                                                                                885-2344, Thursdays
                                                                                and Fridays at (716)
                                                                                877-3910

                Neighborhood Housing          1937 South Park Ave.,             716-823-3630
                Services of South Buffalo     Buffalo, NY 14220

  Oneida        UNHS NeighborWorks            1611 Genesee Street, Utica,       315-724-4197           HOPP
                Homeownership Center          NY 13501

                Clearpoint Credit             5794 Widewaters Parkway,          1-800-750-2227
                Counseling Solutions          Syracuse, NY 13214

                Northeast Hawley              101 Gertrude St., Syracuse,       315-425-1032
                Development Corp.             NY 13202

  Onondaga      Home Headquarters, Inc.       990 James St., Suite 1,           315-474-1939           HOPP
                                              Syracuse NY 13203                                        Spanish speaking staff
                                                                                                       available

                Clearpoint Credit             5794 Widewaters Parkway,          1-800-750-2227



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                Counseling Solutions          Syracuse, NY 13214

                Cooperative Federal           800 N. Salina St., Syracuse,      315-476-5290     Service for credit
                Credit Union                  NY 13208                                           union members only

  Ontario       Consumer Credit               1000 University Ave., Suite       1-888-724-2227   HOPP
                Counseling Services of        900 Rochester, NY 14607
                Rochester, Inc.

                Community Action in Self      48 Water St., Lyons, NY           315-946-6992     HOPP
                Help                          14489

                Keuka Housing Council         160 Main St. Penn Yan, NY         315-536-8707     HOPP
                                              14527

  Orange        Hudson River Housing          291 Mill St Poughkeepsie,         845-454-9288     HOPP
                                              NY 12601

                Orange County Rural           59b Boniface Drive, Pine          845-713-4568     HOPP
                Development Advisory          Bush, NY 12566
                Corp.

  Orleans       Belmont Housing               1195 Main St., Buffalo, NY        716-884-7791     HOPP
                Resources                     14209

                The Housing Council           75 College Ave., 4th Floor,       585-546-3700     HOPP
                                              Rochester, NY 14607

                Consumer Credit               1000 University Ave., Suite       1-888-724-2227   HOPP
                Counseling Service of         900 Rochester, NY 14607
                Rochester, Inc.

  Oswego        Fulton Community              125 West Broadway, Fulton,        315-593-7166     HOPP
                Development Agency            NY 13069

                Oswego Housing                2971 County Rte. 26, Parish,      315-625-4520
                Development Council, Inc.     NY 13131

                Clearpoint Credit             5794 Widewaters Parkway,          1-800-750-2227
                Counseling Solutions          Syracuse, NY 13214

  Otsego        UNHS NeighborWorks            1611 Genesee Street, Utica,       315-724-4197     HOPP
                Homeownership Center          NY 13501

                Clearpoint Creidt             The Metro Center, 49 Court        1-800-750-2227
                Counseling Solutions          St., Binghamton, NY 13901

  Putnam        Housing Action Council        55 South Broadway,                914-332-4144     HOPP
                                              Tarrytown, NY 10591

                Putnam County Housing         11 Seminary Hill Rd.,             845-225-8493     HOPP
                Corp.                         Carmel, NY 10512

  Queens        Neighborhood Housing          60-20 Woodside Ave.,              718-457-1017     HOPP
                Services of Northern          Flushing, NY 11377                                 Spanish and French
                Queens                                                                           Creole speaking staff
                                                                                                 available




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                Neighborhood Housing         89-70 162nd St., Jamaica,         718-291-7400     HOPP
                Services- Jamaica            NY 11432                                           Spanish speaking staff
                                                                                                available

                CHHAYA                       37-43 77th St., Jackson           718-478-3848     HOPP
                                             Heights, NY 11372                                  Southeast Asian
                                                                                                speaking Counselors
                                                                                                on staff

                Rockaway Development         1920 Mott Ave., Second            718-327-5300     HOPP
                and Revitilization Corp      Floor, Far Rockaway, NY
                                             11691

                Parodneck Foundation         121 6th Ave., Suite 501           212-431-9700     HOPP
                                             New York, NY 10013                                 Spanish speaking staff
                                                                                                available

                MHANY Management,            1 Metro Tech Center North         718-246-8080     HOPP
                Inc.                         11th Floor, Brooklyn, NY                           Spanish speaking staff
                                             11201                                              available

                Brooklyn Housing and         415 Albemarle Rd.,                718-435-7585     HOPP
                Family Services, Inc.        Brooklyn, NY 11218                                 Spanish and French
                                                                                                Creole speaking staff
                                                                                                available

                NY Commission of             153-01 Jamaica Ave.               718-657-2465     Spanish speaking staff
                Human Rights- Queens         Jamaica, NY 11432                                  available

                GreenPath Debt Solutions     80-02 Kew Gardens Road,           866-285-4036
                                             Suite 710 Kew Gardens, NY
                                             11415-3607

                Margert Community            325 Beach 37th Street Far         718-471-3724
                Corporation                  Rockaway, NY 11691

                Queens Community House       108-25 62nd Drive, Forest         718-592-5757
                                             Hills, NY 11375

  Rensselaer    Troy Rehabilitation and      415 River St., Troy, NY           518-690-0020     HOPP
                Improvement Program          12180
                (TRIP)

                United Tenants of Albany     33 Clinton Ave., Albany,          518-436-8997     HOPP
                                             NY 12207                                           For tenants whose
                                                                                                buildings are in
                                                                                                process of being
                                                                                                foreclosed or whose
                                                                                                building has been
                                                                                                foreclosed

                Albany County Rural          24 Martin Road,                   518-765-2425     HOPP
                Housing Alliance             Voorheesville, NY 12186

                Affordable Housing           255 Orange St., Albany, NY        518-434-1730     HOPP
                Partnership                  12210

                Clearpoint Credit            2 Computer Drive West,            1-800-750-2227   Formerly known as
                Counseling Solutions         Albany, NY 12205                                   Consumer Credit
                                                                                                Counseling Service of
                                                                                                Central NY


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  Richmond      Northfield Community           160 Heberton Ave. Staten          718-442-7351     HOPP
                Local Dev. Corp. of Staten     Island, NY 10302
                Island

                MHANY Management,              1 Metro Tech Center North         718-246-8080     HOPP
                Inc.                           11th Floor, Brooklyn, NY                           Spanish speaking staff
                                               11201                                              available

                Parodneck Foundation           121 6th Ave., Suite 501           212-431-9700     HOPP
                                               New York, NY 10013                                 Spanish speaking staff
                                                                                                  available

                Neighborhood Housing           770 Castleton Ave., Staten        718-442-8080     HOPP
                Services, Staten Island        Island, NY 10310                                   Spanish speaking staff
                                                                                                  available

                NYC Commission on              60 Bay St. 7th Floor, Staten      718-390-8506     Spanish speaking staff
                Human Rights- Staten           Island, NY 10301                                   available
                Island

  Rockland      Housing Action Council         55 South Broadway,                914-332-4144     HOPP
                                               Tarrytown, NY 10591

                Rockland Housing Action        120-126 North Main St.,           845-708-5799     HOPP
                Coalition                      Annex-First Floor, New                             Spanish, Creole,
                                               City, NY 10956                                     Hebrew, and ASL
                                                                                                  speaking staff
                                                                                                  available

  Saratoga      Albany County Rural            24 Martin Road,                   518-765-2425     HOPP
                Housing Alliance               Voorheesville, NY 12186

                Affordable Housing             255 Orange St., Albany, NY        518-434-1730     HOPP
                Partnership                    12210

                Troy Rehabilitation and        415 River St., Troy, NY           518-690-0020     HOPP
                Improvement Program            12180                                              Serving residents of
                (TRIP)                                                                            Southern Saratoga
                                                                                                  County

                Better Neighborhoods,          986 Albany St.,                   518-372-6469     HOPP
                Inc.                           Schenectady, NY 12307                              Spanish speaking staff
                                                                                                  available

                Clearpoint Credit              2 Computer Drive West,            1-800-750-2227   Formerly known as
                Counseling Solutions           Albany, NY 12205                                   Consumer Credit
                                                                                                  Counseling Service of
                                                                                                  Central NY

                Homefront Development          568 Lower Allen St.,              518-747-8250     Serving residents of
                Corp.                          Hudson Falls, NY 12839                             Northern Saratoga
                                                                                                  County

  Schenectady   Better Neighborhoods,          986 Albany St.,                   518-372-6469     HOPP
                Inc.                           Schenectady, NY 12307                              Spanish speaking staff
                                                                                                  available

                Affordable Housing             255 Orange St., Albany, NY        518-434-1730     HOPP
                Partnership                    12210

                Albany County Rural            24 Martin Road,                   518-765-2425     HOPP



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                Housing Alliance             Voorheesville, NY 12186

                Schenectady Community        913 Albany St.,                   518-374-9181     For tenants whose
                Action Program (SCAP)        Schenectady, NY 12307                              buildings are in
                                                                                                process of being
                                                                                                foreclosed or whose
                                                                                                building has been
                                                                                                foreclosed

                Clearpoint Credit            2 Computer Drive West,            1-800-750-2227   Formerly known as
                Counseling Solutions         Albany, NY 12205                                   Consumer Credit
                                                                                                Counseling Service of
                                                                                                Central NY

  Schoharie     Albany County Rural          24 Martin Road,                   518-765-2425     HOPP
                Housing Alliance             Voorheesville, NY 12186

                Western Catskills            125 Main St., Suite A,            607-652-2823
                Community                    Stamford, NY 12167
                RevitilizationCouncil

                Clearpoint Credit            2 Computer Drive West,            1-800-750-2227   Formerly known as
                Counseling Solutions         Albany, NY 12205                                   Consumer Credit
                                                                                                Counseling Service of
                                                                                                Central NY

  Schuyler      Arbor Housing and            26 Bridge St., Corning, NY        607-654-7487     HOPP
                Development                  14830

                Catholic Charities of        215 East Church St., Suite        607-734-9784     HOPP
                Chemung                      101, Elmira, NY 14901

  Seneca        The Housing Council          75 College Ave., 4th Floor,       585-546-3700     HOPP
                                             Rochester, NY 14607

                Community Action in Self     48 Water St., Lyons, NY           315-946-6992     HOPP
                Help                         14489

  St.           Housing Assistance           103 Hand Ave.,                    518-873-6888     HOPP
  Lawrence      Program of Essex County      Elizabethtown, NY 12932
                (HAPEC)

                North Country Housing        19 Main St., Canton, NY           315-386-8576
                Council                      13617

                Clearpoint Credit            215 Washington St. Suite          1-800-750-2227
                Counseling Solutions         005, Watertown, NY 13601

  Steuben       Arbor Housing and            26 Bridge St., Corning, NY        607-654-7487     HOPP
                Development                  14830

                Accord                       84 Schuyler St., Belmont,         585-268-7605     HOPP
                                             NY 14813

                Catholic Charities of        215 East Church St., Suite        607-734-9784     HOPP
                Chemung                      101, Elmira, NY 14901

  Suffolk       American Debt Resources,     248C Larkfield Road, East         1-800-498-0766   HOPP
                Inc.                         Northport, NY 11731                                Spanish speaking staff
                                                                                                available




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                Community Development           2100 Middle Country Rd.,          631-471-1215 ext.     HOPP
                Corporation of Long             Suite 300, Centereach NY          158                   Spanish speaking staff
                Island                          11720                                                   available

                Economic Opportunity            320 Carleton Avenue Suite         631-647-3765 x 1204   HOPP
                Council of Suffolk, Inc.        7800 Central Islip NY             or 1205
                                                11722

                La Fuerza Unida, Inc.           1 School St., Suite 302,          516-759-0788          HOPP
                                                Glen Cove, NY 11542                                     Spanish speaking staff
                                                                                                        available

                Long Island Housing             180 Oser Ave.,                    631-435-4710          HOPP
                Partnership, Inc.               Hauppaugue, NY 11788                                    Spanish speaking staff
                                                                                                        available

                Long Island Housing             640 Johnson Ave., Suite 8,        631-567-5111 x383     HOPP
                Services, Inc.                  Bohemia, NY 11716                                       Spanish speaking staff
                                                                                                        available

                CHHAYA                          37-43 77th St., Jackson           718-478-3848          HOPP
                                                Heights, NY 11372                                       funded for NYC
                                                                                                        Southeast Asian
                                                                                                        speaking Counselors
                                                                                                        on staff

                Central Islip Civic Council     68 Wheeler Rd. Central            631-348-0669          HOPP
                                                Islip, NY 11722                                         Spanish speaking staff
                                                                                                        available

                Debt Counseling Corp.           3033 Express Dr. N,               1-888-354-6332 ext.   HOPP
                                                Hauppauge, NY 11749               316                   Spanish speaking staff
                                                                                                        available

                Greenpath                       1300 Veterans Memorial            888-776-6738          HOPP
                                                Highway, Suite 305,
                                                Hauppaugue NY 11788

                Safeguard Credit                67 Salonga Rd. Northport,         1-800-673-6933        HOPP
                Counseling, Inc.                NY 11768                                                Spanish speaking staff
                                                                                                        available

                Housing Help, Inc.              91-101 Broadway, Suite 6,         631-754-0373
                                                Greenlawn NY 11740

                North Fork Housing              110 South St., Greenport,         631-477-1070
                Alliance                        NY 11944

                Bellport, Hagerman, East        1492 Montauk Highway,             631-286-9236
                Patchogue Alliance, Inc.        Bellport, NY 11713

                Wyandanch Community             59 Cumberbach St.                 631-253-0139 OR       Only serves part of
                Development                     Wyandanch, NY 11798               631-643-4786          Western Suffolk

  Sullivan      RUPCO                           301 Fair St. Kingston, NY         845-331-9860          HOPP
                                                12401                                                   Spanish speaking staff
                                                                                                        available

                Rural Sullivan Housing          6 Pelton St. Monticello, NY       845-794-0348
                Corp.                           12701




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  Tioga         Catholic Charities of        215 East Church St., Suite        607-734-9784     HOPP
                Chemung                      101, Elmira, NY 14901

                Metro Interfaith Housing     21 New St., Binghamton,           607-772-6766     HOPP
                Council                      NY 13903

                Clearpoint Financial         The Metro Center, 49 Court        877-412-2227
                Solutions                    St., Binghamton, NY 13901

  Tompkins      Catholic Charities of        215 East Church St., Suite        607-734-9784     HOPP
                Chemung                      101, Elmira, NY 14901

  Ulster        RUPCO                        301 Fair St. Kingston, NY         845-331-9860     HOPP
                                             12401                                              Spanish speaking staff
                                                                                                available

  Warren        Housing Assistance           103 Hand Ave.,                    518-873-6888     HOPP
                Program of Essex County      Elizabethtown, NY 12932
                (HAPEC)

                Albany County Rural          24 Martin Road,                   518-765-2425     HOPP
                Housing Alliance             Voorheesville, NY 12186

                Clearpoint Financial         2 Computer Drive West,            1-877-412-2227   Formerly known as
                Solutions                    Albany, NY 12205                                   Consumer Credit
                                                                                                Counseling Service of
                                                                                                Central NY

                Homefront Development        568 Lower Allen St.,              518-747-8250
                Corp.                        Hudson Falls, NY 12839

  Washington    Housing Assistance           103 Hand Ave.,                    518-873-6888     HOPP
                Program of Essex County      Elizabethtown, NY 12932
                (HAPEC)

                Albany County Rural          24 Martin Road,                   518-765-2425     HOPP
                Housing Alliance             Voorheesville, NY 12186

                Homefront Development        568 Lower Allen St.,              518-747-8250
                Corp.                        Hudson Falls, NY 12839

  Wayne         Community Action in Self     48 Water St., Lyons, NY           315-946-6992     HOPP
                Help                         14489

                Keuka Housing Council        160 Main St. Penn Yan, NY         315-536-8707     HOPP
                                             14527

                Consumer Credit              50 Chestnut Plaza,                1-888-724-2227   HOPP
                Counseling Service of        Rochester, NY 14604
                Rochester, Inc.

  Westchester   Community Housing            75 South Broadway, Ste 340        914-683-1010     HOPP
                Innovations, Inc.            White Plains, NY 10601

                Housing Action Council       55 South Broadway,                914-332-4144     HOPP
                                             Tarrytown, NY 10591

                Human Development            28 Adee St. Port Chester,         914-939-2005     HOPP
                Services of Westchester,     NY 10573                                           Spanish speaking
                Inc.                                                                            counselors available




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                Westchester Residential      470 Mamaroneck Ave.,              914-428-4507 OR   HOPP
                Opportunities                Suite 410 White Plains, NY        877-WRO-4YOU      Spanish and French
                                             10605                                               speaking staff
                                                                                                 available

                Putnam County Housing        11 Seminary Hill Rd.,             845-225-8493
                Corp.                        Carmel, NY 10512

                Greenpath                    One Barker Ave., Suite 420        888-366-9140
                                             White Plains, NY 10601

                Belmont Housing              1195 Main St. Buffalo, NY         716-884-7791      HOPP
                Resources                    14209

  Wyoming       Consumer Credit              50 Chestnut Plaza,                1-888-724-2227    HOPP
                Counseling Services of       Rochester, NY 14604
                Rochester, Inc.

                ACCORD                       84 Schuyler St., Belmont,         585-268-7605      HOPP
                                             NY 14813

                The Housing Council          75 College Ave., 4th Floor,       585-546-3700      HOPP
                                             Rochester, NY 14607

                Community Action in Self     48 Water St., Lyons, NY           315-946-6992      HOPP
                Help                         14489

  Yates         Keuka Housing Council        160 Main St. Penn Yan, NY         315-536-8707      HOPP
                                             14527




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                      7600367995_NOI_000047_04252018




                                                            CZESLAW CHELSTOWSKI


  Rushmore Loan Management Services LLC
  PO Box 111209
  Nashville, TN 37222
  (For Return Mail Only)

7600367995 81150355 NC120 900845 01




                                                                                  April 25, 2018




                                      000047 S1BA
                                      CZESLAW CHELSTOWSKI
                                      99 WILSON AVE
                                      AMITYVILLE NY 11701
             Rushmore Loan Management Services LLC
             PO Box 111209
             Nashville, TN 37222
             (For Return Mail Only)




   000047 S1BA
                                                                                    Date: April 25, 2018
   RYSZARD KOZIKOWSKI
   CZESLAW CHELSTOWSKI
   ANNA CHELSTOWSKA
   99 WILSON AVE                                                                    RE: Loan Number:
   AMITYVILLE, NY 11701
                                                                                    Property Address:
                                                                                    99 WILSON AVENUE
                                                                                    AMITYVILLE, NY 11701




Dear Mortgagor(s):
                       YOU MAY BE AT RISK OF FORECLOSURE.
                  PLEASE READ THE FOLLOWING NOTICE CAREFULLY
As of April 25, 2018, your home loan is 814 days, and $88,848.10 dollars in default.
Under New York state law, we are required to send you this notice to inform you that you are
at risk of losing your home.
Attached to this notice is a list of government approved housing counseling agencies in your
area which provide free counseling.
You can also call the NYS Office of the Attorney General’s Homeowner Protection Program
(HOPP) toll-free consumer hotline to be connected to free housing counseling services in
your area at 1-855-HOME-456 (1-855-466-3456), or visit their website at
http://www.aghomehelp.com/. A statewide listing by county is also available at:
http://www.dfs.ny.gov/consumer/mortg_nys_np_counseling_agencies.htm
Qualified free help is available; watch out for companies or people who charge a fee for these
services.
Housing counselors from New York-based agencies listed on the website above are trained to
help homeowners who are having problems making their mortgage payments and can help
you find the best option for your situation. If you wish, you may contact the Loss Mitigation
Department at 1-888-504-7300.




                                               Rushmore Loan Management Services LLC
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While we cannot assure that a mutually agreeable resolution is possible, we encourage you to
take immediate steps to try to achieve a resolution. The longer you wait the fewer options you
may have.
If you have not taken any actions to resolve this matter within 90 days from the date this notice
was mailed, we may commence legal action against you (or sooner if you cease to live in the
dwelling as your primary residence).
If you need further information, please call the New York State Department of Financial
Services’ toll-free helpline at 800-342-3736 or visit the Department’s website at
http://www.dfs.ny.gov.
IMPORTANT: You have the right to remain in your home until you receive a court order
telling you to leave the property. If a foreclosure action is filed against you in court, you still
have the right to remain in the home until court orders you to leave. You legally remain the
owner of and are responsible for the property until the property is sold by you or by order of
the court at the conclusion of any foreclosure proceedings. This notice is not an eviction
notice, and a foreclosure action has not yet been commenced against you.
This matter is very important. Please give it your immediate attention.
Sincerely,
Rushmore Loan Management Services LLC
15480 Laguna Canyon Rd. #100
Irvine, CA 92618
PH: 1-888-504-7300
FAX: 949-341-2200

It is possible that after payment of the amounts detailed above, there may be other fees
still due and owing, including but not limited to other fees, escrow advances or corporate
advances that Rushmore paid on your behalf or advanced to your account.
(See disclosures on page 3)




                                     Rushmore Loan Management Services LLC
                                   15480 Laguna Canyon Rd. #100, Irvine, CA 92618
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Federal law requires us to advise you that Rushmore Loan Management Services LLC is a debt
collector and that this is an attempt to collect a debt. Any information obtained may be used for
that purpose. To the extent your obligation has been discharged or is subject to the automatic
stay in a bankruptcy proceeding, this notice is for informational purposes only and does not
constitute a demand for payment or an attempt to collect indebtedness as your personal
obligation. If you are represented by an attorney, please provide us with the attorney’s name,
address and telephone number.
For New York Residents: Please be advised that Rushmore Loan Management Services LLC is
registered with the Superintendent of Financial Services for the State of New York. Borrowers
may file complaints about Rushmore Loan Management Services LLC with the New York State
Department of Financial Services. Borrowers may also obtain further information from the
New York State Department by calling the Department’s Consumer Assistance Unit at
800-342-3736 or by visiting the Department’s website at www.dfs.ny.gov.
Notice to Customers: Rushmore Loan Management Services LLC may report information
about your mortgage account to credit bureaus. Late payments, missed payments, or other
defaults on your account may be reflected in your credit report.
Failure to cure the default on or before 07/24/2018 may result in acceleration of the sums
secured by this Security Instrument, foreclosure by judicial proceeding and sale of the Property.
Partial payments received may be applied to any amounts outstanding, but any partial payments
that are applied will not invalidate our right to commence foreclosure proceedings.
You have the right to reinstate after acceleration and the right to assert in the foreclosure
proceeding the non-existence of a default or any other defense to acceleration and foreclosure.
DEBT COLLECTION
This communication is for the purpose of collecting a debt, and any information obtained from
the trustor(s) will be used for that purpose. Rushmore is acting as a “debt collector” as that term
is defined in the Federal Fair Debt Collection Practices Act. This notice is required by the
provisions of the Fair Debt Collection Practices Act and does not imply that we are attempting
to collect money from any one who has discharged the debt under the bankruptcy laws of the
United States.




                                     Rushmore Loan Management Services LLC
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CREDIT REPORTING
We may report information about your account to credit bureaus. Late payments, missed
payments, or other defaults on your account may be reflected in your credit report.
BANKRUPTCY
If you have received a discharge of this debt through bankruptcy, you are not personally liable
to us if you do not pay us the above amount. We can recover only the real property from you
and you will not be obligated to pay us the difference between what we may get from the sale of
the real property and the balance due on the loan. This notice is provided to inform you of what
you must do to retain possession of your real property.
HUD STATEMENT
Pursuant to section 169 of the Housing and Community Development Act of 1987, you may
have the opportunity to receive counseling from various local agencies regarding the retention
of your home. You may obtain a list of the HUD approved housing counseling agencies by
calling the HUD nationwide toll free telephone at 1-800-569-4287.
ADDITIONAL NOTICES
Rushmore Loan Management Services LLC is a Debt Collector, who is attempting to collect a
debt. Any information obtained will be used for that purpose. However, if you are in
Bankruptcy or received a Bankruptcy Discharge of this debt, this letter is being sent for
informational purposes only, is not an attempt to collect a debt and does not constitute a notice
of personal liability with respect to the debt.




                                     Rushmore Loan Management Services LLC
                                   15480 Laguna Canyon Rd. #100, Irvine, CA 92618
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    Servicemembers Civil Relief                     U . S. Department of Housing                            OMB Approval 2502 - 0584
    Act Notice Disclosure                               and Urban Development                                         Exp 3/31/2021
                                                           Office of Housing

    Legal Rights and Protections Under the SCRA

    6HUYLFHPHPEHUVRQ³DFWLYHGXW\´RU³DFWLYHVHUYLFH´RUDVSRXVHRUGHSHQGHQWRIVXFKDVHUYLFHPHPEHUPD\EHHQWLWOHGWR
    FHUWDLQOHJDOSURWHFWLRQVDQGGHEWUHOLHISXUVXDQWWRWKH6HUYLFHPHPEHUV&LYLO5HOLHI$FW 86&3901-4043 
     6&5$ 


      x 5HJXODUPHPEHUVRIWKH86$UPHG)RUFHV $UP\1DY\$LU)RUFH0DULQH&RUSVDQG&RDVW
    Who May Be Entitled to Legal Protections Under the SCRA?

             *XDUG 
        x    5HVHUYHDQG 1DWLRQDO*XDUGSHUVRQQHOZKRKDYHEHHQDFWLYDWHGDQGDUHRQ)HGHUDODFWLYHGXW\
        x    1DWLRQDO*XDUGSHUVRQQHOXQGHUDFDOORURUGHUWRDFWLYHGXW\IRUPRUHWKDQFRQVHFXWLYHGD\VXQGHU
             VHFWLRQ I RIWLWOH8QLWHG6WDWHV&RGHIRUSXUSRVHVRIUHVSRQGLQJWRDQDWLRQDOHPHUJHQF\
             GHFODUHGE\WKH3UHVLGHQWDQGVXSSRUWHGE\)HGHUDOIXQGV
        x    $FWLYHVHUYLFHPHPEHUVRIWKHFRPPLVVLRQHGFRUSVRIWKH3XEOLF+HDOWK6HUYLFHDQGWKH1DWLRQDO
             2FHDQLFDQG$WPRVSKHULF$GPLQLVWUDWLRQ
        x    &HUWDLQ8QLWHG6WDWHVFLWL]HQVVHUYLQJZLWKWKHDUPHGIRUFHVRIDQDWLRQZLWKZKLFKWKH8QLWHG6WDWHV
             LVDOOLHGLQWKHSURVHFXWLRQRIDZDURUPLOLWDU\DFWLRQ

    What Legal Protections Are Servicemembers Entitled To Under the SCRA? 
        x    7KH6&5$VWDWHVWKDWDGHEWLQFXUUHGE\DVHUYLFHPHPEHURUVHUYLFHPHPEHUDQGVSRXVHMRLQWO\SULRUWR
             HQWHULQJPLOLWDU\VHUYLFHVKDOOQRWEHDULQWHUHVWDWDUDWHDERYHGXULQJWKHSHULRGRIPLOLWDU\VHUYLFHDQGRQH
             \HDUWKHUHDIWHULQWKHFDVHRIDQREOLJDWLRQRUOLDELOLW\FRQVLVWLQJRIDPRUWJDJHWUXVWGHHGRURWKHUVHFXULW\LQWKHQDWXUH
             RIDPRUWJDJHRUGXULQJWKHSHULRGRIPLOLWDU\VHUYLFHLQWKHFDVHRIDQ\RWKHUREOLJDWLRQRUOLDELOLW\
        x    7KH6&5$VWDWHVWKDWLQDOHJDODFWLRQWRHQIRUFHDGHEWDJDLQVWUHDOHVWDWHWKDWLVILOHGGXULQJRUZLWKLQRQH
             \HDUDIWHUWKHVHUYLFHPHPEHU¶VPLOLWDU\VHUYLFHDFRXUWPD\VWRSWKHSURFHHGLQJVIRUDSHULRGRIWLPHRU
             DGMXVWWKHGHEW,QDGGLWLRQWKHVDOHIRUHFORVXUHRUVHL]XUHRIUHDOHVWDWHVKDOOQRWEHYDOLGLILWRFFXUVGXULQJ
             RUZLWKLQRQH\HDUDIWHUWKHVHUYLFHPHPEHU¶VPLOLWDU\VHUYLFHXQOHVVWKHFUHGLWRUKDVREWDLQHGDYDOLGFRXUW
             RUGHUDSSURYLQJWKHVDOHIRUHFORVXUHRUVHL]XUHRIWKHUHDOHVWDWH
        x    7KH6&5$FRQWDLQVPDQ\RWKHUSURWHFWLRQVEHVLGHVWKRVHDSSOLFDEOHWRKRPHORDQV

    How Does A Servicemember or Dependent Request Relief Under the SCRA?

        x    ,QRUGHUWRUHTXHVWUHOLHIXQGHUWKH6&5$IURPORDQVZLWKLQWHUHVWUDWHVDERYHDVHUYLFHPHPEHURUVSRXVH
             PXVWSURYLGHDZULWWHQUHTXHVWWRWKHOHQGHUWRJHWKHUZLWKDFRS\RIWKHVHUYLFHPHmEHU¶VPLOLWDU\RUGHUV
             >1RWH /HQGHUVKRXOGSODFHLWVQDPHDGGUHVVDQGFRQWDFWLQIRUPDWLRQKHUH@
        x    7KHUHLVQRUHTXLUHPHQWXQGHUWKH6&5$KRZHYHUIRUDVHUYLFHPHPEHUWRSURYLGHDZULWWHQQRWLFHRUDFRS\
             RIDVHUYLFHPHPEHU¶VPLOLWDU\RUGHUVWRWKHOHQGHULQFRQQHFWLRQZLWKDIRUHFORVXUHRURWKHUGHEWHQIRUFHPHQW
             DFWLRQDJDLQVWUHDOHVWDWH 8QGHUWKHVHFLUFXPVWDQFHVOHQGHUVVKRXOGLQTXLUHDERXWWKHPLOLWDU\VWDWXVRID
             SHUVRQE\VHDUFKLQJWKH'HSDUWPHQWRI'HIHQVH¶V'HIHQVH0DQSRZHU'DWD&HQWHU¶VZHEVLWHFRQWDFWLQJWKH
             VHUYLFHPHPEHUDQGH[DPLQLQJWKHLUILOHVIRULQGLFLDRIPLOLWDU\VHUYLFH $OWKRXJKWKHUHLVQRUHTXLUHPHQWIRU
             VHUYLFHPHPEHUVWRDOHUWWKHOHQGHURIWKHLUPLOLWDU\VWDWXVLQWKHVHVLWXDWLRQVLWVWLOOLVDJRRGLGHDIRUWKH
             VHUYLFHPHPEHUWRGRVR

    How Does a Servicemember or Dependent Obtain Information About the SCRA? 

        x    6HUYLFHPHPEHUVDQGGHSHQGHQWVZLWKTXHVWLRQVDERXWWKH6&5$VKRXOGFRQWDFWWKHLUXQLW¶V-XGJH$GYRFDWHRU
             WKHLULQVWDOODWLRQ¶V/HJDO$VVLVWDQFH2IILFHU$PLOLWDU\OHJDODVVLVWDQFHRIILFHORFDWRUIRUDOOEUDQFKHVRIWKH
             $UPHG)RUFHVLVDYDLODEOHDWKWWSOHJDODVVLVWDQFHODZDIPLOFRQWHQWORFDWRUSKS


        x    ³0LOLWDU\2QH6RXUFH´LVWKH86'HSDUWPHQWRI'HIHQVH¶VLQIRUPDWLRQ UHVRXUFH,I\RXDUHOLVWHGDVHQWLWOHGWR
             OHJDOSURWHFWLRQVXQGHUWKH6&5$ VHHDERYH SOHDVHJRWRZZZPLOLWDU\RQHVRXUFHPLOOHJDORUFDOO
              WROOIUHHIURPWKH8QLWHG6WDWHV WRILQGRXWPRUHLQIRUPDWLRQ'LDOLQJLQVWUXFWLRQVIRUDUHDVRXWVLGH
             WKH8QLWHG6WDWHVDUHSURYLGHGRQWKHZHEVLWH


                                                                                                                           form HUD-92070
                                                                                                                                  (6/2017)
                                             0121340536787649*176304
1+,4-.//.012342.415,4677/1,844.466/1-.921649,81:,2484.2/;<4
=>?@ABCB?@DEA?FB>CG@HCIJ@K?LB@MEGG?NBIEF@OJCNBIN?A@PNB@CFQ@B>?@R?Q?JCG@HCIJ@K?LB@MEGG?NBIEF@OJCNBIN?A@PNB@J?STIJ?@B>CBU@?VN?WB@
TFQ?J@TFTATCG@NIJNTXABCFN?AU@NEGG?NBEJA@XCY@FEB@NEFBCNB@YET@L?REJ?@Z[\\@C]X]@EJ@CRB?J@^[\\@W]X]@=>?Y@XCY@FEB@>CJCAA@YET@LY@
TAIF_@B>J?CBA@ER@`IEG?FN?@EJ@CJJ?AB@EJ@LY@TAIF_@ELAN?F?@GCF_TC_?]@MEGG?NBEJA@XCY@FEB@TA?@RCGA?@EJ@XIAG?CQIF_@ABCB?X?FBA@EJ@NCGG@
YET@CB@aEJb@IR@B>?Y@bFEa@EJ@>C`?@J?CAEF@BE@bFEa@B>CB@YET@XCY@FEB@J?N?Ì?@W?JAEFCG@NCGGA@CB@aEJb]@HEJ@B>?@XEAB@WCJBU@
NEGG?NBEJA@XCY@FEB@B?GG@CFEB>?J@W?JAEFU@EB>?J@B>CF@YETJ@CBBEJF?Y@EJ@AWETA?U@CLETB@YETJ@Q?LB]@MEGG?NBEJA@XCY@NEFBCNB@CFEB>?J@
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NEXXTFINCBIEF@aIB>@B>?@NEFATX?J]@P@aJIBB?F@J?ST?AB@BE@N?CA?@NEXXTFINCBIEF@aIGG@FEB@WJE>ILIB@B>?@Q?LB@NEGG?NBEJ@EJ@
NEGG?NBIEF@C_?FNY@RJEX@BCbIF_@CFY@EB>?J@CNBIEF@CTB>EJIp?Q@LY@GCa@BE@NEGG?NB@B>?@Q?LB]@
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HqD@rsHqDtP=rqs@Puqv=@=gh@MqiqDPKq@HPrD@Khu=@MqiihM=rqs@ODPM=rMhw@PM=U@whh@aaa]NEC_]_E`xNCJ]@
OG?CA?@L?@CQ`IA?Q@B>CB@YET@NCF@J?CN>@B>?@MEGEJCQE@HEJ?NGEATJ?@gEBGIF?@CB@deZffey\degqOh@jy\demyfko]@
iENCG@DTA>XEJ?@iECF@tCFC_?X?FB@w?J`IN?A@iiM@P_?FB@REJ@MEGEJCQE@D?AIQ?FBA[@
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sEBIN?@ER@rtOqD=Ps=@Dr}g=w[@~ET@>C`?@B>?@JI_>B@BE@XCb?@C@aJIBB?F@EJ@EJCG@J?ST?AB@B>CB@B?G?W>EF?@NCGGA@J?_CJQIF_@YETJ@
Q?LB@FEB@L?@XCQ?@BE@YET@CB@YETJ@WGCN?@ER@?XWGEYX?FB]@PFY@ATN>@EJCG@J?ST?AB@aIGG@L?@`CGIQ@REJ@EFGY@B?F@jd\o@QCYA@TFG?AA@YET@
WJE`IQ?@aJIBB?F@NEFRIJXCBIEF@ER@B>?@J?ST?AB@WEABXCJb?Q@EJ@Q?GÌ?J?Q@aIB>IF@A?`?F@jfo@QCYA@ER@ATN>@J?ST?AB]@~ET@XCY@
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DTA>XEJ?@iECF@tCFC_?X?FB@w?J`IN?A@iiM@IA@C@K?LB@MEGG?NBEJU@a>E@IA@CBB?XWBIF_@BE@NEGG?NB@C@Q?LB]@PFY@IFREJXCBIEF@ELBCIF?Q@
aIGG@L?@TA?Q@REJ@B>CB@WTJWEA?]@gEa?`?JU@IR@YET@CJ?@IF@uCFbJTWBNY@EJ@J?N?Ì?Q@C@uCFbJTWBNY@KIAN>CJ_?@ER@B>IA@Q?LBU@B>IA@G?BB?J@IA@
L?IF_@A?FB@REJ@IFREJXCBIEFCG@WTJWEA?A@EFGYU@IA@FEB@CF@CBB?XWB@BE@NEGG?NB@C@Q?LB@CFQ@QE?A@FEB@NEFABIBTB?@C@FEBIN?@ER@W?JAEFCG@
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L?IF_@A?FB@REJ@IFREJXCBIEF@WTJWEA?A@EFGY@CFQ@QE?A@FEB@NEFABIBTB?@W?JAEFCG@GICLIGIBY@aIB>@J?AW?NB@BE@B>?@Q?LB]@

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                    Approved housing counseling agencies located in New York
                                          by County

  COUNTY        AGENCY                       ADDRESS                           CONTACT INFO       NOTES

  Albany        Affordable Housing           255 Orange St., Albany, NY        518-434-1730       HOPP
                Partnership                  12210                                                Also serves
                                                                                                  surrounding areas

                Albany County Rural          24 Martin Road,                   518-765-2425       HOPP
                Housing Alliance             Voorheesville, NY 12186                              Also serves
                                                                                                  surrounding areas

                United Tenants of Albany     33 Clinton Ave., Albany,          518-436-8997       HOPP
                                             NY 12207                                             For tenants whose
                                                                                                  buildings are in the
                                                                                                  process of foreclosure
                                                                                                  or have been
                                                                                                  foreclosed on

                Better Neighborhoods,        986 Albany St.,                   518-372-6469       HOPP
                Inc.                         Schenectady, NY 12307                                Spanish speaking staff
                                                                                                  available

                Clearpoint Credit            2 Computer Drive West,            1-800-750-2227     Formerly known as
                Counseling Solutions         Albany, NY 12205                                     Consumer Credit
                                                                                                  Counseling Service

                NYS Office For People        44 Holland Ave. Albany,           518-473-1973       Serving all NYS
                With Developmental           NY 12229                                             residents with
                Disabilities (OPWDD)                                                              developmental
                                                                                                  disabilities and their
                                                                                                  families

  Allegany      ACCORD                       84 Schuyler St., Belmont,         585-268-7605       HOPP
                                             NY 14813

                Neighborhood Housing         1937 South Park Ave.              716-823-3630       Also serving
                Services of Buffalo          Buffalo, NY 14220                                    surrounding counties

  Bronx         Neighborhood Housing         848 Concourse Village             718-992-5979       HOPP
                Services- South Bronx        West, Bronx, NY 10451                                Spanish speaking staff
                                                                                                  available

                Neighborhood Housing         1451 East Gun Hill Rd.,           718-881-1180       HOPP
                Services- North Bronx        Bronx, NY 10469                                      Spanish speaking staff
                                                                                                  available

                Parodneck Foundation         121 6th Ave., Suite 501           212-431-9700 ext   HOPP
                                             New York, NY 10013                391                Spanish speaking staff
                                                                                                  available

                MHANY Management,            1 Metro Tech Center North         718-246-8080 ext   HOPP
                Inc.                         11th Floor, Brooklyn, NY          203                Spanish speaking staff
                                             11201                                                available

                Brooklyn Housing and         415 Albemarle Rd.,                718-435-7585       HOPP
                Family Services, Inc.        Brooklyn, NY 11218                                   Spanish and French


                                             Rushmore Loan Management Services LLC
                                           15480 Laguna Canyon Rd. #100, Irvine, CA 92618
NC120-NY 90Day-16                                                                                                  Page 8
                                                                                                    Creole speaking staff
                                                                                                    available

                Grow Brooklyn, Inc.           1474 Myrtle Ave.,                 718-418-8232 ext.   HOPP
                                              Brooklyn, NY 11237                206                 Spanish and Bengali
                                                                                                    speaking staff
                                                                                                    available

                NYC Commission on             1932 Arthur Avenue, Room          718-579-6728 OR     Spanish speaking staff
                Human Rights                  203A, Bronx, NY 10457             718-579-6900        available

  Broome        Metro Interfaith Housing      21 New St., Binghamton,           607-772-6766        HOPP
                Council                       NY 13903

                Clearpoint Credit             The Metro Center, 49 Court        1-800-750-2227
                Counseling Solutions          St., Binghamton, NY 13901

  Cattaraugus   Chautauqua Opportunities,     402 Chandler St.,                 716-661-9430        HOPP
                Inc.                          Jamestown, NY 14701

                ACCORD                        84 Schuyler St., Belmont,         585-268-7605        HOPP
                                              NY 14813

                Neighborhood Housing          1937 South Park Ave.,             716-823-3630
                Services of South Buffalo     Buffalo, NY 14220

  Cayuga        Home Headquarters, Inc.       990 James St., Suite 1,           315-474-1939        HOPP
                                              Syracuse NY 13203                                     Spanish speaking staff
                                                                                                    available

                Clearpoint Financial          5794 Widewaters Parkway,          1-877-412-2227      Formerly known as
                Solutions                     Syracuse, NY 13214                                    Consumer Credit
                                                                                                    Counseling Service of
                                                                                                    Central NY

  Chautauqua    Chautauqua Opportunities,     402 Chandler St.,                 716-661-9430        HOPP
                Inc.                          Jamestown, NY 14701

                Chautauqua Home               2 Academy St., Mayville,          716-753-4650        Spanish speaking staff
                Rehabilitation and            NY 14757                                              available
                Improvement Corp.
                (CHRIC)

                Neighborhood Housing          1937 South Park Ave.,             716-823-3630
                Services of South Buffalo     Buffalo, NY 14220

  Chemung       Arbor Housing and             26 Bridge St., Corning, NY        607-654-7487        HOPP
                Development                   14830

                Catholic Charities of         215 East Church St., Suite        607-734-9784        HOPP
                Chemung                       101, Elmira, NY 14901

  Chenango      Metro Interfaith Housing      21 New St., Binghamton,           607-772-2766        HOPP
                Council                       NY 13903

                Clearpoint Credit             The Metro Center, 49 Court        1-800-750-2227
                Counseling Solutions          St., Binghamton, NY 13901

  Clinton       Friends of the North          1 Mill St., Keeseville, NY        518-834-9606        HOPP
                Country                       12944




                                              Rushmore Loan Management Services LLC
                                            15480 Laguna Canyon Rd. #100, Irvine, CA 92618
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                Housing Assistance            103 Hand Ave.,                    518-873-6888           HOPP
                Program of Essex County       Elizabethtown, NY 12932
                (HAPEC)

  Columbia      Housing Resources of          252 Columbia St., Hudson,         518-822-0707           HOPP
                Columbia County, Inc.         NY 12534

  Cortland      Home Headquarters, Inc.       990 James St., Suite 1,           315-474-1939           HOPP
                                              Syracuse NY 13203                                        Spanish speaking staff
                                                                                                       available

                Cortland Housing              36 Taylor St. Cortland, NY        607-753-8271
                Assistance Council, Inc.      13045

                Clearpoint Credit             The Metro Center, 49 Court        1-800-750-2227
                Counseling Solutions          St., Binghamton, NY 13901

                Western Catskills             125 Main St., Suite A,            607-652-2823           HOPP
                Community Revitilization      Stamford, NY 12167
                Council

  Delaware      RUPCO                         301 Fair St. Kingston, NY         845-331-9860           HOPP
                                              12401                                                    Spanish speaking staff
                                                                                                       available

                Delaware Opportunities,       35430 State Hgwy. 10              607-746-1650
                Inc.                          Hamden, NY 13782

                Clearpoint Credit             The Metro Center, 49 Court        1-800-750-2227
                Counseling Solutions          St., Binghamton, NY 13901

  Dutchess      Hudson River Housing          291 Mill St Poughkeepsie,         845-454-9288           HOPP
                                              NY 12601

                Putnam County Housing         11 Seminary Hill Rd.,             845-225-8493
                Corp.                         Carmel, NY 10512

  Erie          Belmont Housing               1195 Main St. Buffalo, NY         716-884-7791           HOPP
                Resources                     14209

                West Side & Black Rock        359 Connecticut St.,              Tuesdays and           HOPP
                Riverside NHS, Inc.           Buffalo, NY 14213                 Wednesdays at (716)
                                                                                885-2344, Thursdays
                                                                                and Fridays at (716)
                                                                                877-3910

                Buffalo Urban League          15 Genesee Street                 (716) 250-2400         HOPP
                                              Buffalo, NY 14203

                Chautauqua Opportunities,     402 Chandler St.,                 716-661-9430           HOPP
                Inc.                          Jamestown, NY 14701

                Consumer Credit               40 Gardenville Parkway,           1-800-926-9685 or      HOPP
                Counseling Services of        Suite 300, West Seneca, NY        716-712-2060
                Buffalo, Inc.                 14224

                Neighborhood Assistance       135 Delaware Ave Ste 102          716-834-6222
                Corp. of America              Buffalo, New York 14202-
                                              2410

                Neighborhood Housing          1937 South Park Ave.,             716-823-3630



                                              Rushmore Loan Management Services LLC
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                Services of South Buffalo     Buffalo, NY 14220

  Essex         Friends of the North          1 Mill St., Keeseville, NY        518-834-9606        HOPP
                Country                       12944

                Housing Assistance            103 Hand Ave.,                    518-873-6888        HOPP
                Program of Essex County       Elizabethtown, NY 12932
                (HAPEC)

                Homefront Development         568 Lower Allen St.,              518-747-8250
                Corp.                         Hudson Falls, NY 12839

  Franklin      Friends of the North          1 Mill St., Keeseville, NY        518-834-9606        HOPP
                Country                       12944

                Housing Assistance            103 Hand Ave.,                    518-873-6888        HOPP
                Program of Essex County       Elizabethtown, NY 12932
                (HAPEC)

                Franklin County               337 West Main St. Malone,         (518) 483-5934      HOPP
                Community Housing             NY 12953
                Council Inc.

                Clearpoint Credit             215 Washington St. Suite          1-800-750-2227
                Counseling Solutions          005, Watertown, NY 13601

  Fulton        Better Neighborhoods,         986 Albany St.,                   518-372-6469        HOPP
                Inc.                          Schenectady, NY 12307

                UNHS NeighborWorks            1611 Genesee Street, Utica,       315-724-4197        HOPP
                Homeownership Center          NY 13501

  Genesee       The Housing Council           75 College Ave., 4th Floor,       585-546-3700 ext.   HOPP
                                              Rochester, NY 14607               3015

                Consumer Credit               1000 University Ave., Suite       1-888-724-2227      HOPP
                Counseling Services of        900 Rochester, NY 14607
                Rochester, Inc.

                Belmont Housing               1195 Main St., Buffalo, NY        716-884-7791        HOPP
                Resources                     14209

                Consumer Credit               40 Gardenville Parkway,           1-800-926-9685 or
                Counseling Services of        Suite 300, West Seneca, NY        716-712-2060
                Buffalo, Inc.                 14224

  Greene        Albany County Rural           24 Martin Road,                   518-765-2425        HOPP
                Housing Alliance              Voorheesville, NY 12186

                RUPCO                         301 Fair St. Kingston, NY         845-331-9860        HOPP
                                              12401                                                 Spanish speaking staff
                                                                                                    available

                Western Catskills             125 Main St., Suite A,            607-652-2823
                Community Revitilization      Stamford, NY 12167
                Council

                Clearpoint Credit             2 Computer Drive West,            1-800-750-2227      Formerly known as
                Counseling Solutions          Albany, NY 12205                                      Consumer Credit
                                                                                                    Counseling Service of
                                                                                                    Central NY



                                              Rushmore Loan Management Services LLC
                                            15480 Laguna Canyon Rd. #100, Irvine, CA 92618
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  Hamilton      Housing Assistance           103 Hand Ave.,                    518-873-6888     HOPP
                Program of Essex County      Elizabethtown, NY 12932
                (HAPEC)

                Clearpoint Credit            289 Genesee St., Utica, NY        1-800-750-2227
                Counseling Solutions         13501

                Homefront Development        568 Lower Allen St.,              518-747-8250
                Corp.                        Hudson Falls, NY 12839

  Herkimer      UNHS NeighborWorks           1611 Genesee Street, Utica,       315-724-4197     HOPP
                Homeownership Center         NY 13501

                Clearpoint Credit            289 Genesee St., Utica, NY        1-800-750-2227
                Counseling Solutions         13501

  Jefferson     Home Headquarters, Inc.      990 James St., Suite 1,           315-474-1939     HOPP
                                             Syracuse NY 13203                                  Spanish speaking staff
                                                                                                available

                Clearpoint Credit            215 Washington St. Suite          1-800-750-2227
                Counseling Solutions         005, Watertown, NY 13601

  Kings         Cypress Hills Local Dev.     625 Jamaica Avenue,               718-647-2800     HOPP
                Corp.                        Brooklyn, NY 11208                                 Spanish speaking staff
                                                                                                available

                Pratt Area Community         1000 Dean St., Brooklyn,          718-522-2613     HOPP
                Council                      NY 11238

                Grow Brooklyn, Inc.          1474 Myrtle Ave.,                 718-418-8232     HOPP
                                             Brooklyn, NY 11237                                 Spanish and Bengali
                                                                                                speaking staff
                                                                                                available

                Bridge Street Dev. Corp.     460 Nostrand Ave.,                718-636-7596     HOPP
                                             Brooklyn, NY 11216                                 Spanish Speaking
                                                                                                staff available

                MHANY Management,            1 Metro Tech Center North         718-246-8080     HOPP
                Inc.                         11th Floor, Brooklyn, NY                           Spanish speaking staff
                                             11201                                              available

                Neighbors Helping            621 Degraw St., Brooklyn,         718-237-2017     HOPP
                Neighbors (NHN)              NY 11217                                           Spanish speaking staff
                                                                                                available

                Brooklyn Housing and         415 Albemarle Rd.,                718-435-7585     HOPP
                Family Services, Inc.        Brooklyn, NY 11218                                 Spanish and French
                                                                                                Creole speaking staff
                                                                                                available

                Parodneck Foundation         121 6th Ave., Suite 501           212-431-9700     HOPP
                                             New York, NY 10013                                 Spanish speaking staff
                                                                                                available

                Neighborhood Housing         1012 Gates Ave., 2nd Floor,       718-919-2100     HOPP
                Services of Bedford-         Brooklyn, NY 11221
                Stuyvesant

                CAMBA                        1720 Church Ave., 2nd             718-287-0010     HOPP



                                             Rushmore Loan Management Services LLC
                                           15480 Laguna Canyon Rd. #100, Irvine, CA 92618
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                                               Floor, Brooklyn, NY 11226

                Neighborhood Housing           2806 Church Ave.,                 718-469-4679       HOPP
                Services- East Flatbush        Brooklyn, NY 11226                                   Spanish speaking staff
                                                                                                    available

                Greater Sheepshead Bay         2105 East 22nd St.,               718-332-0520
                Dev. Corp.                     Brooklyn, NY 11229

                Southern Brooklyn              4006 18th Ave., Brooklyn,         718-435-1300
                Community Organization         NY 11218

                Brooklyn Neighborhood          1482 Saint James Pl., Suite       718-773-4116
                Improvement Association        1C, Brooklyn, NY 11213

                Council of Jewish              1523 Avenue M, Brooklyn,          718-377-2900 ext   Arabic, Russian and
                Organizations of Flatbush,     NY 11230                          7625               Spanish speaking staff
                Inc.                                                                                available

                Money Management               26 Court St., Suite 2610,         1-866-232-9080     Spanish speaking staff
                International, Inc.            Brooklyn, NY 11242                                   available

                GreenPath Debt Solutions       175 Remsen St., Suite 1102,       866-285-4033
                                               Brooklyn, NY 11201

                NY Commission of               275 Livingston St.,               718-722-3130       Spanish speaking staff
                Human Rights- Brooklyn         Brooklyn, NY 11217                                   available

  Lewis         Home Headquarters, Inc.        990 James St., Suite 1,           315-474-1939       HOPP
                                               Syracuse NY 13203

                Clearpoint Credit              215 Washington St. Suite          1-800-750-2227
                Counseling Solutions           005, Watertown, NY 13601

  Livingston    Consumer Credit                1000 University Ave., Suite       1-888-724-2227     HOPP
                Counseling Services of         900 Rochester, NY 14607
                Rochester, Inc.

                The Housing Council            75 College Ave., 4th Floor,       585-546-3700       HOPP
                                               Rochester, NY 14607

  Madison       Home Headquarters, Inc.        990 James St., Suite 1,           315-474-1939       HOPP
                                               Syracuse NY 13203                                    Spanish speaking staff
                                                                                                    available

                UNHS NeighborWorks             1611 Genesee Street, Utica,       315-724-4197       HOPP
                Homeownership Center           NY 13501

                Community Action               3 East Main St., Morrisville,     315-684-3144       ASL trained staff
                Program for Madison            NY 13408                                             available
                County

                Clearpoint Credit              289 Genesee St., Utica, NY        1-800-750-2227
                Counseling Solutions           13501

  Monroe        Consumer Credit                1000 University Ave., Suite       1-888-724-2227     HOPP
                Counseling Services of         900 Rochester, NY 14607
                Rochester, Inc.

                Marketview Heights             308 North Street, Rochester,      585-423-1540       HOPP
                Association                    NY 14605



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                                             15480 Laguna Canyon Rd. #100, Irvine, CA 92618
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                The Housing Council          75 College Ave., 4th Floor,       585-546-3700          HOPP
                                             Rochester, NY 14607

                Urban League of              265 North Clinton Ave.,           585-325-6530
                Rochester                    Rochester, NY

  Montgomery    Better Neighborhoods,        986 Albany St.,                   518-372-6469          HOPP
                Inc.                         Schenectady, NY 12307                                   Spanish speaking staff
                                                                                                     available

                UNHS NeighborWorks           1611 Genesee Street, Utica,       315-724-4197          HOPP
                Homeownership Center         NY 13501

  Nassau        American Debt Resources,     248C Larkfield Road, East         1-800-498-0766        HOPP
                Inc.                         Northport, NY 11731                                     Spanish speaking staff
                                                                                                     available

                Community Development        333 No Main St., Freeport,        631-471-1215 x158     HOPP
                Corporation of Long          NY 11520                                                Spanish speaking staff
                Island                                                                               available

                Hispanic Brotherhood of      59 Clinton Ave., Rockville        516-766-6610          HOPP
                Rockville Centre, Inc.       Centre, NY 11570                                        Spanish speaking staff
                                                                                                     available

                La Fuerza Unida, Inc.        1 School St., Suite 302,          516-759-0788          HOPP
                                             Glen Cove, NY 11542                                     Spanish speaking staff
                                                                                                     available

                LIFE, Inc.                   112 Spruce St., Cedarhurst,       516-374-4564          HOPP
                                             NY 11516                                                Spanish speaking staff
                                                                                                     available

                Long Island Housing          180 Oser Ave.,                    631-435-4710          HOPP
                Partnership, Inc.            Hauppaugue, NY 11788                                    Spanish speaking staff
                                                                                                     available

                Long Island Housing          640 Johnson Ave., Suite 8,        631-567-5111 x383     HOPP
                Services, Inc.               Bohemia, NY 11716                                       Spanish speaking staff
                                                                                                     available

                Rockaway Development         1920 Mott Ave. Rm #2, Far         718-327-5300          HOPP
                and Revitilization Corp      Rockaway, NY 11691                                      funded in NYC Serves
                                                                                                     Western Nassau

                CHHAYA                       37-43 77th St., Jackson           718-478-3848          HOPP
                                             Heights, NY 11372                                       funded in NYC
                                                                                                     Southeast Asian
                                                                                                     speaking Counselors
                                                                                                     on staff

                GreenPath Debt Solutions     300 Garden City Plaza,            888-776-6738          HOPP
                                             Suite 220 Garden City, NY
                                             11530

                Debt Counseling Corp.        3033 Express Dr. N,               1-888-354-6332 ext.   HOPP
                                             Hauppauge, NY 11749               316                   Spanish speaking staff
                                                                                                     available

                Safeguard Credit             67 Salonga Rd. Northport,         1-800-673-6933        HOPP
                Counseling, Inc.             NY 11768                                                Spanish speaking staff



                                             Rushmore Loan Management Services LLC
                                           15480 Laguna Canyon Rd. #100, Irvine, CA 92618
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                                                                                                       available

  New York      MHANY Management,             1 Metro Tech Center North         718-246-8080           HOPP
                Inc.                          11th Floor, Brooklyn, NY                                 Spanish speaking staff
                                              11201                                                    available

                Grow Brooklyn, Inc.           1474 Myrtle Ave.,                 718-418-8232           HOPP
                                              Brooklyn, NY 11237                                       Spanish and Bengali
                                                                                                       speaking staff
                                                                                                       available

                Parodneck Foundation          121 6th Ave., Suite 501           212-431-9700           HOPP
                                              New York, NY 10013                                       Spanish speaking staff
                                                                                                       available

                AAFE Community                111 Division St., New York,       212-964-2288           Chinese and Korean
                Development Fund, Inc.        NY 10002                                                 speaking staff
                                                                                                       available

                Abyssinian Development        2283 7th Avenue, New              646-442-6545
                Corp.                         York, NY 10030

                Neighborhood Housing          307 West 36th St., 12th           212-519-2500           Spanish and Creole
                Services of NYC               floor, New York, NY 10018                                speaking staff
                                                                                                       available

                Harlem Congregations for      2854 Frederick Douglass           212-281-4887 ext.      Spanish speaking staff
                Community Development         Blvd., New York, NY 10039         206 or 231             available

                West Harlem Group             1652 Amsterdam Ave. New           212-862-1399
                Assistance, Inc.              York, NY 10031

                GreenPath Debt Solutions      One Penn Plaza, Suite 2108,       866-285-4059
                                              New York, NY 10119

  Niagara       Belmont Housing               1195 Main St., Buffalo, NY        716-884-7791           HOPP
                Resources                     14209

                West Side & Black Rock        203 Military Rd., Buffalo,        Tuesdays and           HOPP
                Riverside NHS, Inc.           NY 14207                          Wednesdays at (716)
                                                                                885-2344, Thursdays
                                                                                and Fridays at (716)
                                                                                877-3910

                Neighborhood Housing          1937 South Park Ave.,             716-823-3630
                Services of South Buffalo     Buffalo, NY 14220

  Oneida        UNHS NeighborWorks            1611 Genesee Street, Utica,       315-724-4197           HOPP
                Homeownership Center          NY 13501

                Clearpoint Credit             5794 Widewaters Parkway,          1-800-750-2227
                Counseling Solutions          Syracuse, NY 13214

                Northeast Hawley              101 Gertrude St., Syracuse,       315-425-1032
                Development Corp.             NY 13202

  Onondaga      Home Headquarters, Inc.       990 James St., Suite 1,           315-474-1939           HOPP
                                              Syracuse NY 13203                                        Spanish speaking staff
                                                                                                       available

                Clearpoint Credit             5794 Widewaters Parkway,          1-800-750-2227



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                Counseling Solutions          Syracuse, NY 13214

                Cooperative Federal           800 N. Salina St., Syracuse,      315-476-5290     Service for credit
                Credit Union                  NY 13208                                           union members only

  Ontario       Consumer Credit               1000 University Ave., Suite       1-888-724-2227   HOPP
                Counseling Services of        900 Rochester, NY 14607
                Rochester, Inc.

                Community Action in Self      48 Water St., Lyons, NY           315-946-6992     HOPP
                Help                          14489

                Keuka Housing Council         160 Main St. Penn Yan, NY         315-536-8707     HOPP
                                              14527

  Orange        Hudson River Housing          291 Mill St Poughkeepsie,         845-454-9288     HOPP
                                              NY 12601

                Orange County Rural           59b Boniface Drive, Pine          845-713-4568     HOPP
                Development Advisory          Bush, NY 12566
                Corp.

  Orleans       Belmont Housing               1195 Main St., Buffalo, NY        716-884-7791     HOPP
                Resources                     14209

                The Housing Council           75 College Ave., 4th Floor,       585-546-3700     HOPP
                                              Rochester, NY 14607

                Consumer Credit               1000 University Ave., Suite       1-888-724-2227   HOPP
                Counseling Service of         900 Rochester, NY 14607
                Rochester, Inc.

  Oswego        Fulton Community              125 West Broadway, Fulton,        315-593-7166     HOPP
                Development Agency            NY 13069

                Oswego Housing                2971 County Rte. 26, Parish,      315-625-4520
                Development Council, Inc.     NY 13131

                Clearpoint Credit             5794 Widewaters Parkway,          1-800-750-2227
                Counseling Solutions          Syracuse, NY 13214

  Otsego        UNHS NeighborWorks            1611 Genesee Street, Utica,       315-724-4197     HOPP
                Homeownership Center          NY 13501

                Clearpoint Creidt             The Metro Center, 49 Court        1-800-750-2227
                Counseling Solutions          St., Binghamton, NY 13901

  Putnam        Housing Action Council        55 South Broadway,                914-332-4144     HOPP
                                              Tarrytown, NY 10591

                Putnam County Housing         11 Seminary Hill Rd.,             845-225-8493     HOPP
                Corp.                         Carmel, NY 10512

  Queens        Neighborhood Housing          60-20 Woodside Ave.,              718-457-1017     HOPP
                Services of Northern          Flushing, NY 11377                                 Spanish and French
                Queens                                                                           Creole speaking staff
                                                                                                 available




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                Neighborhood Housing         89-70 162nd St., Jamaica,         718-291-7400     HOPP
                Services- Jamaica            NY 11432                                           Spanish speaking staff
                                                                                                available

                CHHAYA                       37-43 77th St., Jackson           718-478-3848     HOPP
                                             Heights, NY 11372                                  Southeast Asian
                                                                                                speaking Counselors
                                                                                                on staff

                Rockaway Development         1920 Mott Ave., Second            718-327-5300     HOPP
                and Revitilization Corp      Floor, Far Rockaway, NY
                                             11691

                Parodneck Foundation         121 6th Ave., Suite 501           212-431-9700     HOPP
                                             New York, NY 10013                                 Spanish speaking staff
                                                                                                available

                MHANY Management,            1 Metro Tech Center North         718-246-8080     HOPP
                Inc.                         11th Floor, Brooklyn, NY                           Spanish speaking staff
                                             11201                                              available

                Brooklyn Housing and         415 Albemarle Rd.,                718-435-7585     HOPP
                Family Services, Inc.        Brooklyn, NY 11218                                 Spanish and French
                                                                                                Creole speaking staff
                                                                                                available

                NY Commission of             153-01 Jamaica Ave.               718-657-2465     Spanish speaking staff
                Human Rights- Queens         Jamaica, NY 11432                                  available

                GreenPath Debt Solutions     80-02 Kew Gardens Road,           866-285-4036
                                             Suite 710 Kew Gardens, NY
                                             11415-3607

                Margert Community            325 Beach 37th Street Far         718-471-3724
                Corporation                  Rockaway, NY 11691

                Queens Community House       108-25 62nd Drive, Forest         718-592-5757
                                             Hills, NY 11375

  Rensselaer    Troy Rehabilitation and      415 River St., Troy, NY           518-690-0020     HOPP
                Improvement Program          12180
                (TRIP)

                United Tenants of Albany     33 Clinton Ave., Albany,          518-436-8997     HOPP
                                             NY 12207                                           For tenants whose
                                                                                                buildings are in
                                                                                                process of being
                                                                                                foreclosed or whose
                                                                                                building has been
                                                                                                foreclosed

                Albany County Rural          24 Martin Road,                   518-765-2425     HOPP
                Housing Alliance             Voorheesville, NY 12186

                Affordable Housing           255 Orange St., Albany, NY        518-434-1730     HOPP
                Partnership                  12210

                Clearpoint Credit            2 Computer Drive West,            1-800-750-2227   Formerly known as
                Counseling Solutions         Albany, NY 12205                                   Consumer Credit
                                                                                                Counseling Service of
                                                                                                Central NY


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  Richmond      Northfield Community           160 Heberton Ave. Staten          718-442-7351     HOPP
                Local Dev. Corp. of Staten     Island, NY 10302
                Island

                MHANY Management,              1 Metro Tech Center North         718-246-8080     HOPP
                Inc.                           11th Floor, Brooklyn, NY                           Spanish speaking staff
                                               11201                                              available

                Parodneck Foundation           121 6th Ave., Suite 501           212-431-9700     HOPP
                                               New York, NY 10013                                 Spanish speaking staff
                                                                                                  available

                Neighborhood Housing           770 Castleton Ave., Staten        718-442-8080     HOPP
                Services, Staten Island        Island, NY 10310                                   Spanish speaking staff
                                                                                                  available

                NYC Commission on              60 Bay St. 7th Floor, Staten      718-390-8506     Spanish speaking staff
                Human Rights- Staten           Island, NY 10301                                   available
                Island

  Rockland      Housing Action Council         55 South Broadway,                914-332-4144     HOPP
                                               Tarrytown, NY 10591

                Rockland Housing Action        120-126 North Main St.,           845-708-5799     HOPP
                Coalition                      Annex-First Floor, New                             Spanish, Creole,
                                               City, NY 10956                                     Hebrew, and ASL
                                                                                                  speaking staff
                                                                                                  available

  Saratoga      Albany County Rural            24 Martin Road,                   518-765-2425     HOPP
                Housing Alliance               Voorheesville, NY 12186

                Affordable Housing             255 Orange St., Albany, NY        518-434-1730     HOPP
                Partnership                    12210

                Troy Rehabilitation and        415 River St., Troy, NY           518-690-0020     HOPP
                Improvement Program            12180                                              Serving residents of
                (TRIP)                                                                            Southern Saratoga
                                                                                                  County

                Better Neighborhoods,          986 Albany St.,                   518-372-6469     HOPP
                Inc.                           Schenectady, NY 12307                              Spanish speaking staff
                                                                                                  available

                Clearpoint Credit              2 Computer Drive West,            1-800-750-2227   Formerly known as
                Counseling Solutions           Albany, NY 12205                                   Consumer Credit
                                                                                                  Counseling Service of
                                                                                                  Central NY

                Homefront Development          568 Lower Allen St.,              518-747-8250     Serving residents of
                Corp.                          Hudson Falls, NY 12839                             Northern Saratoga
                                                                                                  County

  Schenectady   Better Neighborhoods,          986 Albany St.,                   518-372-6469     HOPP
                Inc.                           Schenectady, NY 12307                              Spanish speaking staff
                                                                                                  available

                Affordable Housing             255 Orange St., Albany, NY        518-434-1730     HOPP
                Partnership                    12210

                Albany County Rural            24 Martin Road,                   518-765-2425     HOPP



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                Housing Alliance             Voorheesville, NY 12186

                Schenectady Community        913 Albany St.,                   518-374-9181     For tenants whose
                Action Program (SCAP)        Schenectady, NY 12307                              buildings are in
                                                                                                process of being
                                                                                                foreclosed or whose
                                                                                                building has been
                                                                                                foreclosed

                Clearpoint Credit            2 Computer Drive West,            1-800-750-2227   Formerly known as
                Counseling Solutions         Albany, NY 12205                                   Consumer Credit
                                                                                                Counseling Service of
                                                                                                Central NY

  Schoharie     Albany County Rural          24 Martin Road,                   518-765-2425     HOPP
                Housing Alliance             Voorheesville, NY 12186

                Western Catskills            125 Main St., Suite A,            607-652-2823
                Community                    Stamford, NY 12167
                RevitilizationCouncil

                Clearpoint Credit            2 Computer Drive West,            1-800-750-2227   Formerly known as
                Counseling Solutions         Albany, NY 12205                                   Consumer Credit
                                                                                                Counseling Service of
                                                                                                Central NY

  Schuyler      Arbor Housing and            26 Bridge St., Corning, NY        607-654-7487     HOPP
                Development                  14830

                Catholic Charities of        215 East Church St., Suite        607-734-9784     HOPP
                Chemung                      101, Elmira, NY 14901

  Seneca        The Housing Council          75 College Ave., 4th Floor,       585-546-3700     HOPP
                                             Rochester, NY 14607

                Community Action in Self     48 Water St., Lyons, NY           315-946-6992     HOPP
                Help                         14489

  St.           Housing Assistance           103 Hand Ave.,                    518-873-6888     HOPP
  Lawrence      Program of Essex County      Elizabethtown, NY 12932
                (HAPEC)

                North Country Housing        19 Main St., Canton, NY           315-386-8576
                Council                      13617

                Clearpoint Credit            215 Washington St. Suite          1-800-750-2227
                Counseling Solutions         005, Watertown, NY 13601

  Steuben       Arbor Housing and            26 Bridge St., Corning, NY        607-654-7487     HOPP
                Development                  14830

                Accord                       84 Schuyler St., Belmont,         585-268-7605     HOPP
                                             NY 14813

                Catholic Charities of        215 East Church St., Suite        607-734-9784     HOPP
                Chemung                      101, Elmira, NY 14901

  Suffolk       American Debt Resources,     248C Larkfield Road, East         1-800-498-0766   HOPP
                Inc.                         Northport, NY 11731                                Spanish speaking staff
                                                                                                available




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                Community Development           2100 Middle Country Rd.,          631-471-1215 ext.     HOPP
                Corporation of Long             Suite 300, Centereach NY          158                   Spanish speaking staff
                Island                          11720                                                   available

                Economic Opportunity            320 Carleton Avenue Suite         631-647-3765 x 1204   HOPP
                Council of Suffolk, Inc.        7800 Central Islip NY             or 1205
                                                11722

                La Fuerza Unida, Inc.           1 School St., Suite 302,          516-759-0788          HOPP
                                                Glen Cove, NY 11542                                     Spanish speaking staff
                                                                                                        available

                Long Island Housing             180 Oser Ave.,                    631-435-4710          HOPP
                Partnership, Inc.               Hauppaugue, NY 11788                                    Spanish speaking staff
                                                                                                        available

                Long Island Housing             640 Johnson Ave., Suite 8,        631-567-5111 x383     HOPP
                Services, Inc.                  Bohemia, NY 11716                                       Spanish speaking staff
                                                                                                        available

                CHHAYA                          37-43 77th St., Jackson           718-478-3848          HOPP
                                                Heights, NY 11372                                       funded for NYC
                                                                                                        Southeast Asian
                                                                                                        speaking Counselors
                                                                                                        on staff

                Central Islip Civic Council     68 Wheeler Rd. Central            631-348-0669          HOPP
                                                Islip, NY 11722                                         Spanish speaking staff
                                                                                                        available

                Debt Counseling Corp.           3033 Express Dr. N,               1-888-354-6332 ext.   HOPP
                                                Hauppauge, NY 11749               316                   Spanish speaking staff
                                                                                                        available

                Greenpath                       1300 Veterans Memorial            888-776-6738          HOPP
                                                Highway, Suite 305,
                                                Hauppaugue NY 11788

                Safeguard Credit                67 Salonga Rd. Northport,         1-800-673-6933        HOPP
                Counseling, Inc.                NY 11768                                                Spanish speaking staff
                                                                                                        available

                Housing Help, Inc.              91-101 Broadway, Suite 6,         631-754-0373
                                                Greenlawn NY 11740

                North Fork Housing              110 South St., Greenport,         631-477-1070
                Alliance                        NY 11944

                Bellport, Hagerman, East        1492 Montauk Highway,             631-286-9236
                Patchogue Alliance, Inc.        Bellport, NY 11713

                Wyandanch Community             59 Cumberbach St.                 631-253-0139 OR       Only serves part of
                Development                     Wyandanch, NY 11798               631-643-4786          Western Suffolk

  Sullivan      RUPCO                           301 Fair St. Kingston, NY         845-331-9860          HOPP
                                                12401                                                   Spanish speaking staff
                                                                                                        available

                Rural Sullivan Housing          6 Pelton St. Monticello, NY       845-794-0348
                Corp.                           12701




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                                              15480 Laguna Canyon Rd. #100, Irvine, CA 92618
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  Tioga         Catholic Charities of        215 East Church St., Suite        607-734-9784     HOPP
                Chemung                      101, Elmira, NY 14901

                Metro Interfaith Housing     21 New St., Binghamton,           607-772-6766     HOPP
                Council                      NY 13903

                Clearpoint Financial         The Metro Center, 49 Court        877-412-2227
                Solutions                    St., Binghamton, NY 13901

  Tompkins      Catholic Charities of        215 East Church St., Suite        607-734-9784     HOPP
                Chemung                      101, Elmira, NY 14901

  Ulster        RUPCO                        301 Fair St. Kingston, NY         845-331-9860     HOPP
                                             12401                                              Spanish speaking staff
                                                                                                available

  Warren        Housing Assistance           103 Hand Ave.,                    518-873-6888     HOPP
                Program of Essex County      Elizabethtown, NY 12932
                (HAPEC)

                Albany County Rural          24 Martin Road,                   518-765-2425     HOPP
                Housing Alliance             Voorheesville, NY 12186

                Clearpoint Financial         2 Computer Drive West,            1-877-412-2227   Formerly known as
                Solutions                    Albany, NY 12205                                   Consumer Credit
                                                                                                Counseling Service of
                                                                                                Central NY

                Homefront Development        568 Lower Allen St.,              518-747-8250
                Corp.                        Hudson Falls, NY 12839

  Washington    Housing Assistance           103 Hand Ave.,                    518-873-6888     HOPP
                Program of Essex County      Elizabethtown, NY 12932
                (HAPEC)

                Albany County Rural          24 Martin Road,                   518-765-2425     HOPP
                Housing Alliance             Voorheesville, NY 12186

                Homefront Development        568 Lower Allen St.,              518-747-8250
                Corp.                        Hudson Falls, NY 12839

  Wayne         Community Action in Self     48 Water St., Lyons, NY           315-946-6992     HOPP
                Help                         14489

                Keuka Housing Council        160 Main St. Penn Yan, NY         315-536-8707     HOPP
                                             14527

                Consumer Credit              50 Chestnut Plaza,                1-888-724-2227   HOPP
                Counseling Service of        Rochester, NY 14604
                Rochester, Inc.

  Westchester   Community Housing            75 South Broadway, Ste 340        914-683-1010     HOPP
                Innovations, Inc.            White Plains, NY 10601

                Housing Action Council       55 South Broadway,                914-332-4144     HOPP
                                             Tarrytown, NY 10591

                Human Development            28 Adee St. Port Chester,         914-939-2005     HOPP
                Services of Westchester,     NY 10573                                           Spanish speaking
                Inc.                                                                            counselors available




                                             Rushmore Loan Management Services LLC
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                Westchester Residential      470 Mamaroneck Ave.,              914-428-4507 OR   HOPP
                Opportunities                Suite 410 White Plains, NY        877-WRO-4YOU      Spanish and French
                                             10605                                               speaking staff
                                                                                                 available

                Putnam County Housing        11 Seminary Hill Rd.,             845-225-8493
                Corp.                        Carmel, NY 10512

                Greenpath                    One Barker Ave., Suite 420        888-366-9140
                                             White Plains, NY 10601

                Belmont Housing              1195 Main St. Buffalo, NY         716-884-7791      HOPP
                Resources                    14209

  Wyoming       Consumer Credit              50 Chestnut Plaza,                1-888-724-2227    HOPP
                Counseling Services of       Rochester, NY 14604
                Rochester, Inc.

                ACCORD                       84 Schuyler St., Belmont,         585-268-7605      HOPP
                                             NY 14813

                The Housing Council          75 College Ave., 4th Floor,       585-546-3700      HOPP
                                             Rochester, NY 14607

                Community Action in Self     48 Water St., Lyons, NY           315-946-6992      HOPP
                Help                         14489

  Yates         Keuka Housing Council        160 Main St. Penn Yan, NY         315-536-8707      HOPP
                                             14527




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                                                            ANNA CHELSTOWSKA


  Rushmore Loan Management Services LLC
  PO Box 111209
  Nashville, TN 37222
  (For Return Mail Only)

7600367995 81150355 NC120 900845 01




                                                                               April 25, 2018




                                      000051 S2PA
                                      ANNA CHELSTOWSKA
                                      99 WILSON AVENUE
                                      AMITYVILLE NY 11701
             Rushmore Loan Management Services LLC
             PO Box 111209
             Nashville, TN 37222
             (For Return Mail Only)




   000051 S2PA
                                                                                    Date: April 25, 2018
   RYSZARD KOZIKOWSKI
   CZESLAW CHELSTOWSKI
   ANNA CHELSTOWSKA
   99 WILSON AVENUE                                                                 RE: Loan Number:
   AMITYVILLE, NY 11701
                                                                                    Property Address:
                                                                                    99 WILSON AVENUE
                                                                                    AMITYVILLE, NY 11701




Dear Mortgagor(s):
                       YOU MAY BE AT RISK OF FORECLOSURE.
                  PLEASE READ THE FOLLOWING NOTICE CAREFULLY
As of April 25, 2018, your home loan is 814 days, and $88,848.10 dollars in default.
Under New York state law, we are required to send you this notice to inform you that you are
at risk of losing your home.
Attached to this notice is a list of government approved housing counseling agencies in your
area which provide free counseling.
You can also call the NYS Office of the Attorney General’s Homeowner Protection Program
(HOPP) toll-free consumer hotline to be connected to free housing counseling services in
your area at 1-855-HOME-456 (1-855-466-3456), or visit their website at
http://www.aghomehelp.com/. A statewide listing by county is also available at:
http://www.dfs.ny.gov/consumer/mortg_nys_np_counseling_agencies.htm
Qualified free help is available; watch out for companies or people who charge a fee for these
services.
Housing counselors from New York-based agencies listed on the website above are trained to
help homeowners who are having problems making their mortgage payments and can help
you find the best option for your situation. If you wish, you may contact the Loss Mitigation
Department at 1-888-504-7300.




                                               Rushmore Loan Management Services LLC
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While we cannot assure that a mutually agreeable resolution is possible, we encourage you to
take immediate steps to try to achieve a resolution. The longer you wait the fewer options you
may have.
If you have not taken any actions to resolve this matter within 90 days from the date this notice
was mailed, we may commence legal action against you (or sooner if you cease to live in the
dwelling as your primary residence).
If you need further information, please call the New York State Department of Financial
Services’ toll-free helpline at 800-342-3736 or visit the Department’s website at
http://www.dfs.ny.gov.
IMPORTANT: You have the right to remain in your home until you receive a court order
telling you to leave the property. If a foreclosure action is filed against you in court, you still
have the right to remain in the home until court orders you to leave. You legally remain the
owner of and are responsible for the property until the property is sold by you or by order of
the court at the conclusion of any foreclosure proceedings. This notice is not an eviction
notice, and a foreclosure action has not yet been commenced against you.
This matter is very important. Please give it your immediate attention.
Sincerely,
Rushmore Loan Management Services LLC
15480 Laguna Canyon Rd. #100
Irvine, CA 92618
PH: 1-888-504-7300
FAX: 949-341-2200

It is possible that after payment of the amounts detailed above, there may be other fees
still due and owing, including but not limited to other fees, escrow advances or corporate
advances that Rushmore paid on your behalf or advanced to your account.
(See disclosures on page 3)




                                     Rushmore Loan Management Services LLC
                                   15480 Laguna Canyon Rd. #100, Irvine, CA 92618
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Federal law requires us to advise you that Rushmore Loan Management Services LLC is a debt
collector and that this is an attempt to collect a debt. Any information obtained may be used for
that purpose. To the extent your obligation has been discharged or is subject to the automatic
stay in a bankruptcy proceeding, this notice is for informational purposes only and does not
constitute a demand for payment or an attempt to collect indebtedness as your personal
obligation. If you are represented by an attorney, please provide us with the attorney’s name,
address and telephone number.
For New York Residents: Please be advised that Rushmore Loan Management Services LLC is
registered with the Superintendent of Financial Services for the State of New York. Borrowers
may file complaints about Rushmore Loan Management Services LLC with the New York State
Department of Financial Services. Borrowers may also obtain further information from the
New York State Department by calling the Department’s Consumer Assistance Unit at
800-342-3736 or by visiting the Department’s website at www.dfs.ny.gov.
Notice to Customers: Rushmore Loan Management Services LLC may report information
about your mortgage account to credit bureaus. Late payments, missed payments, or other
defaults on your account may be reflected in your credit report.
Failure to cure the default on or before 07/24/2018 may result in acceleration of the sums
secured by this Security Instrument, foreclosure by judicial proceeding and sale of the Property.
Partial payments received may be applied to any amounts outstanding, but any partial payments
that are applied will not invalidate our right to commence foreclosure proceedings.
You have the right to reinstate after acceleration and the right to assert in the foreclosure
proceeding the non-existence of a default or any other defense to acceleration and foreclosure.
DEBT COLLECTION
This communication is for the purpose of collecting a debt, and any information obtained from
the trustor(s) will be used for that purpose. Rushmore is acting as a “debt collector” as that term
is defined in the Federal Fair Debt Collection Practices Act. This notice is required by the
provisions of the Fair Debt Collection Practices Act and does not imply that we are attempting
to collect money from any one who has discharged the debt under the bankruptcy laws of the
United States.




                                     Rushmore Loan Management Services LLC
                                   15480 Laguna Canyon Rd. #100, Irvine, CA 92618
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CREDIT REPORTING
We may report information about your account to credit bureaus. Late payments, missed
payments, or other defaults on your account may be reflected in your credit report.
BANKRUPTCY
If you have received a discharge of this debt through bankruptcy, you are not personally liable
to us if you do not pay us the above amount. We can recover only the real property from you
and you will not be obligated to pay us the difference between what we may get from the sale of
the real property and the balance due on the loan. This notice is provided to inform you of what
you must do to retain possession of your real property.
HUD STATEMENT
Pursuant to section 169 of the Housing and Community Development Act of 1987, you may
have the opportunity to receive counseling from various local agencies regarding the retention
of your home. You may obtain a list of the HUD approved housing counseling agencies by
calling the HUD nationwide toll free telephone at 1-800-569-4287.
ADDITIONAL NOTICES
Rushmore Loan Management Services LLC is a Debt Collector, who is attempting to collect a
debt. Any information obtained will be used for that purpose. However, if you are in
Bankruptcy or received a Bankruptcy Discharge of this debt, this letter is being sent for
informational purposes only, is not an attempt to collect a debt and does not constitute a notice
of personal liability with respect to the debt.




                                     Rushmore Loan Management Services LLC
                                   15480 Laguna Canyon Rd. #100, Irvine, CA 92618
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    Servicemembers Civil Relief                     U . S. Department of Housing                            OMB Approval 2502 - 0584
    Act Notice Disclosure                               and Urban Development                                         Exp 3/31/2021
                                                           Office of Housing

    Legal Rights and Protections Under the SCRA

    6HUYLFHPHPEHUVRQ³DFWLYHGXW\´RU³DFWLYHVHUYLFH´RUDVSRXVHRUGHSHQGHQWRIVXFKDVHUYLFHPHPEHUPD\EHHQWLWOHGWR
    FHUWDLQOHJDOSURWHFWLRQVDQGGHEWUHOLHISXUVXDQWWRWKH6HUYLFHPHPEHUV&LYLO5HOLHI$FW 86&3901-4043 
     6&5$ 


      x 5HJXODUPHPEHUVRIWKH86$UPHG)RUFHV $UP\1DY\$LU)RUFH0DULQH&RUSVDQG&RDVW
    Who May Be Entitled to Legal Protections Under the SCRA?

             *XDUG 
        x    5HVHUYHDQG 1DWLRQDO*XDUGSHUVRQQHOZKRKDYHEHHQDFWLYDWHGDQGDUHRQ)HGHUDODFWLYHGXW\
        x    1DWLRQDO*XDUGSHUVRQQHOXQGHUDFDOORURUGHUWRDFWLYHGXW\IRUPRUHWKDQFRQVHFXWLYHGD\VXQGHU
             VHFWLRQ I RIWLWOH8QLWHG6WDWHV&RGHIRUSXUSRVHVRIUHVSRQGLQJWRDQDWLRQDOHPHUJHQF\
             GHFODUHGE\WKH3UHVLGHQWDQGVXSSRUWHGE\)HGHUDOIXQGV
        x    $FWLYHVHUYLFHPHPEHUVRIWKHFRPPLVVLRQHGFRUSVRIWKH3XEOLF+HDOWK6HUYLFHDQGWKH1DWLRQDO
             2FHDQLFDQG$WPRVSKHULF$GPLQLVWUDWLRQ
        x    &HUWDLQ8QLWHG6WDWHVFLWL]HQVVHUYLQJZLWKWKHDUPHGIRUFHVRIDQDWLRQZLWKZKLFKWKH8QLWHG6WDWHV
             LVDOOLHGLQWKHSURVHFXWLRQRIDZDURUPLOLWDU\DFWLRQ

    What Legal Protections Are Servicemembers Entitled To Under the SCRA? 
        x    7KH6&5$VWDWHVWKDWDGHEWLQFXUUHGE\DVHUYLFHPHPEHURUVHUYLFHPHPEHUDQGVSRXVHMRLQWO\SULRUWR
             HQWHULQJPLOLWDU\VHUYLFHVKDOOQRWEHDULQWHUHVWDWDUDWHDERYHGXULQJWKHSHULRGRIPLOLWDU\VHUYLFHDQGRQH
             \HDUWKHUHDIWHULQWKHFDVHRIDQREOLJDWLRQRUOLDELOLW\FRQVLVWLQJRIDPRUWJDJHWUXVWGHHGRURWKHUVHFXULW\LQWKHQDWXUH
             RIDPRUWJDJHRUGXULQJWKHSHULRGRIPLOLWDU\VHUYLFHLQWKHFDVHRIDQ\RWKHUREOLJDWLRQRUOLDELOLW\
        x    7KH6&5$VWDWHVWKDWLQDOHJDODFWLRQWRHQIRUFHDGHEWDJDLQVWUHDOHVWDWHWKDWLVILOHGGXULQJRUZLWKLQRQH
             \HDUDIWHUWKHVHUYLFHPHPEHU¶VPLOLWDU\VHUYLFHDFRXUWPD\VWRSWKHSURFHHGLQJVIRUDSHULRGRIWLPHRU
             DGMXVWWKHGHEW,QDGGLWLRQWKHVDOHIRUHFORVXUHRUVHL]XUHRIUHDOHVWDWHVKDOOQRWEHYDOLGLILWRFFXUVGXULQJ
             RUZLWKLQRQH\HDUDIWHUWKHVHUYLFHPHPEHU¶VPLOLWDU\VHUYLFHXQOHVVWKHFUHGLWRUKDVREWDLQHGDYDOLGFRXUW
             RUGHUDSSURYLQJWKHVDOHIRUHFORVXUHRUVHL]XUHRIWKHUHDOHVWDWH
        x    7KH6&5$FRQWDLQVPDQ\RWKHUSURWHFWLRQVEHVLGHVWKRVHDSSOLFDEOHWRKRPHORDQV

    How Does A Servicemember or Dependent Request Relief Under the SCRA?

        x    ,QRUGHUWRUHTXHVWUHOLHIXQGHUWKH6&5$IURPORDQVZLWKLQWHUHVWUDWHVDERYHDVHUYLFHPHPEHURUVSRXVH
             PXVWSURYLGHDZULWWHQUHTXHVWWRWKHOHQGHUWRJHWKHUZLWKDFRS\RIWKHVHUYLFHPHmEHU¶VPLOLWDU\RUGHUV
             >1RWH /HQGHUVKRXOGSODFHLWVQDPHDGGUHVVDQGFRQWDFWLQIRUPDWLRQKHUH@
        x    7KHUHLVQRUHTXLUHPHQWXQGHUWKH6&5$KRZHYHUIRUDVHUYLFHPHPEHUWRSURYLGHDZULWWHQQRWLFHRUDFRS\
             RIDVHUYLFHPHPEHU¶VPLOLWDU\RUGHUVWRWKHOHQGHULQFRQQHFWLRQZLWKDIRUHFORVXUHRURWKHUGHEWHQIRUFHPHQW
             DFWLRQDJDLQVWUHDOHVWDWH 8QGHUWKHVHFLUFXPVWDQFHVOHQGHUVVKRXOGLQTXLUHDERXWWKHPLOLWDU\VWDWXVRID
             SHUVRQE\VHDUFKLQJWKH'HSDUWPHQWRI'HIHQVH¶V'HIHQVH0DQSRZHU'DWD&HQWHU¶VZHEVLWHFRQWDFWLQJWKH
             VHUYLFHPHPEHUDQGH[DPLQLQJWKHLUILOHVIRULQGLFLDRIPLOLWDU\VHUYLFH $OWKRXJKWKHUHLVQRUHTXLUHPHQWIRU
             VHUYLFHPHPEHUVWRDOHUWWKHOHQGHURIWKHLUPLOLWDU\VWDWXVLQWKHVHVLWXDWLRQVLWVWLOOLVDJRRGLGHDIRUWKH
             VHUYLFHPHPEHUWRGRVR

    How Does a Servicemember or Dependent Obtain Information About the SCRA? 

        x    6HUYLFHPHPEHUVDQGGHSHQGHQWVZLWKTXHVWLRQVDERXWWKH6&5$VKRXOGFRQWDFWWKHLUXQLW¶V-XGJH$GYRFDWHRU
             WKHLULQVWDOODWLRQ¶V/HJDO$VVLVWDQFH2IILFHU$PLOLWDU\OHJDODVVLVWDQFHRIILFHORFDWRUIRUDOOEUDQFKHVRIWKH
             $UPHG)RUFHVLVDYDLODEOHDWKWWSOHJDODVVLVWDQFHODZDIPLOFRQWHQWORFDWRUSKS


        x    ³0LOLWDU\2QH6RXUFH´LVWKH86'HSDUWPHQWRI'HIHQVH¶VLQIRUPDWLRQ UHVRXUFH,I\RXDUHOLVWHGDVHQWLWOHGWR
             OHJDOSURWHFWLRQVXQGHUWKH6&5$ VHHDERYH SOHDVHJRWRZZZPLOLWDU\RQHVRXUFHPLOOHJDORUFDOO
              WROOIUHHIURPWKH8QLWHG6WDWHV WRILQGRXWPRUHLQIRUPDWLRQ'LDOLQJLQVWUXFWLRQVIRUDUHDVRXWVLGH
             WKH8QLWHG6WDWHVDUHSURYLGHGRQWKHZHEVLWH
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=>?@ABCB?@DEA?FB>CG@HCIJ@K?LB@MEGG?NBIEF@OJCNBIN?A@PNB@CFQ@B>?@R?Q?JCG@HCIJ@K?LB@MEGG?NBIEF@OJCNBIN?A@PNB@J?STIJ?@B>CBU@?VN?WB@
TFQ?J@TFTATCG@NIJNTXABCFN?AU@NEGG?NBEJA@XCY@FEB@NEFBCNB@YET@L?REJ?@Z[\\@C]X]@EJ@CRB?J@^[\\@W]X]@=>?Y@XCY@FEB@>CJCAA@YET@LY@
TAIF_@B>J?CBA@ER@`IEG?FN?@EJ@CJJ?AB@EJ@LY@TAIF_@ELAN?F?@GCF_TC_?]@MEGG?NBEJA@XCY@FEB@TA?@RCGA?@EJ@XIAG?CQIF_@ABCB?X?FBA@EJ@NCGG@
YET@CB@aEJb@IR@B>?Y@bFEa@EJ@>C`?@J?CAEF@BE@bFEa@B>CB@YET@XCY@FEB@J?N?Ì?@W?JAEFCG@NCGGA@CB@aEJb]@HEJ@B>?@XEAB@WCJBU@
NEGG?NBEJA@XCY@FEB@B?GG@CFEB>?J@W?JAEFU@EB>?J@B>CF@YETJ@CBBEJF?Y@EJ@AWETA?U@CLETB@YETJ@Q?LB]@MEGG?NBEJA@XCY@NEFBCNB@CFEB>?J@
W?JAEF@BE@NEFRIJX@YETJ@GENCBIEF@EJ@?FREJN?@C@cTQ_X?FB]@HEJ@XEJ?@IFREJXCBIEF@CLETB@Q?LB@NEGG?NBIEF@CNBÌIBI?AU@YET@XCY@NEFBCNB@
B>?@H?Q?JCG@=JCQ?@MEXXIAAIEF@CB@deZffeH=MeghiO@jkZlemknfo@EJ@aaa]RBN]_E`]@@
1+,4-.//.012342.415,4677/1,844.46./.96:.49,81:,2484.2/;<4
OG?CA?@FEB?[@P@NEFATX?J@>CA@B>?@JI_>B@BE@J?ST?AB@IF@aJIBIF_@B>CB@C@Q?LB@NEGG?NBEJ@EJ@NEGG?NBIEF@C_?FNY@N?CA?@RTJB>?J@
NEXXTFINCBIEF@aIB>@B>?@NEFATX?J]@P@aJIBB?F@J?ST?AB@BE@N?CA?@NEXXTFINCBIEF@aIGG@FEB@WJE>ILIB@B>?@Q?LB@NEGG?NBEJ@EJ@
NEGG?NBIEF@C_?FNY@RJEX@BCbIF_@CFY@EB>?J@CNBIEF@CTB>EJIp?Q@LY@GCa@BE@NEGG?NB@B>?@Q?LB]@
@
HqD@rsHqDtP=rqs@Puqv=@=gh@MqiqDPKq@HPrD@Khu=@MqiihM=rqs@ODPM=rMhw@PM=U@whh@aaa]NEC_]_E`xNCJ]@
OG?CA?@L?@CQ`IA?Q@B>CB@YET@NCF@J?CN>@B>?@MEGEJCQE@HEJ?NGEATJ?@gEBGIF?@CB@deZffey\degqOh@jy\demyfko]@
iENCG@DTA>XEJ?@iECF@tCFC_?X?FB@w?J`IN?A@iiM@P_?FB@REJ@MEGEJCQE@D?AIQ?FBA[@
rJ`IF@uEJ?FAB?IF@
dkddd@h]@uJICJaEEQ@P`?]@wB?@zkm\@
M?FB?FFICGU@Mq@Z\ddl@
1+,4-.//.012342.415,4677/1,844.4{68865+|8,44849,81:,2484.2/;<4
sEBIN?@ER@rtOqD=Ps=@Dr}g=w[@~ET@>C`?@B>?@JI_>B@BE@XCb?@C@aJIBB?F@EJ@EJCG@J?ST?AB@B>CB@B?G?W>EF?@NCGGA@J?_CJQIF_@YETJ@
Q?LB@FEB@L?@XCQ?@BE@YET@CB@YETJ@WGCN?@ER@?XWGEYX?FB]@PFY@ATN>@EJCG@J?ST?AB@aIGG@L?@`CGIQ@REJ@EFGY@B?F@jd\o@QCYA@TFG?AA@YET@
WJE`IQ?@aJIBB?F@NEFRIJXCBIEF@ER@B>?@J?ST?AB@WEABXCJb?Q@EJ@Q?GÌ?J?Q@aIB>IF@A?`?F@jfo@QCYA@ER@ATN>@J?ST?AB]@~ET@XCY@
B?JXIFCB?@B>IA@J?ST?AB@LY@aJIBIF_@BE@B>?@NJ?QIBEJ]@

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DTA>XEJ?@iECF@tCFC_?X?FB@w?J`IN?A@iiM@IA@C@K?LB@MEGG?NBEJU@a>E@IA@CBB?XWBIF_@BE@NEGG?NB@C@Q?LB]@PFY@IFREJXCBIEF@ELBCIF?Q@
aIGG@L?@TA?Q@REJ@B>CB@WTJWEA?]@gEa?`?JU@IR@YET@CJ?@IF@uCFbJTWBNY@EJ@J?N?Ì?Q@C@uCFbJTWBNY@KIAN>CJ_?@ER@B>IA@Q?LBU@B>IA@G?BB?J@IA@
L?IF_@A?FB@REJ@IFREJXCBIEFCG@WTJWEA?A@EFGYU@IA@FEB@CF@CBB?XWB@BE@NEGG?NB@C@Q?LB@CFQ@QE?A@FEB@NEFABIBTB?@C@FEBIN?@ER@W?JAEFCG@
GICLIGIBY@aIB>@J?AW?NB@BE@B>?@Q?LB]@
@
rR@YET@CJ?@C@NEFRIJX?Q@wTNN?AAEJeIFerFB?J?AB@a>E@>CA@FEB@CAATX?Q@B>?@XEJB_C_?@GECF@ELGI_CBIEF@TFQ?J@wBCB?@iCaU@B>IA@G?BB?J@IA@
L?IF_@A?FB@REJ@IFREJXCBIEF@WTJWEA?A@EFGY@CFQ@QE?A@FEB@NEFABIBTB?@W?JAEFCG@GICLIGIBY@aIB>@J?AW?NB@BE@B>?@Q?LB]@

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                    Approved housing counseling agencies located in New York
                                          by County

  COUNTY        AGENCY                       ADDRESS                           CONTACT INFO       NOTES

  Albany        Affordable Housing           255 Orange St., Albany, NY        518-434-1730       HOPP
                Partnership                  12210                                                Also serves
                                                                                                  surrounding areas

                Albany County Rural          24 Martin Road,                   518-765-2425       HOPP
                Housing Alliance             Voorheesville, NY 12186                              Also serves
                                                                                                  surrounding areas

                United Tenants of Albany     33 Clinton Ave., Albany,          518-436-8997       HOPP
                                             NY 12207                                             For tenants whose
                                                                                                  buildings are in the
                                                                                                  process of foreclosure
                                                                                                  or have been
                                                                                                  foreclosed on

                Better Neighborhoods,        986 Albany St.,                   518-372-6469       HOPP
                Inc.                         Schenectady, NY 12307                                Spanish speaking staff
                                                                                                  available

                Clearpoint Credit            2 Computer Drive West,            1-800-750-2227     Formerly known as
                Counseling Solutions         Albany, NY 12205                                     Consumer Credit
                                                                                                  Counseling Service

                NYS Office For People        44 Holland Ave. Albany,           518-473-1973       Serving all NYS
                With Developmental           NY 12229                                             residents with
                Disabilities (OPWDD)                                                              developmental
                                                                                                  disabilities and their
                                                                                                  families

  Allegany      ACCORD                       84 Schuyler St., Belmont,         585-268-7605       HOPP
                                             NY 14813

                Neighborhood Housing         1937 South Park Ave.              716-823-3630       Also serving
                Services of Buffalo          Buffalo, NY 14220                                    surrounding counties

  Bronx         Neighborhood Housing         848 Concourse Village             718-992-5979       HOPP
                Services- South Bronx        West, Bronx, NY 10451                                Spanish speaking staff
                                                                                                  available

                Neighborhood Housing         1451 East Gun Hill Rd.,           718-881-1180       HOPP
                Services- North Bronx        Bronx, NY 10469                                      Spanish speaking staff
                                                                                                  available

                Parodneck Foundation         121 6th Ave., Suite 501           212-431-9700 ext   HOPP
                                             New York, NY 10013                391                Spanish speaking staff
                                                                                                  available

                MHANY Management,            1 Metro Tech Center North         718-246-8080 ext   HOPP
                Inc.                         11th Floor, Brooklyn, NY          203                Spanish speaking staff
                                             11201                                                available

                Brooklyn Housing and         415 Albemarle Rd.,                718-435-7585       HOPP
                Family Services, Inc.        Brooklyn, NY 11218                                   Spanish and French


                                             Rushmore Loan Management Services LLC
                                           15480 Laguna Canyon Rd. #100, Irvine, CA 92618
NC120-NY 90Day-16                                                                                                  Page 8
                                                                                                    Creole speaking staff
                                                                                                    available

                Grow Brooklyn, Inc.           1474 Myrtle Ave.,                 718-418-8232 ext.   HOPP
                                              Brooklyn, NY 11237                206                 Spanish and Bengali
                                                                                                    speaking staff
                                                                                                    available

                NYC Commission on             1932 Arthur Avenue, Room          718-579-6728 OR     Spanish speaking staff
                Human Rights                  203A, Bronx, NY 10457             718-579-6900        available

  Broome        Metro Interfaith Housing      21 New St., Binghamton,           607-772-6766        HOPP
                Council                       NY 13903

                Clearpoint Credit             The Metro Center, 49 Court        1-800-750-2227
                Counseling Solutions          St., Binghamton, NY 13901

  Cattaraugus   Chautauqua Opportunities,     402 Chandler St.,                 716-661-9430        HOPP
                Inc.                          Jamestown, NY 14701

                ACCORD                        84 Schuyler St., Belmont,         585-268-7605        HOPP
                                              NY 14813

                Neighborhood Housing          1937 South Park Ave.,             716-823-3630
                Services of South Buffalo     Buffalo, NY 14220

  Cayuga        Home Headquarters, Inc.       990 James St., Suite 1,           315-474-1939        HOPP
                                              Syracuse NY 13203                                     Spanish speaking staff
                                                                                                    available

                Clearpoint Financial          5794 Widewaters Parkway,          1-877-412-2227      Formerly known as
                Solutions                     Syracuse, NY 13214                                    Consumer Credit
                                                                                                    Counseling Service of
                                                                                                    Central NY

  Chautauqua    Chautauqua Opportunities,     402 Chandler St.,                 716-661-9430        HOPP
                Inc.                          Jamestown, NY 14701

                Chautauqua Home               2 Academy St., Mayville,          716-753-4650        Spanish speaking staff
                Rehabilitation and            NY 14757                                              available
                Improvement Corp.
                (CHRIC)

                Neighborhood Housing          1937 South Park Ave.,             716-823-3630
                Services of South Buffalo     Buffalo, NY 14220

  Chemung       Arbor Housing and             26 Bridge St., Corning, NY        607-654-7487        HOPP
                Development                   14830

                Catholic Charities of         215 East Church St., Suite        607-734-9784        HOPP
                Chemung                       101, Elmira, NY 14901

  Chenango      Metro Interfaith Housing      21 New St., Binghamton,           607-772-2766        HOPP
                Council                       NY 13903

                Clearpoint Credit             The Metro Center, 49 Court        1-800-750-2227
                Counseling Solutions          St., Binghamton, NY 13901

  Clinton       Friends of the North          1 Mill St., Keeseville, NY        518-834-9606        HOPP
                Country                       12944




                                              Rushmore Loan Management Services LLC
                                            15480 Laguna Canyon Rd. #100, Irvine, CA 92618
NC120-NY 90Day-16                                                                                                   Page 9
                Housing Assistance            103 Hand Ave.,                    518-873-6888           HOPP
                Program of Essex County       Elizabethtown, NY 12932
                (HAPEC)

  Columbia      Housing Resources of          252 Columbia St., Hudson,         518-822-0707           HOPP
                Columbia County, Inc.         NY 12534

  Cortland      Home Headquarters, Inc.       990 James St., Suite 1,           315-474-1939           HOPP
                                              Syracuse NY 13203                                        Spanish speaking staff
                                                                                                       available

                Cortland Housing              36 Taylor St. Cortland, NY        607-753-8271
                Assistance Council, Inc.      13045

                Clearpoint Credit             The Metro Center, 49 Court        1-800-750-2227
                Counseling Solutions          St., Binghamton, NY 13901

                Western Catskills             125 Main St., Suite A,            607-652-2823           HOPP
                Community Revitilization      Stamford, NY 12167
                Council

  Delaware      RUPCO                         301 Fair St. Kingston, NY         845-331-9860           HOPP
                                              12401                                                    Spanish speaking staff
                                                                                                       available

                Delaware Opportunities,       35430 State Hgwy. 10              607-746-1650
                Inc.                          Hamden, NY 13782

                Clearpoint Credit             The Metro Center, 49 Court        1-800-750-2227
                Counseling Solutions          St., Binghamton, NY 13901

  Dutchess      Hudson River Housing          291 Mill St Poughkeepsie,         845-454-9288           HOPP
                                              NY 12601

                Putnam County Housing         11 Seminary Hill Rd.,             845-225-8493
                Corp.                         Carmel, NY 10512

  Erie          Belmont Housing               1195 Main St. Buffalo, NY         716-884-7791           HOPP
                Resources                     14209

                West Side & Black Rock        359 Connecticut St.,              Tuesdays and           HOPP
                Riverside NHS, Inc.           Buffalo, NY 14213                 Wednesdays at (716)
                                                                                885-2344, Thursdays
                                                                                and Fridays at (716)
                                                                                877-3910

                Buffalo Urban League          15 Genesee Street                 (716) 250-2400         HOPP
                                              Buffalo, NY 14203

                Chautauqua Opportunities,     402 Chandler St.,                 716-661-9430           HOPP
                Inc.                          Jamestown, NY 14701

                Consumer Credit               40 Gardenville Parkway,           1-800-926-9685 or      HOPP
                Counseling Services of        Suite 300, West Seneca, NY        716-712-2060
                Buffalo, Inc.                 14224

                Neighborhood Assistance       135 Delaware Ave Ste 102          716-834-6222
                Corp. of America              Buffalo, New York 14202-
                                              2410

                Neighborhood Housing          1937 South Park Ave.,             716-823-3630



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                                            15480 Laguna Canyon Rd. #100, Irvine, CA 92618
NC120-NY 90Day-16                                                                                                     Page 10
                Services of South Buffalo     Buffalo, NY 14220

  Essex         Friends of the North          1 Mill St., Keeseville, NY        518-834-9606        HOPP
                Country                       12944

                Housing Assistance            103 Hand Ave.,                    518-873-6888        HOPP
                Program of Essex County       Elizabethtown, NY 12932
                (HAPEC)

                Homefront Development         568 Lower Allen St.,              518-747-8250
                Corp.                         Hudson Falls, NY 12839

  Franklin      Friends of the North          1 Mill St., Keeseville, NY        518-834-9606        HOPP
                Country                       12944

                Housing Assistance            103 Hand Ave.,                    518-873-6888        HOPP
                Program of Essex County       Elizabethtown, NY 12932
                (HAPEC)

                Franklin County               337 West Main St. Malone,         (518) 483-5934      HOPP
                Community Housing             NY 12953
                Council Inc.

                Clearpoint Credit             215 Washington St. Suite          1-800-750-2227
                Counseling Solutions          005, Watertown, NY 13601

  Fulton        Better Neighborhoods,         986 Albany St.,                   518-372-6469        HOPP
                Inc.                          Schenectady, NY 12307

                UNHS NeighborWorks            1611 Genesee Street, Utica,       315-724-4197        HOPP
                Homeownership Center          NY 13501

  Genesee       The Housing Council           75 College Ave., 4th Floor,       585-546-3700 ext.   HOPP
                                              Rochester, NY 14607               3015

                Consumer Credit               1000 University Ave., Suite       1-888-724-2227      HOPP
                Counseling Services of        900 Rochester, NY 14607
                Rochester, Inc.

                Belmont Housing               1195 Main St., Buffalo, NY        716-884-7791        HOPP
                Resources                     14209

                Consumer Credit               40 Gardenville Parkway,           1-800-926-9685 or
                Counseling Services of        Suite 300, West Seneca, NY        716-712-2060
                Buffalo, Inc.                 14224

  Greene        Albany County Rural           24 Martin Road,                   518-765-2425        HOPP
                Housing Alliance              Voorheesville, NY 12186

                RUPCO                         301 Fair St. Kingston, NY         845-331-9860        HOPP
                                              12401                                                 Spanish speaking staff
                                                                                                    available

                Western Catskills             125 Main St., Suite A,            607-652-2823
                Community Revitilization      Stamford, NY 12167
                Council

                Clearpoint Credit             2 Computer Drive West,            1-800-750-2227      Formerly known as
                Counseling Solutions          Albany, NY 12205                                      Consumer Credit
                                                                                                    Counseling Service of
                                                                                                    Central NY



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                                            15480 Laguna Canyon Rd. #100, Irvine, CA 92618
NC120-NY 90Day-16                                                                                                  Page 11
  Hamilton      Housing Assistance           103 Hand Ave.,                    518-873-6888     HOPP
                Program of Essex County      Elizabethtown, NY 12932
                (HAPEC)

                Clearpoint Credit            289 Genesee St., Utica, NY        1-800-750-2227
                Counseling Solutions         13501

                Homefront Development        568 Lower Allen St.,              518-747-8250
                Corp.                        Hudson Falls, NY 12839

  Herkimer      UNHS NeighborWorks           1611 Genesee Street, Utica,       315-724-4197     HOPP
                Homeownership Center         NY 13501

                Clearpoint Credit            289 Genesee St., Utica, NY        1-800-750-2227
                Counseling Solutions         13501

  Jefferson     Home Headquarters, Inc.      990 James St., Suite 1,           315-474-1939     HOPP
                                             Syracuse NY 13203                                  Spanish speaking staff
                                                                                                available

                Clearpoint Credit            215 Washington St. Suite          1-800-750-2227
                Counseling Solutions         005, Watertown, NY 13601

  Kings         Cypress Hills Local Dev.     625 Jamaica Avenue,               718-647-2800     HOPP
                Corp.                        Brooklyn, NY 11208                                 Spanish speaking staff
                                                                                                available

                Pratt Area Community         1000 Dean St., Brooklyn,          718-522-2613     HOPP
                Council                      NY 11238

                Grow Brooklyn, Inc.          1474 Myrtle Ave.,                 718-418-8232     HOPP
                                             Brooklyn, NY 11237                                 Spanish and Bengali
                                                                                                speaking staff
                                                                                                available

                Bridge Street Dev. Corp.     460 Nostrand Ave.,                718-636-7596     HOPP
                                             Brooklyn, NY 11216                                 Spanish Speaking
                                                                                                staff available

                MHANY Management,            1 Metro Tech Center North         718-246-8080     HOPP
                Inc.                         11th Floor, Brooklyn, NY                           Spanish speaking staff
                                             11201                                              available

                Neighbors Helping            621 Degraw St., Brooklyn,         718-237-2017     HOPP
                Neighbors (NHN)              NY 11217                                           Spanish speaking staff
                                                                                                available

                Brooklyn Housing and         415 Albemarle Rd.,                718-435-7585     HOPP
                Family Services, Inc.        Brooklyn, NY 11218                                 Spanish and French
                                                                                                Creole speaking staff
                                                                                                available

                Parodneck Foundation         121 6th Ave., Suite 501           212-431-9700     HOPP
                                             New York, NY 10013                                 Spanish speaking staff
                                                                                                available

                Neighborhood Housing         1012 Gates Ave., 2nd Floor,       718-919-2100     HOPP
                Services of Bedford-         Brooklyn, NY 11221
                Stuyvesant

                CAMBA                        1720 Church Ave., 2nd             718-287-0010     HOPP



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                                               Floor, Brooklyn, NY 11226

                Neighborhood Housing           2806 Church Ave.,                 718-469-4679       HOPP
                Services- East Flatbush        Brooklyn, NY 11226                                   Spanish speaking staff
                                                                                                    available

                Greater Sheepshead Bay         2105 East 22nd St.,               718-332-0520
                Dev. Corp.                     Brooklyn, NY 11229

                Southern Brooklyn              4006 18th Ave., Brooklyn,         718-435-1300
                Community Organization         NY 11218

                Brooklyn Neighborhood          1482 Saint James Pl., Suite       718-773-4116
                Improvement Association        1C, Brooklyn, NY 11213

                Council of Jewish              1523 Avenue M, Brooklyn,          718-377-2900 ext   Arabic, Russian and
                Organizations of Flatbush,     NY 11230                          7625               Spanish speaking staff
                Inc.                                                                                available

                Money Management               26 Court St., Suite 2610,         1-866-232-9080     Spanish speaking staff
                International, Inc.            Brooklyn, NY 11242                                   available

                GreenPath Debt Solutions       175 Remsen St., Suite 1102,       866-285-4033
                                               Brooklyn, NY 11201

                NY Commission of               275 Livingston St.,               718-722-3130       Spanish speaking staff
                Human Rights- Brooklyn         Brooklyn, NY 11217                                   available

  Lewis         Home Headquarters, Inc.        990 James St., Suite 1,           315-474-1939       HOPP
                                               Syracuse NY 13203

                Clearpoint Credit              215 Washington St. Suite          1-800-750-2227
                Counseling Solutions           005, Watertown, NY 13601

  Livingston    Consumer Credit                1000 University Ave., Suite       1-888-724-2227     HOPP
                Counseling Services of         900 Rochester, NY 14607
                Rochester, Inc.

                The Housing Council            75 College Ave., 4th Floor,       585-546-3700       HOPP
                                               Rochester, NY 14607

  Madison       Home Headquarters, Inc.        990 James St., Suite 1,           315-474-1939       HOPP
                                               Syracuse NY 13203                                    Spanish speaking staff
                                                                                                    available

                UNHS NeighborWorks             1611 Genesee Street, Utica,       315-724-4197       HOPP
                Homeownership Center           NY 13501

                Community Action               3 East Main St., Morrisville,     315-684-3144       ASL trained staff
                Program for Madison            NY 13408                                             available
                County

                Clearpoint Credit              289 Genesee St., Utica, NY        1-800-750-2227
                Counseling Solutions           13501

  Monroe        Consumer Credit                1000 University Ave., Suite       1-888-724-2227     HOPP
                Counseling Services of         900 Rochester, NY 14607
                Rochester, Inc.

                Marketview Heights             308 North Street, Rochester,      585-423-1540       HOPP
                Association                    NY 14605



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                The Housing Council          75 College Ave., 4th Floor,       585-546-3700          HOPP
                                             Rochester, NY 14607

                Urban League of              265 North Clinton Ave.,           585-325-6530
                Rochester                    Rochester, NY

  Montgomery    Better Neighborhoods,        986 Albany St.,                   518-372-6469          HOPP
                Inc.                         Schenectady, NY 12307                                   Spanish speaking staff
                                                                                                     available

                UNHS NeighborWorks           1611 Genesee Street, Utica,       315-724-4197          HOPP
                Homeownership Center         NY 13501

  Nassau        American Debt Resources,     248C Larkfield Road, East         1-800-498-0766        HOPP
                Inc.                         Northport, NY 11731                                     Spanish speaking staff
                                                                                                     available

                Community Development        333 No Main St., Freeport,        631-471-1215 x158     HOPP
                Corporation of Long          NY 11520                                                Spanish speaking staff
                Island                                                                               available

                Hispanic Brotherhood of      59 Clinton Ave., Rockville        516-766-6610          HOPP
                Rockville Centre, Inc.       Centre, NY 11570                                        Spanish speaking staff
                                                                                                     available

                La Fuerza Unida, Inc.        1 School St., Suite 302,          516-759-0788          HOPP
                                             Glen Cove, NY 11542                                     Spanish speaking staff
                                                                                                     available

                LIFE, Inc.                   112 Spruce St., Cedarhurst,       516-374-4564          HOPP
                                             NY 11516                                                Spanish speaking staff
                                                                                                     available

                Long Island Housing          180 Oser Ave.,                    631-435-4710          HOPP
                Partnership, Inc.            Hauppaugue, NY 11788                                    Spanish speaking staff
                                                                                                     available

                Long Island Housing          640 Johnson Ave., Suite 8,        631-567-5111 x383     HOPP
                Services, Inc.               Bohemia, NY 11716                                       Spanish speaking staff
                                                                                                     available

                Rockaway Development         1920 Mott Ave. Rm #2, Far         718-327-5300          HOPP
                and Revitilization Corp      Rockaway, NY 11691                                      funded in NYC Serves
                                                                                                     Western Nassau

                CHHAYA                       37-43 77th St., Jackson           718-478-3848          HOPP
                                             Heights, NY 11372                                       funded in NYC
                                                                                                     Southeast Asian
                                                                                                     speaking Counselors
                                                                                                     on staff

                GreenPath Debt Solutions     300 Garden City Plaza,            888-776-6738          HOPP
                                             Suite 220 Garden City, NY
                                             11530

                Debt Counseling Corp.        3033 Express Dr. N,               1-888-354-6332 ext.   HOPP
                                             Hauppauge, NY 11749               316                   Spanish speaking staff
                                                                                                     available

                Safeguard Credit             67 Salonga Rd. Northport,         1-800-673-6933        HOPP
                Counseling, Inc.             NY 11768                                                Spanish speaking staff



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                                                                                                       available

  New York      MHANY Management,             1 Metro Tech Center North         718-246-8080           HOPP
                Inc.                          11th Floor, Brooklyn, NY                                 Spanish speaking staff
                                              11201                                                    available

                Grow Brooklyn, Inc.           1474 Myrtle Ave.,                 718-418-8232           HOPP
                                              Brooklyn, NY 11237                                       Spanish and Bengali
                                                                                                       speaking staff
                                                                                                       available

                Parodneck Foundation          121 6th Ave., Suite 501           212-431-9700           HOPP
                                              New York, NY 10013                                       Spanish speaking staff
                                                                                                       available

                AAFE Community                111 Division St., New York,       212-964-2288           Chinese and Korean
                Development Fund, Inc.        NY 10002                                                 speaking staff
                                                                                                       available

                Abyssinian Development        2283 7th Avenue, New              646-442-6545
                Corp.                         York, NY 10030

                Neighborhood Housing          307 West 36th St., 12th           212-519-2500           Spanish and Creole
                Services of NYC               floor, New York, NY 10018                                speaking staff
                                                                                                       available

                Harlem Congregations for      2854 Frederick Douglass           212-281-4887 ext.      Spanish speaking staff
                Community Development         Blvd., New York, NY 10039         206 or 231             available

                West Harlem Group             1652 Amsterdam Ave. New           212-862-1399
                Assistance, Inc.              York, NY 10031

                GreenPath Debt Solutions      One Penn Plaza, Suite 2108,       866-285-4059
                                              New York, NY 10119

  Niagara       Belmont Housing               1195 Main St., Buffalo, NY        716-884-7791           HOPP
                Resources                     14209

                West Side & Black Rock        203 Military Rd., Buffalo,        Tuesdays and           HOPP
                Riverside NHS, Inc.           NY 14207                          Wednesdays at (716)
                                                                                885-2344, Thursdays
                                                                                and Fridays at (716)
                                                                                877-3910

                Neighborhood Housing          1937 South Park Ave.,             716-823-3630
                Services of South Buffalo     Buffalo, NY 14220

  Oneida        UNHS NeighborWorks            1611 Genesee Street, Utica,       315-724-4197           HOPP
                Homeownership Center          NY 13501

                Clearpoint Credit             5794 Widewaters Parkway,          1-800-750-2227
                Counseling Solutions          Syracuse, NY 13214

                Northeast Hawley              101 Gertrude St., Syracuse,       315-425-1032
                Development Corp.             NY 13202

  Onondaga      Home Headquarters, Inc.       990 James St., Suite 1,           315-474-1939           HOPP
                                              Syracuse NY 13203                                        Spanish speaking staff
                                                                                                       available

                Clearpoint Credit             5794 Widewaters Parkway,          1-800-750-2227



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                Counseling Solutions          Syracuse, NY 13214

                Cooperative Federal           800 N. Salina St., Syracuse,      315-476-5290     Service for credit
                Credit Union                  NY 13208                                           union members only

  Ontario       Consumer Credit               1000 University Ave., Suite       1-888-724-2227   HOPP
                Counseling Services of        900 Rochester, NY 14607
                Rochester, Inc.

                Community Action in Self      48 Water St., Lyons, NY           315-946-6992     HOPP
                Help                          14489

                Keuka Housing Council         160 Main St. Penn Yan, NY         315-536-8707     HOPP
                                              14527

  Orange        Hudson River Housing          291 Mill St Poughkeepsie,         845-454-9288     HOPP
                                              NY 12601

                Orange County Rural           59b Boniface Drive, Pine          845-713-4568     HOPP
                Development Advisory          Bush, NY 12566
                Corp.

  Orleans       Belmont Housing               1195 Main St., Buffalo, NY        716-884-7791     HOPP
                Resources                     14209

                The Housing Council           75 College Ave., 4th Floor,       585-546-3700     HOPP
                                              Rochester, NY 14607

                Consumer Credit               1000 University Ave., Suite       1-888-724-2227   HOPP
                Counseling Service of         900 Rochester, NY 14607
                Rochester, Inc.

  Oswego        Fulton Community              125 West Broadway, Fulton,        315-593-7166     HOPP
                Development Agency            NY 13069

                Oswego Housing                2971 County Rte. 26, Parish,      315-625-4520
                Development Council, Inc.     NY 13131

                Clearpoint Credit             5794 Widewaters Parkway,          1-800-750-2227
                Counseling Solutions          Syracuse, NY 13214

  Otsego        UNHS NeighborWorks            1611 Genesee Street, Utica,       315-724-4197     HOPP
                Homeownership Center          NY 13501

                Clearpoint Creidt             The Metro Center, 49 Court        1-800-750-2227
                Counseling Solutions          St., Binghamton, NY 13901

  Putnam        Housing Action Council        55 South Broadway,                914-332-4144     HOPP
                                              Tarrytown, NY 10591

                Putnam County Housing         11 Seminary Hill Rd.,             845-225-8493     HOPP
                Corp.                         Carmel, NY 10512

  Queens        Neighborhood Housing          60-20 Woodside Ave.,              718-457-1017     HOPP
                Services of Northern          Flushing, NY 11377                                 Spanish and French
                Queens                                                                           Creole speaking staff
                                                                                                 available




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                Neighborhood Housing         89-70 162nd St., Jamaica,         718-291-7400     HOPP
                Services- Jamaica            NY 11432                                           Spanish speaking staff
                                                                                                available

                CHHAYA                       37-43 77th St., Jackson           718-478-3848     HOPP
                                             Heights, NY 11372                                  Southeast Asian
                                                                                                speaking Counselors
                                                                                                on staff

                Rockaway Development         1920 Mott Ave., Second            718-327-5300     HOPP
                and Revitilization Corp      Floor, Far Rockaway, NY
                                             11691

                Parodneck Foundation         121 6th Ave., Suite 501           212-431-9700     HOPP
                                             New York, NY 10013                                 Spanish speaking staff
                                                                                                available

                MHANY Management,            1 Metro Tech Center North         718-246-8080     HOPP
                Inc.                         11th Floor, Brooklyn, NY                           Spanish speaking staff
                                             11201                                              available

                Brooklyn Housing and         415 Albemarle Rd.,                718-435-7585     HOPP
                Family Services, Inc.        Brooklyn, NY 11218                                 Spanish and French
                                                                                                Creole speaking staff
                                                                                                available

                NY Commission of             153-01 Jamaica Ave.               718-657-2465     Spanish speaking staff
                Human Rights- Queens         Jamaica, NY 11432                                  available

                GreenPath Debt Solutions     80-02 Kew Gardens Road,           866-285-4036
                                             Suite 710 Kew Gardens, NY
                                             11415-3607

                Margert Community            325 Beach 37th Street Far         718-471-3724
                Corporation                  Rockaway, NY 11691

                Queens Community House       108-25 62nd Drive, Forest         718-592-5757
                                             Hills, NY 11375

  Rensselaer    Troy Rehabilitation and      415 River St., Troy, NY           518-690-0020     HOPP
                Improvement Program          12180
                (TRIP)

                United Tenants of Albany     33 Clinton Ave., Albany,          518-436-8997     HOPP
                                             NY 12207                                           For tenants whose
                                                                                                buildings are in
                                                                                                process of being
                                                                                                foreclosed or whose
                                                                                                building has been
                                                                                                foreclosed

                Albany County Rural          24 Martin Road,                   518-765-2425     HOPP
                Housing Alliance             Voorheesville, NY 12186

                Affordable Housing           255 Orange St., Albany, NY        518-434-1730     HOPP
                Partnership                  12210

                Clearpoint Credit            2 Computer Drive West,            1-800-750-2227   Formerly known as
                Counseling Solutions         Albany, NY 12205                                   Consumer Credit
                                                                                                Counseling Service of
                                                                                                Central NY


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  Richmond      Northfield Community           160 Heberton Ave. Staten          718-442-7351     HOPP
                Local Dev. Corp. of Staten     Island, NY 10302
                Island

                MHANY Management,              1 Metro Tech Center North         718-246-8080     HOPP
                Inc.                           11th Floor, Brooklyn, NY                           Spanish speaking staff
                                               11201                                              available

                Parodneck Foundation           121 6th Ave., Suite 501           212-431-9700     HOPP
                                               New York, NY 10013                                 Spanish speaking staff
                                                                                                  available

                Neighborhood Housing           770 Castleton Ave., Staten        718-442-8080     HOPP
                Services, Staten Island        Island, NY 10310                                   Spanish speaking staff
                                                                                                  available

                NYC Commission on              60 Bay St. 7th Floor, Staten      718-390-8506     Spanish speaking staff
                Human Rights- Staten           Island, NY 10301                                   available
                Island

  Rockland      Housing Action Council         55 South Broadway,                914-332-4144     HOPP
                                               Tarrytown, NY 10591

                Rockland Housing Action        120-126 North Main St.,           845-708-5799     HOPP
                Coalition                      Annex-First Floor, New                             Spanish, Creole,
                                               City, NY 10956                                     Hebrew, and ASL
                                                                                                  speaking staff
                                                                                                  available

  Saratoga      Albany County Rural            24 Martin Road,                   518-765-2425     HOPP
                Housing Alliance               Voorheesville, NY 12186

                Affordable Housing             255 Orange St., Albany, NY        518-434-1730     HOPP
                Partnership                    12210

                Troy Rehabilitation and        415 River St., Troy, NY           518-690-0020     HOPP
                Improvement Program            12180                                              Serving residents of
                (TRIP)                                                                            Southern Saratoga
                                                                                                  County

                Better Neighborhoods,          986 Albany St.,                   518-372-6469     HOPP
                Inc.                           Schenectady, NY 12307                              Spanish speaking staff
                                                                                                  available

                Clearpoint Credit              2 Computer Drive West,            1-800-750-2227   Formerly known as
                Counseling Solutions           Albany, NY 12205                                   Consumer Credit
                                                                                                  Counseling Service of
                                                                                                  Central NY

                Homefront Development          568 Lower Allen St.,              518-747-8250     Serving residents of
                Corp.                          Hudson Falls, NY 12839                             Northern Saratoga
                                                                                                  County

  Schenectady   Better Neighborhoods,          986 Albany St.,                   518-372-6469     HOPP
                Inc.                           Schenectady, NY 12307                              Spanish speaking staff
                                                                                                  available

                Affordable Housing             255 Orange St., Albany, NY        518-434-1730     HOPP
                Partnership                    12210

                Albany County Rural            24 Martin Road,                   518-765-2425     HOPP



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                Housing Alliance             Voorheesville, NY 12186

                Schenectady Community        913 Albany St.,                   518-374-9181     For tenants whose
                Action Program (SCAP)        Schenectady, NY 12307                              buildings are in
                                                                                                process of being
                                                                                                foreclosed or whose
                                                                                                building has been
                                                                                                foreclosed

                Clearpoint Credit            2 Computer Drive West,            1-800-750-2227   Formerly known as
                Counseling Solutions         Albany, NY 12205                                   Consumer Credit
                                                                                                Counseling Service of
                                                                                                Central NY

  Schoharie     Albany County Rural          24 Martin Road,                   518-765-2425     HOPP
                Housing Alliance             Voorheesville, NY 12186

                Western Catskills            125 Main St., Suite A,            607-652-2823
                Community                    Stamford, NY 12167
                RevitilizationCouncil

                Clearpoint Credit            2 Computer Drive West,            1-800-750-2227   Formerly known as
                Counseling Solutions         Albany, NY 12205                                   Consumer Credit
                                                                                                Counseling Service of
                                                                                                Central NY

  Schuyler      Arbor Housing and            26 Bridge St., Corning, NY        607-654-7487     HOPP
                Development                  14830

                Catholic Charities of        215 East Church St., Suite        607-734-9784     HOPP
                Chemung                      101, Elmira, NY 14901

  Seneca        The Housing Council          75 College Ave., 4th Floor,       585-546-3700     HOPP
                                             Rochester, NY 14607

                Community Action in Self     48 Water St., Lyons, NY           315-946-6992     HOPP
                Help                         14489

  St.           Housing Assistance           103 Hand Ave.,                    518-873-6888     HOPP
  Lawrence      Program of Essex County      Elizabethtown, NY 12932
                (HAPEC)

                North Country Housing        19 Main St., Canton, NY           315-386-8576
                Council                      13617

                Clearpoint Credit            215 Washington St. Suite          1-800-750-2227
                Counseling Solutions         005, Watertown, NY 13601

  Steuben       Arbor Housing and            26 Bridge St., Corning, NY        607-654-7487     HOPP
                Development                  14830

                Accord                       84 Schuyler St., Belmont,         585-268-7605     HOPP
                                             NY 14813

                Catholic Charities of        215 East Church St., Suite        607-734-9784     HOPP
                Chemung                      101, Elmira, NY 14901

  Suffolk       American Debt Resources,     248C Larkfield Road, East         1-800-498-0766   HOPP
                Inc.                         Northport, NY 11731                                Spanish speaking staff
                                                                                                available




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                Community Development           2100 Middle Country Rd.,          631-471-1215 ext.     HOPP
                Corporation of Long             Suite 300, Centereach NY          158                   Spanish speaking staff
                Island                          11720                                                   available

                Economic Opportunity            320 Carleton Avenue Suite         631-647-3765 x 1204   HOPP
                Council of Suffolk, Inc.        7800 Central Islip NY             or 1205
                                                11722

                La Fuerza Unida, Inc.           1 School St., Suite 302,          516-759-0788          HOPP
                                                Glen Cove, NY 11542                                     Spanish speaking staff
                                                                                                        available

                Long Island Housing             180 Oser Ave.,                    631-435-4710          HOPP
                Partnership, Inc.               Hauppaugue, NY 11788                                    Spanish speaking staff
                                                                                                        available

                Long Island Housing             640 Johnson Ave., Suite 8,        631-567-5111 x383     HOPP
                Services, Inc.                  Bohemia, NY 11716                                       Spanish speaking staff
                                                                                                        available

                CHHAYA                          37-43 77th St., Jackson           718-478-3848          HOPP
                                                Heights, NY 11372                                       funded for NYC
                                                                                                        Southeast Asian
                                                                                                        speaking Counselors
                                                                                                        on staff

                Central Islip Civic Council     68 Wheeler Rd. Central            631-348-0669          HOPP
                                                Islip, NY 11722                                         Spanish speaking staff
                                                                                                        available

                Debt Counseling Corp.           3033 Express Dr. N,               1-888-354-6332 ext.   HOPP
                                                Hauppauge, NY 11749               316                   Spanish speaking staff
                                                                                                        available

                Greenpath                       1300 Veterans Memorial            888-776-6738          HOPP
                                                Highway, Suite 305,
                                                Hauppaugue NY 11788

                Safeguard Credit                67 Salonga Rd. Northport,         1-800-673-6933        HOPP
                Counseling, Inc.                NY 11768                                                Spanish speaking staff
                                                                                                        available

                Housing Help, Inc.              91-101 Broadway, Suite 6,         631-754-0373
                                                Greenlawn NY 11740

                North Fork Housing              110 South St., Greenport,         631-477-1070
                Alliance                        NY 11944

                Bellport, Hagerman, East        1492 Montauk Highway,             631-286-9236
                Patchogue Alliance, Inc.        Bellport, NY 11713

                Wyandanch Community             59 Cumberbach St.                 631-253-0139 OR       Only serves part of
                Development                     Wyandanch, NY 11798               631-643-4786          Western Suffolk

  Sullivan      RUPCO                           301 Fair St. Kingston, NY         845-331-9860          HOPP
                                                12401                                                   Spanish speaking staff
                                                                                                        available

                Rural Sullivan Housing          6 Pelton St. Monticello, NY       845-794-0348
                Corp.                           12701




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  Tioga         Catholic Charities of        215 East Church St., Suite        607-734-9784     HOPP
                Chemung                      101, Elmira, NY 14901

                Metro Interfaith Housing     21 New St., Binghamton,           607-772-6766     HOPP
                Council                      NY 13903

                Clearpoint Financial         The Metro Center, 49 Court        877-412-2227
                Solutions                    St., Binghamton, NY 13901

  Tompkins      Catholic Charities of        215 East Church St., Suite        607-734-9784     HOPP
                Chemung                      101, Elmira, NY 14901

  Ulster        RUPCO                        301 Fair St. Kingston, NY         845-331-9860     HOPP
                                             12401                                              Spanish speaking staff
                                                                                                available

  Warren        Housing Assistance           103 Hand Ave.,                    518-873-6888     HOPP
                Program of Essex County      Elizabethtown, NY 12932
                (HAPEC)

                Albany County Rural          24 Martin Road,                   518-765-2425     HOPP
                Housing Alliance             Voorheesville, NY 12186

                Clearpoint Financial         2 Computer Drive West,            1-877-412-2227   Formerly known as
                Solutions                    Albany, NY 12205                                   Consumer Credit
                                                                                                Counseling Service of
                                                                                                Central NY

                Homefront Development        568 Lower Allen St.,              518-747-8250
                Corp.                        Hudson Falls, NY 12839

  Washington    Housing Assistance           103 Hand Ave.,                    518-873-6888     HOPP
                Program of Essex County      Elizabethtown, NY 12932
                (HAPEC)

                Albany County Rural          24 Martin Road,                   518-765-2425     HOPP
                Housing Alliance             Voorheesville, NY 12186

                Homefront Development        568 Lower Allen St.,              518-747-8250
                Corp.                        Hudson Falls, NY 12839

  Wayne         Community Action in Self     48 Water St., Lyons, NY           315-946-6992     HOPP
                Help                         14489

                Keuka Housing Council        160 Main St. Penn Yan, NY         315-536-8707     HOPP
                                             14527

                Consumer Credit              50 Chestnut Plaza,                1-888-724-2227   HOPP
                Counseling Service of        Rochester, NY 14604
                Rochester, Inc.

  Westchester   Community Housing            75 South Broadway, Ste 340        914-683-1010     HOPP
                Innovations, Inc.            White Plains, NY 10601

                Housing Action Council       55 South Broadway,                914-332-4144     HOPP
                                             Tarrytown, NY 10591

                Human Development            28 Adee St. Port Chester,         914-939-2005     HOPP
                Services of Westchester,     NY 10573                                           Spanish speaking
                Inc.                                                                            counselors available




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                Westchester Residential      470 Mamaroneck Ave.,              914-428-4507 OR   HOPP
                Opportunities                Suite 410 White Plains, NY        877-WRO-4YOU      Spanish and French
                                             10605                                               speaking staff
                                                                                                 available

                Putnam County Housing        11 Seminary Hill Rd.,             845-225-8493
                Corp.                        Carmel, NY 10512

                Greenpath                    One Barker Ave., Suite 420        888-366-9140
                                             White Plains, NY 10601

                Belmont Housing              1195 Main St. Buffalo, NY         716-884-7791      HOPP
                Resources                    14209

  Wyoming       Consumer Credit              50 Chestnut Plaza,                1-888-724-2227    HOPP
                Counseling Services of       Rochester, NY 14604
                Rochester, Inc.

                ACCORD                       84 Schuyler St., Belmont,         585-268-7605      HOPP
                                             NY 14813

                The Housing Council          75 College Ave., 4th Floor,       585-546-3700      HOPP
                                             Rochester, NY 14607

                Community Action in Self     48 Water St., Lyons, NY           315-946-6992      HOPP
                Help                         14489

  Yates         Keuka Housing Council        160 Main St. Penn Yan, NY         315-536-8707      HOPP
                                             14527




                                             Rushmore Loan Management Services LLC
                                           15480 Laguna Canyon Rd. #100, Irvine, CA 92618
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                      7600367995_NOI_000050_04252018




                                                            CZESLAW CHELSTOWSKI


  Rushmore Loan Management Services LLC
  PO Box 111209
  Nashville, TN 37222
  (For Return Mail Only)

7600367995 81150355 NC120 900845 01




                                                                                  April 25, 2018




                                      000050 S1PA
                                      CZESLAW CHELSTOWSKI
                                      99 WILSON AVENUE
                                      AMITYVILLE NY 11701
             Rushmore Loan Management Services LLC
             PO Box 111209
             Nashville, TN 37222
             (For Return Mail Only)




   000050 S1PA
                                                                                    Date: April 25, 2018
   RYSZARD KOZIKOWSKI
   CZESLAW CHELSTOWSKI
   ANNA CHELSTOWSKA
   99 WILSON AVENUE                                                                 RE: Loan Number:
   AMITYVILLE, NY 11701
                                                                                    Property Address:
                                                                                    99 WILSON AVENUE
                                                                                    AMITYVILLE, NY 11701




Dear Mortgagor(s):
                       YOU MAY BE AT RISK OF FORECLOSURE.
                  PLEASE READ THE FOLLOWING NOTICE CAREFULLY
As of April 25, 2018, your home loan is 814 days, and $88,848.10 dollars in default.
Under New York state law, we are required to send you this notice to inform you that you are
at risk of losing your home.
Attached to this notice is a list of government approved housing counseling agencies in your
area which provide free counseling.
You can also call the NYS Office of the Attorney General’s Homeowner Protection Program
(HOPP) toll-free consumer hotline to be connected to free housing counseling services in
your area at 1-855-HOME-456 (1-855-466-3456), or visit their website at
http://www.aghomehelp.com/. A statewide listing by county is also available at:
http://www.dfs.ny.gov/consumer/mortg_nys_np_counseling_agencies.htm
Qualified free help is available; watch out for companies or people who charge a fee for these
services.
Housing counselors from New York-based agencies listed on the website above are trained to
help homeowners who are having problems making their mortgage payments and can help
you find the best option for your situation. If you wish, you may contact the Loss Mitigation
Department at 1-888-504-7300.




                                               Rushmore Loan Management Services LLC
                                             15480 Laguna Canyon Rd. #100, Irvine, CA 92618
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While we cannot assure that a mutually agreeable resolution is possible, we encourage you to
take immediate steps to try to achieve a resolution. The longer you wait the fewer options you
may have.
If you have not taken any actions to resolve this matter within 90 days from the date this notice
was mailed, we may commence legal action against you (or sooner if you cease to live in the
dwelling as your primary residence).
If you need further information, please call the New York State Department of Financial
Services’ toll-free helpline at 800-342-3736 or visit the Department’s website at
http://www.dfs.ny.gov.
IMPORTANT: You have the right to remain in your home until you receive a court order
telling you to leave the property. If a foreclosure action is filed against you in court, you still
have the right to remain in the home until court orders you to leave. You legally remain the
owner of and are responsible for the property until the property is sold by you or by order of
the court at the conclusion of any foreclosure proceedings. This notice is not an eviction
notice, and a foreclosure action has not yet been commenced against you.
This matter is very important. Please give it your immediate attention.
Sincerely,
Rushmore Loan Management Services LLC
15480 Laguna Canyon Rd. #100
Irvine, CA 92618
PH: 1-888-504-7300
FAX: 949-341-2200

It is possible that after payment of the amounts detailed above, there may be other fees
still due and owing, including but not limited to other fees, escrow advances or corporate
advances that Rushmore paid on your behalf or advanced to your account.
(See disclosures on page 3)




                                     Rushmore Loan Management Services LLC
                                   15480 Laguna Canyon Rd. #100, Irvine, CA 92618
  NC120-NY 90Day-16                                                                      Page 3
Federal law requires us to advise you that Rushmore Loan Management Services LLC is a debt
collector and that this is an attempt to collect a debt. Any information obtained may be used for
that purpose. To the extent your obligation has been discharged or is subject to the automatic
stay in a bankruptcy proceeding, this notice is for informational purposes only and does not
constitute a demand for payment or an attempt to collect indebtedness as your personal
obligation. If you are represented by an attorney, please provide us with the attorney’s name,
address and telephone number.
For New York Residents: Please be advised that Rushmore Loan Management Services LLC is
registered with the Superintendent of Financial Services for the State of New York. Borrowers
may file complaints about Rushmore Loan Management Services LLC with the New York State
Department of Financial Services. Borrowers may also obtain further information from the
New York State Department by calling the Department’s Consumer Assistance Unit at
800-342-3736 or by visiting the Department’s website at www.dfs.ny.gov.
Notice to Customers: Rushmore Loan Management Services LLC may report information
about your mortgage account to credit bureaus. Late payments, missed payments, or other
defaults on your account may be reflected in your credit report.
Failure to cure the default on or before 07/24/2018 may result in acceleration of the sums
secured by this Security Instrument, foreclosure by judicial proceeding and sale of the Property.
Partial payments received may be applied to any amounts outstanding, but any partial payments
that are applied will not invalidate our right to commence foreclosure proceedings.
You have the right to reinstate after acceleration and the right to assert in the foreclosure
proceeding the non-existence of a default or any other defense to acceleration and foreclosure.
DEBT COLLECTION
This communication is for the purpose of collecting a debt, and any information obtained from
the trustor(s) will be used for that purpose. Rushmore is acting as a “debt collector” as that term
is defined in the Federal Fair Debt Collection Practices Act. This notice is required by the
provisions of the Fair Debt Collection Practices Act and does not imply that we are attempting
to collect money from any one who has discharged the debt under the bankruptcy laws of the
United States.




                                     Rushmore Loan Management Services LLC
                                   15480 Laguna Canyon Rd. #100, Irvine, CA 92618
   NC120-NY 90Day-16                                                                     Page 4
CREDIT REPORTING
We may report information about your account to credit bureaus. Late payments, missed
payments, or other defaults on your account may be reflected in your credit report.
BANKRUPTCY
If you have received a discharge of this debt through bankruptcy, you are not personally liable
to us if you do not pay us the above amount. We can recover only the real property from you
and you will not be obligated to pay us the difference between what we may get from the sale of
the real property and the balance due on the loan. This notice is provided to inform you of what
you must do to retain possession of your real property.
HUD STATEMENT
Pursuant to section 169 of the Housing and Community Development Act of 1987, you may
have the opportunity to receive counseling from various local agencies regarding the retention
of your home. You may obtain a list of the HUD approved housing counseling agencies by
calling the HUD nationwide toll free telephone at 1-800-569-4287.
ADDITIONAL NOTICES
Rushmore Loan Management Services LLC is a Debt Collector, who is attempting to collect a
debt. Any information obtained will be used for that purpose. However, if you are in
Bankruptcy or received a Bankruptcy Discharge of this debt, this letter is being sent for
informational purposes only, is not an attempt to collect a debt and does not constitute a notice
of personal liability with respect to the debt.




                                     Rushmore Loan Management Services LLC
                                   15480 Laguna Canyon Rd. #100, Irvine, CA 92618
   NC120-NY 90Day-16                                                                   Page 5
    Servicemembers Civil Relief                     U . S. Department of Housing                            OMB Approval 2502 - 0584
    Act Notice Disclosure                               and Urban Development                                         Exp 3/31/2021
                                                           Office of Housing

    Legal Rights and Protections Under the SCRA

    6HUYLFHPHPEHUVRQ³DFWLYHGXW\´RU³DFWLYHVHUYLFH´RUDVSRXVHRUGHSHQGHQWRIVXFKDVHUYLFHPHPEHUPD\EHHQWLWOHGWR
    FHUWDLQOHJDOSURWHFWLRQVDQGGHEWUHOLHISXUVXDQWWRWKH6HUYLFHPHPEHUV&LYLO5HOLHI$FW 86&3901-4043 
     6&5$ 


      x 5HJXODUPHPEHUVRIWKH86$UPHG)RUFHV $UP\1DY\$LU)RUFH0DULQH&RUSVDQG&RDVW
    Who May Be Entitled to Legal Protections Under the SCRA?

             *XDUG 
        x    5HVHUYHDQG 1DWLRQDO*XDUGSHUVRQQHOZKRKDYHEHHQDFWLYDWHGDQGDUHRQ)HGHUDODFWLYHGXW\
        x    1DWLRQDO*XDUGSHUVRQQHOXQGHUDFDOORURUGHUWRDFWLYHGXW\IRUPRUHWKDQFRQVHFXWLYHGD\VXQGHU
             VHFWLRQ I RIWLWOH8QLWHG6WDWHV&RGHIRUSXUSRVHVRIUHVSRQGLQJWRDQDWLRQDOHPHUJHQF\
             GHFODUHGE\WKH3UHVLGHQWDQGVXSSRUWHGE\)HGHUDOIXQGV
        x    $FWLYHVHUYLFHPHPEHUVRIWKHFRPPLVVLRQHGFRUSVRIWKH3XEOLF+HDOWK6HUYLFHDQGWKH1DWLRQDO
             2FHDQLFDQG$WPRVSKHULF$GPLQLVWUDWLRQ
        x    &HUWDLQ8QLWHG6WDWHVFLWL]HQVVHUYLQJZLWKWKHDUPHGIRUFHVRIDQDWLRQZLWKZKLFKWKH8QLWHG6WDWHV
             LVDOOLHGLQWKHSURVHFXWLRQRIDZDURUPLOLWDU\DFWLRQ

    What Legal Protections Are Servicemembers Entitled To Under the SCRA? 
        x    7KH6&5$VWDWHVWKDWDGHEWLQFXUUHGE\DVHUYLFHPHPEHURUVHUYLFHPHPEHUDQGVSRXVHMRLQWO\SULRUWR
             HQWHULQJPLOLWDU\VHUYLFHVKDOOQRWEHDULQWHUHVWDWDUDWHDERYHGXULQJWKHSHULRGRIPLOLWDU\VHUYLFHDQGRQH
             \HDUWKHUHDIWHULQWKHFDVHRIDQREOLJDWLRQRUOLDELOLW\FRQVLVWLQJRIDPRUWJDJHWUXVWGHHGRURWKHUVHFXULW\LQWKHQDWXUH
             RIDPRUWJDJHRUGXULQJWKHSHULRGRIPLOLWDU\VHUYLFHLQWKHFDVHRIDQ\RWKHUREOLJDWLRQRUOLDELOLW\
        x    7KH6&5$VWDWHVWKDWLQDOHJDODFWLRQWRHQIRUFHDGHEWDJDLQVWUHDOHVWDWHWKDWLVILOHGGXULQJRUZLWKLQRQH
             \HDUDIWHUWKHVHUYLFHPHPEHU¶VPLOLWDU\VHUYLFHDFRXUWPD\VWRSWKHSURFHHGLQJVIRUDSHULRGRIWLPHRU
             DGMXVWWKHGHEW,QDGGLWLRQWKHVDOHIRUHFORVXUHRUVHL]XUHRIUHDOHVWDWHVKDOOQRWEHYDOLGLILWRFFXUVGXULQJ
             RUZLWKLQRQH\HDUDIWHUWKHVHUYLFHPHPEHU¶VPLOLWDU\VHUYLFHXQOHVVWKHFUHGLWRUKDVREWDLQHGDYDOLGFRXUW
             RUGHUDSSURYLQJWKHVDOHIRUHFORVXUHRUVHL]XUHRIWKHUHDOHVWDWH
        x    7KH6&5$FRQWDLQVPDQ\RWKHUSURWHFWLRQVEHVLGHVWKRVHDSSOLFDEOHWRKRPHORDQV

    How Does A Servicemember or Dependent Request Relief Under the SCRA?

        x    ,QRUGHUWRUHTXHVWUHOLHIXQGHUWKH6&5$IURPORDQVZLWKLQWHUHVWUDWHVDERYHDVHUYLFHPHPEHURUVSRXVH
             PXVWSURYLGHDZULWWHQUHTXHVWWRWKHOHQGHUWRJHWKHUZLWKDFRS\RIWKHVHUYLFHPHmEHU¶VPLOLWDU\RUGHUV
             >1RWH /HQGHUVKRXOGSODFHLWVQDPHDGGUHVVDQGFRQWDFWLQIRUPDWLRQKHUH@
        x    7KHUHLVQRUHTXLUHPHQWXQGHUWKH6&5$KRZHYHUIRUDVHUYLFHPHPEHUWRSURYLGHDZULWWHQQRWLFHRUDFRS\
             RIDVHUYLFHPHPEHU¶VPLOLWDU\RUGHUVWRWKHOHQGHULQFRQQHFWLRQZLWKDIRUHFORVXUHRURWKHUGHEWHQIRUFHPHQW
             DFWLRQDJDLQVWUHDOHVWDWH 8QGHUWKHVHFLUFXPVWDQFHVOHQGHUVVKRXOGLQTXLUHDERXWWKHPLOLWDU\VWDWXVRID
             SHUVRQE\VHDUFKLQJWKH'HSDUWPHQWRI'HIHQVH¶V'HIHQVH0DQSRZHU'DWD&HQWHU¶VZHEVLWHFRQWDFWLQJWKH
             VHUYLFHPHPEHUDQGH[DPLQLQJWKHLUILOHVIRULQGLFLDRIPLOLWDU\VHUYLFH $OWKRXJKWKHUHLVQRUHTXLUHPHQWIRU
             VHUYLFHPHPEHUVWRDOHUWWKHOHQGHURIWKHLUPLOLWDU\VWDWXVLQWKHVHVLWXDWLRQVLWVWLOOLVDJRRGLGHDIRUWKH
             VHUYLFHPHPEHUWRGRVR

    How Does a Servicemember or Dependent Obtain Information About the SCRA? 

        x    6HUYLFHPHPEHUVDQGGHSHQGHQWVZLWKTXHVWLRQVDERXWWKH6&5$VKRXOGFRQWDFWWKHLUXQLW¶V-XGJH$GYRFDWHRU
             WKHLULQVWDOODWLRQ¶V/HJDO$VVLVWDQFH2IILFHU$PLOLWDU\OHJDODVVLVWDQFHRIILFHORFDWRUIRUDOOEUDQFKHVRIWKH
             $UPHG)RUFHVLVDYDLODEOHDWKWWSOHJDODVVLVWDQFHODZDIPLOFRQWHQWORFDWRUSKS


        x    ³0LOLWDU\2QH6RXUFH´LVWKH86'HSDUWPHQWRI'HIHQVH¶VLQIRUPDWLRQ UHVRXUFH,I\RXDUHOLVWHGDVHQWLWOHGWR
             OHJDOSURWHFWLRQVXQGHUWKH6&5$ VHHDERYH SOHDVHJRWRZZZPLOLWDU\RQHVRXUFHPLOOHJDORUFDOO
              WROOIUHHIURPWKH8QLWHG6WDWHV WRILQGRXWPRUHLQIRUPDWLRQ'LDOLQJLQVWUXFWLRQVIRUDUHDVRXWVLGH
             WKH8QLWHG6WDWHVDUHSURYLGHGRQWKHZHEVLWH


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TFQ?J@TFTATCG@NIJNTXABCFN?AU@NEGG?NBEJA@XCY@FEB@NEFBCNB@YET@L?REJ?@Z[\\@C]X]@EJ@CRB?J@^[\\@W]X]@=>?Y@XCY@FEB@>CJCAA@YET@LY@
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YET@CB@aEJb@IR@B>?Y@bFEa@EJ@>C`?@J?CAEF@BE@bFEa@B>CB@YET@XCY@FEB@J?N?Ì?@W?JAEFCG@NCGGA@CB@aEJb]@HEJ@B>?@XEAB@WCJBU@
NEGG?NBEJA@XCY@FEB@B?GG@CFEB>?J@W?JAEFU@EB>?J@B>CF@YETJ@CBBEJF?Y@EJ@AWETA?U@CLETB@YETJ@Q?LB]@MEGG?NBEJA@XCY@NEFBCNB@CFEB>?J@
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B>?@H?Q?JCG@=JCQ?@MEXXIAAIEF@CB@deZffeH=MeghiO@jkZlemknfo@EJ@aaa]RBN]_E`]@@
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NEXXTFINCBIEF@aIB>@B>?@NEFATX?J]@P@aJIBB?F@J?ST?AB@BE@N?CA?@NEXXTFINCBIEF@aIGG@FEB@WJE>ILIB@B>?@Q?LB@NEGG?NBEJ@EJ@
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iENCG@DTA>XEJ?@iECF@tCFC_?X?FB@w?J`IN?A@iiM@P_?FB@REJ@MEGEJCQE@D?AIQ?FBA[@
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dkddd@h]@uJICJaEEQ@P`?]@wB?@zkm\@
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1+,4-.//.012342.415,4677/1,844.4{68865+|8,44849,81:,2484.2/;<4
sEBIN?@ER@rtOqD=Ps=@Dr}g=w[@~ET@>C`?@B>?@JI_>B@BE@XCb?@C@aJIBB?F@EJ@EJCG@J?ST?AB@B>CB@B?G?W>EF?@NCGGA@J?_CJQIF_@YETJ@
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WJE`IQ?@aJIBB?F@NEFRIJXCBIEF@ER@B>?@J?ST?AB@WEABXCJb?Q@EJ@Q?GÌ?J?Q@aIB>IF@A?`?F@jfo@QCYA@ER@ATN>@J?ST?AB]@~ET@XCY@
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aIGG@L?@TA?Q@REJ@B>CB@WTJWEA?]@gEa?`?JU@IR@YET@CJ?@IF@uCFbJTWBNY@EJ@J?N?Ì?Q@C@uCFbJTWBNY@KIAN>CJ_?@ER@B>IA@Q?LBU@B>IA@G?BB?J@IA@
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GICLIGIBY@aIB>@J?AW?NB@BE@B>?@Q?LB]@
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L?IF_@A?FB@REJ@IFREJXCBIEF@WTJWEA?A@EFGY@CFQ@QE?A@FEB@NEFABIBTB?@W?JAEFCG@GICLIGIBY@aIB>@J?AW?NB@BE@B>?@Q?LB]@

PGG@qB>?J@\k\ZdZ@
                    Approved housing counseling agencies located in New York
                                          by County

  COUNTY        AGENCY                       ADDRESS                           CONTACT INFO       NOTES

  Albany        Affordable Housing           255 Orange St., Albany, NY        518-434-1730       HOPP
                Partnership                  12210                                                Also serves
                                                                                                  surrounding areas

                Albany County Rural          24 Martin Road,                   518-765-2425       HOPP
                Housing Alliance             Voorheesville, NY 12186                              Also serves
                                                                                                  surrounding areas

                United Tenants of Albany     33 Clinton Ave., Albany,          518-436-8997       HOPP
                                             NY 12207                                             For tenants whose
                                                                                                  buildings are in the
                                                                                                  process of foreclosure
                                                                                                  or have been
                                                                                                  foreclosed on

                Better Neighborhoods,        986 Albany St.,                   518-372-6469       HOPP
                Inc.                         Schenectady, NY 12307                                Spanish speaking staff
                                                                                                  available

                Clearpoint Credit            2 Computer Drive West,            1-800-750-2227     Formerly known as
                Counseling Solutions         Albany, NY 12205                                     Consumer Credit
                                                                                                  Counseling Service

                NYS Office For People        44 Holland Ave. Albany,           518-473-1973       Serving all NYS
                With Developmental           NY 12229                                             residents with
                Disabilities (OPWDD)                                                              developmental
                                                                                                  disabilities and their
                                                                                                  families

  Allegany      ACCORD                       84 Schuyler St., Belmont,         585-268-7605       HOPP
                                             NY 14813

                Neighborhood Housing         1937 South Park Ave.              716-823-3630       Also serving
                Services of Buffalo          Buffalo, NY 14220                                    surrounding counties

  Bronx         Neighborhood Housing         848 Concourse Village             718-992-5979       HOPP
                Services- South Bronx        West, Bronx, NY 10451                                Spanish speaking staff
                                                                                                  available

                Neighborhood Housing         1451 East Gun Hill Rd.,           718-881-1180       HOPP
                Services- North Bronx        Bronx, NY 10469                                      Spanish speaking staff
                                                                                                  available

                Parodneck Foundation         121 6th Ave., Suite 501           212-431-9700 ext   HOPP
                                             New York, NY 10013                391                Spanish speaking staff
                                                                                                  available

                MHANY Management,            1 Metro Tech Center North         718-246-8080 ext   HOPP
                Inc.                         11th Floor, Brooklyn, NY          203                Spanish speaking staff
                                             11201                                                available

                Brooklyn Housing and         415 Albemarle Rd.,                718-435-7585       HOPP
                Family Services, Inc.        Brooklyn, NY 11218                                   Spanish and French


                                             Rushmore Loan Management Services LLC
                                           15480 Laguna Canyon Rd. #100, Irvine, CA 92618
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                                                                                                    Creole speaking staff
                                                                                                    available

                Grow Brooklyn, Inc.           1474 Myrtle Ave.,                 718-418-8232 ext.   HOPP
                                              Brooklyn, NY 11237                206                 Spanish and Bengali
                                                                                                    speaking staff
                                                                                                    available

                NYC Commission on             1932 Arthur Avenue, Room          718-579-6728 OR     Spanish speaking staff
                Human Rights                  203A, Bronx, NY 10457             718-579-6900        available

  Broome        Metro Interfaith Housing      21 New St., Binghamton,           607-772-6766        HOPP
                Council                       NY 13903

                Clearpoint Credit             The Metro Center, 49 Court        1-800-750-2227
                Counseling Solutions          St., Binghamton, NY 13901

  Cattaraugus   Chautauqua Opportunities,     402 Chandler St.,                 716-661-9430        HOPP
                Inc.                          Jamestown, NY 14701

                ACCORD                        84 Schuyler St., Belmont,         585-268-7605        HOPP
                                              NY 14813

                Neighborhood Housing          1937 South Park Ave.,             716-823-3630
                Services of South Buffalo     Buffalo, NY 14220

  Cayuga        Home Headquarters, Inc.       990 James St., Suite 1,           315-474-1939        HOPP
                                              Syracuse NY 13203                                     Spanish speaking staff
                                                                                                    available

                Clearpoint Financial          5794 Widewaters Parkway,          1-877-412-2227      Formerly known as
                Solutions                     Syracuse, NY 13214                                    Consumer Credit
                                                                                                    Counseling Service of
                                                                                                    Central NY

  Chautauqua    Chautauqua Opportunities,     402 Chandler St.,                 716-661-9430        HOPP
                Inc.                          Jamestown, NY 14701

                Chautauqua Home               2 Academy St., Mayville,          716-753-4650        Spanish speaking staff
                Rehabilitation and            NY 14757                                              available
                Improvement Corp.
                (CHRIC)

                Neighborhood Housing          1937 South Park Ave.,             716-823-3630
                Services of South Buffalo     Buffalo, NY 14220

  Chemung       Arbor Housing and             26 Bridge St., Corning, NY        607-654-7487        HOPP
                Development                   14830

                Catholic Charities of         215 East Church St., Suite        607-734-9784        HOPP
                Chemung                       101, Elmira, NY 14901

  Chenango      Metro Interfaith Housing      21 New St., Binghamton,           607-772-2766        HOPP
                Council                       NY 13903

                Clearpoint Credit             The Metro Center, 49 Court        1-800-750-2227
                Counseling Solutions          St., Binghamton, NY 13901

  Clinton       Friends of the North          1 Mill St., Keeseville, NY        518-834-9606        HOPP
                Country                       12944




                                              Rushmore Loan Management Services LLC
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                Housing Assistance            103 Hand Ave.,                    518-873-6888           HOPP
                Program of Essex County       Elizabethtown, NY 12932
                (HAPEC)

  Columbia      Housing Resources of          252 Columbia St., Hudson,         518-822-0707           HOPP
                Columbia County, Inc.         NY 12534

  Cortland      Home Headquarters, Inc.       990 James St., Suite 1,           315-474-1939           HOPP
                                              Syracuse NY 13203                                        Spanish speaking staff
                                                                                                       available

                Cortland Housing              36 Taylor St. Cortland, NY        607-753-8271
                Assistance Council, Inc.      13045

                Clearpoint Credit             The Metro Center, 49 Court        1-800-750-2227
                Counseling Solutions          St., Binghamton, NY 13901

                Western Catskills             125 Main St., Suite A,            607-652-2823           HOPP
                Community Revitilization      Stamford, NY 12167
                Council

  Delaware      RUPCO                         301 Fair St. Kingston, NY         845-331-9860           HOPP
                                              12401                                                    Spanish speaking staff
                                                                                                       available

                Delaware Opportunities,       35430 State Hgwy. 10              607-746-1650
                Inc.                          Hamden, NY 13782

                Clearpoint Credit             The Metro Center, 49 Court        1-800-750-2227
                Counseling Solutions          St., Binghamton, NY 13901

  Dutchess      Hudson River Housing          291 Mill St Poughkeepsie,         845-454-9288           HOPP
                                              NY 12601

                Putnam County Housing         11 Seminary Hill Rd.,             845-225-8493
                Corp.                         Carmel, NY 10512

  Erie          Belmont Housing               1195 Main St. Buffalo, NY         716-884-7791           HOPP
                Resources                     14209

                West Side & Black Rock        359 Connecticut St.,              Tuesdays and           HOPP
                Riverside NHS, Inc.           Buffalo, NY 14213                 Wednesdays at (716)
                                                                                885-2344, Thursdays
                                                                                and Fridays at (716)
                                                                                877-3910

                Buffalo Urban League          15 Genesee Street                 (716) 250-2400         HOPP
                                              Buffalo, NY 14203

                Chautauqua Opportunities,     402 Chandler St.,                 716-661-9430           HOPP
                Inc.                          Jamestown, NY 14701

                Consumer Credit               40 Gardenville Parkway,           1-800-926-9685 or      HOPP
                Counseling Services of        Suite 300, West Seneca, NY        716-712-2060
                Buffalo, Inc.                 14224

                Neighborhood Assistance       135 Delaware Ave Ste 102          716-834-6222
                Corp. of America              Buffalo, New York 14202-
                                              2410

                Neighborhood Housing          1937 South Park Ave.,             716-823-3630



                                              Rushmore Loan Management Services LLC
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                Services of South Buffalo     Buffalo, NY 14220

  Essex         Friends of the North          1 Mill St., Keeseville, NY        518-834-9606        HOPP
                Country                       12944

                Housing Assistance            103 Hand Ave.,                    518-873-6888        HOPP
                Program of Essex County       Elizabethtown, NY 12932
                (HAPEC)

                Homefront Development         568 Lower Allen St.,              518-747-8250
                Corp.                         Hudson Falls, NY 12839

  Franklin      Friends of the North          1 Mill St., Keeseville, NY        518-834-9606        HOPP
                Country                       12944

                Housing Assistance            103 Hand Ave.,                    518-873-6888        HOPP
                Program of Essex County       Elizabethtown, NY 12932
                (HAPEC)

                Franklin County               337 West Main St. Malone,         (518) 483-5934      HOPP
                Community Housing             NY 12953
                Council Inc.

                Clearpoint Credit             215 Washington St. Suite          1-800-750-2227
                Counseling Solutions          005, Watertown, NY 13601

  Fulton        Better Neighborhoods,         986 Albany St.,                   518-372-6469        HOPP
                Inc.                          Schenectady, NY 12307

                UNHS NeighborWorks            1611 Genesee Street, Utica,       315-724-4197        HOPP
                Homeownership Center          NY 13501

  Genesee       The Housing Council           75 College Ave., 4th Floor,       585-546-3700 ext.   HOPP
                                              Rochester, NY 14607               3015

                Consumer Credit               1000 University Ave., Suite       1-888-724-2227      HOPP
                Counseling Services of        900 Rochester, NY 14607
                Rochester, Inc.

                Belmont Housing               1195 Main St., Buffalo, NY        716-884-7791        HOPP
                Resources                     14209

                Consumer Credit               40 Gardenville Parkway,           1-800-926-9685 or
                Counseling Services of        Suite 300, West Seneca, NY        716-712-2060
                Buffalo, Inc.                 14224

  Greene        Albany County Rural           24 Martin Road,                   518-765-2425        HOPP
                Housing Alliance              Voorheesville, NY 12186

                RUPCO                         301 Fair St. Kingston, NY         845-331-9860        HOPP
                                              12401                                                 Spanish speaking staff
                                                                                                    available

                Western Catskills             125 Main St., Suite A,            607-652-2823
                Community Revitilization      Stamford, NY 12167
                Council

                Clearpoint Credit             2 Computer Drive West,            1-800-750-2227      Formerly known as
                Counseling Solutions          Albany, NY 12205                                      Consumer Credit
                                                                                                    Counseling Service of
                                                                                                    Central NY



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  Hamilton      Housing Assistance           103 Hand Ave.,                    518-873-6888     HOPP
                Program of Essex County      Elizabethtown, NY 12932
                (HAPEC)

                Clearpoint Credit            289 Genesee St., Utica, NY        1-800-750-2227
                Counseling Solutions         13501

                Homefront Development        568 Lower Allen St.,              518-747-8250
                Corp.                        Hudson Falls, NY 12839

  Herkimer      UNHS NeighborWorks           1611 Genesee Street, Utica,       315-724-4197     HOPP
                Homeownership Center         NY 13501

                Clearpoint Credit            289 Genesee St., Utica, NY        1-800-750-2227
                Counseling Solutions         13501

  Jefferson     Home Headquarters, Inc.      990 James St., Suite 1,           315-474-1939     HOPP
                                             Syracuse NY 13203                                  Spanish speaking staff
                                                                                                available

                Clearpoint Credit            215 Washington St. Suite          1-800-750-2227
                Counseling Solutions         005, Watertown, NY 13601

  Kings         Cypress Hills Local Dev.     625 Jamaica Avenue,               718-647-2800     HOPP
                Corp.                        Brooklyn, NY 11208                                 Spanish speaking staff
                                                                                                available

                Pratt Area Community         1000 Dean St., Brooklyn,          718-522-2613     HOPP
                Council                      NY 11238

                Grow Brooklyn, Inc.          1474 Myrtle Ave.,                 718-418-8232     HOPP
                                             Brooklyn, NY 11237                                 Spanish and Bengali
                                                                                                speaking staff
                                                                                                available

                Bridge Street Dev. Corp.     460 Nostrand Ave.,                718-636-7596     HOPP
                                             Brooklyn, NY 11216                                 Spanish Speaking
                                                                                                staff available

                MHANY Management,            1 Metro Tech Center North         718-246-8080     HOPP
                Inc.                         11th Floor, Brooklyn, NY                           Spanish speaking staff
                                             11201                                              available

                Neighbors Helping            621 Degraw St., Brooklyn,         718-237-2017     HOPP
                Neighbors (NHN)              NY 11217                                           Spanish speaking staff
                                                                                                available

                Brooklyn Housing and         415 Albemarle Rd.,                718-435-7585     HOPP
                Family Services, Inc.        Brooklyn, NY 11218                                 Spanish and French
                                                                                                Creole speaking staff
                                                                                                available

                Parodneck Foundation         121 6th Ave., Suite 501           212-431-9700     HOPP
                                             New York, NY 10013                                 Spanish speaking staff
                                                                                                available

                Neighborhood Housing         1012 Gates Ave., 2nd Floor,       718-919-2100     HOPP
                Services of Bedford-         Brooklyn, NY 11221
                Stuyvesant

                CAMBA                        1720 Church Ave., 2nd             718-287-0010     HOPP



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                                               Floor, Brooklyn, NY 11226

                Neighborhood Housing           2806 Church Ave.,                 718-469-4679       HOPP
                Services- East Flatbush        Brooklyn, NY 11226                                   Spanish speaking staff
                                                                                                    available

                Greater Sheepshead Bay         2105 East 22nd St.,               718-332-0520
                Dev. Corp.                     Brooklyn, NY 11229

                Southern Brooklyn              4006 18th Ave., Brooklyn,         718-435-1300
                Community Organization         NY 11218

                Brooklyn Neighborhood          1482 Saint James Pl., Suite       718-773-4116
                Improvement Association        1C, Brooklyn, NY 11213

                Council of Jewish              1523 Avenue M, Brooklyn,          718-377-2900 ext   Arabic, Russian and
                Organizations of Flatbush,     NY 11230                          7625               Spanish speaking staff
                Inc.                                                                                available

                Money Management               26 Court St., Suite 2610,         1-866-232-9080     Spanish speaking staff
                International, Inc.            Brooklyn, NY 11242                                   available

                GreenPath Debt Solutions       175 Remsen St., Suite 1102,       866-285-4033
                                               Brooklyn, NY 11201

                NY Commission of               275 Livingston St.,               718-722-3130       Spanish speaking staff
                Human Rights- Brooklyn         Brooklyn, NY 11217                                   available

  Lewis         Home Headquarters, Inc.        990 James St., Suite 1,           315-474-1939       HOPP
                                               Syracuse NY 13203

                Clearpoint Credit              215 Washington St. Suite          1-800-750-2227
                Counseling Solutions           005, Watertown, NY 13601

  Livingston    Consumer Credit                1000 University Ave., Suite       1-888-724-2227     HOPP
                Counseling Services of         900 Rochester, NY 14607
                Rochester, Inc.

                The Housing Council            75 College Ave., 4th Floor,       585-546-3700       HOPP
                                               Rochester, NY 14607

  Madison       Home Headquarters, Inc.        990 James St., Suite 1,           315-474-1939       HOPP
                                               Syracuse NY 13203                                    Spanish speaking staff
                                                                                                    available

                UNHS NeighborWorks             1611 Genesee Street, Utica,       315-724-4197       HOPP
                Homeownership Center           NY 13501

                Community Action               3 East Main St., Morrisville,     315-684-3144       ASL trained staff
                Program for Madison            NY 13408                                             available
                County

                Clearpoint Credit              289 Genesee St., Utica, NY        1-800-750-2227
                Counseling Solutions           13501

  Monroe        Consumer Credit                1000 University Ave., Suite       1-888-724-2227     HOPP
                Counseling Services of         900 Rochester, NY 14607
                Rochester, Inc.

                Marketview Heights             308 North Street, Rochester,      585-423-1540       HOPP
                Association                    NY 14605



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                The Housing Council          75 College Ave., 4th Floor,       585-546-3700          HOPP
                                             Rochester, NY 14607

                Urban League of              265 North Clinton Ave.,           585-325-6530
                Rochester                    Rochester, NY

  Montgomery    Better Neighborhoods,        986 Albany St.,                   518-372-6469          HOPP
                Inc.                         Schenectady, NY 12307                                   Spanish speaking staff
                                                                                                     available

                UNHS NeighborWorks           1611 Genesee Street, Utica,       315-724-4197          HOPP
                Homeownership Center         NY 13501

  Nassau        American Debt Resources,     248C Larkfield Road, East         1-800-498-0766        HOPP
                Inc.                         Northport, NY 11731                                     Spanish speaking staff
                                                                                                     available

                Community Development        333 No Main St., Freeport,        631-471-1215 x158     HOPP
                Corporation of Long          NY 11520                                                Spanish speaking staff
                Island                                                                               available

                Hispanic Brotherhood of      59 Clinton Ave., Rockville        516-766-6610          HOPP
                Rockville Centre, Inc.       Centre, NY 11570                                        Spanish speaking staff
                                                                                                     available

                La Fuerza Unida, Inc.        1 School St., Suite 302,          516-759-0788          HOPP
                                             Glen Cove, NY 11542                                     Spanish speaking staff
                                                                                                     available

                LIFE, Inc.                   112 Spruce St., Cedarhurst,       516-374-4564          HOPP
                                             NY 11516                                                Spanish speaking staff
                                                                                                     available

                Long Island Housing          180 Oser Ave.,                    631-435-4710          HOPP
                Partnership, Inc.            Hauppaugue, NY 11788                                    Spanish speaking staff
                                                                                                     available

                Long Island Housing          640 Johnson Ave., Suite 8,        631-567-5111 x383     HOPP
                Services, Inc.               Bohemia, NY 11716                                       Spanish speaking staff
                                                                                                     available

                Rockaway Development         1920 Mott Ave. Rm #2, Far         718-327-5300          HOPP
                and Revitilization Corp      Rockaway, NY 11691                                      funded in NYC Serves
                                                                                                     Western Nassau

                CHHAYA                       37-43 77th St., Jackson           718-478-3848          HOPP
                                             Heights, NY 11372                                       funded in NYC
                                                                                                     Southeast Asian
                                                                                                     speaking Counselors
                                                                                                     on staff

                GreenPath Debt Solutions     300 Garden City Plaza,            888-776-6738          HOPP
                                             Suite 220 Garden City, NY
                                             11530

                Debt Counseling Corp.        3033 Express Dr. N,               1-888-354-6332 ext.   HOPP
                                             Hauppauge, NY 11749               316                   Spanish speaking staff
                                                                                                     available

                Safeguard Credit             67 Salonga Rd. Northport,         1-800-673-6933        HOPP
                Counseling, Inc.             NY 11768                                                Spanish speaking staff



                                             Rushmore Loan Management Services LLC
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                                                                                                       available

  New York      MHANY Management,             1 Metro Tech Center North         718-246-8080           HOPP
                Inc.                          11th Floor, Brooklyn, NY                                 Spanish speaking staff
                                              11201                                                    available

                Grow Brooklyn, Inc.           1474 Myrtle Ave.,                 718-418-8232           HOPP
                                              Brooklyn, NY 11237                                       Spanish and Bengali
                                                                                                       speaking staff
                                                                                                       available

                Parodneck Foundation          121 6th Ave., Suite 501           212-431-9700           HOPP
                                              New York, NY 10013                                       Spanish speaking staff
                                                                                                       available

                AAFE Community                111 Division St., New York,       212-964-2288           Chinese and Korean
                Development Fund, Inc.        NY 10002                                                 speaking staff
                                                                                                       available

                Abyssinian Development        2283 7th Avenue, New              646-442-6545
                Corp.                         York, NY 10030

                Neighborhood Housing          307 West 36th St., 12th           212-519-2500           Spanish and Creole
                Services of NYC               floor, New York, NY 10018                                speaking staff
                                                                                                       available

                Harlem Congregations for      2854 Frederick Douglass           212-281-4887 ext.      Spanish speaking staff
                Community Development         Blvd., New York, NY 10039         206 or 231             available

                West Harlem Group             1652 Amsterdam Ave. New           212-862-1399
                Assistance, Inc.              York, NY 10031

                GreenPath Debt Solutions      One Penn Plaza, Suite 2108,       866-285-4059
                                              New York, NY 10119

  Niagara       Belmont Housing               1195 Main St., Buffalo, NY        716-884-7791           HOPP
                Resources                     14209

                West Side & Black Rock        203 Military Rd., Buffalo,        Tuesdays and           HOPP
                Riverside NHS, Inc.           NY 14207                          Wednesdays at (716)
                                                                                885-2344, Thursdays
                                                                                and Fridays at (716)
                                                                                877-3910

                Neighborhood Housing          1937 South Park Ave.,             716-823-3630
                Services of South Buffalo     Buffalo, NY 14220

  Oneida        UNHS NeighborWorks            1611 Genesee Street, Utica,       315-724-4197           HOPP
                Homeownership Center          NY 13501

                Clearpoint Credit             5794 Widewaters Parkway,          1-800-750-2227
                Counseling Solutions          Syracuse, NY 13214

                Northeast Hawley              101 Gertrude St., Syracuse,       315-425-1032
                Development Corp.             NY 13202

  Onondaga      Home Headquarters, Inc.       990 James St., Suite 1,           315-474-1939           HOPP
                                              Syracuse NY 13203                                        Spanish speaking staff
                                                                                                       available

                Clearpoint Credit             5794 Widewaters Parkway,          1-800-750-2227



                                              Rushmore Loan Management Services LLC
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                Counseling Solutions          Syracuse, NY 13214

                Cooperative Federal           800 N. Salina St., Syracuse,      315-476-5290     Service for credit
                Credit Union                  NY 13208                                           union members only

  Ontario       Consumer Credit               1000 University Ave., Suite       1-888-724-2227   HOPP
                Counseling Services of        900 Rochester, NY 14607
                Rochester, Inc.

                Community Action in Self      48 Water St., Lyons, NY           315-946-6992     HOPP
                Help                          14489

                Keuka Housing Council         160 Main St. Penn Yan, NY         315-536-8707     HOPP
                                              14527

  Orange        Hudson River Housing          291 Mill St Poughkeepsie,         845-454-9288     HOPP
                                              NY 12601

                Orange County Rural           59b Boniface Drive, Pine          845-713-4568     HOPP
                Development Advisory          Bush, NY 12566
                Corp.

  Orleans       Belmont Housing               1195 Main St., Buffalo, NY        716-884-7791     HOPP
                Resources                     14209

                The Housing Council           75 College Ave., 4th Floor,       585-546-3700     HOPP
                                              Rochester, NY 14607

                Consumer Credit               1000 University Ave., Suite       1-888-724-2227   HOPP
                Counseling Service of         900 Rochester, NY 14607
                Rochester, Inc.

  Oswego        Fulton Community              125 West Broadway, Fulton,        315-593-7166     HOPP
                Development Agency            NY 13069

                Oswego Housing                2971 County Rte. 26, Parish,      315-625-4520
                Development Council, Inc.     NY 13131

                Clearpoint Credit             5794 Widewaters Parkway,          1-800-750-2227
                Counseling Solutions          Syracuse, NY 13214

  Otsego        UNHS NeighborWorks            1611 Genesee Street, Utica,       315-724-4197     HOPP
                Homeownership Center          NY 13501

                Clearpoint Creidt             The Metro Center, 49 Court        1-800-750-2227
                Counseling Solutions          St., Binghamton, NY 13901

  Putnam        Housing Action Council        55 South Broadway,                914-332-4144     HOPP
                                              Tarrytown, NY 10591

                Putnam County Housing         11 Seminary Hill Rd.,             845-225-8493     HOPP
                Corp.                         Carmel, NY 10512

  Queens        Neighborhood Housing          60-20 Woodside Ave.,              718-457-1017     HOPP
                Services of Northern          Flushing, NY 11377                                 Spanish and French
                Queens                                                                           Creole speaking staff
                                                                                                 available




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                Neighborhood Housing         89-70 162nd St., Jamaica,         718-291-7400     HOPP
                Services- Jamaica            NY 11432                                           Spanish speaking staff
                                                                                                available

                CHHAYA                       37-43 77th St., Jackson           718-478-3848     HOPP
                                             Heights, NY 11372                                  Southeast Asian
                                                                                                speaking Counselors
                                                                                                on staff

                Rockaway Development         1920 Mott Ave., Second            718-327-5300     HOPP
                and Revitilization Corp      Floor, Far Rockaway, NY
                                             11691

                Parodneck Foundation         121 6th Ave., Suite 501           212-431-9700     HOPP
                                             New York, NY 10013                                 Spanish speaking staff
                                                                                                available

                MHANY Management,            1 Metro Tech Center North         718-246-8080     HOPP
                Inc.                         11th Floor, Brooklyn, NY                           Spanish speaking staff
                                             11201                                              available

                Brooklyn Housing and         415 Albemarle Rd.,                718-435-7585     HOPP
                Family Services, Inc.        Brooklyn, NY 11218                                 Spanish and French
                                                                                                Creole speaking staff
                                                                                                available

                NY Commission of             153-01 Jamaica Ave.               718-657-2465     Spanish speaking staff
                Human Rights- Queens         Jamaica, NY 11432                                  available

                GreenPath Debt Solutions     80-02 Kew Gardens Road,           866-285-4036
                                             Suite 710 Kew Gardens, NY
                                             11415-3607

                Margert Community            325 Beach 37th Street Far         718-471-3724
                Corporation                  Rockaway, NY 11691

                Queens Community House       108-25 62nd Drive, Forest         718-592-5757
                                             Hills, NY 11375

  Rensselaer    Troy Rehabilitation and      415 River St., Troy, NY           518-690-0020     HOPP
                Improvement Program          12180
                (TRIP)

                United Tenants of Albany     33 Clinton Ave., Albany,          518-436-8997     HOPP
                                             NY 12207                                           For tenants whose
                                                                                                buildings are in
                                                                                                process of being
                                                                                                foreclosed or whose
                                                                                                building has been
                                                                                                foreclosed

                Albany County Rural          24 Martin Road,                   518-765-2425     HOPP
                Housing Alliance             Voorheesville, NY 12186

                Affordable Housing           255 Orange St., Albany, NY        518-434-1730     HOPP
                Partnership                  12210

                Clearpoint Credit            2 Computer Drive West,            1-800-750-2227   Formerly known as
                Counseling Solutions         Albany, NY 12205                                   Consumer Credit
                                                                                                Counseling Service of
                                                                                                Central NY


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  Richmond      Northfield Community           160 Heberton Ave. Staten          718-442-7351     HOPP
                Local Dev. Corp. of Staten     Island, NY 10302
                Island

                MHANY Management,              1 Metro Tech Center North         718-246-8080     HOPP
                Inc.                           11th Floor, Brooklyn, NY                           Spanish speaking staff
                                               11201                                              available

                Parodneck Foundation           121 6th Ave., Suite 501           212-431-9700     HOPP
                                               New York, NY 10013                                 Spanish speaking staff
                                                                                                  available

                Neighborhood Housing           770 Castleton Ave., Staten        718-442-8080     HOPP
                Services, Staten Island        Island, NY 10310                                   Spanish speaking staff
                                                                                                  available

                NYC Commission on              60 Bay St. 7th Floor, Staten      718-390-8506     Spanish speaking staff
                Human Rights- Staten           Island, NY 10301                                   available
                Island

  Rockland      Housing Action Council         55 South Broadway,                914-332-4144     HOPP
                                               Tarrytown, NY 10591

                Rockland Housing Action        120-126 North Main St.,           845-708-5799     HOPP
                Coalition                      Annex-First Floor, New                             Spanish, Creole,
                                               City, NY 10956                                     Hebrew, and ASL
                                                                                                  speaking staff
                                                                                                  available

  Saratoga      Albany County Rural            24 Martin Road,                   518-765-2425     HOPP
                Housing Alliance               Voorheesville, NY 12186

                Affordable Housing             255 Orange St., Albany, NY        518-434-1730     HOPP
                Partnership                    12210

                Troy Rehabilitation and        415 River St., Troy, NY           518-690-0020     HOPP
                Improvement Program            12180                                              Serving residents of
                (TRIP)                                                                            Southern Saratoga
                                                                                                  County

                Better Neighborhoods,          986 Albany St.,                   518-372-6469     HOPP
                Inc.                           Schenectady, NY 12307                              Spanish speaking staff
                                                                                                  available

                Clearpoint Credit              2 Computer Drive West,            1-800-750-2227   Formerly known as
                Counseling Solutions           Albany, NY 12205                                   Consumer Credit
                                                                                                  Counseling Service of
                                                                                                  Central NY

                Homefront Development          568 Lower Allen St.,              518-747-8250     Serving residents of
                Corp.                          Hudson Falls, NY 12839                             Northern Saratoga
                                                                                                  County

  Schenectady   Better Neighborhoods,          986 Albany St.,                   518-372-6469     HOPP
                Inc.                           Schenectady, NY 12307                              Spanish speaking staff
                                                                                                  available

                Affordable Housing             255 Orange St., Albany, NY        518-434-1730     HOPP
                Partnership                    12210

                Albany County Rural            24 Martin Road,                   518-765-2425     HOPP



                                               Rushmore Loan Management Services LLC
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                Housing Alliance             Voorheesville, NY 12186

                Schenectady Community        913 Albany St.,                   518-374-9181     For tenants whose
                Action Program (SCAP)        Schenectady, NY 12307                              buildings are in
                                                                                                process of being
                                                                                                foreclosed or whose
                                                                                                building has been
                                                                                                foreclosed

                Clearpoint Credit            2 Computer Drive West,            1-800-750-2227   Formerly known as
                Counseling Solutions         Albany, NY 12205                                   Consumer Credit
                                                                                                Counseling Service of
                                                                                                Central NY

  Schoharie     Albany County Rural          24 Martin Road,                   518-765-2425     HOPP
                Housing Alliance             Voorheesville, NY 12186

                Western Catskills            125 Main St., Suite A,            607-652-2823
                Community                    Stamford, NY 12167
                RevitilizationCouncil

                Clearpoint Credit            2 Computer Drive West,            1-800-750-2227   Formerly known as
                Counseling Solutions         Albany, NY 12205                                   Consumer Credit
                                                                                                Counseling Service of
                                                                                                Central NY

  Schuyler      Arbor Housing and            26 Bridge St., Corning, NY        607-654-7487     HOPP
                Development                  14830

                Catholic Charities of        215 East Church St., Suite        607-734-9784     HOPP
                Chemung                      101, Elmira, NY 14901

  Seneca        The Housing Council          75 College Ave., 4th Floor,       585-546-3700     HOPP
                                             Rochester, NY 14607

                Community Action in Self     48 Water St., Lyons, NY           315-946-6992     HOPP
                Help                         14489

  St.           Housing Assistance           103 Hand Ave.,                    518-873-6888     HOPP
  Lawrence      Program of Essex County      Elizabethtown, NY 12932
                (HAPEC)

                North Country Housing        19 Main St., Canton, NY           315-386-8576
                Council                      13617

                Clearpoint Credit            215 Washington St. Suite          1-800-750-2227
                Counseling Solutions         005, Watertown, NY 13601

  Steuben       Arbor Housing and            26 Bridge St., Corning, NY        607-654-7487     HOPP
                Development                  14830

                Accord                       84 Schuyler St., Belmont,         585-268-7605     HOPP
                                             NY 14813

                Catholic Charities of        215 East Church St., Suite        607-734-9784     HOPP
                Chemung                      101, Elmira, NY 14901

  Suffolk       American Debt Resources,     248C Larkfield Road, East         1-800-498-0766   HOPP
                Inc.                         Northport, NY 11731                                Spanish speaking staff
                                                                                                available




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                Community Development           2100 Middle Country Rd.,          631-471-1215 ext.     HOPP
                Corporation of Long             Suite 300, Centereach NY          158                   Spanish speaking staff
                Island                          11720                                                   available

                Economic Opportunity            320 Carleton Avenue Suite         631-647-3765 x 1204   HOPP
                Council of Suffolk, Inc.        7800 Central Islip NY             or 1205
                                                11722

                La Fuerza Unida, Inc.           1 School St., Suite 302,          516-759-0788          HOPP
                                                Glen Cove, NY 11542                                     Spanish speaking staff
                                                                                                        available

                Long Island Housing             180 Oser Ave.,                    631-435-4710          HOPP
                Partnership, Inc.               Hauppaugue, NY 11788                                    Spanish speaking staff
                                                                                                        available

                Long Island Housing             640 Johnson Ave., Suite 8,        631-567-5111 x383     HOPP
                Services, Inc.                  Bohemia, NY 11716                                       Spanish speaking staff
                                                                                                        available

                CHHAYA                          37-43 77th St., Jackson           718-478-3848          HOPP
                                                Heights, NY 11372                                       funded for NYC
                                                                                                        Southeast Asian
                                                                                                        speaking Counselors
                                                                                                        on staff

                Central Islip Civic Council     68 Wheeler Rd. Central            631-348-0669          HOPP
                                                Islip, NY 11722                                         Spanish speaking staff
                                                                                                        available

                Debt Counseling Corp.           3033 Express Dr. N,               1-888-354-6332 ext.   HOPP
                                                Hauppauge, NY 11749               316                   Spanish speaking staff
                                                                                                        available

                Greenpath                       1300 Veterans Memorial            888-776-6738          HOPP
                                                Highway, Suite 305,
                                                Hauppaugue NY 11788

                Safeguard Credit                67 Salonga Rd. Northport,         1-800-673-6933        HOPP
                Counseling, Inc.                NY 11768                                                Spanish speaking staff
                                                                                                        available

                Housing Help, Inc.              91-101 Broadway, Suite 6,         631-754-0373
                                                Greenlawn NY 11740

                North Fork Housing              110 South St., Greenport,         631-477-1070
                Alliance                        NY 11944

                Bellport, Hagerman, East        1492 Montauk Highway,             631-286-9236
                Patchogue Alliance, Inc.        Bellport, NY 11713

                Wyandanch Community             59 Cumberbach St.                 631-253-0139 OR       Only serves part of
                Development                     Wyandanch, NY 11798               631-643-4786          Western Suffolk

  Sullivan      RUPCO                           301 Fair St. Kingston, NY         845-331-9860          HOPP
                                                12401                                                   Spanish speaking staff
                                                                                                        available

                Rural Sullivan Housing          6 Pelton St. Monticello, NY       845-794-0348
                Corp.                           12701




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  Tioga         Catholic Charities of        215 East Church St., Suite        607-734-9784     HOPP
                Chemung                      101, Elmira, NY 14901

                Metro Interfaith Housing     21 New St., Binghamton,           607-772-6766     HOPP
                Council                      NY 13903

                Clearpoint Financial         The Metro Center, 49 Court        877-412-2227
                Solutions                    St., Binghamton, NY 13901

  Tompkins      Catholic Charities of        215 East Church St., Suite        607-734-9784     HOPP
                Chemung                      101, Elmira, NY 14901

  Ulster        RUPCO                        301 Fair St. Kingston, NY         845-331-9860     HOPP
                                             12401                                              Spanish speaking staff
                                                                                                available

  Warren        Housing Assistance           103 Hand Ave.,                    518-873-6888     HOPP
                Program of Essex County      Elizabethtown, NY 12932
                (HAPEC)

                Albany County Rural          24 Martin Road,                   518-765-2425     HOPP
                Housing Alliance             Voorheesville, NY 12186

                Clearpoint Financial         2 Computer Drive West,            1-877-412-2227   Formerly known as
                Solutions                    Albany, NY 12205                                   Consumer Credit
                                                                                                Counseling Service of
                                                                                                Central NY

                Homefront Development        568 Lower Allen St.,              518-747-8250
                Corp.                        Hudson Falls, NY 12839

  Washington    Housing Assistance           103 Hand Ave.,                    518-873-6888     HOPP
                Program of Essex County      Elizabethtown, NY 12932
                (HAPEC)

                Albany County Rural          24 Martin Road,                   518-765-2425     HOPP
                Housing Alliance             Voorheesville, NY 12186

                Homefront Development        568 Lower Allen St.,              518-747-8250
                Corp.                        Hudson Falls, NY 12839

  Wayne         Community Action in Self     48 Water St., Lyons, NY           315-946-6992     HOPP
                Help                         14489

                Keuka Housing Council        160 Main St. Penn Yan, NY         315-536-8707     HOPP
                                             14527

                Consumer Credit              50 Chestnut Plaza,                1-888-724-2227   HOPP
                Counseling Service of        Rochester, NY 14604
                Rochester, Inc.

  Westchester   Community Housing            75 South Broadway, Ste 340        914-683-1010     HOPP
                Innovations, Inc.            White Plains, NY 10601

                Housing Action Council       55 South Broadway,                914-332-4144     HOPP
                                             Tarrytown, NY 10591

                Human Development            28 Adee St. Port Chester,         914-939-2005     HOPP
                Services of Westchester,     NY 10573                                           Spanish speaking
                Inc.                                                                            counselors available




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                Westchester Residential      470 Mamaroneck Ave.,              914-428-4507 OR   HOPP
                Opportunities                Suite 410 White Plains, NY        877-WRO-4YOU      Spanish and French
                                             10605                                               speaking staff
                                                                                                 available

                Putnam County Housing        11 Seminary Hill Rd.,             845-225-8493
                Corp.                        Carmel, NY 10512

                Greenpath                    One Barker Ave., Suite 420        888-366-9140
                                             White Plains, NY 10601

                Belmont Housing              1195 Main St. Buffalo, NY         716-884-7791      HOPP
                Resources                    14209

  Wyoming       Consumer Credit              50 Chestnut Plaza,                1-888-724-2227    HOPP
                Counseling Services of       Rochester, NY 14604
                Rochester, Inc.

                ACCORD                       84 Schuyler St., Belmont,         585-268-7605      HOPP
                                             NY 14813

                The Housing Council          75 College Ave., 4th Floor,       585-546-3700      HOPP
                                             Rochester, NY 14607

                Community Action in Self     48 Water St., Lyons, NY           315-946-6992      HOPP
                Help                         14489

  Yates         Keuka Housing Council        160 Main St. Penn Yan, NY         315-536-8707      HOPP
                                             14527




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                      7600367995_NOI_000049_04252018




                                                            RYSZARD KOZIKOWSKI


  Rushmore Loan Management Services LLC
  PO Box 111209
  Nashville, TN 37222
  (For Return Mail Only)

7600367995 81150355 NC120 900845 01




                                                                                 April 25, 2018




                                      000049 PRPA
                                      RYSZARD KOZIKOWSKI
                                      99 WILSON AVENUE
                                      AMITYVILLE NY 11701
            Rushmore Loan Management Services LLC
            PO Box 111209
            Nashville, TN 37222
            (For Return Mail Only)




   000049 PRPA
                                                                                   Date: April 25, 2018
   RYSZARD KOZIKOWSKI
   CZESLAW CHELSTOWSKI
   ANNA CHELSTOWSKA
   99 WILSON AVENUE                                                                RE: Loan Number:
   AMITYVILLE, NY 11701
                                                                                   Property Address:
                                                                                   99 WILSON AVENUE
                                                                                   AMITYVILLE, NY 11701




Dear Mortgagor(s):
                      YOU MAY BE AT RISK OF FORECLOSURE.
                 PLEASE READ THE FOLLOWING NOTICE CAREFULLY
As of April 25, 2018, your home loan is 814 days, and $88,848.10 dollars in default.
Under New York state law, we are required to send you this notice to inform you that you are
at risk of losing your home.
Attached to this notice is a list of government approved housing counseling agencies in your
area which provide free counseling.
You can also call the NYS Office of the Attorney General’s Homeowner Protection Program
(HOPP) toll-free consumer hotline to be connected to free housing counseling services in
your area at 1-855-HOME-456 (1-855-466-3456), or visit their website at
http://www.aghomehelp.com/. A statewide listing by county is also available at:
http://www.dfs.ny.gov/consumer/mortg_nys_np_counseling_agencies.htm
Qualified free help is available; watch out for companies or people who charge a fee for these
services.
Housing counselors from New York-based agencies listed on the website above are trained to
help homeowners who are having problems making their mortgage payments and can help
you find the best option for your situation. If you wish, you may contact the Loss Mitigation
Department at 1-888-504-7300.




                                              Rushmore Loan Management Services LLC
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While we cannot assure that a mutually agreeable resolution is possible, we encourage you to
take immediate steps to try to achieve a resolution. The longer you wait the fewer options you
may have.
If you have not taken any actions to resolve this matter within 90 days from the date this notice
was mailed, we may commence legal action against you (or sooner if you cease to live in the
dwelling as your primary residence).
If you need further information, please call the New York State Department of Financial
Services’ toll-free helpline at 800-342-3736 or visit the Department’s website at
http://www.dfs.ny.gov.
IMPORTANT: You have the right to remain in your home until you receive a court order
telling you to leave the property. If a foreclosure action is filed against you in court, you still
have the right to remain in the home until court orders you to leave. You legally remain the
owner of and are responsible for the property until the property is sold by you or by order of
the court at the conclusion of any foreclosure proceedings. This notice is not an eviction
notice, and a foreclosure action has not yet been commenced against you.
This matter is very important. Please give it your immediate attention.
Sincerely,
Rushmore Loan Management Services LLC
15480 Laguna Canyon Rd. #100
Irvine, CA 92618
PH: 1-888-504-7300
FAX: 949-341-2200

It is possible that after payment of the amounts detailed above, there may be other fees
still due and owing, including but not limited to other fees, escrow advances or corporate
advances that Rushmore paid on your behalf or advanced to your account.
(See disclosures on page 3)




                                     Rushmore Loan Management Services LLC
                                   15480 Laguna Canyon Rd. #100, Irvine, CA 92618
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Federal law requires us to advise you that Rushmore Loan Management Services LLC is a debt
collector and that this is an attempt to collect a debt. Any information obtained may be used for
that purpose. To the extent your obligation has been discharged or is subject to the automatic
stay in a bankruptcy proceeding, this notice is for informational purposes only and does not
constitute a demand for payment or an attempt to collect indebtedness as your personal
obligation. If you are represented by an attorney, please provide us with the attorney’s name,
address and telephone number.
For New York Residents: Please be advised that Rushmore Loan Management Services LLC is
registered with the Superintendent of Financial Services for the State of New York. Borrowers
may file complaints about Rushmore Loan Management Services LLC with the New York State
Department of Financial Services. Borrowers may also obtain further information from the
New York State Department by calling the Department’s Consumer Assistance Unit at
800-342-3736 or by visiting the Department’s website at www.dfs.ny.gov.
Notice to Customers: Rushmore Loan Management Services LLC may report information
about your mortgage account to credit bureaus. Late payments, missed payments, or other
defaults on your account may be reflected in your credit report.
Failure to cure the default on or before 07/24/2018 may result in acceleration of the sums
secured by this Security Instrument, foreclosure by judicial proceeding and sale of the Property.
Partial payments received may be applied to any amounts outstanding, but any partial payments
that are applied will not invalidate our right to commence foreclosure proceedings.
You have the right to reinstate after acceleration and the right to assert in the foreclosure
proceeding the non-existence of a default or any other defense to acceleration and foreclosure.
DEBT COLLECTION
This communication is for the purpose of collecting a debt, and any information obtained from
the trustor(s) will be used for that purpose. Rushmore is acting as a “debt collector” as that term
is defined in the Federal Fair Debt Collection Practices Act. This notice is required by the
provisions of the Fair Debt Collection Practices Act and does not imply that we are attempting
to collect money from any one who has discharged the debt under the bankruptcy laws of the
United States.




                                     Rushmore Loan Management Services LLC
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CREDIT REPORTING
We may report information about your account to credit bureaus. Late payments, missed
payments, or other defaults on your account may be reflected in your credit report.
BANKRUPTCY
If you have received a discharge of this debt through bankruptcy, you are not personally liable
to us if you do not pay us the above amount. We can recover only the real property from you
and you will not be obligated to pay us the difference between what we may get from the sale of
the real property and the balance due on the loan. This notice is provided to inform you of what
you must do to retain possession of your real property.
HUD STATEMENT
Pursuant to section 169 of the Housing and Community Development Act of 1987, you may
have the opportunity to receive counseling from various local agencies regarding the retention
of your home. You may obtain a list of the HUD approved housing counseling agencies by
calling the HUD nationwide toll free telephone at 1-800-569-4287.
ADDITIONAL NOTICES
Rushmore Loan Management Services LLC is a Debt Collector, who is attempting to collect a
debt. Any information obtained will be used for that purpose. However, if you are in
Bankruptcy or received a Bankruptcy Discharge of this debt, this letter is being sent for
informational purposes only, is not an attempt to collect a debt and does not constitute a notice
of personal liability with respect to the debt.




                                     Rushmore Loan Management Services LLC
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    Servicemembers Civil Relief                     U . S. Department of Housing                            OMB Approval 2502 - 0584
    Act Notice Disclosure                               and Urban Development                                         Exp 3/31/2021
                                                           Office of Housing

    Legal Rights and Protections Under the SCRA

    6HUYLFHPHPEHUVRQ³DFWLYHGXW\´RU³DFWLYHVHUYLFH´RUDVSRXVHRUGHSHQGHQWRIVXFKDVHUYLFHPHPEHUPD\EHHQWLWOHGWR
    FHUWDLQOHJDOSURWHFWLRQVDQGGHEWUHOLHISXUVXDQWWRWKH6HUYLFHPHPEHUV&LYLO5HOLHI$FW 86&3901-4043 
     6&5$ 


      x 5HJXODUPHPEHUVRIWKH86$UPHG)RUFHV $UP\1DY\$LU)RUFH0DULQH&RUSVDQG&RDVW
    Who May Be Entitled to Legal Protections Under the SCRA?

             *XDUG 
        x    5HVHUYHDQG 1DWLRQDO*XDUGSHUVRQQHOZKRKDYHEHHQDFWLYDWHGDQGDUHRQ)HGHUDODFWLYHGXW\
        x    1DWLRQDO*XDUGSHUVRQQHOXQGHUDFDOORURUGHUWRDFWLYHGXW\IRUPRUHWKDQFRQVHFXWLYHGD\VXQGHU
             VHFWLRQ I RIWLWOH8QLWHG6WDWHV&RGHIRUSXUSRVHVRIUHVSRQGLQJWRDQDWLRQDOHPHUJHQF\
             GHFODUHGE\WKH3UHVLGHQWDQGVXSSRUWHGE\)HGHUDOIXQGV
        x    $FWLYHVHUYLFHPHPEHUVRIWKHFRPPLVVLRQHGFRUSVRIWKH3XEOLF+HDOWK6HUYLFHDQGWKH1DWLRQDO
             2FHDQLFDQG$WPRVSKHULF$GPLQLVWUDWLRQ
        x    &HUWDLQ8QLWHG6WDWHVFLWL]HQVVHUYLQJZLWKWKHDUPHGIRUFHVRIDQDWLRQZLWKZKLFKWKH8QLWHG6WDWHV
             LVDOOLHGLQWKHSURVHFXWLRQRIDZDURUPLOLWDU\DFWLRQ

    What Legal Protections Are Servicemembers Entitled To Under the SCRA? 
        x    7KH6&5$VWDWHVWKDWDGHEWLQFXUUHGE\DVHUYLFHPHPEHURUVHUYLFHPHPEHUDQGVSRXVHMRLQWO\SULRUWR
             HQWHULQJPLOLWDU\VHUYLFHVKDOOQRWEHDULQWHUHVWDWDUDWHDERYHGXULQJWKHSHULRGRIPLOLWDU\VHUYLFHDQGRQH
             \HDUWKHUHDIWHULQWKHFDVHRIDQREOLJDWLRQRUOLDELOLW\FRQVLVWLQJRIDPRUWJDJHWUXVWGHHGRURWKHUVHFXULW\LQWKHQDWXUH
             RIDPRUWJDJHRUGXULQJWKHSHULRGRIPLOLWDU\VHUYLFHLQWKHFDVHRIDQ\RWKHUREOLJDWLRQRUOLDELOLW\
        x    7KH6&5$VWDWHVWKDWLQDOHJDODFWLRQWRHQIRUFHDGHEWDJDLQVWUHDOHVWDWHWKDWLVILOHGGXULQJRUZLWKLQRQH
             \HDUDIWHUWKHVHUYLFHPHPEHU¶VPLOLWDU\VHUYLFHDFRXUWPD\VWRSWKHSURFHHGLQJVIRUDSHULRGRIWLPHRU
             DGMXVWWKHGHEW,QDGGLWLRQWKHVDOHIRUHFORVXUHRUVHL]XUHRIUHDOHVWDWHVKDOOQRWEHYDOLGLILWRFFXUVGXULQJ
             RUZLWKLQRQH\HDUDIWHUWKHVHUYLFHPHPEHU¶VPLOLWDU\VHUYLFHXQOHVVWKHFUHGLWRUKDVREWDLQHGDYDOLGFRXUW
             RUGHUDSSURYLQJWKHVDOHIRUHFORVXUHRUVHL]XUHRIWKHUHDOHVWDWH
        x    7KH6&5$FRQWDLQVPDQ\RWKHUSURWHFWLRQVEHVLGHVWKRVHDSSOLFDEOHWRKRPHORDQV

    How Does A Servicemember or Dependent Request Relief Under the SCRA?

        x    ,QRUGHUWRUHTXHVWUHOLHIXQGHUWKH6&5$IURPORDQVZLWKLQWHUHVWUDWHVDERYHDVHUYLFHPHPEHURUVSRXVH
             PXVWSURYLGHDZULWWHQUHTXHVWWRWKHOHQGHUWRJHWKHUZLWKDFRS\RIWKHVHUYLFHPHmEHU¶VPLOLWDU\RUGHUV
             >1RWH /HQGHUVKRXOGSODFHLWVQDPHDGGUHVVDQGFRQWDFWLQIRUPDWLRQKHUH@
        x    7KHUHLVQRUHTXLUHPHQWXQGHUWKH6&5$KRZHYHUIRUDVHUYLFHPHPEHUWRSURYLGHDZULWWHQQRWLFHRUDFRS\
             RIDVHUYLFHPHPEHU¶VPLOLWDU\RUGHUVWRWKHOHQGHULQFRQQHFWLRQZLWKDIRUHFORVXUHRURWKHUGHEWHQIRUFHPHQW
             DFWLRQDJDLQVWUHDOHVWDWH 8QGHUWKHVHFLUFXPVWDQFHVOHQGHUVVKRXOGLQTXLUHDERXWWKHPLOLWDU\VWDWXVRID
             SHUVRQE\VHDUFKLQJWKH'HSDUWPHQWRI'HIHQVH¶V'HIHQVH0DQSRZHU'DWD&HQWHU¶VZHEVLWHFRQWDFWLQJWKH
             VHUYLFHPHPEHUDQGH[DPLQLQJWKHLUILOHVIRULQGLFLDRIPLOLWDU\VHUYLFH $OWKRXJKWKHUHLVQRUHTXLUHPHQWIRU
             VHUYLFHPHPEHUVWRDOHUWWKHOHQGHURIWKHLUPLOLWDU\VWDWXVLQWKHVHVLWXDWLRQVLWVWLOOLVDJRRGLGHDIRUWKH
             VHUYLFHPHPEHUWRGRVR

    How Does a Servicemember or Dependent Obtain Information About the SCRA? 

        x    6HUYLFHPHPEHUVDQGGHSHQGHQWVZLWKTXHVWLRQVDERXWWKH6&5$VKRXOGFRQWDFWWKHLUXQLW¶V-XGJH$GYRFDWHRU
             WKHLULQVWDOODWLRQ¶V/HJDO$VVLVWDQFH2IILFHU$PLOLWDU\OHJDODVVLVWDQFHRIILFHORFDWRUIRUDOOEUDQFKHVRIWKH
             $UPHG)RUFHVLVDYDLODEOHDWKWWSOHJDODVVLVWDQFHODZDIPLOFRQWHQWORFDWRUSKS


        x    ³0LOLWDU\2QH6RXUFH´LVWKH86'HSDUWPHQWRI'HIHQVH¶VLQIRUPDWLRQ UHVRXUFH,I\RXDUHOLVWHGDVHQWLWOHGWR
             OHJDOSURWHFWLRQVXQGHUWKH6&5$ VHHDERYH SOHDVHJRWRZZZPLOLWDU\RQHVRXUFHPLOOHJDORUFDOO
              WROOIUHHIURPWKH8QLWHG6WDWHV WRILQGRXWPRUHLQIRUPDWLRQ'LDOLQJLQVWUXFWLRQVIRUDUHDVRXWVLGH
             WKH8QLWHG6WDWHVDUHSURYLGHGRQWKHZHEVLWH


                                                                                                                           form HUD-92070
                                                                                                                                  (6/2017)
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TFQ?J@TFTATCG@NIJNTXABCFN?AU@NEGG?NBEJA@XCY@FEB@NEFBCNB@YET@L?REJ?@Z[\\@C]X]@EJ@CRB?J@^[\\@W]X]@=>?Y@XCY@FEB@>CJCAA@YET@LY@
TAIF_@B>J?CBA@ER@`IEG?FN?@EJ@CJJ?AB@EJ@LY@TAIF_@ELAN?F?@GCF_TC_?]@MEGG?NBEJA@XCY@FEB@TA?@RCGA?@EJ@XIAG?CQIF_@ABCB?X?FBA@EJ@NCGG@
YET@CB@aEJb@IR@B>?Y@bFEa@EJ@>C`?@J?CAEF@BE@bFEa@B>CB@YET@XCY@FEB@J?N?Ì?@W?JAEFCG@NCGGA@CB@aEJb]@HEJ@B>?@XEAB@WCJBU@
NEGG?NBEJA@XCY@FEB@B?GG@CFEB>?J@W?JAEFU@EB>?J@B>CF@YETJ@CBBEJF?Y@EJ@AWETA?U@CLETB@YETJ@Q?LB]@MEGG?NBEJA@XCY@NEFBCNB@CFEB>?J@
W?JAEF@BE@NEFRIJX@YETJ@GENCBIEF@EJ@?FREJN?@C@cTQ_X?FB]@HEJ@XEJ?@IFREJXCBIEF@CLETB@Q?LB@NEGG?NBIEF@CNBÌIBI?AU@YET@XCY@NEFBCNB@
B>?@H?Q?JCG@=JCQ?@MEXXIAAIEF@CB@deZffeH=MeghiO@jkZlemknfo@EJ@aaa]RBN]_E`]@@
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OG?CA?@FEB?[@P@NEFATX?J@>CA@B>?@JI_>B@BE@J?ST?AB@IF@aJIBIF_@B>CB@C@Q?LB@NEGG?NBEJ@EJ@NEGG?NBIEF@C_?FNY@N?CA?@RTJB>?J@
NEXXTFINCBIEF@aIB>@B>?@NEFATX?J]@P@aJIBB?F@J?ST?AB@BE@N?CA?@NEXXTFINCBIEF@aIGG@FEB@WJE>ILIB@B>?@Q?LB@NEGG?NBEJ@EJ@
NEGG?NBIEF@C_?FNY@RJEX@BCbIF_@CFY@EB>?J@CNBIEF@CTB>EJIp?Q@LY@GCa@BE@NEGG?NB@B>?@Q?LB]@
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HqD@rsHqDtP=rqs@Puqv=@=gh@MqiqDPKq@HPrD@Khu=@MqiihM=rqs@ODPM=rMhw@PM=U@whh@aaa]NEC_]_E`xNCJ]@
OG?CA?@L?@CQ`IA?Q@B>CB@YET@NCF@J?CN>@B>?@MEGEJCQE@HEJ?NGEATJ?@gEBGIF?@CB@deZffey\degqOh@jy\demyfko]@
iENCG@DTA>XEJ?@iECF@tCFC_?X?FB@w?J`IN?A@iiM@P_?FB@REJ@MEGEJCQE@D?AIQ?FBA[@
rJ`IF@uEJ?FAB?IF@
dkddd@h]@uJICJaEEQ@P`?]@wB?@zkm\@
M?FB?FFICGU@Mq@Z\ddl@
1+,4-.//.012342.415,4677/1,844.4{68865+|8,44849,81:,2484.2/;<4
sEBIN?@ER@rtOqD=Ps=@Dr}g=w[@~ET@>C`?@B>?@JI_>B@BE@XCb?@C@aJIBB?F@EJ@EJCG@J?ST?AB@B>CB@B?G?W>EF?@NCGGA@J?_CJQIF_@YETJ@
Q?LB@FEB@L?@XCQ?@BE@YET@CB@YETJ@WGCN?@ER@?XWGEYX?FB]@PFY@ATN>@EJCG@J?ST?AB@aIGG@L?@`CGIQ@REJ@EFGY@B?F@jd\o@QCYA@TFG?AA@YET@
WJE`IQ?@aJIBB?F@NEFRIJXCBIEF@ER@B>?@J?ST?AB@WEABXCJb?Q@EJ@Q?GÌ?J?Q@aIB>IF@A?`?F@jfo@QCYA@ER@ATN>@J?ST?AB]@~ET@XCY@
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DTA>XEJ?@iECF@tCFC_?X?FB@w?J`IN?A@iiM@IA@C@K?LB@MEGG?NBEJU@a>E@IA@CBB?XWBIF_@BE@NEGG?NB@C@Q?LB]@PFY@IFREJXCBIEF@ELBCIF?Q@
aIGG@L?@TA?Q@REJ@B>CB@WTJWEA?]@gEa?`?JU@IR@YET@CJ?@IF@uCFbJTWBNY@EJ@J?N?Ì?Q@C@uCFbJTWBNY@KIAN>CJ_?@ER@B>IA@Q?LBU@B>IA@G?BB?J@IA@
L?IF_@A?FB@REJ@IFREJXCBIEFCG@WTJWEA?A@EFGYU@IA@FEB@CF@CBB?XWB@BE@NEGG?NB@C@Q?LB@CFQ@QE?A@FEB@NEFABIBTB?@C@FEBIN?@ER@W?JAEFCG@
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L?IF_@A?FB@REJ@IFREJXCBIEF@WTJWEA?A@EFGY@CFQ@QE?A@FEB@NEFABIBTB?@W?JAEFCG@GICLIGIBY@aIB>@J?AW?NB@BE@B>?@Q?LB]@

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                    Approved housing counseling agencies located in New York
                                          by County

  COUNTY        AGENCY                       ADDRESS                           CONTACT INFO       NOTES

  Albany        Affordable Housing           255 Orange St., Albany, NY        518-434-1730       HOPP
                Partnership                  12210                                                Also serves
                                                                                                  surrounding areas

                Albany County Rural          24 Martin Road,                   518-765-2425       HOPP
                Housing Alliance             Voorheesville, NY 12186                              Also serves
                                                                                                  surrounding areas

                United Tenants of Albany     33 Clinton Ave., Albany,          518-436-8997       HOPP
                                             NY 12207                                             For tenants whose
                                                                                                  buildings are in the
                                                                                                  process of foreclosure
                                                                                                  or have been
                                                                                                  foreclosed on

                Better Neighborhoods,        986 Albany St.,                   518-372-6469       HOPP
                Inc.                         Schenectady, NY 12307                                Spanish speaking staff
                                                                                                  available

                Clearpoint Credit            2 Computer Drive West,            1-800-750-2227     Formerly known as
                Counseling Solutions         Albany, NY 12205                                     Consumer Credit
                                                                                                  Counseling Service

                NYS Office For People        44 Holland Ave. Albany,           518-473-1973       Serving all NYS
                With Developmental           NY 12229                                             residents with
                Disabilities (OPWDD)                                                              developmental
                                                                                                  disabilities and their
                                                                                                  families

  Allegany      ACCORD                       84 Schuyler St., Belmont,         585-268-7605       HOPP
                                             NY 14813

                Neighborhood Housing         1937 South Park Ave.              716-823-3630       Also serving
                Services of Buffalo          Buffalo, NY 14220                                    surrounding counties

  Bronx         Neighborhood Housing         848 Concourse Village             718-992-5979       HOPP
                Services- South Bronx        West, Bronx, NY 10451                                Spanish speaking staff
                                                                                                  available

                Neighborhood Housing         1451 East Gun Hill Rd.,           718-881-1180       HOPP
                Services- North Bronx        Bronx, NY 10469                                      Spanish speaking staff
                                                                                                  available

                Parodneck Foundation         121 6th Ave., Suite 501           212-431-9700 ext   HOPP
                                             New York, NY 10013                391                Spanish speaking staff
                                                                                                  available

                MHANY Management,            1 Metro Tech Center North         718-246-8080 ext   HOPP
                Inc.                         11th Floor, Brooklyn, NY          203                Spanish speaking staff
                                             11201                                                available

                Brooklyn Housing and         415 Albemarle Rd.,                718-435-7585       HOPP
                Family Services, Inc.        Brooklyn, NY 11218                                   Spanish and French


                                             Rushmore Loan Management Services LLC
                                           15480 Laguna Canyon Rd. #100, Irvine, CA 92618
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                                                                                                    Creole speaking staff
                                                                                                    available

                Grow Brooklyn, Inc.           1474 Myrtle Ave.,                 718-418-8232 ext.   HOPP
                                              Brooklyn, NY 11237                206                 Spanish and Bengali
                                                                                                    speaking staff
                                                                                                    available

                NYC Commission on             1932 Arthur Avenue, Room          718-579-6728 OR     Spanish speaking staff
                Human Rights                  203A, Bronx, NY 10457             718-579-6900        available

  Broome        Metro Interfaith Housing      21 New St., Binghamton,           607-772-6766        HOPP
                Council                       NY 13903

                Clearpoint Credit             The Metro Center, 49 Court        1-800-750-2227
                Counseling Solutions          St., Binghamton, NY 13901

  Cattaraugus   Chautauqua Opportunities,     402 Chandler St.,                 716-661-9430        HOPP
                Inc.                          Jamestown, NY 14701

                ACCORD                        84 Schuyler St., Belmont,         585-268-7605        HOPP
                                              NY 14813

                Neighborhood Housing          1937 South Park Ave.,             716-823-3630
                Services of South Buffalo     Buffalo, NY 14220

  Cayuga        Home Headquarters, Inc.       990 James St., Suite 1,           315-474-1939        HOPP
                                              Syracuse NY 13203                                     Spanish speaking staff
                                                                                                    available

                Clearpoint Financial          5794 Widewaters Parkway,          1-877-412-2227      Formerly known as
                Solutions                     Syracuse, NY 13214                                    Consumer Credit
                                                                                                    Counseling Service of
                                                                                                    Central NY

  Chautauqua    Chautauqua Opportunities,     402 Chandler St.,                 716-661-9430        HOPP
                Inc.                          Jamestown, NY 14701

                Chautauqua Home               2 Academy St., Mayville,          716-753-4650        Spanish speaking staff
                Rehabilitation and            NY 14757                                              available
                Improvement Corp.
                (CHRIC)

                Neighborhood Housing          1937 South Park Ave.,             716-823-3630
                Services of South Buffalo     Buffalo, NY 14220

  Chemung       Arbor Housing and             26 Bridge St., Corning, NY        607-654-7487        HOPP
                Development                   14830

                Catholic Charities of         215 East Church St., Suite        607-734-9784        HOPP
                Chemung                       101, Elmira, NY 14901

  Chenango      Metro Interfaith Housing      21 New St., Binghamton,           607-772-2766        HOPP
                Council                       NY 13903

                Clearpoint Credit             The Metro Center, 49 Court        1-800-750-2227
                Counseling Solutions          St., Binghamton, NY 13901

  Clinton       Friends of the North          1 Mill St., Keeseville, NY        518-834-9606        HOPP
                Country                       12944




                                              Rushmore Loan Management Services LLC
                                            15480 Laguna Canyon Rd. #100, Irvine, CA 92618
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                Housing Assistance            103 Hand Ave.,                    518-873-6888           HOPP
                Program of Essex County       Elizabethtown, NY 12932
                (HAPEC)

  Columbia      Housing Resources of          252 Columbia St., Hudson,         518-822-0707           HOPP
                Columbia County, Inc.         NY 12534

  Cortland      Home Headquarters, Inc.       990 James St., Suite 1,           315-474-1939           HOPP
                                              Syracuse NY 13203                                        Spanish speaking staff
                                                                                                       available

                Cortland Housing              36 Taylor St. Cortland, NY        607-753-8271
                Assistance Council, Inc.      13045

                Clearpoint Credit             The Metro Center, 49 Court        1-800-750-2227
                Counseling Solutions          St., Binghamton, NY 13901

                Western Catskills             125 Main St., Suite A,            607-652-2823           HOPP
                Community Revitilization      Stamford, NY 12167
                Council

  Delaware      RUPCO                         301 Fair St. Kingston, NY         845-331-9860           HOPP
                                              12401                                                    Spanish speaking staff
                                                                                                       available

                Delaware Opportunities,       35430 State Hgwy. 10              607-746-1650
                Inc.                          Hamden, NY 13782

                Clearpoint Credit             The Metro Center, 49 Court        1-800-750-2227
                Counseling Solutions          St., Binghamton, NY 13901

  Dutchess      Hudson River Housing          291 Mill St Poughkeepsie,         845-454-9288           HOPP
                                              NY 12601

                Putnam County Housing         11 Seminary Hill Rd.,             845-225-8493
                Corp.                         Carmel, NY 10512

  Erie          Belmont Housing               1195 Main St. Buffalo, NY         716-884-7791           HOPP
                Resources                     14209

                West Side & Black Rock        359 Connecticut St.,              Tuesdays and           HOPP
                Riverside NHS, Inc.           Buffalo, NY 14213                 Wednesdays at (716)
                                                                                885-2344, Thursdays
                                                                                and Fridays at (716)
                                                                                877-3910

                Buffalo Urban League          15 Genesee Street                 (716) 250-2400         HOPP
                                              Buffalo, NY 14203

                Chautauqua Opportunities,     402 Chandler St.,                 716-661-9430           HOPP
                Inc.                          Jamestown, NY 14701

                Consumer Credit               40 Gardenville Parkway,           1-800-926-9685 or      HOPP
                Counseling Services of        Suite 300, West Seneca, NY        716-712-2060
                Buffalo, Inc.                 14224

                Neighborhood Assistance       135 Delaware Ave Ste 102          716-834-6222
                Corp. of America              Buffalo, New York 14202-
                                              2410

                Neighborhood Housing          1937 South Park Ave.,             716-823-3630



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                Services of South Buffalo     Buffalo, NY 14220

  Essex         Friends of the North          1 Mill St., Keeseville, NY        518-834-9606        HOPP
                Country                       12944

                Housing Assistance            103 Hand Ave.,                    518-873-6888        HOPP
                Program of Essex County       Elizabethtown, NY 12932
                (HAPEC)

                Homefront Development         568 Lower Allen St.,              518-747-8250
                Corp.                         Hudson Falls, NY 12839

  Franklin      Friends of the North          1 Mill St., Keeseville, NY        518-834-9606        HOPP
                Country                       12944

                Housing Assistance            103 Hand Ave.,                    518-873-6888        HOPP
                Program of Essex County       Elizabethtown, NY 12932
                (HAPEC)

                Franklin County               337 West Main St. Malone,         (518) 483-5934      HOPP
                Community Housing             NY 12953
                Council Inc.

                Clearpoint Credit             215 Washington St. Suite          1-800-750-2227
                Counseling Solutions          005, Watertown, NY 13601

  Fulton        Better Neighborhoods,         986 Albany St.,                   518-372-6469        HOPP
                Inc.                          Schenectady, NY 12307

                UNHS NeighborWorks            1611 Genesee Street, Utica,       315-724-4197        HOPP
                Homeownership Center          NY 13501

  Genesee       The Housing Council           75 College Ave., 4th Floor,       585-546-3700 ext.   HOPP
                                              Rochester, NY 14607               3015

                Consumer Credit               1000 University Ave., Suite       1-888-724-2227      HOPP
                Counseling Services of        900 Rochester, NY 14607
                Rochester, Inc.

                Belmont Housing               1195 Main St., Buffalo, NY        716-884-7791        HOPP
                Resources                     14209

                Consumer Credit               40 Gardenville Parkway,           1-800-926-9685 or
                Counseling Services of        Suite 300, West Seneca, NY        716-712-2060
                Buffalo, Inc.                 14224

  Greene        Albany County Rural           24 Martin Road,                   518-765-2425        HOPP
                Housing Alliance              Voorheesville, NY 12186

                RUPCO                         301 Fair St. Kingston, NY         845-331-9860        HOPP
                                              12401                                                 Spanish speaking staff
                                                                                                    available

                Western Catskills             125 Main St., Suite A,            607-652-2823
                Community Revitilization      Stamford, NY 12167
                Council

                Clearpoint Credit             2 Computer Drive West,            1-800-750-2227      Formerly known as
                Counseling Solutions          Albany, NY 12205                                      Consumer Credit
                                                                                                    Counseling Service of
                                                                                                    Central NY



                                              Rushmore Loan Management Services LLC
                                            15480 Laguna Canyon Rd. #100, Irvine, CA 92618
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  Hamilton      Housing Assistance           103 Hand Ave.,                    518-873-6888     HOPP
                Program of Essex County      Elizabethtown, NY 12932
                (HAPEC)

                Clearpoint Credit            289 Genesee St., Utica, NY        1-800-750-2227
                Counseling Solutions         13501

                Homefront Development        568 Lower Allen St.,              518-747-8250
                Corp.                        Hudson Falls, NY 12839

  Herkimer      UNHS NeighborWorks           1611 Genesee Street, Utica,       315-724-4197     HOPP
                Homeownership Center         NY 13501

                Clearpoint Credit            289 Genesee St., Utica, NY        1-800-750-2227
                Counseling Solutions         13501

  Jefferson     Home Headquarters, Inc.      990 James St., Suite 1,           315-474-1939     HOPP
                                             Syracuse NY 13203                                  Spanish speaking staff
                                                                                                available

                Clearpoint Credit            215 Washington St. Suite          1-800-750-2227
                Counseling Solutions         005, Watertown, NY 13601

  Kings         Cypress Hills Local Dev.     625 Jamaica Avenue,               718-647-2800     HOPP
                Corp.                        Brooklyn, NY 11208                                 Spanish speaking staff
                                                                                                available

                Pratt Area Community         1000 Dean St., Brooklyn,          718-522-2613     HOPP
                Council                      NY 11238

                Grow Brooklyn, Inc.          1474 Myrtle Ave.,                 718-418-8232     HOPP
                                             Brooklyn, NY 11237                                 Spanish and Bengali
                                                                                                speaking staff
                                                                                                available

                Bridge Street Dev. Corp.     460 Nostrand Ave.,                718-636-7596     HOPP
                                             Brooklyn, NY 11216                                 Spanish Speaking
                                                                                                staff available

                MHANY Management,            1 Metro Tech Center North         718-246-8080     HOPP
                Inc.                         11th Floor, Brooklyn, NY                           Spanish speaking staff
                                             11201                                              available

                Neighbors Helping            621 Degraw St., Brooklyn,         718-237-2017     HOPP
                Neighbors (NHN)              NY 11217                                           Spanish speaking staff
                                                                                                available

                Brooklyn Housing and         415 Albemarle Rd.,                718-435-7585     HOPP
                Family Services, Inc.        Brooklyn, NY 11218                                 Spanish and French
                                                                                                Creole speaking staff
                                                                                                available

                Parodneck Foundation         121 6th Ave., Suite 501           212-431-9700     HOPP
                                             New York, NY 10013                                 Spanish speaking staff
                                                                                                available

                Neighborhood Housing         1012 Gates Ave., 2nd Floor,       718-919-2100     HOPP
                Services of Bedford-         Brooklyn, NY 11221
                Stuyvesant

                CAMBA                        1720 Church Ave., 2nd             718-287-0010     HOPP



                                             Rushmore Loan Management Services LLC
                                           15480 Laguna Canyon Rd. #100, Irvine, CA 92618
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                                               Floor, Brooklyn, NY 11226

                Neighborhood Housing           2806 Church Ave.,                 718-469-4679       HOPP
                Services- East Flatbush        Brooklyn, NY 11226                                   Spanish speaking staff
                                                                                                    available

                Greater Sheepshead Bay         2105 East 22nd St.,               718-332-0520
                Dev. Corp.                     Brooklyn, NY 11229

                Southern Brooklyn              4006 18th Ave., Brooklyn,         718-435-1300
                Community Organization         NY 11218

                Brooklyn Neighborhood          1482 Saint James Pl., Suite       718-773-4116
                Improvement Association        1C, Brooklyn, NY 11213

                Council of Jewish              1523 Avenue M, Brooklyn,          718-377-2900 ext   Arabic, Russian and
                Organizations of Flatbush,     NY 11230                          7625               Spanish speaking staff
                Inc.                                                                                available

                Money Management               26 Court St., Suite 2610,         1-866-232-9080     Spanish speaking staff
                International, Inc.            Brooklyn, NY 11242                                   available

                GreenPath Debt Solutions       175 Remsen St., Suite 1102,       866-285-4033
                                               Brooklyn, NY 11201

                NY Commission of               275 Livingston St.,               718-722-3130       Spanish speaking staff
                Human Rights- Brooklyn         Brooklyn, NY 11217                                   available

  Lewis         Home Headquarters, Inc.        990 James St., Suite 1,           315-474-1939       HOPP
                                               Syracuse NY 13203

                Clearpoint Credit              215 Washington St. Suite          1-800-750-2227
                Counseling Solutions           005, Watertown, NY 13601

  Livingston    Consumer Credit                1000 University Ave., Suite       1-888-724-2227     HOPP
                Counseling Services of         900 Rochester, NY 14607
                Rochester, Inc.

                The Housing Council            75 College Ave., 4th Floor,       585-546-3700       HOPP
                                               Rochester, NY 14607

  Madison       Home Headquarters, Inc.        990 James St., Suite 1,           315-474-1939       HOPP
                                               Syracuse NY 13203                                    Spanish speaking staff
                                                                                                    available

                UNHS NeighborWorks             1611 Genesee Street, Utica,       315-724-4197       HOPP
                Homeownership Center           NY 13501

                Community Action               3 East Main St., Morrisville,     315-684-3144       ASL trained staff
                Program for Madison            NY 13408                                             available
                County

                Clearpoint Credit              289 Genesee St., Utica, NY        1-800-750-2227
                Counseling Solutions           13501

  Monroe        Consumer Credit                1000 University Ave., Suite       1-888-724-2227     HOPP
                Counseling Services of         900 Rochester, NY 14607
                Rochester, Inc.

                Marketview Heights             308 North Street, Rochester,      585-423-1540       HOPP
                Association                    NY 14605



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                                             15480 Laguna Canyon Rd. #100, Irvine, CA 92618
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                The Housing Council          75 College Ave., 4th Floor,       585-546-3700          HOPP
                                             Rochester, NY 14607

                Urban League of              265 North Clinton Ave.,           585-325-6530
                Rochester                    Rochester, NY

  Montgomery    Better Neighborhoods,        986 Albany St.,                   518-372-6469          HOPP
                Inc.                         Schenectady, NY 12307                                   Spanish speaking staff
                                                                                                     available

                UNHS NeighborWorks           1611 Genesee Street, Utica,       315-724-4197          HOPP
                Homeownership Center         NY 13501

  Nassau        American Debt Resources,     248C Larkfield Road, East         1-800-498-0766        HOPP
                Inc.                         Northport, NY 11731                                     Spanish speaking staff
                                                                                                     available

                Community Development        333 No Main St., Freeport,        631-471-1215 x158     HOPP
                Corporation of Long          NY 11520                                                Spanish speaking staff
                Island                                                                               available

                Hispanic Brotherhood of      59 Clinton Ave., Rockville        516-766-6610          HOPP
                Rockville Centre, Inc.       Centre, NY 11570                                        Spanish speaking staff
                                                                                                     available

                La Fuerza Unida, Inc.        1 School St., Suite 302,          516-759-0788          HOPP
                                             Glen Cove, NY 11542                                     Spanish speaking staff
                                                                                                     available

                LIFE, Inc.                   112 Spruce St., Cedarhurst,       516-374-4564          HOPP
                                             NY 11516                                                Spanish speaking staff
                                                                                                     available

                Long Island Housing          180 Oser Ave.,                    631-435-4710          HOPP
                Partnership, Inc.            Hauppaugue, NY 11788                                    Spanish speaking staff
                                                                                                     available

                Long Island Housing          640 Johnson Ave., Suite 8,        631-567-5111 x383     HOPP
                Services, Inc.               Bohemia, NY 11716                                       Spanish speaking staff
                                                                                                     available

                Rockaway Development         1920 Mott Ave. Rm #2, Far         718-327-5300          HOPP
                and Revitilization Corp      Rockaway, NY 11691                                      funded in NYC Serves
                                                                                                     Western Nassau

                CHHAYA                       37-43 77th St., Jackson           718-478-3848          HOPP
                                             Heights, NY 11372                                       funded in NYC
                                                                                                     Southeast Asian
                                                                                                     speaking Counselors
                                                                                                     on staff

                GreenPath Debt Solutions     300 Garden City Plaza,            888-776-6738          HOPP
                                             Suite 220 Garden City, NY
                                             11530

                Debt Counseling Corp.        3033 Express Dr. N,               1-888-354-6332 ext.   HOPP
                                             Hauppauge, NY 11749               316                   Spanish speaking staff
                                                                                                     available

                Safeguard Credit             67 Salonga Rd. Northport,         1-800-673-6933        HOPP
                Counseling, Inc.             NY 11768                                                Spanish speaking staff



                                             Rushmore Loan Management Services LLC
                                           15480 Laguna Canyon Rd. #100, Irvine, CA 92618
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                                                                                                       available

  New York      MHANY Management,             1 Metro Tech Center North         718-246-8080           HOPP
                Inc.                          11th Floor, Brooklyn, NY                                 Spanish speaking staff
                                              11201                                                    available

                Grow Brooklyn, Inc.           1474 Myrtle Ave.,                 718-418-8232           HOPP
                                              Brooklyn, NY 11237                                       Spanish and Bengali
                                                                                                       speaking staff
                                                                                                       available

                Parodneck Foundation          121 6th Ave., Suite 501           212-431-9700           HOPP
                                              New York, NY 10013                                       Spanish speaking staff
                                                                                                       available

                AAFE Community                111 Division St., New York,       212-964-2288           Chinese and Korean
                Development Fund, Inc.        NY 10002                                                 speaking staff
                                                                                                       available

                Abyssinian Development        2283 7th Avenue, New              646-442-6545
                Corp.                         York, NY 10030

                Neighborhood Housing          307 West 36th St., 12th           212-519-2500           Spanish and Creole
                Services of NYC               floor, New York, NY 10018                                speaking staff
                                                                                                       available

                Harlem Congregations for      2854 Frederick Douglass           212-281-4887 ext.      Spanish speaking staff
                Community Development         Blvd., New York, NY 10039         206 or 231             available

                West Harlem Group             1652 Amsterdam Ave. New           212-862-1399
                Assistance, Inc.              York, NY 10031

                GreenPath Debt Solutions      One Penn Plaza, Suite 2108,       866-285-4059
                                              New York, NY 10119

  Niagara       Belmont Housing               1195 Main St., Buffalo, NY        716-884-7791           HOPP
                Resources                     14209

                West Side & Black Rock        203 Military Rd., Buffalo,        Tuesdays and           HOPP
                Riverside NHS, Inc.           NY 14207                          Wednesdays at (716)
                                                                                885-2344, Thursdays
                                                                                and Fridays at (716)
                                                                                877-3910

                Neighborhood Housing          1937 South Park Ave.,             716-823-3630
                Services of South Buffalo     Buffalo, NY 14220

  Oneida        UNHS NeighborWorks            1611 Genesee Street, Utica,       315-724-4197           HOPP
                Homeownership Center          NY 13501

                Clearpoint Credit             5794 Widewaters Parkway,          1-800-750-2227
                Counseling Solutions          Syracuse, NY 13214

                Northeast Hawley              101 Gertrude St., Syracuse,       315-425-1032
                Development Corp.             NY 13202

  Onondaga      Home Headquarters, Inc.       990 James St., Suite 1,           315-474-1939           HOPP
                                              Syracuse NY 13203                                        Spanish speaking staff
                                                                                                       available

                Clearpoint Credit             5794 Widewaters Parkway,          1-800-750-2227



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                Counseling Solutions          Syracuse, NY 13214

                Cooperative Federal           800 N. Salina St., Syracuse,      315-476-5290     Service for credit
                Credit Union                  NY 13208                                           union members only

  Ontario       Consumer Credit               1000 University Ave., Suite       1-888-724-2227   HOPP
                Counseling Services of        900 Rochester, NY 14607
                Rochester, Inc.

                Community Action in Self      48 Water St., Lyons, NY           315-946-6992     HOPP
                Help                          14489

                Keuka Housing Council         160 Main St. Penn Yan, NY         315-536-8707     HOPP
                                              14527

  Orange        Hudson River Housing          291 Mill St Poughkeepsie,         845-454-9288     HOPP
                                              NY 12601

                Orange County Rural           59b Boniface Drive, Pine          845-713-4568     HOPP
                Development Advisory          Bush, NY 12566
                Corp.

  Orleans       Belmont Housing               1195 Main St., Buffalo, NY        716-884-7791     HOPP
                Resources                     14209

                The Housing Council           75 College Ave., 4th Floor,       585-546-3700     HOPP
                                              Rochester, NY 14607

                Consumer Credit               1000 University Ave., Suite       1-888-724-2227   HOPP
                Counseling Service of         900 Rochester, NY 14607
                Rochester, Inc.

  Oswego        Fulton Community              125 West Broadway, Fulton,        315-593-7166     HOPP
                Development Agency            NY 13069

                Oswego Housing                2971 County Rte. 26, Parish,      315-625-4520
                Development Council, Inc.     NY 13131

                Clearpoint Credit             5794 Widewaters Parkway,          1-800-750-2227
                Counseling Solutions          Syracuse, NY 13214

  Otsego        UNHS NeighborWorks            1611 Genesee Street, Utica,       315-724-4197     HOPP
                Homeownership Center          NY 13501

                Clearpoint Creidt             The Metro Center, 49 Court        1-800-750-2227
                Counseling Solutions          St., Binghamton, NY 13901

  Putnam        Housing Action Council        55 South Broadway,                914-332-4144     HOPP
                                              Tarrytown, NY 10591

                Putnam County Housing         11 Seminary Hill Rd.,             845-225-8493     HOPP
                Corp.                         Carmel, NY 10512

  Queens        Neighborhood Housing          60-20 Woodside Ave.,              718-457-1017     HOPP
                Services of Northern          Flushing, NY 11377                                 Spanish and French
                Queens                                                                           Creole speaking staff
                                                                                                 available




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                Neighborhood Housing         89-70 162nd St., Jamaica,         718-291-7400     HOPP
                Services- Jamaica            NY 11432                                           Spanish speaking staff
                                                                                                available

                CHHAYA                       37-43 77th St., Jackson           718-478-3848     HOPP
                                             Heights, NY 11372                                  Southeast Asian
                                                                                                speaking Counselors
                                                                                                on staff

                Rockaway Development         1920 Mott Ave., Second            718-327-5300     HOPP
                and Revitilization Corp      Floor, Far Rockaway, NY
                                             11691

                Parodneck Foundation         121 6th Ave., Suite 501           212-431-9700     HOPP
                                             New York, NY 10013                                 Spanish speaking staff
                                                                                                available

                MHANY Management,            1 Metro Tech Center North         718-246-8080     HOPP
                Inc.                         11th Floor, Brooklyn, NY                           Spanish speaking staff
                                             11201                                              available

                Brooklyn Housing and         415 Albemarle Rd.,                718-435-7585     HOPP
                Family Services, Inc.        Brooklyn, NY 11218                                 Spanish and French
                                                                                                Creole speaking staff
                                                                                                available

                NY Commission of             153-01 Jamaica Ave.               718-657-2465     Spanish speaking staff
                Human Rights- Queens         Jamaica, NY 11432                                  available

                GreenPath Debt Solutions     80-02 Kew Gardens Road,           866-285-4036
                                             Suite 710 Kew Gardens, NY
                                             11415-3607

                Margert Community            325 Beach 37th Street Far         718-471-3724
                Corporation                  Rockaway, NY 11691

                Queens Community House       108-25 62nd Drive, Forest         718-592-5757
                                             Hills, NY 11375

  Rensselaer    Troy Rehabilitation and      415 River St., Troy, NY           518-690-0020     HOPP
                Improvement Program          12180
                (TRIP)

                United Tenants of Albany     33 Clinton Ave., Albany,          518-436-8997     HOPP
                                             NY 12207                                           For tenants whose
                                                                                                buildings are in
                                                                                                process of being
                                                                                                foreclosed or whose
                                                                                                building has been
                                                                                                foreclosed

                Albany County Rural          24 Martin Road,                   518-765-2425     HOPP
                Housing Alliance             Voorheesville, NY 12186

                Affordable Housing           255 Orange St., Albany, NY        518-434-1730     HOPP
                Partnership                  12210

                Clearpoint Credit            2 Computer Drive West,            1-800-750-2227   Formerly known as
                Counseling Solutions         Albany, NY 12205                                   Consumer Credit
                                                                                                Counseling Service of
                                                                                                Central NY


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  Richmond      Northfield Community           160 Heberton Ave. Staten          718-442-7351     HOPP
                Local Dev. Corp. of Staten     Island, NY 10302
                Island

                MHANY Management,              1 Metro Tech Center North         718-246-8080     HOPP
                Inc.                           11th Floor, Brooklyn, NY                           Spanish speaking staff
                                               11201                                              available

                Parodneck Foundation           121 6th Ave., Suite 501           212-431-9700     HOPP
                                               New York, NY 10013                                 Spanish speaking staff
                                                                                                  available

                Neighborhood Housing           770 Castleton Ave., Staten        718-442-8080     HOPP
                Services, Staten Island        Island, NY 10310                                   Spanish speaking staff
                                                                                                  available

                NYC Commission on              60 Bay St. 7th Floor, Staten      718-390-8506     Spanish speaking staff
                Human Rights- Staten           Island, NY 10301                                   available
                Island

  Rockland      Housing Action Council         55 South Broadway,                914-332-4144     HOPP
                                               Tarrytown, NY 10591

                Rockland Housing Action        120-126 North Main St.,           845-708-5799     HOPP
                Coalition                      Annex-First Floor, New                             Spanish, Creole,
                                               City, NY 10956                                     Hebrew, and ASL
                                                                                                  speaking staff
                                                                                                  available

  Saratoga      Albany County Rural            24 Martin Road,                   518-765-2425     HOPP
                Housing Alliance               Voorheesville, NY 12186

                Affordable Housing             255 Orange St., Albany, NY        518-434-1730     HOPP
                Partnership                    12210

                Troy Rehabilitation and        415 River St., Troy, NY           518-690-0020     HOPP
                Improvement Program            12180                                              Serving residents of
                (TRIP)                                                                            Southern Saratoga
                                                                                                  County

                Better Neighborhoods,          986 Albany St.,                   518-372-6469     HOPP
                Inc.                           Schenectady, NY 12307                              Spanish speaking staff
                                                                                                  available

                Clearpoint Credit              2 Computer Drive West,            1-800-750-2227   Formerly known as
                Counseling Solutions           Albany, NY 12205                                   Consumer Credit
                                                                                                  Counseling Service of
                                                                                                  Central NY

                Homefront Development          568 Lower Allen St.,              518-747-8250     Serving residents of
                Corp.                          Hudson Falls, NY 12839                             Northern Saratoga
                                                                                                  County

  Schenectady   Better Neighborhoods,          986 Albany St.,                   518-372-6469     HOPP
                Inc.                           Schenectady, NY 12307                              Spanish speaking staff
                                                                                                  available

                Affordable Housing             255 Orange St., Albany, NY        518-434-1730     HOPP
                Partnership                    12210

                Albany County Rural            24 Martin Road,                   518-765-2425     HOPP



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                Housing Alliance             Voorheesville, NY 12186

                Schenectady Community        913 Albany St.,                   518-374-9181     For tenants whose
                Action Program (SCAP)        Schenectady, NY 12307                              buildings are in
                                                                                                process of being
                                                                                                foreclosed or whose
                                                                                                building has been
                                                                                                foreclosed

                Clearpoint Credit            2 Computer Drive West,            1-800-750-2227   Formerly known as
                Counseling Solutions         Albany, NY 12205                                   Consumer Credit
                                                                                                Counseling Service of
                                                                                                Central NY

  Schoharie     Albany County Rural          24 Martin Road,                   518-765-2425     HOPP
                Housing Alliance             Voorheesville, NY 12186

                Western Catskills            125 Main St., Suite A,            607-652-2823
                Community                    Stamford, NY 12167
                RevitilizationCouncil

                Clearpoint Credit            2 Computer Drive West,            1-800-750-2227   Formerly known as
                Counseling Solutions         Albany, NY 12205                                   Consumer Credit
                                                                                                Counseling Service of
                                                                                                Central NY

  Schuyler      Arbor Housing and            26 Bridge St., Corning, NY        607-654-7487     HOPP
                Development                  14830

                Catholic Charities of        215 East Church St., Suite        607-734-9784     HOPP
                Chemung                      101, Elmira, NY 14901

  Seneca        The Housing Council          75 College Ave., 4th Floor,       585-546-3700     HOPP
                                             Rochester, NY 14607

                Community Action in Self     48 Water St., Lyons, NY           315-946-6992     HOPP
                Help                         14489

  St.           Housing Assistance           103 Hand Ave.,                    518-873-6888     HOPP
  Lawrence      Program of Essex County      Elizabethtown, NY 12932
                (HAPEC)

                North Country Housing        19 Main St., Canton, NY           315-386-8576
                Council                      13617

                Clearpoint Credit            215 Washington St. Suite          1-800-750-2227
                Counseling Solutions         005, Watertown, NY 13601

  Steuben       Arbor Housing and            26 Bridge St., Corning, NY        607-654-7487     HOPP
                Development                  14830

                Accord                       84 Schuyler St., Belmont,         585-268-7605     HOPP
                                             NY 14813

                Catholic Charities of        215 East Church St., Suite        607-734-9784     HOPP
                Chemung                      101, Elmira, NY 14901

  Suffolk       American Debt Resources,     248C Larkfield Road, East         1-800-498-0766   HOPP
                Inc.                         Northport, NY 11731                                Spanish speaking staff
                                                                                                available




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                Community Development           2100 Middle Country Rd.,          631-471-1215 ext.     HOPP
                Corporation of Long             Suite 300, Centereach NY          158                   Spanish speaking staff
                Island                          11720                                                   available

                Economic Opportunity            320 Carleton Avenue Suite         631-647-3765 x 1204   HOPP
                Council of Suffolk, Inc.        7800 Central Islip NY             or 1205
                                                11722

                La Fuerza Unida, Inc.           1 School St., Suite 302,          516-759-0788          HOPP
                                                Glen Cove, NY 11542                                     Spanish speaking staff
                                                                                                        available

                Long Island Housing             180 Oser Ave.,                    631-435-4710          HOPP
                Partnership, Inc.               Hauppaugue, NY 11788                                    Spanish speaking staff
                                                                                                        available

                Long Island Housing             640 Johnson Ave., Suite 8,        631-567-5111 x383     HOPP
                Services, Inc.                  Bohemia, NY 11716                                       Spanish speaking staff
                                                                                                        available

                CHHAYA                          37-43 77th St., Jackson           718-478-3848          HOPP
                                                Heights, NY 11372                                       funded for NYC
                                                                                                        Southeast Asian
                                                                                                        speaking Counselors
                                                                                                        on staff

                Central Islip Civic Council     68 Wheeler Rd. Central            631-348-0669          HOPP
                                                Islip, NY 11722                                         Spanish speaking staff
                                                                                                        available

                Debt Counseling Corp.           3033 Express Dr. N,               1-888-354-6332 ext.   HOPP
                                                Hauppauge, NY 11749               316                   Spanish speaking staff
                                                                                                        available

                Greenpath                       1300 Veterans Memorial            888-776-6738          HOPP
                                                Highway, Suite 305,
                                                Hauppaugue NY 11788

                Safeguard Credit                67 Salonga Rd. Northport,         1-800-673-6933        HOPP
                Counseling, Inc.                NY 11768                                                Spanish speaking staff
                                                                                                        available

                Housing Help, Inc.              91-101 Broadway, Suite 6,         631-754-0373
                                                Greenlawn NY 11740

                North Fork Housing              110 South St., Greenport,         631-477-1070
                Alliance                        NY 11944

                Bellport, Hagerman, East        1492 Montauk Highway,             631-286-9236
                Patchogue Alliance, Inc.        Bellport, NY 11713

                Wyandanch Community             59 Cumberbach St.                 631-253-0139 OR       Only serves part of
                Development                     Wyandanch, NY 11798               631-643-4786          Western Suffolk

  Sullivan      RUPCO                           301 Fair St. Kingston, NY         845-331-9860          HOPP
                                                12401                                                   Spanish speaking staff
                                                                                                        available

                Rural Sullivan Housing          6 Pelton St. Monticello, NY       845-794-0348
                Corp.                           12701




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  Tioga         Catholic Charities of        215 East Church St., Suite        607-734-9784     HOPP
                Chemung                      101, Elmira, NY 14901

                Metro Interfaith Housing     21 New St., Binghamton,           607-772-6766     HOPP
                Council                      NY 13903

                Clearpoint Financial         The Metro Center, 49 Court        877-412-2227
                Solutions                    St., Binghamton, NY 13901

  Tompkins      Catholic Charities of        215 East Church St., Suite        607-734-9784     HOPP
                Chemung                      101, Elmira, NY 14901

  Ulster        RUPCO                        301 Fair St. Kingston, NY         845-331-9860     HOPP
                                             12401                                              Spanish speaking staff
                                                                                                available

  Warren        Housing Assistance           103 Hand Ave.,                    518-873-6888     HOPP
                Program of Essex County      Elizabethtown, NY 12932
                (HAPEC)

                Albany County Rural          24 Martin Road,                   518-765-2425     HOPP
                Housing Alliance             Voorheesville, NY 12186

                Clearpoint Financial         2 Computer Drive West,            1-877-412-2227   Formerly known as
                Solutions                    Albany, NY 12205                                   Consumer Credit
                                                                                                Counseling Service of
                                                                                                Central NY

                Homefront Development        568 Lower Allen St.,              518-747-8250
                Corp.                        Hudson Falls, NY 12839

  Washington    Housing Assistance           103 Hand Ave.,                    518-873-6888     HOPP
                Program of Essex County      Elizabethtown, NY 12932
                (HAPEC)

                Albany County Rural          24 Martin Road,                   518-765-2425     HOPP
                Housing Alliance             Voorheesville, NY 12186

                Homefront Development        568 Lower Allen St.,              518-747-8250
                Corp.                        Hudson Falls, NY 12839

  Wayne         Community Action in Self     48 Water St., Lyons, NY           315-946-6992     HOPP
                Help                         14489

                Keuka Housing Council        160 Main St. Penn Yan, NY         315-536-8707     HOPP
                                             14527

                Consumer Credit              50 Chestnut Plaza,                1-888-724-2227   HOPP
                Counseling Service of        Rochester, NY 14604
                Rochester, Inc.

  Westchester   Community Housing            75 South Broadway, Ste 340        914-683-1010     HOPP
                Innovations, Inc.            White Plains, NY 10601

                Housing Action Council       55 South Broadway,                914-332-4144     HOPP
                                             Tarrytown, NY 10591

                Human Development            28 Adee St. Port Chester,         914-939-2005     HOPP
                Services of Westchester,     NY 10573                                           Spanish speaking
                Inc.                                                                            counselors available




                                             Rushmore Loan Management Services LLC
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                Westchester Residential      470 Mamaroneck Ave.,              914-428-4507 OR   HOPP
                Opportunities                Suite 410 White Plains, NY        877-WRO-4YOU      Spanish and French
                                             10605                                               speaking staff
                                                                                                 available

                Putnam County Housing        11 Seminary Hill Rd.,             845-225-8493
                Corp.                        Carmel, NY 10512

                Greenpath                    One Barker Ave., Suite 420        888-366-9140
                                             White Plains, NY 10601

                Belmont Housing              1195 Main St. Buffalo, NY         716-884-7791      HOPP
                Resources                    14209

  Wyoming       Consumer Credit              50 Chestnut Plaza,                1-888-724-2227    HOPP
                Counseling Services of       Rochester, NY 14604
                Rochester, Inc.

                ACCORD                       84 Schuyler St., Belmont,         585-268-7605      HOPP
                                             NY 14813

                The Housing Council          75 College Ave., 4th Floor,       585-546-3700      HOPP
                                             Rochester, NY 14607

                Community Action in Self     48 Water St., Lyons, NY           315-946-6992      HOPP
                Help                         14489

  Yates         Keuka Housing Council        160 Main St. Penn Yan, NY         315-536-8707      HOPP
                                             14527




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                                                            RYSZARD KOZIKOWSKI


  Rushmore Loan Management Services LLC
  PO Box 111209
  Nashville, TN 37222
  (For Return Mail Only)

7600367995 81150355 NC120 900845 01




                                                                                 April 25, 2018




                                      000046 PRBA
                                      RYSZARD KOZIKOWSKI
                                      99 WILSON AVE
                                      AMITYVILLE NY 11701
            Rushmore Loan Management Services LLC
            PO Box 111209
            Nashville, TN 37222
            (For Return Mail Only)




   000046 PRBA
                                                                                   Date: April 25, 2018
   RYSZARD KOZIKOWSKI
   CZESLAW CHELSTOWSKI
   ANNA CHELSTOWSKA
   99 WILSON AVE                                                                   RE: Loan Number:
   AMITYVILLE, NY 11701
                                                                                   Property Address:
                                                                                   99 WILSON AVENUE
                                                                                   AMITYVILLE, NY 11701




Dear Mortgagor(s):
                      YOU MAY BE AT RISK OF FORECLOSURE.
                 PLEASE READ THE FOLLOWING NOTICE CAREFULLY
As of April 25, 2018, your home loan is 814 days, and $88,848.10 dollars in default.
Under New York state law, we are required to send you this notice to inform you that you are
at risk of losing your home.
Attached to this notice is a list of government approved housing counseling agencies in your
area which provide free counseling.
You can also call the NYS Office of the Attorney General’s Homeowner Protection Program
(HOPP) toll-free consumer hotline to be connected to free housing counseling services in
your area at 1-855-HOME-456 (1-855-466-3456), or visit their website at
http://www.aghomehelp.com/. A statewide listing by county is also available at:
http://www.dfs.ny.gov/consumer/mortg_nys_np_counseling_agencies.htm
Qualified free help is available; watch out for companies or people who charge a fee for these
services.
Housing counselors from New York-based agencies listed on the website above are trained to
help homeowners who are having problems making their mortgage payments and can help
you find the best option for your situation. If you wish, you may contact the Loss Mitigation
Department at 1-888-504-7300.




                                              Rushmore Loan Management Services LLC
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While we cannot assure that a mutually agreeable resolution is possible, we encourage you to
take immediate steps to try to achieve a resolution. The longer you wait the fewer options you
may have.
If you have not taken any actions to resolve this matter within 90 days from the date this notice
was mailed, we may commence legal action against you (or sooner if you cease to live in the
dwelling as your primary residence).
If you need further information, please call the New York State Department of Financial
Services’ toll-free helpline at 800-342-3736 or visit the Department’s website at
http://www.dfs.ny.gov.
IMPORTANT: You have the right to remain in your home until you receive a court order
telling you to leave the property. If a foreclosure action is filed against you in court, you still
have the right to remain in the home until court orders you to leave. You legally remain the
owner of and are responsible for the property until the property is sold by you or by order of
the court at the conclusion of any foreclosure proceedings. This notice is not an eviction
notice, and a foreclosure action has not yet been commenced against you.
This matter is very important. Please give it your immediate attention.
Sincerely,
Rushmore Loan Management Services LLC
15480 Laguna Canyon Rd. #100
Irvine, CA 92618
PH: 1-888-504-7300
FAX: 949-341-2200

It is possible that after payment of the amounts detailed above, there may be other fees
still due and owing, including but not limited to other fees, escrow advances or corporate
advances that Rushmore paid on your behalf or advanced to your account.
(See disclosures on page 3)




                                     Rushmore Loan Management Services LLC
                                   15480 Laguna Canyon Rd. #100, Irvine, CA 92618
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Federal law requires us to advise you that Rushmore Loan Management Services LLC is a debt
collector and that this is an attempt to collect a debt. Any information obtained may be used for
that purpose. To the extent your obligation has been discharged or is subject to the automatic
stay in a bankruptcy proceeding, this notice is for informational purposes only and does not
constitute a demand for payment or an attempt to collect indebtedness as your personal
obligation. If you are represented by an attorney, please provide us with the attorney’s name,
address and telephone number.
For New York Residents: Please be advised that Rushmore Loan Management Services LLC is
registered with the Superintendent of Financial Services for the State of New York. Borrowers
may file complaints about Rushmore Loan Management Services LLC with the New York State
Department of Financial Services. Borrowers may also obtain further information from the
New York State Department by calling the Department’s Consumer Assistance Unit at
800-342-3736 or by visiting the Department’s website at www.dfs.ny.gov.
Notice to Customers: Rushmore Loan Management Services LLC may report information
about your mortgage account to credit bureaus. Late payments, missed payments, or other
defaults on your account may be reflected in your credit report.
Failure to cure the default on or before 07/24/2018 may result in acceleration of the sums
secured by this Security Instrument, foreclosure by judicial proceeding and sale of the Property.
Partial payments received may be applied to any amounts outstanding, but any partial payments
that are applied will not invalidate our right to commence foreclosure proceedings.
You have the right to reinstate after acceleration and the right to assert in the foreclosure
proceeding the non-existence of a default or any other defense to acceleration and foreclosure.
DEBT COLLECTION
This communication is for the purpose of collecting a debt, and any information obtained from
the trustor(s) will be used for that purpose. Rushmore is acting as a “debt collector” as that term
is defined in the Federal Fair Debt Collection Practices Act. This notice is required by the
provisions of the Fair Debt Collection Practices Act and does not imply that we are attempting
to collect money from any one who has discharged the debt under the bankruptcy laws of the
United States.




                                     Rushmore Loan Management Services LLC
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CREDIT REPORTING
We may report information about your account to credit bureaus. Late payments, missed
payments, or other defaults on your account may be reflected in your credit report.
BANKRUPTCY
If you have received a discharge of this debt through bankruptcy, you are not personally liable
to us if you do not pay us the above amount. We can recover only the real property from you
and you will not be obligated to pay us the difference between what we may get from the sale of
the real property and the balance due on the loan. This notice is provided to inform you of what
you must do to retain possession of your real property.
HUD STATEMENT
Pursuant to section 169 of the Housing and Community Development Act of 1987, you may
have the opportunity to receive counseling from various local agencies regarding the retention
of your home. You may obtain a list of the HUD approved housing counseling agencies by
calling the HUD nationwide toll free telephone at 1-800-569-4287.
ADDITIONAL NOTICES
Rushmore Loan Management Services LLC is a Debt Collector, who is attempting to collect a
debt. Any information obtained will be used for that purpose. However, if you are in
Bankruptcy or received a Bankruptcy Discharge of this debt, this letter is being sent for
informational purposes only, is not an attempt to collect a debt and does not constitute a notice
of personal liability with respect to the debt.




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                                   15480 Laguna Canyon Rd. #100, Irvine, CA 92618
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    Servicemembers Civil Relief                     U . S. Department of Housing                            OMB Approval 2502 - 0584
    Act Notice Disclosure                               and Urban Development                                         Exp 3/31/2021
                                                           Office of Housing

    Legal Rights and Protections Under the SCRA

    6HUYLFHPHPEHUVRQ³DFWLYHGXW\´RU³DFWLYHVHUYLFH´RUDVSRXVHRUGHSHQGHQWRIVXFKDVHUYLFHPHPEHUPD\EHHQWLWOHGWR
    FHUWDLQOHJDOSURWHFWLRQVDQGGHEWUHOLHISXUVXDQWWRWKH6HUYLFHPHPEHUV&LYLO5HOLHI$FW 86&3901-4043 
     6&5$ 


      x 5HJXODUPHPEHUVRIWKH86$UPHG)RUFHV $UP\1DY\$LU)RUFH0DULQH&RUSVDQG&RDVW
    Who May Be Entitled to Legal Protections Under the SCRA?

             *XDUG 
        x    5HVHUYHDQG 1DWLRQDO*XDUGSHUVRQQHOZKRKDYHEHHQDFWLYDWHGDQGDUHRQ)HGHUDODFWLYHGXW\
        x    1DWLRQDO*XDUGSHUVRQQHOXQGHUDFDOORURUGHUWRDFWLYHGXW\IRUPRUHWKDQFRQVHFXWLYHGD\VXQGHU
             VHFWLRQ I RIWLWOH8QLWHG6WDWHV&RGHIRUSXUSRVHVRIUHVSRQGLQJWRDQDWLRQDOHPHUJHQF\
             GHFODUHGE\WKH3UHVLGHQWDQGVXSSRUWHGE\)HGHUDOIXQGV
        x    $FWLYHVHUYLFHPHPEHUVRIWKHFRPPLVVLRQHGFRUSVRIWKH3XEOLF+HDOWK6HUYLFHDQGWKH1DWLRQDO
             2FHDQLFDQG$WPRVSKHULF$GPLQLVWUDWLRQ
        x    &HUWDLQ8QLWHG6WDWHVFLWL]HQVVHUYLQJZLWKWKHDUPHGIRUFHVRIDQDWLRQZLWKZKLFKWKH8QLWHG6WDWHV
             LVDOOLHGLQWKHSURVHFXWLRQRIDZDURUPLOLWDU\DFWLRQ

    What Legal Protections Are Servicemembers Entitled To Under the SCRA? 
        x    7KH6&5$VWDWHVWKDWDGHEWLQFXUUHGE\DVHUYLFHPHPEHURUVHUYLFHPHPEHUDQGVSRXVHMRLQWO\SULRUWR
             HQWHULQJPLOLWDU\VHUYLFHVKDOOQRWEHDULQWHUHVWDWDUDWHDERYHGXULQJWKHSHULRGRIPLOLWDU\VHUYLFHDQGRQH
             \HDUWKHUHDIWHULQWKHFDVHRIDQREOLJDWLRQRUOLDELOLW\FRQVLVWLQJRIDPRUWJDJHWUXVWGHHGRURWKHUVHFXULW\LQWKHQDWXUH
             RIDPRUWJDJHRUGXULQJWKHSHULRGRIPLOLWDU\VHUYLFHLQWKHFDVHRIDQ\RWKHUREOLJDWLRQRUOLDELOLW\
        x    7KH6&5$VWDWHVWKDWLQDOHJDODFWLRQWRHQIRUFHDGHEWDJDLQVWUHDOHVWDWHWKDWLVILOHGGXULQJRUZLWKLQRQH
             \HDUDIWHUWKHVHUYLFHPHPEHU¶VPLOLWDU\VHUYLFHDFRXUWPD\VWRSWKHSURFHHGLQJVIRUDSHULRGRIWLPHRU
             DGMXVWWKHGHEW,QDGGLWLRQWKHVDOHIRUHFORVXUHRUVHL]XUHRIUHDOHVWDWHVKDOOQRWEHYDOLGLILWRFFXUVGXULQJ
             RUZLWKLQRQH\HDUDIWHUWKHVHUYLFHPHPEHU¶VPLOLWDU\VHUYLFHXQOHVVWKHFUHGLWRUKDVREWDLQHGDYDOLGFRXUW
             RUGHUDSSURYLQJWKHVDOHIRUHFORVXUHRUVHL]XUHRIWKHUHDOHVWDWH
        x    7KH6&5$FRQWDLQVPDQ\RWKHUSURWHFWLRQVEHVLGHVWKRVHDSSOLFDEOHWRKRPHORDQV

    How Does A Servicemember or Dependent Request Relief Under the SCRA?

        x    ,QRUGHUWRUHTXHVWUHOLHIXQGHUWKH6&5$IURPORDQVZLWKLQWHUHVWUDWHVDERYHDVHUYLFHPHPEHURUVSRXVH
             PXVWSURYLGHDZULWWHQUHTXHVWWRWKHOHQGHUWRJHWKHUZLWKDFRS\RIWKHVHUYLFHPHmEHU¶VPLOLWDU\RUGHUV
             >1RWH /HQGHUVKRXOGSODFHLWVQDPHDGGUHVVDQGFRQWDFWLQIRUPDWLRQKHUH@
        x    7KHUHLVQRUHTXLUHPHQWXQGHUWKH6&5$KRZHYHUIRUDVHUYLFHPHPEHUWRSURYLGHDZULWWHQQRWLFHRUDFRS\
             RIDVHUYLFHPHPEHU¶VPLOLWDU\RUGHUVWRWKHOHQGHULQFRQQHFWLRQZLWKDIRUHFORVXUHRURWKHUGHEWHQIRUFHPHQW
             DFWLRQDJDLQVWUHDOHVWDWH 8QGHUWKHVHFLUFXPVWDQFHVOHQGHUVVKRXOGLQTXLUHDERXWWKHPLOLWDU\VWDWXVRID
             SHUVRQE\VHDUFKLQJWKH'HSDUWPHQWRI'HIHQVH¶V'HIHQVH0DQSRZHU'DWD&HQWHU¶VZHEVLWHFRQWDFWLQJWKH
             VHUYLFHPHPEHUDQGH[DPLQLQJWKHLUILOHVIRULQGLFLDRIPLOLWDU\VHUYLFH $OWKRXJKWKHUHLVQRUHTXLUHPHQWIRU
             VHUYLFHPHPEHUVWRDOHUWWKHOHQGHURIWKHLUPLOLWDU\VWDWXVLQWKHVHVLWXDWLRQVLWVWLOOLVDJRRGLGHDIRUWKH
             VHUYLFHPHPEHUWRGRVR

    How Does a Servicemember or Dependent Obtain Information About the SCRA? 

        x    6HUYLFHPHPEHUVDQGGHSHQGHQWVZLWKTXHVWLRQVDERXWWKH6&5$VKRXOGFRQWDFWWKHLUXQLW¶V-XGJH$GYRFDWHRU
             WKHLULQVWDOODWLRQ¶V/HJDO$VVLVWDQFH2IILFHU$PLOLWDU\OHJDODVVLVWDQFHRIILFHORFDWRUIRUDOOEUDQFKHVRIWKH
             $UPHG)RUFHVLVDYDLODEOHDWKWWSOHJDODVVLVWDQFHODZDIPLOFRQWHQWORFDWRUSKS


        x    ³0LOLWDU\2QH6RXUFH´LVWKH86'HSDUWPHQWRI'HIHQVH¶VLQIRUPDWLRQ UHVRXUFH,I\RXDUHOLVWHGDVHQWLWOHGWR
             OHJDOSURWHFWLRQVXQGHUWKH6&5$ VHHDERYH SOHDVHJRWRZZZPLOLWDU\RQHVRXUFHPLOOHJDORUFDOO
              WROOIUHHIURPWKH8QLWHG6WDWHV WRILQGRXWPRUHLQIRUPDWLRQ'LDOLQJLQVWUXFWLRQVIRUDUHDVRXWVLGH
             WKH8QLWHG6WDWHVDUHSURYLGHGRQWKHZHEVLWH
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=>?@ABCB?@DEA?FB>CG@HCIJ@K?LB@MEGG?NBIEF@OJCNBIN?A@PNB@CFQ@B>?@R?Q?JCG@HCIJ@K?LB@MEGG?NBIEF@OJCNBIN?A@PNB@J?STIJ?@B>CBU@?VN?WB@
TFQ?J@TFTATCG@NIJNTXABCFN?AU@NEGG?NBEJA@XCY@FEB@NEFBCNB@YET@L?REJ?@Z[\\@C]X]@EJ@CRB?J@^[\\@W]X]@=>?Y@XCY@FEB@>CJCAA@YET@LY@
TAIF_@B>J?CBA@ER@`IEG?FN?@EJ@CJJ?AB@EJ@LY@TAIF_@ELAN?F?@GCF_TC_?]@MEGG?NBEJA@XCY@FEB@TA?@RCGA?@EJ@XIAG?CQIF_@ABCB?X?FBA@EJ@NCGG@
YET@CB@aEJb@IR@B>?Y@bFEa@EJ@>C`?@J?CAEF@BE@bFEa@B>CB@YET@XCY@FEB@J?N?Ì?@W?JAEFCG@NCGGA@CB@aEJb]@HEJ@B>?@XEAB@WCJBU@
NEGG?NBEJA@XCY@FEB@B?GG@CFEB>?J@W?JAEFU@EB>?J@B>CF@YETJ@CBBEJF?Y@EJ@AWETA?U@CLETB@YETJ@Q?LB]@MEGG?NBEJA@XCY@NEFBCNB@CFEB>?J@
W?JAEF@BE@NEFRIJX@YETJ@GENCBIEF@EJ@?FREJN?@C@cTQ_X?FB]@HEJ@XEJ?@IFREJXCBIEF@CLETB@Q?LB@NEGG?NBIEF@CNBÌIBI?AU@YET@XCY@NEFBCNB@
B>?@H?Q?JCG@=JCQ?@MEXXIAAIEF@CB@deZffeH=MeghiO@jkZlemknfo@EJ@aaa]RBN]_E`]@@
1+,4-.//.012342.415,4677/1,844.46./.96:.49,81:,2484.2/;<4
OG?CA?@FEB?[@P@NEFATX?J@>CA@B>?@JI_>B@BE@J?ST?AB@IF@aJIBIF_@B>CB@C@Q?LB@NEGG?NBEJ@EJ@NEGG?NBIEF@C_?FNY@N?CA?@RTJB>?J@
NEXXTFINCBIEF@aIB>@B>?@NEFATX?J]@P@aJIBB?F@J?ST?AB@BE@N?CA?@NEXXTFINCBIEF@aIGG@FEB@WJE>ILIB@B>?@Q?LB@NEGG?NBEJ@EJ@
NEGG?NBIEF@C_?FNY@RJEX@BCbIF_@CFY@EB>?J@CNBIEF@CTB>EJIp?Q@LY@GCa@BE@NEGG?NB@B>?@Q?LB]@
@
HqD@rsHqDtP=rqs@Puqv=@=gh@MqiqDPKq@HPrD@Khu=@MqiihM=rqs@ODPM=rMhw@PM=U@whh@aaa]NEC_]_E`xNCJ]@
OG?CA?@L?@CQ`IA?Q@B>CB@YET@NCF@J?CN>@B>?@MEGEJCQE@HEJ?NGEATJ?@gEBGIF?@CB@deZffey\degqOh@jy\demyfko]@
iENCG@DTA>XEJ?@iECF@tCFC_?X?FB@w?J`IN?A@iiM@P_?FB@REJ@MEGEJCQE@D?AIQ?FBA[@
rJ`IF@uEJ?FAB?IF@
dkddd@h]@uJICJaEEQ@P`?]@wB?@zkm\@
M?FB?FFICGU@Mq@Z\ddl@
1+,4-.//.012342.415,4677/1,844.4{68865+|8,44849,81:,2484.2/;<4
sEBIN?@ER@rtOqD=Ps=@Dr}g=w[@~ET@>C`?@B>?@JI_>B@BE@XCb?@C@aJIBB?F@EJ@EJCG@J?ST?AB@B>CB@B?G?W>EF?@NCGGA@J?_CJQIF_@YETJ@
Q?LB@FEB@L?@XCQ?@BE@YET@CB@YETJ@WGCN?@ER@?XWGEYX?FB]@PFY@ATN>@EJCG@J?ST?AB@aIGG@L?@`CGIQ@REJ@EFGY@B?F@jd\o@QCYA@TFG?AA@YET@
WJE`IQ?@aJIBB?F@NEFRIJXCBIEF@ER@B>?@J?ST?AB@WEABXCJb?Q@EJ@Q?GÌ?J?Q@aIB>IF@A?`?F@jfo@QCYA@ER@ATN>@J?ST?AB]@~ET@XCY@
B?JXIFCB?@B>IA@J?ST?AB@LY@aJIBIF_@BE@B>?@NJ?QIBEJ]@

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DTA>XEJ?@iECF@tCFC_?X?FB@w?J`IN?A@iiM@IA@C@K?LB@MEGG?NBEJU@a>E@IA@CBB?XWBIF_@BE@NEGG?NB@C@Q?LB]@PFY@IFREJXCBIEF@ELBCIF?Q@
aIGG@L?@TA?Q@REJ@B>CB@WTJWEA?]@gEa?`?JU@IR@YET@CJ?@IF@uCFbJTWBNY@EJ@J?N?Ì?Q@C@uCFbJTWBNY@KIAN>CJ_?@ER@B>IA@Q?LBU@B>IA@G?BB?J@IA@
L?IF_@A?FB@REJ@IFREJXCBIEFCG@WTJWEA?A@EFGYU@IA@FEB@CF@CBB?XWB@BE@NEGG?NB@C@Q?LB@CFQ@QE?A@FEB@NEFABIBTB?@C@FEBIN?@ER@W?JAEFCG@
GICLIGIBY@aIB>@J?AW?NB@BE@B>?@Q?LB]@
@
rR@YET@CJ?@C@NEFRIJX?Q@wTNN?AAEJeIFerFB?J?AB@a>E@>CA@FEB@CAATX?Q@B>?@XEJB_C_?@GECF@ELGI_CBIEF@TFQ?J@wBCB?@iCaU@B>IA@G?BB?J@IA@
L?IF_@A?FB@REJ@IFREJXCBIEF@WTJWEA?A@EFGY@CFQ@QE?A@FEB@NEFABIBTB?@W?JAEFCG@GICLIGIBY@aIB>@J?AW?NB@BE@B>?@Q?LB]@

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                    Approved housing counseling agencies located in New York
                                          by County

  COUNTY        AGENCY                       ADDRESS                           CONTACT INFO       NOTES

  Albany        Affordable Housing           255 Orange St., Albany, NY        518-434-1730       HOPP
                Partnership                  12210                                                Also serves
                                                                                                  surrounding areas

                Albany County Rural          24 Martin Road,                   518-765-2425       HOPP
                Housing Alliance             Voorheesville, NY 12186                              Also serves
                                                                                                  surrounding areas

                United Tenants of Albany     33 Clinton Ave., Albany,          518-436-8997       HOPP
                                             NY 12207                                             For tenants whose
                                                                                                  buildings are in the
                                                                                                  process of foreclosure
                                                                                                  or have been
                                                                                                  foreclosed on

                Better Neighborhoods,        986 Albany St.,                   518-372-6469       HOPP
                Inc.                         Schenectady, NY 12307                                Spanish speaking staff
                                                                                                  available

                Clearpoint Credit            2 Computer Drive West,            1-800-750-2227     Formerly known as
                Counseling Solutions         Albany, NY 12205                                     Consumer Credit
                                                                                                  Counseling Service

                NYS Office For People        44 Holland Ave. Albany,           518-473-1973       Serving all NYS
                With Developmental           NY 12229                                             residents with
                Disabilities (OPWDD)                                                              developmental
                                                                                                  disabilities and their
                                                                                                  families

  Allegany      ACCORD                       84 Schuyler St., Belmont,         585-268-7605       HOPP
                                             NY 14813

                Neighborhood Housing         1937 South Park Ave.              716-823-3630       Also serving
                Services of Buffalo          Buffalo, NY 14220                                    surrounding counties

  Bronx         Neighborhood Housing         848 Concourse Village             718-992-5979       HOPP
                Services- South Bronx        West, Bronx, NY 10451                                Spanish speaking staff
                                                                                                  available

                Neighborhood Housing         1451 East Gun Hill Rd.,           718-881-1180       HOPP
                Services- North Bronx        Bronx, NY 10469                                      Spanish speaking staff
                                                                                                  available

                Parodneck Foundation         121 6th Ave., Suite 501           212-431-9700 ext   HOPP
                                             New York, NY 10013                391                Spanish speaking staff
                                                                                                  available

                MHANY Management,            1 Metro Tech Center North         718-246-8080 ext   HOPP
                Inc.                         11th Floor, Brooklyn, NY          203                Spanish speaking staff
                                             11201                                                available

                Brooklyn Housing and         415 Albemarle Rd.,                718-435-7585       HOPP
                Family Services, Inc.        Brooklyn, NY 11218                                   Spanish and French


                                             Rushmore Loan Management Services LLC
                                           15480 Laguna Canyon Rd. #100, Irvine, CA 92618
NC120-NY 90Day-16                                                                                                  Page 8
                                                                                                    Creole speaking staff
                                                                                                    available

                Grow Brooklyn, Inc.           1474 Myrtle Ave.,                 718-418-8232 ext.   HOPP
                                              Brooklyn, NY 11237                206                 Spanish and Bengali
                                                                                                    speaking staff
                                                                                                    available

                NYC Commission on             1932 Arthur Avenue, Room          718-579-6728 OR     Spanish speaking staff
                Human Rights                  203A, Bronx, NY 10457             718-579-6900        available

  Broome        Metro Interfaith Housing      21 New St., Binghamton,           607-772-6766        HOPP
                Council                       NY 13903

                Clearpoint Credit             The Metro Center, 49 Court        1-800-750-2227
                Counseling Solutions          St., Binghamton, NY 13901

  Cattaraugus   Chautauqua Opportunities,     402 Chandler St.,                 716-661-9430        HOPP
                Inc.                          Jamestown, NY 14701

                ACCORD                        84 Schuyler St., Belmont,         585-268-7605        HOPP
                                              NY 14813

                Neighborhood Housing          1937 South Park Ave.,             716-823-3630
                Services of South Buffalo     Buffalo, NY 14220

  Cayuga        Home Headquarters, Inc.       990 James St., Suite 1,           315-474-1939        HOPP
                                              Syracuse NY 13203                                     Spanish speaking staff
                                                                                                    available

                Clearpoint Financial          5794 Widewaters Parkway,          1-877-412-2227      Formerly known as
                Solutions                     Syracuse, NY 13214                                    Consumer Credit
                                                                                                    Counseling Service of
                                                                                                    Central NY

  Chautauqua    Chautauqua Opportunities,     402 Chandler St.,                 716-661-9430        HOPP
                Inc.                          Jamestown, NY 14701

                Chautauqua Home               2 Academy St., Mayville,          716-753-4650        Spanish speaking staff
                Rehabilitation and            NY 14757                                              available
                Improvement Corp.
                (CHRIC)

                Neighborhood Housing          1937 South Park Ave.,             716-823-3630
                Services of South Buffalo     Buffalo, NY 14220

  Chemung       Arbor Housing and             26 Bridge St., Corning, NY        607-654-7487        HOPP
                Development                   14830

                Catholic Charities of         215 East Church St., Suite        607-734-9784        HOPP
                Chemung                       101, Elmira, NY 14901

  Chenango      Metro Interfaith Housing      21 New St., Binghamton,           607-772-2766        HOPP
                Council                       NY 13903

                Clearpoint Credit             The Metro Center, 49 Court        1-800-750-2227
                Counseling Solutions          St., Binghamton, NY 13901

  Clinton       Friends of the North          1 Mill St., Keeseville, NY        518-834-9606        HOPP
                Country                       12944




                                              Rushmore Loan Management Services LLC
                                            15480 Laguna Canyon Rd. #100, Irvine, CA 92618
NC120-NY 90Day-16                                                                                                   Page 9
                Housing Assistance            103 Hand Ave.,                    518-873-6888           HOPP
                Program of Essex County       Elizabethtown, NY 12932
                (HAPEC)

  Columbia      Housing Resources of          252 Columbia St., Hudson,         518-822-0707           HOPP
                Columbia County, Inc.         NY 12534

  Cortland      Home Headquarters, Inc.       990 James St., Suite 1,           315-474-1939           HOPP
                                              Syracuse NY 13203                                        Spanish speaking staff
                                                                                                       available

                Cortland Housing              36 Taylor St. Cortland, NY        607-753-8271
                Assistance Council, Inc.      13045

                Clearpoint Credit             The Metro Center, 49 Court        1-800-750-2227
                Counseling Solutions          St., Binghamton, NY 13901

                Western Catskills             125 Main St., Suite A,            607-652-2823           HOPP
                Community Revitilization      Stamford, NY 12167
                Council

  Delaware      RUPCO                         301 Fair St. Kingston, NY         845-331-9860           HOPP
                                              12401                                                    Spanish speaking staff
                                                                                                       available

                Delaware Opportunities,       35430 State Hgwy. 10              607-746-1650
                Inc.                          Hamden, NY 13782

                Clearpoint Credit             The Metro Center, 49 Court        1-800-750-2227
                Counseling Solutions          St., Binghamton, NY 13901

  Dutchess      Hudson River Housing          291 Mill St Poughkeepsie,         845-454-9288           HOPP
                                              NY 12601

                Putnam County Housing         11 Seminary Hill Rd.,             845-225-8493
                Corp.                         Carmel, NY 10512

  Erie          Belmont Housing               1195 Main St. Buffalo, NY         716-884-7791           HOPP
                Resources                     14209

                West Side & Black Rock        359 Connecticut St.,              Tuesdays and           HOPP
                Riverside NHS, Inc.           Buffalo, NY 14213                 Wednesdays at (716)
                                                                                885-2344, Thursdays
                                                                                and Fridays at (716)
                                                                                877-3910

                Buffalo Urban League          15 Genesee Street                 (716) 250-2400         HOPP
                                              Buffalo, NY 14203

                Chautauqua Opportunities,     402 Chandler St.,                 716-661-9430           HOPP
                Inc.                          Jamestown, NY 14701

                Consumer Credit               40 Gardenville Parkway,           1-800-926-9685 or      HOPP
                Counseling Services of        Suite 300, West Seneca, NY        716-712-2060
                Buffalo, Inc.                 14224

                Neighborhood Assistance       135 Delaware Ave Ste 102          716-834-6222
                Corp. of America              Buffalo, New York 14202-
                                              2410

                Neighborhood Housing          1937 South Park Ave.,             716-823-3630



                                              Rushmore Loan Management Services LLC
                                            15480 Laguna Canyon Rd. #100, Irvine, CA 92618
NC120-NY 90Day-16                                                                                                     Page 10
                Services of South Buffalo     Buffalo, NY 14220

  Essex         Friends of the North          1 Mill St., Keeseville, NY        518-834-9606        HOPP
                Country                       12944

                Housing Assistance            103 Hand Ave.,                    518-873-6888        HOPP
                Program of Essex County       Elizabethtown, NY 12932
                (HAPEC)

                Homefront Development         568 Lower Allen St.,              518-747-8250
                Corp.                         Hudson Falls, NY 12839

  Franklin      Friends of the North          1 Mill St., Keeseville, NY        518-834-9606        HOPP
                Country                       12944

                Housing Assistance            103 Hand Ave.,                    518-873-6888        HOPP
                Program of Essex County       Elizabethtown, NY 12932
                (HAPEC)

                Franklin County               337 West Main St. Malone,         (518) 483-5934      HOPP
                Community Housing             NY 12953
                Council Inc.

                Clearpoint Credit             215 Washington St. Suite          1-800-750-2227
                Counseling Solutions          005, Watertown, NY 13601

  Fulton        Better Neighborhoods,         986 Albany St.,                   518-372-6469        HOPP
                Inc.                          Schenectady, NY 12307

                UNHS NeighborWorks            1611 Genesee Street, Utica,       315-724-4197        HOPP
                Homeownership Center          NY 13501

  Genesee       The Housing Council           75 College Ave., 4th Floor,       585-546-3700 ext.   HOPP
                                              Rochester, NY 14607               3015

                Consumer Credit               1000 University Ave., Suite       1-888-724-2227      HOPP
                Counseling Services of        900 Rochester, NY 14607
                Rochester, Inc.

                Belmont Housing               1195 Main St., Buffalo, NY        716-884-7791        HOPP
                Resources                     14209

                Consumer Credit               40 Gardenville Parkway,           1-800-926-9685 or
                Counseling Services of        Suite 300, West Seneca, NY        716-712-2060
                Buffalo, Inc.                 14224

  Greene        Albany County Rural           24 Martin Road,                   518-765-2425        HOPP
                Housing Alliance              Voorheesville, NY 12186

                RUPCO                         301 Fair St. Kingston, NY         845-331-9860        HOPP
                                              12401                                                 Spanish speaking staff
                                                                                                    available

                Western Catskills             125 Main St., Suite A,            607-652-2823
                Community Revitilization      Stamford, NY 12167
                Council

                Clearpoint Credit             2 Computer Drive West,            1-800-750-2227      Formerly known as
                Counseling Solutions          Albany, NY 12205                                      Consumer Credit
                                                                                                    Counseling Service of
                                                                                                    Central NY



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  Hamilton      Housing Assistance           103 Hand Ave.,                    518-873-6888     HOPP
                Program of Essex County      Elizabethtown, NY 12932
                (HAPEC)

                Clearpoint Credit            289 Genesee St., Utica, NY        1-800-750-2227
                Counseling Solutions         13501

                Homefront Development        568 Lower Allen St.,              518-747-8250
                Corp.                        Hudson Falls, NY 12839

  Herkimer      UNHS NeighborWorks           1611 Genesee Street, Utica,       315-724-4197     HOPP
                Homeownership Center         NY 13501

                Clearpoint Credit            289 Genesee St., Utica, NY        1-800-750-2227
                Counseling Solutions         13501

  Jefferson     Home Headquarters, Inc.      990 James St., Suite 1,           315-474-1939     HOPP
                                             Syracuse NY 13203                                  Spanish speaking staff
                                                                                                available

                Clearpoint Credit            215 Washington St. Suite          1-800-750-2227
                Counseling Solutions         005, Watertown, NY 13601

  Kings         Cypress Hills Local Dev.     625 Jamaica Avenue,               718-647-2800     HOPP
                Corp.                        Brooklyn, NY 11208                                 Spanish speaking staff
                                                                                                available

                Pratt Area Community         1000 Dean St., Brooklyn,          718-522-2613     HOPP
                Council                      NY 11238

                Grow Brooklyn, Inc.          1474 Myrtle Ave.,                 718-418-8232     HOPP
                                             Brooklyn, NY 11237                                 Spanish and Bengali
                                                                                                speaking staff
                                                                                                available

                Bridge Street Dev. Corp.     460 Nostrand Ave.,                718-636-7596     HOPP
                                             Brooklyn, NY 11216                                 Spanish Speaking
                                                                                                staff available

                MHANY Management,            1 Metro Tech Center North         718-246-8080     HOPP
                Inc.                         11th Floor, Brooklyn, NY                           Spanish speaking staff
                                             11201                                              available

                Neighbors Helping            621 Degraw St., Brooklyn,         718-237-2017     HOPP
                Neighbors (NHN)              NY 11217                                           Spanish speaking staff
                                                                                                available

                Brooklyn Housing and         415 Albemarle Rd.,                718-435-7585     HOPP
                Family Services, Inc.        Brooklyn, NY 11218                                 Spanish and French
                                                                                                Creole speaking staff
                                                                                                available

                Parodneck Foundation         121 6th Ave., Suite 501           212-431-9700     HOPP
                                             New York, NY 10013                                 Spanish speaking staff
                                                                                                available

                Neighborhood Housing         1012 Gates Ave., 2nd Floor,       718-919-2100     HOPP
                Services of Bedford-         Brooklyn, NY 11221
                Stuyvesant

                CAMBA                        1720 Church Ave., 2nd             718-287-0010     HOPP



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                                               Floor, Brooklyn, NY 11226

                Neighborhood Housing           2806 Church Ave.,                 718-469-4679       HOPP
                Services- East Flatbush        Brooklyn, NY 11226                                   Spanish speaking staff
                                                                                                    available

                Greater Sheepshead Bay         2105 East 22nd St.,               718-332-0520
                Dev. Corp.                     Brooklyn, NY 11229

                Southern Brooklyn              4006 18th Ave., Brooklyn,         718-435-1300
                Community Organization         NY 11218

                Brooklyn Neighborhood          1482 Saint James Pl., Suite       718-773-4116
                Improvement Association        1C, Brooklyn, NY 11213

                Council of Jewish              1523 Avenue M, Brooklyn,          718-377-2900 ext   Arabic, Russian and
                Organizations of Flatbush,     NY 11230                          7625               Spanish speaking staff
                Inc.                                                                                available

                Money Management               26 Court St., Suite 2610,         1-866-232-9080     Spanish speaking staff
                International, Inc.            Brooklyn, NY 11242                                   available

                GreenPath Debt Solutions       175 Remsen St., Suite 1102,       866-285-4033
                                               Brooklyn, NY 11201

                NY Commission of               275 Livingston St.,               718-722-3130       Spanish speaking staff
                Human Rights- Brooklyn         Brooklyn, NY 11217                                   available

  Lewis         Home Headquarters, Inc.        990 James St., Suite 1,           315-474-1939       HOPP
                                               Syracuse NY 13203

                Clearpoint Credit              215 Washington St. Suite          1-800-750-2227
                Counseling Solutions           005, Watertown, NY 13601

  Livingston    Consumer Credit                1000 University Ave., Suite       1-888-724-2227     HOPP
                Counseling Services of         900 Rochester, NY 14607
                Rochester, Inc.

                The Housing Council            75 College Ave., 4th Floor,       585-546-3700       HOPP
                                               Rochester, NY 14607

  Madison       Home Headquarters, Inc.        990 James St., Suite 1,           315-474-1939       HOPP
                                               Syracuse NY 13203                                    Spanish speaking staff
                                                                                                    available

                UNHS NeighborWorks             1611 Genesee Street, Utica,       315-724-4197       HOPP
                Homeownership Center           NY 13501

                Community Action               3 East Main St., Morrisville,     315-684-3144       ASL trained staff
                Program for Madison            NY 13408                                             available
                County

                Clearpoint Credit              289 Genesee St., Utica, NY        1-800-750-2227
                Counseling Solutions           13501

  Monroe        Consumer Credit                1000 University Ave., Suite       1-888-724-2227     HOPP
                Counseling Services of         900 Rochester, NY 14607
                Rochester, Inc.

                Marketview Heights             308 North Street, Rochester,      585-423-1540       HOPP
                Association                    NY 14605



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                The Housing Council          75 College Ave., 4th Floor,       585-546-3700          HOPP
                                             Rochester, NY 14607

                Urban League of              265 North Clinton Ave.,           585-325-6530
                Rochester                    Rochester, NY

  Montgomery    Better Neighborhoods,        986 Albany St.,                   518-372-6469          HOPP
                Inc.                         Schenectady, NY 12307                                   Spanish speaking staff
                                                                                                     available

                UNHS NeighborWorks           1611 Genesee Street, Utica,       315-724-4197          HOPP
                Homeownership Center         NY 13501

  Nassau        American Debt Resources,     248C Larkfield Road, East         1-800-498-0766        HOPP
                Inc.                         Northport, NY 11731                                     Spanish speaking staff
                                                                                                     available

                Community Development        333 No Main St., Freeport,        631-471-1215 x158     HOPP
                Corporation of Long          NY 11520                                                Spanish speaking staff
                Island                                                                               available

                Hispanic Brotherhood of      59 Clinton Ave., Rockville        516-766-6610          HOPP
                Rockville Centre, Inc.       Centre, NY 11570                                        Spanish speaking staff
                                                                                                     available

                La Fuerza Unida, Inc.        1 School St., Suite 302,          516-759-0788          HOPP
                                             Glen Cove, NY 11542                                     Spanish speaking staff
                                                                                                     available

                LIFE, Inc.                   112 Spruce St., Cedarhurst,       516-374-4564          HOPP
                                             NY 11516                                                Spanish speaking staff
                                                                                                     available

                Long Island Housing          180 Oser Ave.,                    631-435-4710          HOPP
                Partnership, Inc.            Hauppaugue, NY 11788                                    Spanish speaking staff
                                                                                                     available

                Long Island Housing          640 Johnson Ave., Suite 8,        631-567-5111 x383     HOPP
                Services, Inc.               Bohemia, NY 11716                                       Spanish speaking staff
                                                                                                     available

                Rockaway Development         1920 Mott Ave. Rm #2, Far         718-327-5300          HOPP
                and Revitilization Corp      Rockaway, NY 11691                                      funded in NYC Serves
                                                                                                     Western Nassau

                CHHAYA                       37-43 77th St., Jackson           718-478-3848          HOPP
                                             Heights, NY 11372                                       funded in NYC
                                                                                                     Southeast Asian
                                                                                                     speaking Counselors
                                                                                                     on staff

                GreenPath Debt Solutions     300 Garden City Plaza,            888-776-6738          HOPP
                                             Suite 220 Garden City, NY
                                             11530

                Debt Counseling Corp.        3033 Express Dr. N,               1-888-354-6332 ext.   HOPP
                                             Hauppauge, NY 11749               316                   Spanish speaking staff
                                                                                                     available

                Safeguard Credit             67 Salonga Rd. Northport,         1-800-673-6933        HOPP
                Counseling, Inc.             NY 11768                                                Spanish speaking staff



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                                                                                                       available

  New York      MHANY Management,             1 Metro Tech Center North         718-246-8080           HOPP
                Inc.                          11th Floor, Brooklyn, NY                                 Spanish speaking staff
                                              11201                                                    available

                Grow Brooklyn, Inc.           1474 Myrtle Ave.,                 718-418-8232           HOPP
                                              Brooklyn, NY 11237                                       Spanish and Bengali
                                                                                                       speaking staff
                                                                                                       available

                Parodneck Foundation          121 6th Ave., Suite 501           212-431-9700           HOPP
                                              New York, NY 10013                                       Spanish speaking staff
                                                                                                       available

                AAFE Community                111 Division St., New York,       212-964-2288           Chinese and Korean
                Development Fund, Inc.        NY 10002                                                 speaking staff
                                                                                                       available

                Abyssinian Development        2283 7th Avenue, New              646-442-6545
                Corp.                         York, NY 10030

                Neighborhood Housing          307 West 36th St., 12th           212-519-2500           Spanish and Creole
                Services of NYC               floor, New York, NY 10018                                speaking staff
                                                                                                       available

                Harlem Congregations for      2854 Frederick Douglass           212-281-4887 ext.      Spanish speaking staff
                Community Development         Blvd., New York, NY 10039         206 or 231             available

                West Harlem Group             1652 Amsterdam Ave. New           212-862-1399
                Assistance, Inc.              York, NY 10031

                GreenPath Debt Solutions      One Penn Plaza, Suite 2108,       866-285-4059
                                              New York, NY 10119

  Niagara       Belmont Housing               1195 Main St., Buffalo, NY        716-884-7791           HOPP
                Resources                     14209

                West Side & Black Rock        203 Military Rd., Buffalo,        Tuesdays and           HOPP
                Riverside NHS, Inc.           NY 14207                          Wednesdays at (716)
                                                                                885-2344, Thursdays
                                                                                and Fridays at (716)
                                                                                877-3910

                Neighborhood Housing          1937 South Park Ave.,             716-823-3630
                Services of South Buffalo     Buffalo, NY 14220

  Oneida        UNHS NeighborWorks            1611 Genesee Street, Utica,       315-724-4197           HOPP
                Homeownership Center          NY 13501

                Clearpoint Credit             5794 Widewaters Parkway,          1-800-750-2227
                Counseling Solutions          Syracuse, NY 13214

                Northeast Hawley              101 Gertrude St., Syracuse,       315-425-1032
                Development Corp.             NY 13202

  Onondaga      Home Headquarters, Inc.       990 James St., Suite 1,           315-474-1939           HOPP
                                              Syracuse NY 13203                                        Spanish speaking staff
                                                                                                       available

                Clearpoint Credit             5794 Widewaters Parkway,          1-800-750-2227



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                Counseling Solutions          Syracuse, NY 13214

                Cooperative Federal           800 N. Salina St., Syracuse,      315-476-5290     Service for credit
                Credit Union                  NY 13208                                           union members only

  Ontario       Consumer Credit               1000 University Ave., Suite       1-888-724-2227   HOPP
                Counseling Services of        900 Rochester, NY 14607
                Rochester, Inc.

                Community Action in Self      48 Water St., Lyons, NY           315-946-6992     HOPP
                Help                          14489

                Keuka Housing Council         160 Main St. Penn Yan, NY         315-536-8707     HOPP
                                              14527

  Orange        Hudson River Housing          291 Mill St Poughkeepsie,         845-454-9288     HOPP
                                              NY 12601

                Orange County Rural           59b Boniface Drive, Pine          845-713-4568     HOPP
                Development Advisory          Bush, NY 12566
                Corp.

  Orleans       Belmont Housing               1195 Main St., Buffalo, NY        716-884-7791     HOPP
                Resources                     14209

                The Housing Council           75 College Ave., 4th Floor,       585-546-3700     HOPP
                                              Rochester, NY 14607

                Consumer Credit               1000 University Ave., Suite       1-888-724-2227   HOPP
                Counseling Service of         900 Rochester, NY 14607
                Rochester, Inc.

  Oswego        Fulton Community              125 West Broadway, Fulton,        315-593-7166     HOPP
                Development Agency            NY 13069

                Oswego Housing                2971 County Rte. 26, Parish,      315-625-4520
                Development Council, Inc.     NY 13131

                Clearpoint Credit             5794 Widewaters Parkway,          1-800-750-2227
                Counseling Solutions          Syracuse, NY 13214

  Otsego        UNHS NeighborWorks            1611 Genesee Street, Utica,       315-724-4197     HOPP
                Homeownership Center          NY 13501

                Clearpoint Creidt             The Metro Center, 49 Court        1-800-750-2227
                Counseling Solutions          St., Binghamton, NY 13901

  Putnam        Housing Action Council        55 South Broadway,                914-332-4144     HOPP
                                              Tarrytown, NY 10591

                Putnam County Housing         11 Seminary Hill Rd.,             845-225-8493     HOPP
                Corp.                         Carmel, NY 10512

  Queens        Neighborhood Housing          60-20 Woodside Ave.,              718-457-1017     HOPP
                Services of Northern          Flushing, NY 11377                                 Spanish and French
                Queens                                                                           Creole speaking staff
                                                                                                 available




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                Neighborhood Housing         89-70 162nd St., Jamaica,         718-291-7400     HOPP
                Services- Jamaica            NY 11432                                           Spanish speaking staff
                                                                                                available

                CHHAYA                       37-43 77th St., Jackson           718-478-3848     HOPP
                                             Heights, NY 11372                                  Southeast Asian
                                                                                                speaking Counselors
                                                                                                on staff

                Rockaway Development         1920 Mott Ave., Second            718-327-5300     HOPP
                and Revitilization Corp      Floor, Far Rockaway, NY
                                             11691

                Parodneck Foundation         121 6th Ave., Suite 501           212-431-9700     HOPP
                                             New York, NY 10013                                 Spanish speaking staff
                                                                                                available

                MHANY Management,            1 Metro Tech Center North         718-246-8080     HOPP
                Inc.                         11th Floor, Brooklyn, NY                           Spanish speaking staff
                                             11201                                              available

                Brooklyn Housing and         415 Albemarle Rd.,                718-435-7585     HOPP
                Family Services, Inc.        Brooklyn, NY 11218                                 Spanish and French
                                                                                                Creole speaking staff
                                                                                                available

                NY Commission of             153-01 Jamaica Ave.               718-657-2465     Spanish speaking staff
                Human Rights- Queens         Jamaica, NY 11432                                  available

                GreenPath Debt Solutions     80-02 Kew Gardens Road,           866-285-4036
                                             Suite 710 Kew Gardens, NY
                                             11415-3607

                Margert Community            325 Beach 37th Street Far         718-471-3724
                Corporation                  Rockaway, NY 11691

                Queens Community House       108-25 62nd Drive, Forest         718-592-5757
                                             Hills, NY 11375

  Rensselaer    Troy Rehabilitation and      415 River St., Troy, NY           518-690-0020     HOPP
                Improvement Program          12180
                (TRIP)

                United Tenants of Albany     33 Clinton Ave., Albany,          518-436-8997     HOPP
                                             NY 12207                                           For tenants whose
                                                                                                buildings are in
                                                                                                process of being
                                                                                                foreclosed or whose
                                                                                                building has been
                                                                                                foreclosed

                Albany County Rural          24 Martin Road,                   518-765-2425     HOPP
                Housing Alliance             Voorheesville, NY 12186

                Affordable Housing           255 Orange St., Albany, NY        518-434-1730     HOPP
                Partnership                  12210

                Clearpoint Credit            2 Computer Drive West,            1-800-750-2227   Formerly known as
                Counseling Solutions         Albany, NY 12205                                   Consumer Credit
                                                                                                Counseling Service of
                                                                                                Central NY


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  Richmond      Northfield Community           160 Heberton Ave. Staten          718-442-7351     HOPP
                Local Dev. Corp. of Staten     Island, NY 10302
                Island

                MHANY Management,              1 Metro Tech Center North         718-246-8080     HOPP
                Inc.                           11th Floor, Brooklyn, NY                           Spanish speaking staff
                                               11201                                              available

                Parodneck Foundation           121 6th Ave., Suite 501           212-431-9700     HOPP
                                               New York, NY 10013                                 Spanish speaking staff
                                                                                                  available

                Neighborhood Housing           770 Castleton Ave., Staten        718-442-8080     HOPP
                Services, Staten Island        Island, NY 10310                                   Spanish speaking staff
                                                                                                  available

                NYC Commission on              60 Bay St. 7th Floor, Staten      718-390-8506     Spanish speaking staff
                Human Rights- Staten           Island, NY 10301                                   available
                Island

  Rockland      Housing Action Council         55 South Broadway,                914-332-4144     HOPP
                                               Tarrytown, NY 10591

                Rockland Housing Action        120-126 North Main St.,           845-708-5799     HOPP
                Coalition                      Annex-First Floor, New                             Spanish, Creole,
                                               City, NY 10956                                     Hebrew, and ASL
                                                                                                  speaking staff
                                                                                                  available

  Saratoga      Albany County Rural            24 Martin Road,                   518-765-2425     HOPP
                Housing Alliance               Voorheesville, NY 12186

                Affordable Housing             255 Orange St., Albany, NY        518-434-1730     HOPP
                Partnership                    12210

                Troy Rehabilitation and        415 River St., Troy, NY           518-690-0020     HOPP
                Improvement Program            12180                                              Serving residents of
                (TRIP)                                                                            Southern Saratoga
                                                                                                  County

                Better Neighborhoods,          986 Albany St.,                   518-372-6469     HOPP
                Inc.                           Schenectady, NY 12307                              Spanish speaking staff
                                                                                                  available

                Clearpoint Credit              2 Computer Drive West,            1-800-750-2227   Formerly known as
                Counseling Solutions           Albany, NY 12205                                   Consumer Credit
                                                                                                  Counseling Service of
                                                                                                  Central NY

                Homefront Development          568 Lower Allen St.,              518-747-8250     Serving residents of
                Corp.                          Hudson Falls, NY 12839                             Northern Saratoga
                                                                                                  County

  Schenectady   Better Neighborhoods,          986 Albany St.,                   518-372-6469     HOPP
                Inc.                           Schenectady, NY 12307                              Spanish speaking staff
                                                                                                  available

                Affordable Housing             255 Orange St., Albany, NY        518-434-1730     HOPP
                Partnership                    12210

                Albany County Rural            24 Martin Road,                   518-765-2425     HOPP



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                Housing Alliance             Voorheesville, NY 12186

                Schenectady Community        913 Albany St.,                   518-374-9181     For tenants whose
                Action Program (SCAP)        Schenectady, NY 12307                              buildings are in
                                                                                                process of being
                                                                                                foreclosed or whose
                                                                                                building has been
                                                                                                foreclosed

                Clearpoint Credit            2 Computer Drive West,            1-800-750-2227   Formerly known as
                Counseling Solutions         Albany, NY 12205                                   Consumer Credit
                                                                                                Counseling Service of
                                                                                                Central NY

  Schoharie     Albany County Rural          24 Martin Road,                   518-765-2425     HOPP
                Housing Alliance             Voorheesville, NY 12186

                Western Catskills            125 Main St., Suite A,            607-652-2823
                Community                    Stamford, NY 12167
                RevitilizationCouncil

                Clearpoint Credit            2 Computer Drive West,            1-800-750-2227   Formerly known as
                Counseling Solutions         Albany, NY 12205                                   Consumer Credit
                                                                                                Counseling Service of
                                                                                                Central NY

  Schuyler      Arbor Housing and            26 Bridge St., Corning, NY        607-654-7487     HOPP
                Development                  14830

                Catholic Charities of        215 East Church St., Suite        607-734-9784     HOPP
                Chemung                      101, Elmira, NY 14901

  Seneca        The Housing Council          75 College Ave., 4th Floor,       585-546-3700     HOPP
                                             Rochester, NY 14607

                Community Action in Self     48 Water St., Lyons, NY           315-946-6992     HOPP
                Help                         14489

  St.           Housing Assistance           103 Hand Ave.,                    518-873-6888     HOPP
  Lawrence      Program of Essex County      Elizabethtown, NY 12932
                (HAPEC)

                North Country Housing        19 Main St., Canton, NY           315-386-8576
                Council                      13617

                Clearpoint Credit            215 Washington St. Suite          1-800-750-2227
                Counseling Solutions         005, Watertown, NY 13601

  Steuben       Arbor Housing and            26 Bridge St., Corning, NY        607-654-7487     HOPP
                Development                  14830

                Accord                       84 Schuyler St., Belmont,         585-268-7605     HOPP
                                             NY 14813

                Catholic Charities of        215 East Church St., Suite        607-734-9784     HOPP
                Chemung                      101, Elmira, NY 14901

  Suffolk       American Debt Resources,     248C Larkfield Road, East         1-800-498-0766   HOPP
                Inc.                         Northport, NY 11731                                Spanish speaking staff
                                                                                                available




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                Community Development           2100 Middle Country Rd.,          631-471-1215 ext.     HOPP
                Corporation of Long             Suite 300, Centereach NY          158                   Spanish speaking staff
                Island                          11720                                                   available

                Economic Opportunity            320 Carleton Avenue Suite         631-647-3765 x 1204   HOPP
                Council of Suffolk, Inc.        7800 Central Islip NY             or 1205
                                                11722

                La Fuerza Unida, Inc.           1 School St., Suite 302,          516-759-0788          HOPP
                                                Glen Cove, NY 11542                                     Spanish speaking staff
                                                                                                        available

                Long Island Housing             180 Oser Ave.,                    631-435-4710          HOPP
                Partnership, Inc.               Hauppaugue, NY 11788                                    Spanish speaking staff
                                                                                                        available

                Long Island Housing             640 Johnson Ave., Suite 8,        631-567-5111 x383     HOPP
                Services, Inc.                  Bohemia, NY 11716                                       Spanish speaking staff
                                                                                                        available

                CHHAYA                          37-43 77th St., Jackson           718-478-3848          HOPP
                                                Heights, NY 11372                                       funded for NYC
                                                                                                        Southeast Asian
                                                                                                        speaking Counselors
                                                                                                        on staff

                Central Islip Civic Council     68 Wheeler Rd. Central            631-348-0669          HOPP
                                                Islip, NY 11722                                         Spanish speaking staff
                                                                                                        available

                Debt Counseling Corp.           3033 Express Dr. N,               1-888-354-6332 ext.   HOPP
                                                Hauppauge, NY 11749               316                   Spanish speaking staff
                                                                                                        available

                Greenpath                       1300 Veterans Memorial            888-776-6738          HOPP
                                                Highway, Suite 305,
                                                Hauppaugue NY 11788

                Safeguard Credit                67 Salonga Rd. Northport,         1-800-673-6933        HOPP
                Counseling, Inc.                NY 11768                                                Spanish speaking staff
                                                                                                        available

                Housing Help, Inc.              91-101 Broadway, Suite 6,         631-754-0373
                                                Greenlawn NY 11740

                North Fork Housing              110 South St., Greenport,         631-477-1070
                Alliance                        NY 11944

                Bellport, Hagerman, East        1492 Montauk Highway,             631-286-9236
                Patchogue Alliance, Inc.        Bellport, NY 11713

                Wyandanch Community             59 Cumberbach St.                 631-253-0139 OR       Only serves part of
                Development                     Wyandanch, NY 11798               631-643-4786          Western Suffolk

  Sullivan      RUPCO                           301 Fair St. Kingston, NY         845-331-9860          HOPP
                                                12401                                                   Spanish speaking staff
                                                                                                        available

                Rural Sullivan Housing          6 Pelton St. Monticello, NY       845-794-0348
                Corp.                           12701




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  Tioga         Catholic Charities of        215 East Church St., Suite        607-734-9784     HOPP
                Chemung                      101, Elmira, NY 14901

                Metro Interfaith Housing     21 New St., Binghamton,           607-772-6766     HOPP
                Council                      NY 13903

                Clearpoint Financial         The Metro Center, 49 Court        877-412-2227
                Solutions                    St., Binghamton, NY 13901

  Tompkins      Catholic Charities of        215 East Church St., Suite        607-734-9784     HOPP
                Chemung                      101, Elmira, NY 14901

  Ulster        RUPCO                        301 Fair St. Kingston, NY         845-331-9860     HOPP
                                             12401                                              Spanish speaking staff
                                                                                                available

  Warren        Housing Assistance           103 Hand Ave.,                    518-873-6888     HOPP
                Program of Essex County      Elizabethtown, NY 12932
                (HAPEC)

                Albany County Rural          24 Martin Road,                   518-765-2425     HOPP
                Housing Alliance             Voorheesville, NY 12186

                Clearpoint Financial         2 Computer Drive West,            1-877-412-2227   Formerly known as
                Solutions                    Albany, NY 12205                                   Consumer Credit
                                                                                                Counseling Service of
                                                                                                Central NY

                Homefront Development        568 Lower Allen St.,              518-747-8250
                Corp.                        Hudson Falls, NY 12839

  Washington    Housing Assistance           103 Hand Ave.,                    518-873-6888     HOPP
                Program of Essex County      Elizabethtown, NY 12932
                (HAPEC)

                Albany County Rural          24 Martin Road,                   518-765-2425     HOPP
                Housing Alliance             Voorheesville, NY 12186

                Homefront Development        568 Lower Allen St.,              518-747-8250
                Corp.                        Hudson Falls, NY 12839

  Wayne         Community Action in Self     48 Water St., Lyons, NY           315-946-6992     HOPP
                Help                         14489

                Keuka Housing Council        160 Main St. Penn Yan, NY         315-536-8707     HOPP
                                             14527

                Consumer Credit              50 Chestnut Plaza,                1-888-724-2227   HOPP
                Counseling Service of        Rochester, NY 14604
                Rochester, Inc.

  Westchester   Community Housing            75 South Broadway, Ste 340        914-683-1010     HOPP
                Innovations, Inc.            White Plains, NY 10601

                Housing Action Council       55 South Broadway,                914-332-4144     HOPP
                                             Tarrytown, NY 10591

                Human Development            28 Adee St. Port Chester,         914-939-2005     HOPP
                Services of Westchester,     NY 10573                                           Spanish speaking
                Inc.                                                                            counselors available




                                             Rushmore Loan Management Services LLC
                                           15480 Laguna Canyon Rd. #100, Irvine, CA 92618
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                Westchester Residential      470 Mamaroneck Ave.,              914-428-4507 OR   HOPP
                Opportunities                Suite 410 White Plains, NY        877-WRO-4YOU      Spanish and French
                                             10605                                               speaking staff
                                                                                                 available

                Putnam County Housing        11 Seminary Hill Rd.,             845-225-8493
                Corp.                        Carmel, NY 10512

                Greenpath                    One Barker Ave., Suite 420        888-366-9140
                                             White Plains, NY 10601

                Belmont Housing              1195 Main St. Buffalo, NY         716-884-7791      HOPP
                Resources                    14209

  Wyoming       Consumer Credit              50 Chestnut Plaza,                1-888-724-2227    HOPP
                Counseling Services of       Rochester, NY 14604
                Rochester, Inc.

                ACCORD                       84 Schuyler St., Belmont,         585-268-7605      HOPP
                                             NY 14813

                The Housing Council          75 College Ave., 4th Floor,       585-546-3700      HOPP
                                             Rochester, NY 14607

                Community Action in Self     48 Water St., Lyons, NY           315-946-6992      HOPP
                Help                         14489

  Yates         Keuka Housing Council        160 Main St. Penn Yan, NY         315-536-8707      HOPP
                                             14527




                                             Rushmore Loan Management Services LLC
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  Rushmore Loan Management Services LLC                               FIRST CLASS
  PO Box 111209                                                       US POSTAGE
  Nashville, TN 37222                                                AND FEES PAID
  (For Return Mail Only)                                             NEWCOURSE


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                                                                         April 25, 2018




                                      000049 PRPA
                                      RYSZARD KOZIKOWSKI
                                      99 WILSON AVENUE
                                      AMITYVILLE NY 11701
            Rushmore Loan Management Services LLC
            PO Box 111209
            Nashville, TN 37222
            (For Return Mail Only)




   000049 PRPA
                                                                                   Date: April 25, 2018
   RYSZARD KOZIKOWSKI
   CZESLAW CHELSTOWSKI
   ANNA CHELSTOWSKA
   99 WILSON AVENUE                                                                RE: Loan Number:
   AMITYVILLE, NY 11701
                                                                                   Property Address:
                                                                                   99 WILSON AVENUE
                                                                                   AMITYVILLE, NY 11701




Dear Mortgagor(s):

                      YOU MAY BE AT RISK OF FORECLOSURE.
                 PLEASE READ THE FOLLOWING NOTICE CAREFULLY
As of April 25, 2018, your home loan is 814 days, and $88,848.10 dollars in default.

Under New York state law, we are required to send you this notice to inform you that you are
at risk of losing your home.

Attached to this notice is a list of government approved housing counseling agencies in your
area which provide free counseling.
You can also call the NYS Office of the Attorney General’s Homeowner Protection Program
(HOPP) toll-free consumer hotline to be connected to free housing counseling services in
your area at 1-855-HOME-456 (1-855-466-3456), or visit their website at
http://www.aghomehelp.com/. A statewide listing by county is also available at:
http://www.dfs.ny.gov/consumer/mortg_nys_np_counseling_agencies.htm
Qualified free help is available; watch out for companies or people who charge a fee for these
services.

Housing counselors from New York-based agencies listed on the website above are trained to
help homeowners who are having problems making their mortgage payments and can help
you find the best option for your situation. If you wish, you may contact the Loss Mitigation
Department at 1-888-504-7300.




                                              Rushmore Loan Management Services LLC
                                            15480 Laguna Canyon Rd. #100, Irvine, CA 92618
 NC120-NY 90Day-16                                                                                        Page 2
While we cannot assure that a mutually agreeable resolution is possible, we encourage you to
take immediate steps to try to achieve a resolution. The longer you wait the fewer options you
may have.

If you have not taken any actions to resolve this matter within 90 days from the date this notice
was mailed, we may commence legal action against you (or sooner if you cease to live in the
dwelling as your primary residence).

If you need further information, please call the New York State Department of Financial
Services’ toll-free helpline at 800-342-3736 or visit the Department’s website at
http://www.dfs.ny.gov.

IMPORTANT: You have the right to remain in your home until you receive a court order
telling you to leave the property. If a foreclosure action is filed against you in court, you still
have the right to remain in the home until court orders you to leave. You legally remain the
owner of and are responsible for the property until the property is sold by you or by order of
the court at the conclusion of any foreclosure proceedings. This notice is not an eviction
notice, and a foreclosure action has not yet been commenced against you.

This matter is very important. Please give it your immediate attention.

Sincerely,

Rushmore Loan Management Services LLC
15480 Laguna Canyon Rd. #100
Irvine, CA 92618
PH: 1-888-504-7300
FAX: 949-341-2200

It is possible that after payment of the amounts detailed above, there may be other fees
still due and owing, including but not limited to other fees, escrow advances or corporate
advances that Rushmore paid on your behalf or advanced to your account.

(See disclosures on page 3)




                                     Rushmore Loan Management Services LLC
                                   15480 Laguna Canyon Rd. #100, Irvine, CA 92618
  NC120-NY 90Day-16                                                                      Page 3
Federal law requires us to advise you that Rushmore Loan Management Services LLC is a debt
collector and that this is an attempt to collect a debt. Any information obtained may be used for
that purpose. To the extent your obligation has been discharged or is subject to the automatic
stay in a bankruptcy proceeding, this notice is for informational purposes only and does not
constitute a demand for payment or an attempt to collect indebtedness as your personal
obligation. If you are represented by an attorney, please provide us with the attorney’s name,
address and telephone number.

For New York Residents: Please be advised that Rushmore Loan Management Services LLC is
registered with the Superintendent of Financial Services for the State of New York. Borrowers
may file complaints about Rushmore Loan Management Services LLC with the New York State
Department of Financial Services. Borrowers may also obtain further information from the
New York State Department by calling the Department’s Consumer Assistance Unit at
800-342-3736 or by visiting the Department’s website at www.dfs.ny.gov.

Notice to Customers: Rushmore Loan Management Services LLC may report information
about your mortgage account to credit bureaus. Late payments, missed payments, or other
defaults on your account may be reflected in your credit report.

Failure to cure the default on or before 07/24/2018 may result in acceleration of the sums
secured by this Security Instrument, foreclosure by judicial proceeding and sale of the Property.

Partial payments received may be applied to any amounts outstanding, but any partial payments
that are applied will not invalidate our right to commence foreclosure proceedings.

You have the right to reinstate after acceleration and the right to assert in the foreclosure
proceeding the non-existence of a default or any other defense to acceleration and foreclosure.

DEBT COLLECTION

This communication is for the purpose of collecting a debt, and any information obtained from
the trustor(s) will be used for that purpose. Rushmore is acting as a “debt collector” as that term
is defined in the Federal Fair Debt Collection Practices Act. This notice is required by the
provisions of the Fair Debt Collection Practices Act and does not imply that we are attempting
to collect money from any one who has discharged the debt under the bankruptcy laws of the
United States.




                                     Rushmore Loan Management Services LLC
                                   15480 Laguna Canyon Rd. #100, Irvine, CA 92618
   NC120-NY 90Day-16                                                                     Page 4
CREDIT REPORTING

We may report information about your account to credit bureaus. Late payments, missed
payments, or other defaults on your account may be reflected in your credit report.

BANKRUPTCY

If you have received a discharge of this debt through bankruptcy, you are not personally liable
to us if you do not pay us the above amount. We can recover only the real property from you
and you will not be obligated to pay us the difference between what we may get from the sale of
the real property and the balance due on the loan. This notice is provided to inform you of what
you must do to retain possession of your real property.

HUD STATEMENT

Pursuant to section 169 of the Housing and Community Development Act of 1987, you may
have the opportunity to receive counseling from various local agencies regarding the retention
of your home. You may obtain a list of the HUD approved housing counseling agencies by
calling the HUD nationwide toll free telephone at 1-800-569-4287.

ADDITIONAL NOTICES

Rushmore Loan Management Services LLC is a Debt Collector, who is attempting to collect a
debt. Any information obtained will be used for that purpose. However, if you are in
Bankruptcy or received a Bankruptcy Discharge of this debt, this letter is being sent for
informational purposes only, is not an attempt to collect a debt and does not constitute a notice
of personal liability with respect to the debt.




                                     Rushmore Loan Management Services LLC
                                   15480 Laguna Canyon Rd. #100, Irvine, CA 92618
   NC120-NY 90Day-16                                                                   Page 5
    Servicemembers Civil Relief                     U . S. Department of Housing                            OMB Approval 2502 - 0584
    Act Notice Disclosure                               and Urban Development                                         Exp 3/31/2021
                                                           Office of Housing

    Legal Rights and Protections Under the SCRA

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    Who May Be Entitled to Legal Protections Under the SCRA?
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        x    &HUWDLQ8QLWHG6WDWHVFLWL]HQVVHUYLQJZLWKWKHDUPHGIRUFHVRIDQDWLRQZLWKZKLFKWKH8QLWHG6WDWHV
             LVDOOLHGLQWKHSURVHFXWLRQRIDZDURUPLOLWDU\DFWLRQ

    What Legal Protections Are Servicemembers Entitled To Under the SCRA? 
        x    7KH6&5$VWDWHVWKDWDGHEWLQFXUUHGE\DVHUYLFHPHPEHURUVHUYLFHPHPEHUDQGVSRXVHMRLQWO\SULRUWR
             HQWHULQJPLOLWDU\VHUYLFHVKDOOQRWEHDULQWHUHVWDWDUDWHDERYHGXULQJWKHSHULRGRIPLOLWDU\VHUYLFHDQGRQH
             \HDUWKHUHDIWHULQWKHFDVHRIDQREOLJDWLRQRUOLDELOLW\FRQVLVWLQJRIDPRUWJDJHWUXVWGHHGRURWKHUVHFXULW\LQWKHQDWXUH
             RIDPRUWJDJHRUGXULQJWKHSHULRGRIPLOLWDU\VHUYLFHLQWKHFDVHRIDQ\RWKHUREOLJDWLRQRUOLDELOLW\
        x    7KH6&5$VWDWHVWKDWLQDOHJDODFWLRQWRHQIRUFHDGHEWDJDLQVWUHDOHVWDWHWKDWLVILOHGGXULQJRUZLWKLQRQH
             \HDUDIWHUWKHVHUYLFHPHPEHU¶VPLOLWDU\VHUYLFHDFRXUWPD\VWRSWKHSURFHHGLQJVIRUDSHULRGRIWLPHRU
             DGMXVWWKHGHEW,QDGGLWLRQWKHVDOHIRUHFORVXUHRUVHL]XUHRIUHDOHVWDWHVKDOOQRWEHYDOLGLILWRFFXUVGXULQJ
             RUZLWKLQRQH\HDUDIWHUWKHVHUYLFHPHPEHU¶VPLOLWDU\VHUYLFHXQOHVVWKHFUHGLWRUKDVREWDLQHGDYDOLGFRXUW
             RUGHUDSSURYLQJWKHVDOHIRUHFORVXUHRUVHL]XUHRIWKHUHDOHVWDWH
        x    7KH6&5$FRQWDLQVPDQ\RWKHUSURWHFWLRQVEHVLGHVWKRVHDSSOLFDEOHWRKRPHORDQV

    How Does A Servicemember or Dependent Request Relief Under the SCRA?

        x    ,QRUGHUWRUHTXHVWUHOLHIXQGHUWKH6&5$IURPORDQVZLWKLQWHUHVWUDWHVDERYHDVHUYLFHPHPEHURUVSRXVH
             PXVWSURYLGHDZULWWHQUHTXHVWWRWKHOHQGHUWRJHWKHUZLWKDFRS\RIWKHVHUYLFHPHmEHU¶VPLOLWDU\RUGHUV
             >1RWH /HQGHUVKRXOGSODFHLWVQDPHDGGUHVVDQGFRQWDFWLQIRUPDWLRQKHUH@
        x    7KHUHLVQRUHTXLUHPHQWXQGHUWKH6&5$KRZHYHUIRUDVHUYLFHPHPEHUWRSURYLGHDZULWWHQQRWLFHRUDFRS\
             RIDVHUYLFHPHPEHU¶VPLOLWDU\RUGHUVWRWKHOHQGHULQFRQQHFWLRQZLWKDIRUHFORVXUHRURWKHUGHEWHQIRUFHPHQW
             DFWLRQDJDLQVWUHDOHVWDWH 8QGHUWKHVHFLUFXPVWDQFHVOHQGHUVVKRXOGLQTXLUHDERXWWKHPLOLWDU\VWDWXVRID
             SHUVRQE\VHDUFKLQJWKH'HSDUWPHQWRI'HIHQVH¶V'HIHQVH0DQSRZHU'DWD&HQWHU¶VZHEVLWHFRQWDFWLQJWKH
             VHUYLFHPHPEHUDQGH[DPLQLQJWKHLUILOHVIRULQGLFLDRIPLOLWDU\VHUYLFH $OWKRXJKWKHUHLVQRUHTXLUHPHQWIRU
             VHUYLFHPHPEHUVWRDOHUWWKHOHQGHURIWKHLUPLOLWDU\VWDWXVLQWKHVHVLWXDWLRQVLWVWLOOLVDJRRGLGHDIRUWKH
             VHUYLFHPHPEHUWRGRVR

    How Does a Servicemember or Dependent Obtain Information About the SCRA? 

        x    6HUYLFHPHPEHUVDQGGHSHQGHQWVZLWKTXHVWLRQVDERXWWKH6&5$VKRXOGFRQWDFWWKHLUXQLW¶V-XGJH$GYRFDWHRU
             WKHLULQVWDOODWLRQ¶V/HJDO$VVLVWDQFH2IILFHU$PLOLWDU\OHJDODVVLVWDQFHRIILFHORFDWRUIRUDOOEUDQFKHVRIWKH
             $UPHG)RUFHVLVDYDLODEOHDWKWWSOHJDODVVLVWDQFHODZDIPLOFRQWHQWORFDWRUSKS
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        x    ³0LOLWDU\2QH6RXUFH´LVWKH86'HSDUWPHQWRI'HIHQVH¶VLQIRUPDWLRQ UHVRXUFH,I\RXDUHOLVWHGDVHQWLWOHGWR
             OHJDOSURWHFWLRQVXQGHUWKH6&5$ VHHDERYH SOHDVHJRWRZZZPLOLWDU\RQHVRXUFHPLOOHJDORUFDOO
              WROOIUHHIURPWKH8QLWHG6WDWHV WRILQGRXWPRUHLQIRUPDWLRQ'LDOLQJLQVWUXFWLRQVIRUDUHDVRXWVLGH
             WKH8QLWHG6WDWHVDUHSURYLGHGRQWKHZHEVLWH
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                    Approved housing counseling agencies located in New York
                                          by County

  COUNTY        AGENCY                       ADDRESS                           CONTACT INFO       NOTES

  Albany        Affordable Housing           255 Orange St., Albany, NY        518-434-1730       HOPP
                Partnership                  12210                                                Also serves
                                                                                                  surrounding areas

                Albany County Rural          24 Martin Road,                   518-765-2425       HOPP
                Housing Alliance             Voorheesville, NY 12186                              Also serves
                                                                                                  surrounding areas

                United Tenants of Albany     33 Clinton Ave., Albany,          518-436-8997       HOPP
                                             NY 12207                                             For tenants whose
                                                                                                  buildings are in the
                                                                                                  process of foreclosure
                                                                                                  or have been
                                                                                                  foreclosed on

                Better Neighborhoods,        986 Albany St.,                   518-372-6469       HOPP
                Inc.                         Schenectady, NY 12307                                Spanish speaking staff
                                                                                                  available

                Clearpoint Credit            2 Computer Drive West,            1-800-750-2227     Formerly known as
                Counseling Solutions         Albany, NY 12205                                     Consumer Credit
                                                                                                  Counseling Service

                NYS Office For People        44 Holland Ave. Albany,           518-473-1973       Serving all NYS
                With Developmental           NY 12229                                             residents with
                Disabilities (OPWDD)                                                              developmental
                                                                                                  disabilities and their
                                                                                                  families

  Allegany      ACCORD                       84 Schuyler St., Belmont,         585-268-7605       HOPP
                                             NY 14813

                Neighborhood Housing         1937 South Park Ave.              716-823-3630       Also serving
                Services of Buffalo          Buffalo, NY 14220                                    surrounding counties

  Bronx         Neighborhood Housing         848 Concourse Village             718-992-5979       HOPP
                Services- South Bronx        West, Bronx, NY 10451                                Spanish speaking staff
                                                                                                  available

                Neighborhood Housing         1451 East Gun Hill Rd.,           718-881-1180       HOPP
                Services- North Bronx        Bronx, NY 10469                                      Spanish speaking staff
                                                                                                  available

                Parodneck Foundation         121 6th Ave., Suite 501           212-431-9700 ext   HOPP
                                             New York, NY 10013                391                Spanish speaking staff
                                                                                                  available

                MHANY Management,            1 Metro Tech Center North         718-246-8080 ext   HOPP
                Inc.                         11th Floor, Brooklyn, NY          203                Spanish speaking staff
                                             11201                                                available

                Brooklyn Housing and         415 Albemarle Rd.,                718-435-7585       HOPP
                Family Services, Inc.        Brooklyn, NY 11218                                   Spanish and French


                                             Rushmore Loan Management Services LLC
                                           15480 Laguna Canyon Rd. #100, Irvine, CA 92618
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                                                                                                    Creole speaking staff
                                                                                                    available

                Grow Brooklyn, Inc.           1474 Myrtle Ave.,                 718-418-8232 ext.   HOPP
                                              Brooklyn, NY 11237                206                 Spanish and Bengali
                                                                                                    speaking staff
                                                                                                    available

                NYC Commission on             1932 Arthur Avenue, Room          718-579-6728 OR     Spanish speaking staff
                Human Rights                  203A, Bronx, NY 10457             718-579-6900        available

  Broome        Metro Interfaith Housing      21 New St., Binghamton,           607-772-6766        HOPP
                Council                       NY 13903

                Clearpoint Credit             The Metro Center, 49 Court        1-800-750-2227
                Counseling Solutions          St., Binghamton, NY 13901

  Cattaraugus   Chautauqua Opportunities,     402 Chandler St.,                 716-661-9430        HOPP
                Inc.                          Jamestown, NY 14701

                ACCORD                        84 Schuyler St., Belmont,         585-268-7605        HOPP
                                              NY 14813

                Neighborhood Housing          1937 South Park Ave.,             716-823-3630
                Services of South Buffalo     Buffalo, NY 14220

  Cayuga        Home Headquarters, Inc.       990 James St., Suite 1,           315-474-1939        HOPP
                                              Syracuse NY 13203                                     Spanish speaking staff
                                                                                                    available

                Clearpoint Financial          5794 Widewaters Parkway,          1-877-412-2227      Formerly known as
                Solutions                     Syracuse, NY 13214                                    Consumer Credit
                                                                                                    Counseling Service of
                                                                                                    Central NY

  Chautauqua    Chautauqua Opportunities,     402 Chandler St.,                 716-661-9430        HOPP
                Inc.                          Jamestown, NY 14701

                Chautauqua Home               2 Academy St., Mayville,          716-753-4650        Spanish speaking staff
                Rehabilitation and            NY 14757                                              available
                Improvement Corp.
                (CHRIC)

                Neighborhood Housing          1937 South Park Ave.,             716-823-3630
                Services of South Buffalo     Buffalo, NY 14220

  Chemung       Arbor Housing and             26 Bridge St., Corning, NY        607-654-7487        HOPP
                Development                   14830

                Catholic Charities of         215 East Church St., Suite        607-734-9784        HOPP
                Chemung                       101, Elmira, NY 14901

  Chenango      Metro Interfaith Housing      21 New St., Binghamton,           607-772-2766        HOPP
                Council                       NY 13903

                Clearpoint Credit             The Metro Center, 49 Court        1-800-750-2227
                Counseling Solutions          St., Binghamton, NY 13901

  Clinton       Friends of the North          1 Mill St., Keeseville, NY        518-834-9606        HOPP
                Country                       12944




                                              Rushmore Loan Management Services LLC
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                Housing Assistance            103 Hand Ave.,                    518-873-6888           HOPP
                Program of Essex County       Elizabethtown, NY 12932
                (HAPEC)

  Columbia      Housing Resources of          252 Columbia St., Hudson,         518-822-0707           HOPP
                Columbia County, Inc.         NY 12534

  Cortland      Home Headquarters, Inc.       990 James St., Suite 1,           315-474-1939           HOPP
                                              Syracuse NY 13203                                        Spanish speaking staff
                                                                                                       available

                Cortland Housing              36 Taylor St. Cortland, NY        607-753-8271
                Assistance Council, Inc.      13045

                Clearpoint Credit             The Metro Center, 49 Court        1-800-750-2227
                Counseling Solutions          St., Binghamton, NY 13901

                Western Catskills             125 Main St., Suite A,            607-652-2823           HOPP
                Community Revitilization      Stamford, NY 12167
                Council

  Delaware      RUPCO                         301 Fair St. Kingston, NY         845-331-9860           HOPP
                                              12401                                                    Spanish speaking staff
                                                                                                       available

                Delaware Opportunities,       35430 State Hgwy. 10              607-746-1650
                Inc.                          Hamden, NY 13782

                Clearpoint Credit             The Metro Center, 49 Court        1-800-750-2227
                Counseling Solutions          St., Binghamton, NY 13901

  Dutchess      Hudson River Housing          291 Mill St Poughkeepsie,         845-454-9288           HOPP
                                              NY 12601

                Putnam County Housing         11 Seminary Hill Rd.,             845-225-8493
                Corp.                         Carmel, NY 10512

  Erie          Belmont Housing               1195 Main St. Buffalo, NY         716-884-7791           HOPP
                Resources                     14209

                West Side & Black Rock        359 Connecticut St.,              Tuesdays and           HOPP
                Riverside NHS, Inc.           Buffalo, NY 14213                 Wednesdays at (716)
                                                                                885-2344, Thursdays
                                                                                and Fridays at (716)
                                                                                877-3910

                Buffalo Urban League          15 Genesee Street                 (716) 250-2400         HOPP
                                              Buffalo, NY 14203

                Chautauqua Opportunities,     402 Chandler St.,                 716-661-9430           HOPP
                Inc.                          Jamestown, NY 14701

                Consumer Credit               40 Gardenville Parkway,           1-800-926-9685 or      HOPP
                Counseling Services of        Suite 300, West Seneca, NY        716-712-2060
                Buffalo, Inc.                 14224

                Neighborhood Assistance       135 Delaware Ave Ste 102          716-834-6222
                Corp. of America              Buffalo, New York 14202-
                                              2410

                Neighborhood Housing          1937 South Park Ave.,             716-823-3630



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                Services of South Buffalo     Buffalo, NY 14220

  Essex         Friends of the North          1 Mill St., Keeseville, NY        518-834-9606        HOPP
                Country                       12944

                Housing Assistance            103 Hand Ave.,                    518-873-6888        HOPP
                Program of Essex County       Elizabethtown, NY 12932
                (HAPEC)

                Homefront Development         568 Lower Allen St.,              518-747-8250
                Corp.                         Hudson Falls, NY 12839

  Franklin      Friends of the North          1 Mill St., Keeseville, NY        518-834-9606        HOPP
                Country                       12944

                Housing Assistance            103 Hand Ave.,                    518-873-6888        HOPP
                Program of Essex County       Elizabethtown, NY 12932
                (HAPEC)

                Franklin County               337 West Main St. Malone,         (518) 483-5934      HOPP
                Community Housing             NY 12953
                Council Inc.

                Clearpoint Credit             215 Washington St. Suite          1-800-750-2227
                Counseling Solutions          005, Watertown, NY 13601

  Fulton        Better Neighborhoods,         986 Albany St.,                   518-372-6469        HOPP
                Inc.                          Schenectady, NY 12307

                UNHS NeighborWorks            1611 Genesee Street, Utica,       315-724-4197        HOPP
                Homeownership Center          NY 13501

  Genesee       The Housing Council           75 College Ave., 4th Floor,       585-546-3700 ext.   HOPP
                                              Rochester, NY 14607               3015

                Consumer Credit               1000 University Ave., Suite       1-888-724-2227      HOPP
                Counseling Services of        900 Rochester, NY 14607
                Rochester, Inc.

                Belmont Housing               1195 Main St., Buffalo, NY        716-884-7791        HOPP
                Resources                     14209

                Consumer Credit               40 Gardenville Parkway,           1-800-926-9685 or
                Counseling Services of        Suite 300, West Seneca, NY        716-712-2060
                Buffalo, Inc.                 14224

  Greene        Albany County Rural           24 Martin Road,                   518-765-2425        HOPP
                Housing Alliance              Voorheesville, NY 12186

                RUPCO                         301 Fair St. Kingston, NY         845-331-9860        HOPP
                                              12401                                                 Spanish speaking staff
                                                                                                    available

                Western Catskills             125 Main St., Suite A,            607-652-2823
                Community Revitilization      Stamford, NY 12167
                Council

                Clearpoint Credit             2 Computer Drive West,            1-800-750-2227      Formerly known as
                Counseling Solutions          Albany, NY 12205                                      Consumer Credit
                                                                                                    Counseling Service of
                                                                                                    Central NY



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  Hamilton      Housing Assistance           103 Hand Ave.,                    518-873-6888     HOPP
                Program of Essex County      Elizabethtown, NY 12932
                (HAPEC)

                Clearpoint Credit            289 Genesee St., Utica, NY        1-800-750-2227
                Counseling Solutions         13501

                Homefront Development        568 Lower Allen St.,              518-747-8250
                Corp.                        Hudson Falls, NY 12839

  Herkimer      UNHS NeighborWorks           1611 Genesee Street, Utica,       315-724-4197     HOPP
                Homeownership Center         NY 13501

                Clearpoint Credit            289 Genesee St., Utica, NY        1-800-750-2227
                Counseling Solutions         13501

  Jefferson     Home Headquarters, Inc.      990 James St., Suite 1,           315-474-1939     HOPP
                                             Syracuse NY 13203                                  Spanish speaking staff
                                                                                                available

                Clearpoint Credit            215 Washington St. Suite          1-800-750-2227
                Counseling Solutions         005, Watertown, NY 13601

  Kings         Cypress Hills Local Dev.     625 Jamaica Avenue,               718-647-2800     HOPP
                Corp.                        Brooklyn, NY 11208                                 Spanish speaking staff
                                                                                                available

                Pratt Area Community         1000 Dean St., Brooklyn,          718-522-2613     HOPP
                Council                      NY 11238

                Grow Brooklyn, Inc.          1474 Myrtle Ave.,                 718-418-8232     HOPP
                                             Brooklyn, NY 11237                                 Spanish and Bengali
                                                                                                speaking staff
                                                                                                available

                Bridge Street Dev. Corp.     460 Nostrand Ave.,                718-636-7596     HOPP
                                             Brooklyn, NY 11216                                 Spanish Speaking
                                                                                                staff available

                MHANY Management,            1 Metro Tech Center North         718-246-8080     HOPP
                Inc.                         11th Floor, Brooklyn, NY                           Spanish speaking staff
                                             11201                                              available

                Neighbors Helping            621 Degraw St., Brooklyn,         718-237-2017     HOPP
                Neighbors (NHN)              NY 11217                                           Spanish speaking staff
                                                                                                available

                Brooklyn Housing and         415 Albemarle Rd.,                718-435-7585     HOPP
                Family Services, Inc.        Brooklyn, NY 11218                                 Spanish and French
                                                                                                Creole speaking staff
                                                                                                available

                Parodneck Foundation         121 6th Ave., Suite 501           212-431-9700     HOPP
                                             New York, NY 10013                                 Spanish speaking staff
                                                                                                available

                Neighborhood Housing         1012 Gates Ave., 2nd Floor,       718-919-2100     HOPP
                Services of Bedford-         Brooklyn, NY 11221
                Stuyvesant

                CAMBA                        1720 Church Ave., 2nd             718-287-0010     HOPP



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                                               Floor, Brooklyn, NY 11226

                Neighborhood Housing           2806 Church Ave.,                 718-469-4679       HOPP
                Services- East Flatbush        Brooklyn, NY 11226                                   Spanish speaking staff
                                                                                                    available

                Greater Sheepshead Bay         2105 East 22nd St.,               718-332-0520
                Dev. Corp.                     Brooklyn, NY 11229

                Southern Brooklyn              4006 18th Ave., Brooklyn,         718-435-1300
                Community Organization         NY 11218

                Brooklyn Neighborhood          1482 Saint James Pl., Suite       718-773-4116
                Improvement Association        1C, Brooklyn, NY 11213

                Council of Jewish              1523 Avenue M, Brooklyn,          718-377-2900 ext   Arabic, Russian and
                Organizations of Flatbush,     NY 11230                          7625               Spanish speaking staff
                Inc.                                                                                available

                Money Management               26 Court St., Suite 2610,         1-866-232-9080     Spanish speaking staff
                International, Inc.            Brooklyn, NY 11242                                   available

                GreenPath Debt Solutions       175 Remsen St., Suite 1102,       866-285-4033
                                               Brooklyn, NY 11201

                NY Commission of               275 Livingston St.,               718-722-3130       Spanish speaking staff
                Human Rights- Brooklyn         Brooklyn, NY 11217                                   available

  Lewis         Home Headquarters, Inc.        990 James St., Suite 1,           315-474-1939       HOPP
                                               Syracuse NY 13203

                Clearpoint Credit              215 Washington St. Suite          1-800-750-2227
                Counseling Solutions           005, Watertown, NY 13601

  Livingston    Consumer Credit                1000 University Ave., Suite       1-888-724-2227     HOPP
                Counseling Services of         900 Rochester, NY 14607
                Rochester, Inc.

                The Housing Council            75 College Ave., 4th Floor,       585-546-3700       HOPP
                                               Rochester, NY 14607

  Madison       Home Headquarters, Inc.        990 James St., Suite 1,           315-474-1939       HOPP
                                               Syracuse NY 13203                                    Spanish speaking staff
                                                                                                    available

                UNHS NeighborWorks             1611 Genesee Street, Utica,       315-724-4197       HOPP
                Homeownership Center           NY 13501

                Community Action               3 East Main St., Morrisville,     315-684-3144       ASL trained staff
                Program for Madison            NY 13408                                             available
                County

                Clearpoint Credit              289 Genesee St., Utica, NY        1-800-750-2227
                Counseling Solutions           13501

  Monroe        Consumer Credit                1000 University Ave., Suite       1-888-724-2227     HOPP
                Counseling Services of         900 Rochester, NY 14607
                Rochester, Inc.

                Marketview Heights             308 North Street, Rochester,      585-423-1540       HOPP
                Association                    NY 14605



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                The Housing Council          75 College Ave., 4th Floor,       585-546-3700          HOPP
                                             Rochester, NY 14607

                Urban League of              265 North Clinton Ave.,           585-325-6530
                Rochester                    Rochester, NY

  Montgomery    Better Neighborhoods,        986 Albany St.,                   518-372-6469          HOPP
                Inc.                         Schenectady, NY 12307                                   Spanish speaking staff
                                                                                                     available

                UNHS NeighborWorks           1611 Genesee Street, Utica,       315-724-4197          HOPP
                Homeownership Center         NY 13501

  Nassau        American Debt Resources,     248C Larkfield Road, East         1-800-498-0766        HOPP
                Inc.                         Northport, NY 11731                                     Spanish speaking staff
                                                                                                     available

                Community Development        333 No Main St., Freeport,        631-471-1215 x158     HOPP
                Corporation of Long          NY 11520                                                Spanish speaking staff
                Island                                                                               available

                Hispanic Brotherhood of      59 Clinton Ave., Rockville        516-766-6610          HOPP
                Rockville Centre, Inc.       Centre, NY 11570                                        Spanish speaking staff
                                                                                                     available

                La Fuerza Unida, Inc.        1 School St., Suite 302,          516-759-0788          HOPP
                                             Glen Cove, NY 11542                                     Spanish speaking staff
                                                                                                     available

                LIFE, Inc.                   112 Spruce St., Cedarhurst,       516-374-4564          HOPP
                                             NY 11516                                                Spanish speaking staff
                                                                                                     available

                Long Island Housing          180 Oser Ave.,                    631-435-4710          HOPP
                Partnership, Inc.            Hauppaugue, NY 11788                                    Spanish speaking staff
                                                                                                     available

                Long Island Housing          640 Johnson Ave., Suite 8,        631-567-5111 x383     HOPP
                Services, Inc.               Bohemia, NY 11716                                       Spanish speaking staff
                                                                                                     available

                Rockaway Development         1920 Mott Ave. Rm #2, Far         718-327-5300          HOPP
                and Revitilization Corp      Rockaway, NY 11691                                      funded in NYC Serves
                                                                                                     Western Nassau

                CHHAYA                       37-43 77th St., Jackson           718-478-3848          HOPP
                                             Heights, NY 11372                                       funded in NYC
                                                                                                     Southeast Asian
                                                                                                     speaking Counselors
                                                                                                     on staff

                GreenPath Debt Solutions     300 Garden City Plaza,            888-776-6738          HOPP
                                             Suite 220 Garden City, NY
                                             11530

                Debt Counseling Corp.        3033 Express Dr. N,               1-888-354-6332 ext.   HOPP
                                             Hauppauge, NY 11749               316                   Spanish speaking staff
                                                                                                     available

                Safeguard Credit             67 Salonga Rd. Northport,         1-800-673-6933        HOPP
                Counseling, Inc.             NY 11768                                                Spanish speaking staff



                                             Rushmore Loan Management Services LLC
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                                                                                                       available

  New York      MHANY Management,             1 Metro Tech Center North         718-246-8080           HOPP
                Inc.                          11th Floor, Brooklyn, NY                                 Spanish speaking staff
                                              11201                                                    available

                Grow Brooklyn, Inc.           1474 Myrtle Ave.,                 718-418-8232           HOPP
                                              Brooklyn, NY 11237                                       Spanish and Bengali
                                                                                                       speaking staff
                                                                                                       available

                Parodneck Foundation          121 6th Ave., Suite 501           212-431-9700           HOPP
                                              New York, NY 10013                                       Spanish speaking staff
                                                                                                       available

                AAFE Community                111 Division St., New York,       212-964-2288           Chinese and Korean
                Development Fund, Inc.        NY 10002                                                 speaking staff
                                                                                                       available

                Abyssinian Development        2283 7th Avenue, New              646-442-6545
                Corp.                         York, NY 10030

                Neighborhood Housing          307 West 36th St., 12th           212-519-2500           Spanish and Creole
                Services of NYC               floor, New York, NY 10018                                speaking staff
                                                                                                       available

                Harlem Congregations for      2854 Frederick Douglass           212-281-4887 ext.      Spanish speaking staff
                Community Development         Blvd., New York, NY 10039         206 or 231             available

                West Harlem Group             1652 Amsterdam Ave. New           212-862-1399
                Assistance, Inc.              York, NY 10031

                GreenPath Debt Solutions      One Penn Plaza, Suite 2108,       866-285-4059
                                              New York, NY 10119

  Niagara       Belmont Housing               1195 Main St., Buffalo, NY        716-884-7791           HOPP
                Resources                     14209

                West Side & Black Rock        203 Military Rd., Buffalo,        Tuesdays and           HOPP
                Riverside NHS, Inc.           NY 14207                          Wednesdays at (716)
                                                                                885-2344, Thursdays
                                                                                and Fridays at (716)
                                                                                877-3910

                Neighborhood Housing          1937 South Park Ave.,             716-823-3630
                Services of South Buffalo     Buffalo, NY 14220

  Oneida        UNHS NeighborWorks            1611 Genesee Street, Utica,       315-724-4197           HOPP
                Homeownership Center          NY 13501

                Clearpoint Credit             5794 Widewaters Parkway,          1-800-750-2227
                Counseling Solutions          Syracuse, NY 13214

                Northeast Hawley              101 Gertrude St., Syracuse,       315-425-1032
                Development Corp.             NY 13202

  Onondaga      Home Headquarters, Inc.       990 James St., Suite 1,           315-474-1939           HOPP
                                              Syracuse NY 13203                                        Spanish speaking staff
                                                                                                       available

                Clearpoint Credit             5794 Widewaters Parkway,          1-800-750-2227



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                Counseling Solutions          Syracuse, NY 13214

                Cooperative Federal           800 N. Salina St., Syracuse,      315-476-5290     Service for credit
                Credit Union                  NY 13208                                           union members only

  Ontario       Consumer Credit               1000 University Ave., Suite       1-888-724-2227   HOPP
                Counseling Services of        900 Rochester, NY 14607
                Rochester, Inc.

                Community Action in Self      48 Water St., Lyons, NY           315-946-6992     HOPP
                Help                          14489

                Keuka Housing Council         160 Main St. Penn Yan, NY         315-536-8707     HOPP
                                              14527

  Orange        Hudson River Housing          291 Mill St Poughkeepsie,         845-454-9288     HOPP
                                              NY 12601

                Orange County Rural           59b Boniface Drive, Pine          845-713-4568     HOPP
                Development Advisory          Bush, NY 12566
                Corp.

  Orleans       Belmont Housing               1195 Main St., Buffalo, NY        716-884-7791     HOPP
                Resources                     14209

                The Housing Council           75 College Ave., 4th Floor,       585-546-3700     HOPP
                                              Rochester, NY 14607

                Consumer Credit               1000 University Ave., Suite       1-888-724-2227   HOPP
                Counseling Service of         900 Rochester, NY 14607
                Rochester, Inc.

  Oswego        Fulton Community              125 West Broadway, Fulton,        315-593-7166     HOPP
                Development Agency            NY 13069

                Oswego Housing                2971 County Rte. 26, Parish,      315-625-4520
                Development Council, Inc.     NY 13131

                Clearpoint Credit             5794 Widewaters Parkway,          1-800-750-2227
                Counseling Solutions          Syracuse, NY 13214

  Otsego        UNHS NeighborWorks            1611 Genesee Street, Utica,       315-724-4197     HOPP
                Homeownership Center          NY 13501

                Clearpoint Creidt             The Metro Center, 49 Court        1-800-750-2227
                Counseling Solutions          St., Binghamton, NY 13901

  Putnam        Housing Action Council        55 South Broadway,                914-332-4144     HOPP
                                              Tarrytown, NY 10591

                Putnam County Housing         11 Seminary Hill Rd.,             845-225-8493     HOPP
                Corp.                         Carmel, NY 10512

  Queens        Neighborhood Housing          60-20 Woodside Ave.,              718-457-1017     HOPP
                Services of Northern          Flushing, NY 11377                                 Spanish and French
                Queens                                                                           Creole speaking staff
                                                                                                 available




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                Neighborhood Housing         89-70 162nd St., Jamaica,         718-291-7400     HOPP
                Services- Jamaica            NY 11432                                           Spanish speaking staff
                                                                                                available

                CHHAYA                       37-43 77th St., Jackson           718-478-3848     HOPP
                                             Heights, NY 11372                                  Southeast Asian
                                                                                                speaking Counselors
                                                                                                on staff

                Rockaway Development         1920 Mott Ave., Second            718-327-5300     HOPP
                and Revitilization Corp      Floor, Far Rockaway, NY
                                             11691

                Parodneck Foundation         121 6th Ave., Suite 501           212-431-9700     HOPP
                                             New York, NY 10013                                 Spanish speaking staff
                                                                                                available

                MHANY Management,            1 Metro Tech Center North         718-246-8080     HOPP
                Inc.                         11th Floor, Brooklyn, NY                           Spanish speaking staff
                                             11201                                              available

                Brooklyn Housing and         415 Albemarle Rd.,                718-435-7585     HOPP
                Family Services, Inc.        Brooklyn, NY 11218                                 Spanish and French
                                                                                                Creole speaking staff
                                                                                                available

                NY Commission of             153-01 Jamaica Ave.               718-657-2465     Spanish speaking staff
                Human Rights- Queens         Jamaica, NY 11432                                  available

                GreenPath Debt Solutions     80-02 Kew Gardens Road,           866-285-4036
                                             Suite 710 Kew Gardens, NY
                                             11415-3607

                Margert Community            325 Beach 37th Street Far         718-471-3724
                Corporation                  Rockaway, NY 11691

                Queens Community House       108-25 62nd Drive, Forest         718-592-5757
                                             Hills, NY 11375

  Rensselaer    Troy Rehabilitation and      415 River St., Troy, NY           518-690-0020     HOPP
                Improvement Program          12180
                (TRIP)

                United Tenants of Albany     33 Clinton Ave., Albany,          518-436-8997     HOPP
                                             NY 12207                                           For tenants whose
                                                                                                buildings are in
                                                                                                process of being
                                                                                                foreclosed or whose
                                                                                                building has been
                                                                                                foreclosed

                Albany County Rural          24 Martin Road,                   518-765-2425     HOPP
                Housing Alliance             Voorheesville, NY 12186

                Affordable Housing           255 Orange St., Albany, NY        518-434-1730     HOPP
                Partnership                  12210

                Clearpoint Credit            2 Computer Drive West,            1-800-750-2227   Formerly known as
                Counseling Solutions         Albany, NY 12205                                   Consumer Credit
                                                                                                Counseling Service of
                                                                                                Central NY


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  Richmond      Northfield Community           160 Heberton Ave. Staten          718-442-7351     HOPP
                Local Dev. Corp. of Staten     Island, NY 10302
                Island

                MHANY Management,              1 Metro Tech Center North         718-246-8080     HOPP
                Inc.                           11th Floor, Brooklyn, NY                           Spanish speaking staff
                                               11201                                              available

                Parodneck Foundation           121 6th Ave., Suite 501           212-431-9700     HOPP
                                               New York, NY 10013                                 Spanish speaking staff
                                                                                                  available

                Neighborhood Housing           770 Castleton Ave., Staten        718-442-8080     HOPP
                Services, Staten Island        Island, NY 10310                                   Spanish speaking staff
                                                                                                  available

                NYC Commission on              60 Bay St. 7th Floor, Staten      718-390-8506     Spanish speaking staff
                Human Rights- Staten           Island, NY 10301                                   available
                Island

  Rockland      Housing Action Council         55 South Broadway,                914-332-4144     HOPP
                                               Tarrytown, NY 10591

                Rockland Housing Action        120-126 North Main St.,           845-708-5799     HOPP
                Coalition                      Annex-First Floor, New                             Spanish, Creole,
                                               City, NY 10956                                     Hebrew, and ASL
                                                                                                  speaking staff
                                                                                                  available

  Saratoga      Albany County Rural            24 Martin Road,                   518-765-2425     HOPP
                Housing Alliance               Voorheesville, NY 12186

                Affordable Housing             255 Orange St., Albany, NY        518-434-1730     HOPP
                Partnership                    12210

                Troy Rehabilitation and        415 River St., Troy, NY           518-690-0020     HOPP
                Improvement Program            12180                                              Serving residents of
                (TRIP)                                                                            Southern Saratoga
                                                                                                  County

                Better Neighborhoods,          986 Albany St.,                   518-372-6469     HOPP
                Inc.                           Schenectady, NY 12307                              Spanish speaking staff
                                                                                                  available

                Clearpoint Credit              2 Computer Drive West,            1-800-750-2227   Formerly known as
                Counseling Solutions           Albany, NY 12205                                   Consumer Credit
                                                                                                  Counseling Service of
                                                                                                  Central NY

                Homefront Development          568 Lower Allen St.,              518-747-8250     Serving residents of
                Corp.                          Hudson Falls, NY 12839                             Northern Saratoga
                                                                                                  County

  Schenectady   Better Neighborhoods,          986 Albany St.,                   518-372-6469     HOPP
                Inc.                           Schenectady, NY 12307                              Spanish speaking staff
                                                                                                  available

                Affordable Housing             255 Orange St., Albany, NY        518-434-1730     HOPP
                Partnership                    12210

                Albany County Rural            24 Martin Road,                   518-765-2425     HOPP



                                               Rushmore Loan Management Services LLC
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                Housing Alliance             Voorheesville, NY 12186

                Schenectady Community        913 Albany St.,                   518-374-9181     For tenants whose
                Action Program (SCAP)        Schenectady, NY 12307                              buildings are in
                                                                                                process of being
                                                                                                foreclosed or whose
                                                                                                building has been
                                                                                                foreclosed

                Clearpoint Credit            2 Computer Drive West,            1-800-750-2227   Formerly known as
                Counseling Solutions         Albany, NY 12205                                   Consumer Credit
                                                                                                Counseling Service of
                                                                                                Central NY

  Schoharie     Albany County Rural          24 Martin Road,                   518-765-2425     HOPP
                Housing Alliance             Voorheesville, NY 12186

                Western Catskills            125 Main St., Suite A,            607-652-2823
                Community                    Stamford, NY 12167
                RevitilizationCouncil

                Clearpoint Credit            2 Computer Drive West,            1-800-750-2227   Formerly known as
                Counseling Solutions         Albany, NY 12205                                   Consumer Credit
                                                                                                Counseling Service of
                                                                                                Central NY

  Schuyler      Arbor Housing and            26 Bridge St., Corning, NY        607-654-7487     HOPP
                Development                  14830

                Catholic Charities of        215 East Church St., Suite        607-734-9784     HOPP
                Chemung                      101, Elmira, NY 14901

  Seneca        The Housing Council          75 College Ave., 4th Floor,       585-546-3700     HOPP
                                             Rochester, NY 14607

                Community Action in Self     48 Water St., Lyons, NY           315-946-6992     HOPP
                Help                         14489

  St.           Housing Assistance           103 Hand Ave.,                    518-873-6888     HOPP
  Lawrence      Program of Essex County      Elizabethtown, NY 12932
                (HAPEC)

                North Country Housing        19 Main St., Canton, NY           315-386-8576
                Council                      13617

                Clearpoint Credit            215 Washington St. Suite          1-800-750-2227
                Counseling Solutions         005, Watertown, NY 13601

  Steuben       Arbor Housing and            26 Bridge St., Corning, NY        607-654-7487     HOPP
                Development                  14830

                Accord                       84 Schuyler St., Belmont,         585-268-7605     HOPP
                                             NY 14813

                Catholic Charities of        215 East Church St., Suite        607-734-9784     HOPP
                Chemung                      101, Elmira, NY 14901

  Suffolk       American Debt Resources,     248C Larkfield Road, East         1-800-498-0766   HOPP
                Inc.                         Northport, NY 11731                                Spanish speaking staff
                                                                                                available




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                Community Development           2100 Middle Country Rd.,          631-471-1215 ext.     HOPP
                Corporation of Long             Suite 300, Centereach NY          158                   Spanish speaking staff
                Island                          11720                                                   available

                Economic Opportunity            320 Carleton Avenue Suite         631-647-3765 x 1204   HOPP
                Council of Suffolk, Inc.        7800 Central Islip NY             or 1205
                                                11722

                La Fuerza Unida, Inc.           1 School St., Suite 302,          516-759-0788          HOPP
                                                Glen Cove, NY 11542                                     Spanish speaking staff
                                                                                                        available

                Long Island Housing             180 Oser Ave.,                    631-435-4710          HOPP
                Partnership, Inc.               Hauppaugue, NY 11788                                    Spanish speaking staff
                                                                                                        available

                Long Island Housing             640 Johnson Ave., Suite 8,        631-567-5111 x383     HOPP
                Services, Inc.                  Bohemia, NY 11716                                       Spanish speaking staff
                                                                                                        available

                CHHAYA                          37-43 77th St., Jackson           718-478-3848          HOPP
                                                Heights, NY 11372                                       funded for NYC
                                                                                                        Southeast Asian
                                                                                                        speaking Counselors
                                                                                                        on staff

                Central Islip Civic Council     68 Wheeler Rd. Central            631-348-0669          HOPP
                                                Islip, NY 11722                                         Spanish speaking staff
                                                                                                        available

                Debt Counseling Corp.           3033 Express Dr. N,               1-888-354-6332 ext.   HOPP
                                                Hauppauge, NY 11749               316                   Spanish speaking staff
                                                                                                        available

                Greenpath                       1300 Veterans Memorial            888-776-6738          HOPP
                                                Highway, Suite 305,
                                                Hauppaugue NY 11788

                Safeguard Credit                67 Salonga Rd. Northport,         1-800-673-6933        HOPP
                Counseling, Inc.                NY 11768                                                Spanish speaking staff
                                                                                                        available

                Housing Help, Inc.              91-101 Broadway, Suite 6,         631-754-0373
                                                Greenlawn NY 11740

                North Fork Housing              110 South St., Greenport,         631-477-1070
                Alliance                        NY 11944

                Bellport, Hagerman, East        1492 Montauk Highway,             631-286-9236
                Patchogue Alliance, Inc.        Bellport, NY 11713

                Wyandanch Community             59 Cumberbach St.                 631-253-0139 OR       Only serves part of
                Development                     Wyandanch, NY 11798               631-643-4786          Western Suffolk

  Sullivan      RUPCO                           301 Fair St. Kingston, NY         845-331-9860          HOPP
                                                12401                                                   Spanish speaking staff
                                                                                                        available

                Rural Sullivan Housing          6 Pelton St. Monticello, NY       845-794-0348
                Corp.                           12701




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  Tioga         Catholic Charities of        215 East Church St., Suite        607-734-9784     HOPP
                Chemung                      101, Elmira, NY 14901

                Metro Interfaith Housing     21 New St., Binghamton,           607-772-6766     HOPP
                Council                      NY 13903

                Clearpoint Financial         The Metro Center, 49 Court        877-412-2227
                Solutions                    St., Binghamton, NY 13901

  Tompkins      Catholic Charities of        215 East Church St., Suite        607-734-9784     HOPP
                Chemung                      101, Elmira, NY 14901

  Ulster        RUPCO                        301 Fair St. Kingston, NY         845-331-9860     HOPP
                                             12401                                              Spanish speaking staff
                                                                                                available

  Warren        Housing Assistance           103 Hand Ave.,                    518-873-6888     HOPP
                Program of Essex County      Elizabethtown, NY 12932
                (HAPEC)

                Albany County Rural          24 Martin Road,                   518-765-2425     HOPP
                Housing Alliance             Voorheesville, NY 12186

                Clearpoint Financial         2 Computer Drive West,            1-877-412-2227   Formerly known as
                Solutions                    Albany, NY 12205                                   Consumer Credit
                                                                                                Counseling Service of
                                                                                                Central NY

                Homefront Development        568 Lower Allen St.,              518-747-8250
                Corp.                        Hudson Falls, NY 12839

  Washington    Housing Assistance           103 Hand Ave.,                    518-873-6888     HOPP
                Program of Essex County      Elizabethtown, NY 12932
                (HAPEC)

                Albany County Rural          24 Martin Road,                   518-765-2425     HOPP
                Housing Alliance             Voorheesville, NY 12186

                Homefront Development        568 Lower Allen St.,              518-747-8250
                Corp.                        Hudson Falls, NY 12839

  Wayne         Community Action in Self     48 Water St., Lyons, NY           315-946-6992     HOPP
                Help                         14489

                Keuka Housing Council        160 Main St. Penn Yan, NY         315-536-8707     HOPP
                                             14527

                Consumer Credit              50 Chestnut Plaza,                1-888-724-2227   HOPP
                Counseling Service of        Rochester, NY 14604
                Rochester, Inc.

  Westchester   Community Housing            75 South Broadway, Ste 340        914-683-1010     HOPP
                Innovations, Inc.            White Plains, NY 10601

                Housing Action Council       55 South Broadway,                914-332-4144     HOPP
                                             Tarrytown, NY 10591

                Human Development            28 Adee St. Port Chester,         914-939-2005     HOPP
                Services of Westchester,     NY 10573                                           Spanish speaking
                Inc.                                                                            counselors available




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                Westchester Residential      470 Mamaroneck Ave.,              914-428-4507 OR   HOPP
                Opportunities                Suite 410 White Plains, NY        877-WRO-4YOU      Spanish and French
                                             10605                                               speaking staff
                                                                                                 available

                Putnam County Housing        11 Seminary Hill Rd.,             845-225-8493
                Corp.                        Carmel, NY 10512

                Greenpath                    One Barker Ave., Suite 420        888-366-9140
                                             White Plains, NY 10601

                Belmont Housing              1195 Main St. Buffalo, NY         716-884-7791      HOPP
                Resources                    14209

  Wyoming       Consumer Credit              50 Chestnut Plaza,                1-888-724-2227    HOPP
                Counseling Services of       Rochester, NY 14604
                Rochester, Inc.

                ACCORD                       84 Schuyler St., Belmont,         585-268-7605      HOPP
                                             NY 14813

                The Housing Council          75 College Ave., 4th Floor,       585-546-3700      HOPP
                                             Rochester, NY 14607

                Community Action in Self     48 Water St., Lyons, NY           315-946-6992      HOPP
                Help                         14489

  Yates         Keuka Housing Council        160 Main St. Penn Yan, NY         315-536-8707      HOPP
                                             14527




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                      7600367995_NOI_000050_04252018




  Rushmore Loan Management Services LLC                               FIRST CLASS
  PO Box 111209                                                       US POSTAGE
  Nashville, TN 37222                                                AND FEES PAID
  (For Return Mail Only)                                             NEWCOURSE


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                                  9214 8901 1558 2644 4000 1260 82




                                                                         April 25, 2018




                                      000050 S1PA
                                      CZESLAW CHELSTOWSKI
                                      99 WILSON AVENUE
                                      AMITYVILLE NY 11701
             Rushmore Loan Management Services LLC
             PO Box 111209
             Nashville, TN 37222
             (For Return Mail Only)




   000050 S1PA
                                                                                    Date: April 25, 2018
   RYSZARD KOZIKOWSKI
   CZESLAW CHELSTOWSKI
   ANNA CHELSTOWSKA
   99 WILSON AVENUE                                                                 RE: Loan Number:
   AMITYVILLE, NY 11701
                                                                                    Property Address:
                                                                                    99 WILSON AVENUE
                                                                                    AMITYVILLE, NY 11701




Dear Mortgagor(s):

                       YOU MAY BE AT RISK OF FORECLOSURE.
                  PLEASE READ THE FOLLOWING NOTICE CAREFULLY
As of April 25, 2018, your home loan is 814 days, and $88,848.10 dollars in default.

Under New York state law, we are required to send you this notice to inform you that you are
at risk of losing your home.

Attached to this notice is a list of government approved housing counseling agencies in your
area which provide free counseling.
You can also call the NYS Office of the Attorney General’s Homeowner Protection Program
(HOPP) toll-free consumer hotline to be connected to free housing counseling services in
your area at 1-855-HOME-456 (1-855-466-3456), or visit their website at
http://www.aghomehelp.com/. A statewide listing by county is also available at:
http://www.dfs.ny.gov/consumer/mortg_nys_np_counseling_agencies.htm
Qualified free help is available; watch out for companies or people who charge a fee for these
services.

Housing counselors from New York-based agencies listed on the website above are trained to
help homeowners who are having problems making their mortgage payments and can help
you find the best option for your situation. If you wish, you may contact the Loss Mitigation
Department at 1-888-504-7300.




                                               Rushmore Loan Management Services LLC
                                             15480 Laguna Canyon Rd. #100, Irvine, CA 92618
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While we cannot assure that a mutually agreeable resolution is possible, we encourage you to
take immediate steps to try to achieve a resolution. The longer you wait the fewer options you
may have.

If you have not taken any actions to resolve this matter within 90 days from the date this notice
was mailed, we may commence legal action against you (or sooner if you cease to live in the
dwelling as your primary residence).

If you need further information, please call the New York State Department of Financial
Services’ toll-free helpline at 800-342-3736 or visit the Department’s website at
http://www.dfs.ny.gov.

IMPORTANT: You have the right to remain in your home until you receive a court order
telling you to leave the property. If a foreclosure action is filed against you in court, you still
have the right to remain in the home until court orders you to leave. You legally remain the
owner of and are responsible for the property until the property is sold by you or by order of
the court at the conclusion of any foreclosure proceedings. This notice is not an eviction
notice, and a foreclosure action has not yet been commenced against you.

This matter is very important. Please give it your immediate attention.

Sincerely,

Rushmore Loan Management Services LLC
15480 Laguna Canyon Rd. #100
Irvine, CA 92618
PH: 1-888-504-7300
FAX: 949-341-2200

It is possible that after payment of the amounts detailed above, there may be other fees
still due and owing, including but not limited to other fees, escrow advances or corporate
advances that Rushmore paid on your behalf or advanced to your account.

(See disclosures on page 3)




                                     Rushmore Loan Management Services LLC
                                   15480 Laguna Canyon Rd. #100, Irvine, CA 92618
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Federal law requires us to advise you that Rushmore Loan Management Services LLC is a debt
collector and that this is an attempt to collect a debt. Any information obtained may be used for
that purpose. To the extent your obligation has been discharged or is subject to the automatic
stay in a bankruptcy proceeding, this notice is for informational purposes only and does not
constitute a demand for payment or an attempt to collect indebtedness as your personal
obligation. If you are represented by an attorney, please provide us with the attorney’s name,
address and telephone number.

For New York Residents: Please be advised that Rushmore Loan Management Services LLC is
registered with the Superintendent of Financial Services for the State of New York. Borrowers
may file complaints about Rushmore Loan Management Services LLC with the New York State
Department of Financial Services. Borrowers may also obtain further information from the
New York State Department by calling the Department’s Consumer Assistance Unit at
800-342-3736 or by visiting the Department’s website at www.dfs.ny.gov.

Notice to Customers: Rushmore Loan Management Services LLC may report information
about your mortgage account to credit bureaus. Late payments, missed payments, or other
defaults on your account may be reflected in your credit report.

Failure to cure the default on or before 07/24/2018 may result in acceleration of the sums
secured by this Security Instrument, foreclosure by judicial proceeding and sale of the Property.

Partial payments received may be applied to any amounts outstanding, but any partial payments
that are applied will not invalidate our right to commence foreclosure proceedings.

You have the right to reinstate after acceleration and the right to assert in the foreclosure
proceeding the non-existence of a default or any other defense to acceleration and foreclosure.

DEBT COLLECTION

This communication is for the purpose of collecting a debt, and any information obtained from
the trustor(s) will be used for that purpose. Rushmore is acting as a “debt collector” as that term
is defined in the Federal Fair Debt Collection Practices Act. This notice is required by the
provisions of the Fair Debt Collection Practices Act and does not imply that we are attempting
to collect money from any one who has discharged the debt under the bankruptcy laws of the
United States.




                                     Rushmore Loan Management Services LLC
                                   15480 Laguna Canyon Rd. #100, Irvine, CA 92618
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CREDIT REPORTING

We may report information about your account to credit bureaus. Late payments, missed
payments, or other defaults on your account may be reflected in your credit report.

BANKRUPTCY

If you have received a discharge of this debt through bankruptcy, you are not personally liable
to us if you do not pay us the above amount. We can recover only the real property from you
and you will not be obligated to pay us the difference between what we may get from the sale of
the real property and the balance due on the loan. This notice is provided to inform you of what
you must do to retain possession of your real property.

HUD STATEMENT

Pursuant to section 169 of the Housing and Community Development Act of 1987, you may
have the opportunity to receive counseling from various local agencies regarding the retention
of your home. You may obtain a list of the HUD approved housing counseling agencies by
calling the HUD nationwide toll free telephone at 1-800-569-4287.

ADDITIONAL NOTICES

Rushmore Loan Management Services LLC is a Debt Collector, who is attempting to collect a
debt. Any information obtained will be used for that purpose. However, if you are in
Bankruptcy or received a Bankruptcy Discharge of this debt, this letter is being sent for
informational purposes only, is not an attempt to collect a debt and does not constitute a notice
of personal liability with respect to the debt.




                                     Rushmore Loan Management Services LLC
                                   15480 Laguna Canyon Rd. #100, Irvine, CA 92618
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    Servicemembers Civil Relief                     U . S. Department of Housing                            OMB Approval 2502 - 0584
    Act Notice Disclosure                               and Urban Development                                         Exp 3/31/2021
                                                           Office of Housing

    Legal Rights and Protections Under the SCRA

    6HUYLFHPHPEHUVRQ³DFWLYHGXW\´RU³DFWLYHVHUYLFH´RUDVSRXVHRUGHSHQGHQWRIVXFKDVHUYLFHPHPEHUPD\EHHQWLWOHGWR
    FHUWDLQOHJDOSURWHFWLRQVDQGGHEWUHOLHISXUVXDQWWRWKH6HUYLFHPHPEHUV&LYLO5HOLHI$FW 86&3901-4043 
     6&5$ 

    Who May Be Entitled to Legal Protections Under the SCRA?
      x 5HJXODUPHPEHUVRIWKH86$UPHG)RUFHV $UP\1DY\$LU)RUFH0DULQH&RUSVDQG&RDVW
             *XDUG 
        x    5HVHUYHDQG 1DWLRQDO*XDUGSHUVRQQHOZKRKDYHEHHQDFWLYDWHGDQGDUHRQ)HGHUDODFWLYHGXW\
        x    1DWLRQDO*XDUGSHUVRQQHOXQGHUDFDOORURUGHUWRDFWLYHGXW\IRUPRUHWKDQFRQVHFXWLYHGD\VXQGHU
             VHFWLRQ I RIWLWOH8QLWHG6WDWHV&RGHIRUSXUSRVHVRIUHVSRQGLQJWRDQDWLRQDOHPHUJHQF\
             GHFODUHGE\WKH3UHVLGHQWDQGVXSSRUWHGE\)HGHUDOIXQGV
        x    $FWLYHVHUYLFHPHPEHUVRIWKHFRPPLVVLRQHGFRUSVRIWKH3XEOLF+HDOWK6HUYLFHDQGWKH1DWLRQDO
             2FHDQLFDQG$WPRVSKHULF$GPLQLVWUDWLRQ
        x    &HUWDLQ8QLWHG6WDWHVFLWL]HQVVHUYLQJZLWKWKHDUPHGIRUFHVRIDQDWLRQZLWKZKLFKWKH8QLWHG6WDWHV
             LVDOOLHGLQWKHSURVHFXWLRQRIDZDURUPLOLWDU\DFWLRQ

    What Legal Protections Are Servicemembers Entitled To Under the SCRA? 
        x    7KH6&5$VWDWHVWKDWDGHEWLQFXUUHGE\DVHUYLFHPHPEHURUVHUYLFHPHPEHUDQGVSRXVHMRLQWO\SULRUWR
             HQWHULQJPLOLWDU\VHUYLFHVKDOOQRWEHDULQWHUHVWDWDUDWHDERYHGXULQJWKHSHULRGRIPLOLWDU\VHUYLFHDQGRQH
             \HDUWKHUHDIWHULQWKHFDVHRIDQREOLJDWLRQRUOLDELOLW\FRQVLVWLQJRIDPRUWJDJHWUXVWGHHGRURWKHUVHFXULW\LQWKHQDWXUH
             RIDPRUWJDJHRUGXULQJWKHSHULRGRIPLOLWDU\VHUYLFHLQWKHFDVHRIDQ\RWKHUREOLJDWLRQRUOLDELOLW\
        x    7KH6&5$VWDWHVWKDWLQDOHJDODFWLRQWRHQIRUFHDGHEWDJDLQVWUHDOHVWDWHWKDWLVILOHGGXULQJRUZLWKLQRQH
             \HDUDIWHUWKHVHUYLFHPHPEHU¶VPLOLWDU\VHUYLFHDFRXUWPD\VWRSWKHSURFHHGLQJVIRUDSHULRGRIWLPHRU
             DGMXVWWKHGHEW,QDGGLWLRQWKHVDOHIRUHFORVXUHRUVHL]XUHRIUHDOHVWDWHVKDOOQRWEHYDOLGLILWRFFXUVGXULQJ
             RUZLWKLQRQH\HDUDIWHUWKHVHUYLFHPHPEHU¶VPLOLWDU\VHUYLFHXQOHVVWKHFUHGLWRUKDVREWDLQHGDYDOLGFRXUW
             RUGHUDSSURYLQJWKHVDOHIRUHFORVXUHRUVHL]XUHRIWKHUHDOHVWDWH
        x    7KH6&5$FRQWDLQVPDQ\RWKHUSURWHFWLRQVEHVLGHVWKRVHDSSOLFDEOHWRKRPHORDQV

    How Does A Servicemember or Dependent Request Relief Under the SCRA?

        x    ,QRUGHUWRUHTXHVWUHOLHIXQGHUWKH6&5$IURPORDQVZLWKLQWHUHVWUDWHVDERYHDVHUYLFHPHPEHURUVSRXVH
             PXVWSURYLGHDZULWWHQUHTXHVWWRWKHOHQGHUWRJHWKHUZLWKDFRS\RIWKHVHUYLFHPHmEHU¶VPLOLWDU\RUGHUV
             >1RWH /HQGHUVKRXOGSODFHLWVQDPHDGGUHVVDQGFRQWDFWLQIRUPDWLRQKHUH@
        x    7KHUHLVQRUHTXLUHPHQWXQGHUWKH6&5$KRZHYHUIRUDVHUYLFHPHPEHUWRSURYLGHDZULWWHQQRWLFHRUDFRS\
             RIDVHUYLFHPHPEHU¶VPLOLWDU\RUGHUVWRWKHOHQGHULQFRQQHFWLRQZLWKDIRUHFORVXUHRURWKHUGHEWHQIRUFHPHQW
             DFWLRQDJDLQVWUHDOHVWDWH 8QGHUWKHVHFLUFXPVWDQFHVOHQGHUVVKRXOGLQTXLUHDERXWWKHPLOLWDU\VWDWXVRID
             SHUVRQE\VHDUFKLQJWKH'HSDUWPHQWRI'HIHQVH¶V'HIHQVH0DQSRZHU'DWD&HQWHU¶VZHEVLWHFRQWDFWLQJWKH
             VHUYLFHPHPEHUDQGH[DPLQLQJWKHLUILOHVIRULQGLFLDRIPLOLWDU\VHUYLFH $OWKRXJKWKHUHLVQRUHTXLUHPHQWIRU
             VHUYLFHPHPEHUVWRDOHUWWKHOHQGHURIWKHLUPLOLWDU\VWDWXVLQWKHVHVLWXDWLRQVLWVWLOOLVDJRRGLGHDIRUWKH
             VHUYLFHPHPEHUWRGRVR

    How Does a Servicemember or Dependent Obtain Information About the SCRA? 

        x    6HUYLFHPHPEHUVDQGGHSHQGHQWVZLWKTXHVWLRQVDERXWWKH6&5$VKRXOGFRQWDFWWKHLUXQLW¶V-XGJH$GYRFDWHRU
             WKHLULQVWDOODWLRQ¶V/HJDO$VVLVWDQFH2IILFHU$PLOLWDU\OHJDODVVLVWDQFHRIILFHORFDWRUIRUDOOEUDQFKHVRIWKH
             $UPHG)RUFHVLVDYDLODEOHDWKWWSOHJDODVVLVWDQFHODZDIPLOFRQWHQWORFDWRUSKS


        x    ³0LOLWDU\2QH6RXUFH´LVWKH86'HSDUWPHQWRI'HIHQVH¶VLQIRUPDWLRQ UHVRXUFH,I\RXDUHOLVWHGDVHQWLWOHGWR
             OHJDOSURWHFWLRQVXQGHUWKH6&5$ VHHDERYH SOHDVHJRWRZZZPLOLWDU\RQHVRXUFHPLOOHJDORUFDOO
              WROOIUHHIURPWKH8QLWHG6WDWHV WRILQGRXWPRUHLQIRUPDWLRQ'LDOLQJLQVWUXFWLRQVIRUDUHDVRXWVLGH
             WKH8QLWHG6WDWHVDUHSURYLGHGRQWKHZHEVLWH
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                    Approved housing counseling agencies located in New York
                                          by County

  COUNTY        AGENCY                       ADDRESS                           CONTACT INFO       NOTES

  Albany        Affordable Housing           255 Orange St., Albany, NY        518-434-1730       HOPP
                Partnership                  12210                                                Also serves
                                                                                                  surrounding areas

                Albany County Rural          24 Martin Road,                   518-765-2425       HOPP
                Housing Alliance             Voorheesville, NY 12186                              Also serves
                                                                                                  surrounding areas

                United Tenants of Albany     33 Clinton Ave., Albany,          518-436-8997       HOPP
                                             NY 12207                                             For tenants whose
                                                                                                  buildings are in the
                                                                                                  process of foreclosure
                                                                                                  or have been
                                                                                                  foreclosed on

                Better Neighborhoods,        986 Albany St.,                   518-372-6469       HOPP
                Inc.                         Schenectady, NY 12307                                Spanish speaking staff
                                                                                                  available

                Clearpoint Credit            2 Computer Drive West,            1-800-750-2227     Formerly known as
                Counseling Solutions         Albany, NY 12205                                     Consumer Credit
                                                                                                  Counseling Service

                NYS Office For People        44 Holland Ave. Albany,           518-473-1973       Serving all NYS
                With Developmental           NY 12229                                             residents with
                Disabilities (OPWDD)                                                              developmental
                                                                                                  disabilities and their
                                                                                                  families

  Allegany      ACCORD                       84 Schuyler St., Belmont,         585-268-7605       HOPP
                                             NY 14813

                Neighborhood Housing         1937 South Park Ave.              716-823-3630       Also serving
                Services of Buffalo          Buffalo, NY 14220                                    surrounding counties

  Bronx         Neighborhood Housing         848 Concourse Village             718-992-5979       HOPP
                Services- South Bronx        West, Bronx, NY 10451                                Spanish speaking staff
                                                                                                  available

                Neighborhood Housing         1451 East Gun Hill Rd.,           718-881-1180       HOPP
                Services- North Bronx        Bronx, NY 10469                                      Spanish speaking staff
                                                                                                  available

                Parodneck Foundation         121 6th Ave., Suite 501           212-431-9700 ext   HOPP
                                             New York, NY 10013                391                Spanish speaking staff
                                                                                                  available

                MHANY Management,            1 Metro Tech Center North         718-246-8080 ext   HOPP
                Inc.                         11th Floor, Brooklyn, NY          203                Spanish speaking staff
                                             11201                                                available

                Brooklyn Housing and         415 Albemarle Rd.,                718-435-7585       HOPP
                Family Services, Inc.        Brooklyn, NY 11218                                   Spanish and French


                                             Rushmore Loan Management Services LLC
                                           15480 Laguna Canyon Rd. #100, Irvine, CA 92618
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                                                                                                    Creole speaking staff
                                                                                                    available

                Grow Brooklyn, Inc.           1474 Myrtle Ave.,                 718-418-8232 ext.   HOPP
                                              Brooklyn, NY 11237                206                 Spanish and Bengali
                                                                                                    speaking staff
                                                                                                    available

                NYC Commission on             1932 Arthur Avenue, Room          718-579-6728 OR     Spanish speaking staff
                Human Rights                  203A, Bronx, NY 10457             718-579-6900        available

  Broome        Metro Interfaith Housing      21 New St., Binghamton,           607-772-6766        HOPP
                Council                       NY 13903

                Clearpoint Credit             The Metro Center, 49 Court        1-800-750-2227
                Counseling Solutions          St., Binghamton, NY 13901

  Cattaraugus   Chautauqua Opportunities,     402 Chandler St.,                 716-661-9430        HOPP
                Inc.                          Jamestown, NY 14701

                ACCORD                        84 Schuyler St., Belmont,         585-268-7605        HOPP
                                              NY 14813

                Neighborhood Housing          1937 South Park Ave.,             716-823-3630
                Services of South Buffalo     Buffalo, NY 14220

  Cayuga        Home Headquarters, Inc.       990 James St., Suite 1,           315-474-1939        HOPP
                                              Syracuse NY 13203                                     Spanish speaking staff
                                                                                                    available

                Clearpoint Financial          5794 Widewaters Parkway,          1-877-412-2227      Formerly known as
                Solutions                     Syracuse, NY 13214                                    Consumer Credit
                                                                                                    Counseling Service of
                                                                                                    Central NY

  Chautauqua    Chautauqua Opportunities,     402 Chandler St.,                 716-661-9430        HOPP
                Inc.                          Jamestown, NY 14701

                Chautauqua Home               2 Academy St., Mayville,          716-753-4650        Spanish speaking staff
                Rehabilitation and            NY 14757                                              available
                Improvement Corp.
                (CHRIC)

                Neighborhood Housing          1937 South Park Ave.,             716-823-3630
                Services of South Buffalo     Buffalo, NY 14220

  Chemung       Arbor Housing and             26 Bridge St., Corning, NY        607-654-7487        HOPP
                Development                   14830

                Catholic Charities of         215 East Church St., Suite        607-734-9784        HOPP
                Chemung                       101, Elmira, NY 14901

  Chenango      Metro Interfaith Housing      21 New St., Binghamton,           607-772-2766        HOPP
                Council                       NY 13903

                Clearpoint Credit             The Metro Center, 49 Court        1-800-750-2227
                Counseling Solutions          St., Binghamton, NY 13901

  Clinton       Friends of the North          1 Mill St., Keeseville, NY        518-834-9606        HOPP
                Country                       12944




                                              Rushmore Loan Management Services LLC
                                            15480 Laguna Canyon Rd. #100, Irvine, CA 92618
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                Housing Assistance            103 Hand Ave.,                    518-873-6888           HOPP
                Program of Essex County       Elizabethtown, NY 12932
                (HAPEC)

  Columbia      Housing Resources of          252 Columbia St., Hudson,         518-822-0707           HOPP
                Columbia County, Inc.         NY 12534

  Cortland      Home Headquarters, Inc.       990 James St., Suite 1,           315-474-1939           HOPP
                                              Syracuse NY 13203                                        Spanish speaking staff
                                                                                                       available

                Cortland Housing              36 Taylor St. Cortland, NY        607-753-8271
                Assistance Council, Inc.      13045

                Clearpoint Credit             The Metro Center, 49 Court        1-800-750-2227
                Counseling Solutions          St., Binghamton, NY 13901

                Western Catskills             125 Main St., Suite A,            607-652-2823           HOPP
                Community Revitilization      Stamford, NY 12167
                Council

  Delaware      RUPCO                         301 Fair St. Kingston, NY         845-331-9860           HOPP
                                              12401                                                    Spanish speaking staff
                                                                                                       available

                Delaware Opportunities,       35430 State Hgwy. 10              607-746-1650
                Inc.                          Hamden, NY 13782

                Clearpoint Credit             The Metro Center, 49 Court        1-800-750-2227
                Counseling Solutions          St., Binghamton, NY 13901

  Dutchess      Hudson River Housing          291 Mill St Poughkeepsie,         845-454-9288           HOPP
                                              NY 12601

                Putnam County Housing         11 Seminary Hill Rd.,             845-225-8493
                Corp.                         Carmel, NY 10512

  Erie          Belmont Housing               1195 Main St. Buffalo, NY         716-884-7791           HOPP
                Resources                     14209

                West Side & Black Rock        359 Connecticut St.,              Tuesdays and           HOPP
                Riverside NHS, Inc.           Buffalo, NY 14213                 Wednesdays at (716)
                                                                                885-2344, Thursdays
                                                                                and Fridays at (716)
                                                                                877-3910

                Buffalo Urban League          15 Genesee Street                 (716) 250-2400         HOPP
                                              Buffalo, NY 14203

                Chautauqua Opportunities,     402 Chandler St.,                 716-661-9430           HOPP
                Inc.                          Jamestown, NY 14701

                Consumer Credit               40 Gardenville Parkway,           1-800-926-9685 or      HOPP
                Counseling Services of        Suite 300, West Seneca, NY        716-712-2060
                Buffalo, Inc.                 14224

                Neighborhood Assistance       135 Delaware Ave Ste 102          716-834-6222
                Corp. of America              Buffalo, New York 14202-
                                              2410

                Neighborhood Housing          1937 South Park Ave.,             716-823-3630



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                Services of South Buffalo     Buffalo, NY 14220

  Essex         Friends of the North          1 Mill St., Keeseville, NY        518-834-9606        HOPP
                Country                       12944

                Housing Assistance            103 Hand Ave.,                    518-873-6888        HOPP
                Program of Essex County       Elizabethtown, NY 12932
                (HAPEC)

                Homefront Development         568 Lower Allen St.,              518-747-8250
                Corp.                         Hudson Falls, NY 12839

  Franklin      Friends of the North          1 Mill St., Keeseville, NY        518-834-9606        HOPP
                Country                       12944

                Housing Assistance            103 Hand Ave.,                    518-873-6888        HOPP
                Program of Essex County       Elizabethtown, NY 12932
                (HAPEC)

                Franklin County               337 West Main St. Malone,         (518) 483-5934      HOPP
                Community Housing             NY 12953
                Council Inc.

                Clearpoint Credit             215 Washington St. Suite          1-800-750-2227
                Counseling Solutions          005, Watertown, NY 13601

  Fulton        Better Neighborhoods,         986 Albany St.,                   518-372-6469        HOPP
                Inc.                          Schenectady, NY 12307

                UNHS NeighborWorks            1611 Genesee Street, Utica,       315-724-4197        HOPP
                Homeownership Center          NY 13501

  Genesee       The Housing Council           75 College Ave., 4th Floor,       585-546-3700 ext.   HOPP
                                              Rochester, NY 14607               3015

                Consumer Credit               1000 University Ave., Suite       1-888-724-2227      HOPP
                Counseling Services of        900 Rochester, NY 14607
                Rochester, Inc.

                Belmont Housing               1195 Main St., Buffalo, NY        716-884-7791        HOPP
                Resources                     14209

                Consumer Credit               40 Gardenville Parkway,           1-800-926-9685 or
                Counseling Services of        Suite 300, West Seneca, NY        716-712-2060
                Buffalo, Inc.                 14224

  Greene        Albany County Rural           24 Martin Road,                   518-765-2425        HOPP
                Housing Alliance              Voorheesville, NY 12186

                RUPCO                         301 Fair St. Kingston, NY         845-331-9860        HOPP
                                              12401                                                 Spanish speaking staff
                                                                                                    available

                Western Catskills             125 Main St., Suite A,            607-652-2823
                Community Revitilization      Stamford, NY 12167
                Council

                Clearpoint Credit             2 Computer Drive West,            1-800-750-2227      Formerly known as
                Counseling Solutions          Albany, NY 12205                                      Consumer Credit
                                                                                                    Counseling Service of
                                                                                                    Central NY



                                              Rushmore Loan Management Services LLC
                                            15480 Laguna Canyon Rd. #100, Irvine, CA 92618
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  Hamilton      Housing Assistance           103 Hand Ave.,                    518-873-6888     HOPP
                Program of Essex County      Elizabethtown, NY 12932
                (HAPEC)

                Clearpoint Credit            289 Genesee St., Utica, NY        1-800-750-2227
                Counseling Solutions         13501

                Homefront Development        568 Lower Allen St.,              518-747-8250
                Corp.                        Hudson Falls, NY 12839

  Herkimer      UNHS NeighborWorks           1611 Genesee Street, Utica,       315-724-4197     HOPP
                Homeownership Center         NY 13501

                Clearpoint Credit            289 Genesee St., Utica, NY        1-800-750-2227
                Counseling Solutions         13501

  Jefferson     Home Headquarters, Inc.      990 James St., Suite 1,           315-474-1939     HOPP
                                             Syracuse NY 13203                                  Spanish speaking staff
                                                                                                available

                Clearpoint Credit            215 Washington St. Suite          1-800-750-2227
                Counseling Solutions         005, Watertown, NY 13601

  Kings         Cypress Hills Local Dev.     625 Jamaica Avenue,               718-647-2800     HOPP
                Corp.                        Brooklyn, NY 11208                                 Spanish speaking staff
                                                                                                available

                Pratt Area Community         1000 Dean St., Brooklyn,          718-522-2613     HOPP
                Council                      NY 11238

                Grow Brooklyn, Inc.          1474 Myrtle Ave.,                 718-418-8232     HOPP
                                             Brooklyn, NY 11237                                 Spanish and Bengali
                                                                                                speaking staff
                                                                                                available

                Bridge Street Dev. Corp.     460 Nostrand Ave.,                718-636-7596     HOPP
                                             Brooklyn, NY 11216                                 Spanish Speaking
                                                                                                staff available

                MHANY Management,            1 Metro Tech Center North         718-246-8080     HOPP
                Inc.                         11th Floor, Brooklyn, NY                           Spanish speaking staff
                                             11201                                              available

                Neighbors Helping            621 Degraw St., Brooklyn,         718-237-2017     HOPP
                Neighbors (NHN)              NY 11217                                           Spanish speaking staff
                                                                                                available

                Brooklyn Housing and         415 Albemarle Rd.,                718-435-7585     HOPP
                Family Services, Inc.        Brooklyn, NY 11218                                 Spanish and French
                                                                                                Creole speaking staff
                                                                                                available

                Parodneck Foundation         121 6th Ave., Suite 501           212-431-9700     HOPP
                                             New York, NY 10013                                 Spanish speaking staff
                                                                                                available

                Neighborhood Housing         1012 Gates Ave., 2nd Floor,       718-919-2100     HOPP
                Services of Bedford-         Brooklyn, NY 11221
                Stuyvesant

                CAMBA                        1720 Church Ave., 2nd             718-287-0010     HOPP



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                                               Floor, Brooklyn, NY 11226

                Neighborhood Housing           2806 Church Ave.,                 718-469-4679       HOPP
                Services- East Flatbush        Brooklyn, NY 11226                                   Spanish speaking staff
                                                                                                    available

                Greater Sheepshead Bay         2105 East 22nd St.,               718-332-0520
                Dev. Corp.                     Brooklyn, NY 11229

                Southern Brooklyn              4006 18th Ave., Brooklyn,         718-435-1300
                Community Organization         NY 11218

                Brooklyn Neighborhood          1482 Saint James Pl., Suite       718-773-4116
                Improvement Association        1C, Brooklyn, NY 11213

                Council of Jewish              1523 Avenue M, Brooklyn,          718-377-2900 ext   Arabic, Russian and
                Organizations of Flatbush,     NY 11230                          7625               Spanish speaking staff
                Inc.                                                                                available

                Money Management               26 Court St., Suite 2610,         1-866-232-9080     Spanish speaking staff
                International, Inc.            Brooklyn, NY 11242                                   available

                GreenPath Debt Solutions       175 Remsen St., Suite 1102,       866-285-4033
                                               Brooklyn, NY 11201

                NY Commission of               275 Livingston St.,               718-722-3130       Spanish speaking staff
                Human Rights- Brooklyn         Brooklyn, NY 11217                                   available

  Lewis         Home Headquarters, Inc.        990 James St., Suite 1,           315-474-1939       HOPP
                                               Syracuse NY 13203

                Clearpoint Credit              215 Washington St. Suite          1-800-750-2227
                Counseling Solutions           005, Watertown, NY 13601

  Livingston    Consumer Credit                1000 University Ave., Suite       1-888-724-2227     HOPP
                Counseling Services of         900 Rochester, NY 14607
                Rochester, Inc.

                The Housing Council            75 College Ave., 4th Floor,       585-546-3700       HOPP
                                               Rochester, NY 14607

  Madison       Home Headquarters, Inc.        990 James St., Suite 1,           315-474-1939       HOPP
                                               Syracuse NY 13203                                    Spanish speaking staff
                                                                                                    available

                UNHS NeighborWorks             1611 Genesee Street, Utica,       315-724-4197       HOPP
                Homeownership Center           NY 13501

                Community Action               3 East Main St., Morrisville,     315-684-3144       ASL trained staff
                Program for Madison            NY 13408                                             available
                County

                Clearpoint Credit              289 Genesee St., Utica, NY        1-800-750-2227
                Counseling Solutions           13501

  Monroe        Consumer Credit                1000 University Ave., Suite       1-888-724-2227     HOPP
                Counseling Services of         900 Rochester, NY 14607
                Rochester, Inc.

                Marketview Heights             308 North Street, Rochester,      585-423-1540       HOPP
                Association                    NY 14605



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                The Housing Council          75 College Ave., 4th Floor,       585-546-3700          HOPP
                                             Rochester, NY 14607

                Urban League of              265 North Clinton Ave.,           585-325-6530
                Rochester                    Rochester, NY

  Montgomery    Better Neighborhoods,        986 Albany St.,                   518-372-6469          HOPP
                Inc.                         Schenectady, NY 12307                                   Spanish speaking staff
                                                                                                     available

                UNHS NeighborWorks           1611 Genesee Street, Utica,       315-724-4197          HOPP
                Homeownership Center         NY 13501

  Nassau        American Debt Resources,     248C Larkfield Road, East         1-800-498-0766        HOPP
                Inc.                         Northport, NY 11731                                     Spanish speaking staff
                                                                                                     available

                Community Development        333 No Main St., Freeport,        631-471-1215 x158     HOPP
                Corporation of Long          NY 11520                                                Spanish speaking staff
                Island                                                                               available

                Hispanic Brotherhood of      59 Clinton Ave., Rockville        516-766-6610          HOPP
                Rockville Centre, Inc.       Centre, NY 11570                                        Spanish speaking staff
                                                                                                     available

                La Fuerza Unida, Inc.        1 School St., Suite 302,          516-759-0788          HOPP
                                             Glen Cove, NY 11542                                     Spanish speaking staff
                                                                                                     available

                LIFE, Inc.                   112 Spruce St., Cedarhurst,       516-374-4564          HOPP
                                             NY 11516                                                Spanish speaking staff
                                                                                                     available

                Long Island Housing          180 Oser Ave.,                    631-435-4710          HOPP
                Partnership, Inc.            Hauppaugue, NY 11788                                    Spanish speaking staff
                                                                                                     available

                Long Island Housing          640 Johnson Ave., Suite 8,        631-567-5111 x383     HOPP
                Services, Inc.               Bohemia, NY 11716                                       Spanish speaking staff
                                                                                                     available

                Rockaway Development         1920 Mott Ave. Rm #2, Far         718-327-5300          HOPP
                and Revitilization Corp      Rockaway, NY 11691                                      funded in NYC Serves
                                                                                                     Western Nassau

                CHHAYA                       37-43 77th St., Jackson           718-478-3848          HOPP
                                             Heights, NY 11372                                       funded in NYC
                                                                                                     Southeast Asian
                                                                                                     speaking Counselors
                                                                                                     on staff

                GreenPath Debt Solutions     300 Garden City Plaza,            888-776-6738          HOPP
                                             Suite 220 Garden City, NY
                                             11530

                Debt Counseling Corp.        3033 Express Dr. N,               1-888-354-6332 ext.   HOPP
                                             Hauppauge, NY 11749               316                   Spanish speaking staff
                                                                                                     available

                Safeguard Credit             67 Salonga Rd. Northport,         1-800-673-6933        HOPP
                Counseling, Inc.             NY 11768                                                Spanish speaking staff



                                             Rushmore Loan Management Services LLC
                                           15480 Laguna Canyon Rd. #100, Irvine, CA 92618
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                                                                                                       available

  New York      MHANY Management,             1 Metro Tech Center North         718-246-8080           HOPP
                Inc.                          11th Floor, Brooklyn, NY                                 Spanish speaking staff
                                              11201                                                    available

                Grow Brooklyn, Inc.           1474 Myrtle Ave.,                 718-418-8232           HOPP
                                              Brooklyn, NY 11237                                       Spanish and Bengali
                                                                                                       speaking staff
                                                                                                       available

                Parodneck Foundation          121 6th Ave., Suite 501           212-431-9700           HOPP
                                              New York, NY 10013                                       Spanish speaking staff
                                                                                                       available

                AAFE Community                111 Division St., New York,       212-964-2288           Chinese and Korean
                Development Fund, Inc.        NY 10002                                                 speaking staff
                                                                                                       available

                Abyssinian Development        2283 7th Avenue, New              646-442-6545
                Corp.                         York, NY 10030

                Neighborhood Housing          307 West 36th St., 12th           212-519-2500           Spanish and Creole
                Services of NYC               floor, New York, NY 10018                                speaking staff
                                                                                                       available

                Harlem Congregations for      2854 Frederick Douglass           212-281-4887 ext.      Spanish speaking staff
                Community Development         Blvd., New York, NY 10039         206 or 231             available

                West Harlem Group             1652 Amsterdam Ave. New           212-862-1399
                Assistance, Inc.              York, NY 10031

                GreenPath Debt Solutions      One Penn Plaza, Suite 2108,       866-285-4059
                                              New York, NY 10119

  Niagara       Belmont Housing               1195 Main St., Buffalo, NY        716-884-7791           HOPP
                Resources                     14209

                West Side & Black Rock        203 Military Rd., Buffalo,        Tuesdays and           HOPP
                Riverside NHS, Inc.           NY 14207                          Wednesdays at (716)
                                                                                885-2344, Thursdays
                                                                                and Fridays at (716)
                                                                                877-3910

                Neighborhood Housing          1937 South Park Ave.,             716-823-3630
                Services of South Buffalo     Buffalo, NY 14220

  Oneida        UNHS NeighborWorks            1611 Genesee Street, Utica,       315-724-4197           HOPP
                Homeownership Center          NY 13501

                Clearpoint Credit             5794 Widewaters Parkway,          1-800-750-2227
                Counseling Solutions          Syracuse, NY 13214

                Northeast Hawley              101 Gertrude St., Syracuse,       315-425-1032
                Development Corp.             NY 13202

  Onondaga      Home Headquarters, Inc.       990 James St., Suite 1,           315-474-1939           HOPP
                                              Syracuse NY 13203                                        Spanish speaking staff
                                                                                                       available

                Clearpoint Credit             5794 Widewaters Parkway,          1-800-750-2227



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                Counseling Solutions          Syracuse, NY 13214

                Cooperative Federal           800 N. Salina St., Syracuse,      315-476-5290     Service for credit
                Credit Union                  NY 13208                                           union members only

  Ontario       Consumer Credit               1000 University Ave., Suite       1-888-724-2227   HOPP
                Counseling Services of        900 Rochester, NY 14607
                Rochester, Inc.

                Community Action in Self      48 Water St., Lyons, NY           315-946-6992     HOPP
                Help                          14489

                Keuka Housing Council         160 Main St. Penn Yan, NY         315-536-8707     HOPP
                                              14527

  Orange        Hudson River Housing          291 Mill St Poughkeepsie,         845-454-9288     HOPP
                                              NY 12601

                Orange County Rural           59b Boniface Drive, Pine          845-713-4568     HOPP
                Development Advisory          Bush, NY 12566
                Corp.

  Orleans       Belmont Housing               1195 Main St., Buffalo, NY        716-884-7791     HOPP
                Resources                     14209

                The Housing Council           75 College Ave., 4th Floor,       585-546-3700     HOPP
                                              Rochester, NY 14607

                Consumer Credit               1000 University Ave., Suite       1-888-724-2227   HOPP
                Counseling Service of         900 Rochester, NY 14607
                Rochester, Inc.

  Oswego        Fulton Community              125 West Broadway, Fulton,        315-593-7166     HOPP
                Development Agency            NY 13069

                Oswego Housing                2971 County Rte. 26, Parish,      315-625-4520
                Development Council, Inc.     NY 13131

                Clearpoint Credit             5794 Widewaters Parkway,          1-800-750-2227
                Counseling Solutions          Syracuse, NY 13214

  Otsego        UNHS NeighborWorks            1611 Genesee Street, Utica,       315-724-4197     HOPP
                Homeownership Center          NY 13501

                Clearpoint Creidt             The Metro Center, 49 Court        1-800-750-2227
                Counseling Solutions          St., Binghamton, NY 13901

  Putnam        Housing Action Council        55 South Broadway,                914-332-4144     HOPP
                                              Tarrytown, NY 10591

                Putnam County Housing         11 Seminary Hill Rd.,             845-225-8493     HOPP
                Corp.                         Carmel, NY 10512

  Queens        Neighborhood Housing          60-20 Woodside Ave.,              718-457-1017     HOPP
                Services of Northern          Flushing, NY 11377                                 Spanish and French
                Queens                                                                           Creole speaking staff
                                                                                                 available




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                Neighborhood Housing         89-70 162nd St., Jamaica,         718-291-7400     HOPP
                Services- Jamaica            NY 11432                                           Spanish speaking staff
                                                                                                available

                CHHAYA                       37-43 77th St., Jackson           718-478-3848     HOPP
                                             Heights, NY 11372                                  Southeast Asian
                                                                                                speaking Counselors
                                                                                                on staff

                Rockaway Development         1920 Mott Ave., Second            718-327-5300     HOPP
                and Revitilization Corp      Floor, Far Rockaway, NY
                                             11691

                Parodneck Foundation         121 6th Ave., Suite 501           212-431-9700     HOPP
                                             New York, NY 10013                                 Spanish speaking staff
                                                                                                available

                MHANY Management,            1 Metro Tech Center North         718-246-8080     HOPP
                Inc.                         11th Floor, Brooklyn, NY                           Spanish speaking staff
                                             11201                                              available

                Brooklyn Housing and         415 Albemarle Rd.,                718-435-7585     HOPP
                Family Services, Inc.        Brooklyn, NY 11218                                 Spanish and French
                                                                                                Creole speaking staff
                                                                                                available

                NY Commission of             153-01 Jamaica Ave.               718-657-2465     Spanish speaking staff
                Human Rights- Queens         Jamaica, NY 11432                                  available

                GreenPath Debt Solutions     80-02 Kew Gardens Road,           866-285-4036
                                             Suite 710 Kew Gardens, NY
                                             11415-3607

                Margert Community            325 Beach 37th Street Far         718-471-3724
                Corporation                  Rockaway, NY 11691

                Queens Community House       108-25 62nd Drive, Forest         718-592-5757
                                             Hills, NY 11375

  Rensselaer    Troy Rehabilitation and      415 River St., Troy, NY           518-690-0020     HOPP
                Improvement Program          12180
                (TRIP)

                United Tenants of Albany     33 Clinton Ave., Albany,          518-436-8997     HOPP
                                             NY 12207                                           For tenants whose
                                                                                                buildings are in
                                                                                                process of being
                                                                                                foreclosed or whose
                                                                                                building has been
                                                                                                foreclosed

                Albany County Rural          24 Martin Road,                   518-765-2425     HOPP
                Housing Alliance             Voorheesville, NY 12186

                Affordable Housing           255 Orange St., Albany, NY        518-434-1730     HOPP
                Partnership                  12210

                Clearpoint Credit            2 Computer Drive West,            1-800-750-2227   Formerly known as
                Counseling Solutions         Albany, NY 12205                                   Consumer Credit
                                                                                                Counseling Service of
                                                                                                Central NY


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  Richmond      Northfield Community           160 Heberton Ave. Staten          718-442-7351     HOPP
                Local Dev. Corp. of Staten     Island, NY 10302
                Island

                MHANY Management,              1 Metro Tech Center North         718-246-8080     HOPP
                Inc.                           11th Floor, Brooklyn, NY                           Spanish speaking staff
                                               11201                                              available

                Parodneck Foundation           121 6th Ave., Suite 501           212-431-9700     HOPP
                                               New York, NY 10013                                 Spanish speaking staff
                                                                                                  available

                Neighborhood Housing           770 Castleton Ave., Staten        718-442-8080     HOPP
                Services, Staten Island        Island, NY 10310                                   Spanish speaking staff
                                                                                                  available

                NYC Commission on              60 Bay St. 7th Floor, Staten      718-390-8506     Spanish speaking staff
                Human Rights- Staten           Island, NY 10301                                   available
                Island

  Rockland      Housing Action Council         55 South Broadway,                914-332-4144     HOPP
                                               Tarrytown, NY 10591

                Rockland Housing Action        120-126 North Main St.,           845-708-5799     HOPP
                Coalition                      Annex-First Floor, New                             Spanish, Creole,
                                               City, NY 10956                                     Hebrew, and ASL
                                                                                                  speaking staff
                                                                                                  available

  Saratoga      Albany County Rural            24 Martin Road,                   518-765-2425     HOPP
                Housing Alliance               Voorheesville, NY 12186

                Affordable Housing             255 Orange St., Albany, NY        518-434-1730     HOPP
                Partnership                    12210

                Troy Rehabilitation and        415 River St., Troy, NY           518-690-0020     HOPP
                Improvement Program            12180                                              Serving residents of
                (TRIP)                                                                            Southern Saratoga
                                                                                                  County

                Better Neighborhoods,          986 Albany St.,                   518-372-6469     HOPP
                Inc.                           Schenectady, NY 12307                              Spanish speaking staff
                                                                                                  available

                Clearpoint Credit              2 Computer Drive West,            1-800-750-2227   Formerly known as
                Counseling Solutions           Albany, NY 12205                                   Consumer Credit
                                                                                                  Counseling Service of
                                                                                                  Central NY

                Homefront Development          568 Lower Allen St.,              518-747-8250     Serving residents of
                Corp.                          Hudson Falls, NY 12839                             Northern Saratoga
                                                                                                  County

  Schenectady   Better Neighborhoods,          986 Albany St.,                   518-372-6469     HOPP
                Inc.                           Schenectady, NY 12307                              Spanish speaking staff
                                                                                                  available

                Affordable Housing             255 Orange St., Albany, NY        518-434-1730     HOPP
                Partnership                    12210

                Albany County Rural            24 Martin Road,                   518-765-2425     HOPP



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                Housing Alliance             Voorheesville, NY 12186

                Schenectady Community        913 Albany St.,                   518-374-9181     For tenants whose
                Action Program (SCAP)        Schenectady, NY 12307                              buildings are in
                                                                                                process of being
                                                                                                foreclosed or whose
                                                                                                building has been
                                                                                                foreclosed

                Clearpoint Credit            2 Computer Drive West,            1-800-750-2227   Formerly known as
                Counseling Solutions         Albany, NY 12205                                   Consumer Credit
                                                                                                Counseling Service of
                                                                                                Central NY

  Schoharie     Albany County Rural          24 Martin Road,                   518-765-2425     HOPP
                Housing Alliance             Voorheesville, NY 12186

                Western Catskills            125 Main St., Suite A,            607-652-2823
                Community                    Stamford, NY 12167
                RevitilizationCouncil

                Clearpoint Credit            2 Computer Drive West,            1-800-750-2227   Formerly known as
                Counseling Solutions         Albany, NY 12205                                   Consumer Credit
                                                                                                Counseling Service of
                                                                                                Central NY

  Schuyler      Arbor Housing and            26 Bridge St., Corning, NY        607-654-7487     HOPP
                Development                  14830

                Catholic Charities of        215 East Church St., Suite        607-734-9784     HOPP
                Chemung                      101, Elmira, NY 14901

  Seneca        The Housing Council          75 College Ave., 4th Floor,       585-546-3700     HOPP
                                             Rochester, NY 14607

                Community Action in Self     48 Water St., Lyons, NY           315-946-6992     HOPP
                Help                         14489

  St.           Housing Assistance           103 Hand Ave.,                    518-873-6888     HOPP
  Lawrence      Program of Essex County      Elizabethtown, NY 12932
                (HAPEC)

                North Country Housing        19 Main St., Canton, NY           315-386-8576
                Council                      13617

                Clearpoint Credit            215 Washington St. Suite          1-800-750-2227
                Counseling Solutions         005, Watertown, NY 13601

  Steuben       Arbor Housing and            26 Bridge St., Corning, NY        607-654-7487     HOPP
                Development                  14830

                Accord                       84 Schuyler St., Belmont,         585-268-7605     HOPP
                                             NY 14813

                Catholic Charities of        215 East Church St., Suite        607-734-9784     HOPP
                Chemung                      101, Elmira, NY 14901

  Suffolk       American Debt Resources,     248C Larkfield Road, East         1-800-498-0766   HOPP
                Inc.                         Northport, NY 11731                                Spanish speaking staff
                                                                                                available




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                Community Development           2100 Middle Country Rd.,          631-471-1215 ext.     HOPP
                Corporation of Long             Suite 300, Centereach NY          158                   Spanish speaking staff
                Island                          11720                                                   available

                Economic Opportunity            320 Carleton Avenue Suite         631-647-3765 x 1204   HOPP
                Council of Suffolk, Inc.        7800 Central Islip NY             or 1205
                                                11722

                La Fuerza Unida, Inc.           1 School St., Suite 302,          516-759-0788          HOPP
                                                Glen Cove, NY 11542                                     Spanish speaking staff
                                                                                                        available

                Long Island Housing             180 Oser Ave.,                    631-435-4710          HOPP
                Partnership, Inc.               Hauppaugue, NY 11788                                    Spanish speaking staff
                                                                                                        available

                Long Island Housing             640 Johnson Ave., Suite 8,        631-567-5111 x383     HOPP
                Services, Inc.                  Bohemia, NY 11716                                       Spanish speaking staff
                                                                                                        available

                CHHAYA                          37-43 77th St., Jackson           718-478-3848          HOPP
                                                Heights, NY 11372                                       funded for NYC
                                                                                                        Southeast Asian
                                                                                                        speaking Counselors
                                                                                                        on staff

                Central Islip Civic Council     68 Wheeler Rd. Central            631-348-0669          HOPP
                                                Islip, NY 11722                                         Spanish speaking staff
                                                                                                        available

                Debt Counseling Corp.           3033 Express Dr. N,               1-888-354-6332 ext.   HOPP
                                                Hauppauge, NY 11749               316                   Spanish speaking staff
                                                                                                        available

                Greenpath                       1300 Veterans Memorial            888-776-6738          HOPP
                                                Highway, Suite 305,
                                                Hauppaugue NY 11788

                Safeguard Credit                67 Salonga Rd. Northport,         1-800-673-6933        HOPP
                Counseling, Inc.                NY 11768                                                Spanish speaking staff
                                                                                                        available

                Housing Help, Inc.              91-101 Broadway, Suite 6,         631-754-0373
                                                Greenlawn NY 11740

                North Fork Housing              110 South St., Greenport,         631-477-1070
                Alliance                        NY 11944

                Bellport, Hagerman, East        1492 Montauk Highway,             631-286-9236
                Patchogue Alliance, Inc.        Bellport, NY 11713

                Wyandanch Community             59 Cumberbach St.                 631-253-0139 OR       Only serves part of
                Development                     Wyandanch, NY 11798               631-643-4786          Western Suffolk

  Sullivan      RUPCO                           301 Fair St. Kingston, NY         845-331-9860          HOPP
                                                12401                                                   Spanish speaking staff
                                                                                                        available

                Rural Sullivan Housing          6 Pelton St. Monticello, NY       845-794-0348
                Corp.                           12701




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  Tioga         Catholic Charities of        215 East Church St., Suite        607-734-9784     HOPP
                Chemung                      101, Elmira, NY 14901

                Metro Interfaith Housing     21 New St., Binghamton,           607-772-6766     HOPP
                Council                      NY 13903

                Clearpoint Financial         The Metro Center, 49 Court        877-412-2227
                Solutions                    St., Binghamton, NY 13901

  Tompkins      Catholic Charities of        215 East Church St., Suite        607-734-9784     HOPP
                Chemung                      101, Elmira, NY 14901

  Ulster        RUPCO                        301 Fair St. Kingston, NY         845-331-9860     HOPP
                                             12401                                              Spanish speaking staff
                                                                                                available

  Warren        Housing Assistance           103 Hand Ave.,                    518-873-6888     HOPP
                Program of Essex County      Elizabethtown, NY 12932
                (HAPEC)

                Albany County Rural          24 Martin Road,                   518-765-2425     HOPP
                Housing Alliance             Voorheesville, NY 12186

                Clearpoint Financial         2 Computer Drive West,            1-877-412-2227   Formerly known as
                Solutions                    Albany, NY 12205                                   Consumer Credit
                                                                                                Counseling Service of
                                                                                                Central NY

                Homefront Development        568 Lower Allen St.,              518-747-8250
                Corp.                        Hudson Falls, NY 12839

  Washington    Housing Assistance           103 Hand Ave.,                    518-873-6888     HOPP
                Program of Essex County      Elizabethtown, NY 12932
                (HAPEC)

                Albany County Rural          24 Martin Road,                   518-765-2425     HOPP
                Housing Alliance             Voorheesville, NY 12186

                Homefront Development        568 Lower Allen St.,              518-747-8250
                Corp.                        Hudson Falls, NY 12839

  Wayne         Community Action in Self     48 Water St., Lyons, NY           315-946-6992     HOPP
                Help                         14489

                Keuka Housing Council        160 Main St. Penn Yan, NY         315-536-8707     HOPP
                                             14527

                Consumer Credit              50 Chestnut Plaza,                1-888-724-2227   HOPP
                Counseling Service of        Rochester, NY 14604
                Rochester, Inc.

  Westchester   Community Housing            75 South Broadway, Ste 340        914-683-1010     HOPP
                Innovations, Inc.            White Plains, NY 10601

                Housing Action Council       55 South Broadway,                914-332-4144     HOPP
                                             Tarrytown, NY 10591

                Human Development            28 Adee St. Port Chester,         914-939-2005     HOPP
                Services of Westchester,     NY 10573                                           Spanish speaking
                Inc.                                                                            counselors available




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                Westchester Residential      470 Mamaroneck Ave.,              914-428-4507 OR   HOPP
                Opportunities                Suite 410 White Plains, NY        877-WRO-4YOU      Spanish and French
                                             10605                                               speaking staff
                                                                                                 available

                Putnam County Housing        11 Seminary Hill Rd.,             845-225-8493
                Corp.                        Carmel, NY 10512

                Greenpath                    One Barker Ave., Suite 420        888-366-9140
                                             White Plains, NY 10601

                Belmont Housing              1195 Main St. Buffalo, NY         716-884-7791      HOPP
                Resources                    14209

  Wyoming       Consumer Credit              50 Chestnut Plaza,                1-888-724-2227    HOPP
                Counseling Services of       Rochester, NY 14604
                Rochester, Inc.

                ACCORD                       84 Schuyler St., Belmont,         585-268-7605      HOPP
                                             NY 14813

                The Housing Council          75 College Ave., 4th Floor,       585-546-3700      HOPP
                                             Rochester, NY 14607

                Community Action in Self     48 Water St., Lyons, NY           315-946-6992      HOPP
                Help                         14489

  Yates         Keuka Housing Council        160 Main St. Penn Yan, NY         315-536-8707      HOPP
                                             14527




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  Rushmore Loan Management Services LLC                      FIRST CLASS
  PO Box 111209                                              US POSTAGE
  Nashville, TN 37222                                       AND FEES PAID
  (For Return Mail Only)                                    NEWCOURSE


7600367995 81150358 NC120 9008




                                                                April 25, 2018




                                      000048 S2BA
                                      ANNA CHELSTOWSKA
                                      99 WILSON AVE
                                      AMITYVILLE NY 11701
             Rushmore Loan Management Services LLC
             PO Box 111209
             Nashville, TN 37222
             (For Return Mail Only)




   000048 S2BA
                                                                                    Date: April 25, 2018
   RYSZARD KOZIKOWSKI
   CZESLAW CHELSTOWSKI
   ANNA CHELSTOWSKA
   99 WILSON AVE                                                                    RE: Loan Number:
   AMITYVILLE, NY 11701
                                                                                    Property Address:
                                                                                    99 WILSON AVENUE
                                                                                    AMITYVILLE, NY 11701




Dear Mortgagor(s):

                       YOU MAY BE AT RISK OF FORECLOSURE.
                  PLEASE READ THE FOLLOWING NOTICE CAREFULLY
As of April 25, 2018, your home loan is 814 days, and $88,848.10 dollars in default.

Under New York state law, we are required to send you this notice to inform you that you are
at risk of losing your home.

Attached to this notice is a list of government approved housing counseling agencies in your
area which provide free counseling.
You can also call the NYS Office of the Attorney General’s Homeowner Protection Program
(HOPP) toll-free consumer hotline to be connected to free housing counseling services in
your area at 1-855-HOME-456 (1-855-466-3456), or visit their website at
http://www.aghomehelp.com/. A statewide listing by county is also available at:
http://www.dfs.ny.gov/consumer/mortg_nys_np_counseling_agencies.htm
Qualified free help is available; watch out for companies or people who charge a fee for these
services.

Housing counselors from New York-based agencies listed on the website above are trained to
help homeowners who are having problems making their mortgage payments and can help
you find the best option for your situation. If you wish, you may contact the Loss Mitigation
Department at 1-888-504-7300.




                                               Rushmore Loan Management Services LLC
                                             15480 Laguna Canyon Rd. #100, Irvine, CA 92618
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While we cannot assure that a mutually agreeable resolution is possible, we encourage you to
take immediate steps to try to achieve a resolution. The longer you wait the fewer options you
may have.

If you have not taken any actions to resolve this matter within 90 days from the date this notice
was mailed, we may commence legal action against you (or sooner if you cease to live in the
dwelling as your primary residence).

If you need further information, please call the New York State Department of Financial
Services’ toll-free helpline at 800-342-3736 or visit the Department’s website at
http://www.dfs.ny.gov.

IMPORTANT: You have the right to remain in your home until you receive a court order
telling you to leave the property. If a foreclosure action is filed against you in court, you still
have the right to remain in the home until court orders you to leave. You legally remain the
owner of and are responsible for the property until the property is sold by you or by order of
the court at the conclusion of any foreclosure proceedings. This notice is not an eviction
notice, and a foreclosure action has not yet been commenced against you.

This matter is very important. Please give it your immediate attention.

Sincerely,

Rushmore Loan Management Services LLC
15480 Laguna Canyon Rd. #100
Irvine, CA 92618
PH: 1-888-504-7300
FAX: 949-341-2200

It is possible that after payment of the amounts detailed above, there may be other fees
still due and owing, including but not limited to other fees, escrow advances or corporate
advances that Rushmore paid on your behalf or advanced to your account.

(See disclosures on page 3)




                                     Rushmore Loan Management Services LLC
                                   15480 Laguna Canyon Rd. #100, Irvine, CA 92618
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Federal law requires us to advise you that Rushmore Loan Management Services LLC is a debt
collector and that this is an attempt to collect a debt. Any information obtained may be used for
that purpose. To the extent your obligation has been discharged or is subject to the automatic
stay in a bankruptcy proceeding, this notice is for informational purposes only and does not
constitute a demand for payment or an attempt to collect indebtedness as your personal
obligation. If you are represented by an attorney, please provide us with the attorney’s name,
address and telephone number.

For New York Residents: Please be advised that Rushmore Loan Management Services LLC is
registered with the Superintendent of Financial Services for the State of New York. Borrowers
may file complaints about Rushmore Loan Management Services LLC with the New York State
Department of Financial Services. Borrowers may also obtain further information from the
New York State Department by calling the Department’s Consumer Assistance Unit at
800-342-3736 or by visiting the Department’s website at www.dfs.ny.gov.

Notice to Customers: Rushmore Loan Management Services LLC may report information
about your mortgage account to credit bureaus. Late payments, missed payments, or other
defaults on your account may be reflected in your credit report.

Failure to cure the default on or before 07/24/2018 may result in acceleration of the sums
secured by this Security Instrument, foreclosure by judicial proceeding and sale of the Property.

Partial payments received may be applied to any amounts outstanding, but any partial payments
that are applied will not invalidate our right to commence foreclosure proceedings.

You have the right to reinstate after acceleration and the right to assert in the foreclosure
proceeding the non-existence of a default or any other defense to acceleration and foreclosure.

DEBT COLLECTION

This communication is for the purpose of collecting a debt, and any information obtained from
the trustor(s) will be used for that purpose. Rushmore is acting as a “debt collector” as that term
is defined in the Federal Fair Debt Collection Practices Act. This notice is required by the
provisions of the Fair Debt Collection Practices Act and does not imply that we are attempting
to collect money from any one who has discharged the debt under the bankruptcy laws of the
United States.




                                     Rushmore Loan Management Services LLC
                                   15480 Laguna Canyon Rd. #100, Irvine, CA 92618
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CREDIT REPORTING

We may report information about your account to credit bureaus. Late payments, missed
payments, or other defaults on your account may be reflected in your credit report.

BANKRUPTCY

If you have received a discharge of this debt through bankruptcy, you are not personally liable
to us if you do not pay us the above amount. We can recover only the real property from you
and you will not be obligated to pay us the difference between what we may get from the sale of
the real property and the balance due on the loan. This notice is provided to inform you of what
you must do to retain possession of your real property.

HUD STATEMENT

Pursuant to section 169 of the Housing and Community Development Act of 1987, you may
have the opportunity to receive counseling from various local agencies regarding the retention
of your home. You may obtain a list of the HUD approved housing counseling agencies by
calling the HUD nationwide toll free telephone at 1-800-569-4287.

ADDITIONAL NOTICES

Rushmore Loan Management Services LLC is a Debt Collector, who is attempting to collect a
debt. Any information obtained will be used for that purpose. However, if you are in
Bankruptcy or received a Bankruptcy Discharge of this debt, this letter is being sent for
informational purposes only, is not an attempt to collect a debt and does not constitute a notice
of personal liability with respect to the debt.




                                     Rushmore Loan Management Services LLC
                                   15480 Laguna Canyon Rd. #100, Irvine, CA 92618
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    Servicemembers Civil Relief                     U . S. Department of Housing                            OMB Approval 2502 - 0584
    Act Notice Disclosure                               and Urban Development                                         Exp 3/31/2021
                                                           Office of Housing

    Legal Rights and Protections Under the SCRA

    6HUYLFHPHPEHUVRQ³DFWLYHGXW\´RU³DFWLYHVHUYLFH´RUDVSRXVHRUGHSHQGHQWRIVXFKDVHUYLFHPHPEHUPD\EHHQWLWOHGWR
    FHUWDLQOHJDOSURWHFWLRQVDQGGHEWUHOLHISXUVXDQWWRWKH6HUYLFHPHPEHUV&LYLO5HOLHI$FW 86&3901-4043 
     6&5$ 

    Who May Be Entitled to Legal Protections Under the SCRA?
      x 5HJXODUPHPEHUVRIWKH86$UPHG)RUFHV $UP\1DY\$LU)RUFH0DULQH&RUSVDQG&RDVW
             *XDUG 
        x    5HVHUYHDQG 1DWLRQDO*XDUGSHUVRQQHOZKRKDYHEHHQDFWLYDWHGDQGDUHRQ)HGHUDODFWLYHGXW\
        x    1DWLRQDO*XDUGSHUVRQQHOXQGHUDFDOORURUGHUWRDFWLYHGXW\IRUPRUHWKDQFRQVHFXWLYHGD\VXQGHU
             VHFWLRQ I RIWLWOH8QLWHG6WDWHV&RGHIRUSXUSRVHVRIUHVSRQGLQJWRDQDWLRQDOHPHUJHQF\
             GHFODUHGE\WKH3UHVLGHQWDQGVXSSRUWHGE\)HGHUDOIXQGV
        x    $FWLYHVHUYLFHPHPEHUVRIWKHFRPPLVVLRQHGFRUSVRIWKH3XEOLF+HDOWK6HUYLFHDQGWKH1DWLRQDO
             2FHDQLFDQG$WPRVSKHULF$GPLQLVWUDWLRQ
        x    &HUWDLQ8QLWHG6WDWHVFLWL]HQVVHUYLQJZLWKWKHDUPHGIRUFHVRIDQDWLRQZLWKZKLFKWKH8QLWHG6WDWHV
             LVDOOLHGLQWKHSURVHFXWLRQRIDZDURUPLOLWDU\DFWLRQ

    What Legal Protections Are Servicemembers Entitled To Under the SCRA? 
        x    7KH6&5$VWDWHVWKDWDGHEWLQFXUUHGE\DVHUYLFHPHPEHURUVHUYLFHPHPEHUDQGVSRXVHMRLQWO\SULRUWR
             HQWHULQJPLOLWDU\VHUYLFHVKDOOQRWEHDULQWHUHVWDWDUDWHDERYHGXULQJWKHSHULRGRIPLOLWDU\VHUYLFHDQGRQH
             \HDUWKHUHDIWHULQWKHFDVHRIDQREOLJDWLRQRUOLDELOLW\FRQVLVWLQJRIDPRUWJDJHWUXVWGHHGRURWKHUVHFXULW\LQWKHQDWXUH
             RIDPRUWJDJHRUGXULQJWKHSHULRGRIPLOLWDU\VHUYLFHLQWKHFDVHRIDQ\RWKHUREOLJDWLRQRUOLDELOLW\
        x    7KH6&5$VWDWHVWKDWLQDOHJDODFWLRQWRHQIRUFHDGHEWDJDLQVWUHDOHVWDWHWKDWLVILOHGGXULQJRUZLWKLQRQH
             \HDUDIWHUWKHVHUYLFHPHPEHU¶VPLOLWDU\VHUYLFHDFRXUWPD\VWRSWKHSURFHHGLQJVIRUDSHULRGRIWLPHRU
             DGMXVWWKHGHEW,QDGGLWLRQWKHVDOHIRUHFORVXUHRUVHL]XUHRIUHDOHVWDWHVKDOOQRWEHYDOLGLILWRFFXUVGXULQJ
             RUZLWKLQRQH\HDUDIWHUWKHVHUYLFHPHPEHU¶VPLOLWDU\VHUYLFHXQOHVVWKHFUHGLWRUKDVREWDLQHGDYDOLGFRXUW
             RUGHUDSSURYLQJWKHVDOHIRUHFORVXUHRUVHL]XUHRIWKHUHDOHVWDWH
        x    7KH6&5$FRQWDLQVPDQ\RWKHUSURWHFWLRQVEHVLGHVWKRVHDSSOLFDEOHWRKRPHORDQV

    How Does A Servicemember or Dependent Request Relief Under the SCRA?

        x    ,QRUGHUWRUHTXHVWUHOLHIXQGHUWKH6&5$IURPORDQVZLWKLQWHUHVWUDWHVDERYHDVHUYLFHPHPEHURUVSRXVH
             PXVWSURYLGHDZULWWHQUHTXHVWWRWKHOHQGHUWRJHWKHUZLWKDFRS\RIWKHVHUYLFHPHmEHU¶VPLOLWDU\RUGHUV
             >1RWH /HQGHUVKRXOGSODFHLWVQDPHDGGUHVVDQGFRQWDFWLQIRUPDWLRQKHUH@
        x    7KHUHLVQRUHTXLUHPHQWXQGHUWKH6&5$KRZHYHUIRUDVHUYLFHPHPEHUWRSURYLGHDZULWWHQQRWLFHRUDFRS\
             RIDVHUYLFHPHPEHU¶VPLOLWDU\RUGHUVWRWKHOHQGHULQFRQQHFWLRQZLWKDIRUHFORVXUHRURWKHUGHEWHQIRUFHPHQW
             DFWLRQDJDLQVWUHDOHVWDWH 8QGHUWKHVHFLUFXPVWDQFHVOHQGHUVVKRXOGLQTXLUHDERXWWKHPLOLWDU\VWDWXVRID
             SHUVRQE\VHDUFKLQJWKH'HSDUWPHQWRI'HIHQVH¶V'HIHQVH0DQSRZHU'DWD&HQWHU¶VZHEVLWHFRQWDFWLQJWKH
             VHUYLFHPHPEHUDQGH[DPLQLQJWKHLUILOHVIRULQGLFLDRIPLOLWDU\VHUYLFH $OWKRXJKWKHUHLVQRUHTXLUHPHQWIRU
             VHUYLFHPHPEHUVWRDOHUWWKHOHQGHURIWKHLUPLOLWDU\VWDWXVLQWKHVHVLWXDWLRQVLWVWLOOLVDJRRGLGHDIRUWKH
             VHUYLFHPHPEHUWRGRVR

    How Does a Servicemember or Dependent Obtain Information About the SCRA? 

        x    6HUYLFHPHPEHUVDQGGHSHQGHQWVZLWKTXHVWLRQVDERXWWKH6&5$VKRXOGFRQWDFWWKHLUXQLW¶V-XGJH$GYRFDWHRU
             WKHLULQVWDOODWLRQ¶V/HJDO$VVLVWDQFH2IILFHU$PLOLWDU\OHJDODVVLVWDQFHRIILFHORFDWRUIRUDOOEUDQFKHVRIWKH
             $UPHG)RUFHVLVDYDLODEOHDWKWWSOHJDODVVLVWDQFHODZDIPLOFRQWHQWORFDWRUSKS
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        x    ³0LOLWDU\2QH6RXUFH´LVWKH86'HSDUWPHQWRI'HIHQVH¶VLQIRUPDWLRQ UHVRXUFH,I\RXDUHOLVWHGDVHQWLWOHGWR
             OHJDOSURWHFWLRQVXQGHUWKH6&5$ VHHDERYH SOHDVHJRWRZZZPLOLWDU\RQHVRXUFHPLOOHJDORUFDOO
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             WKH8QLWHG6WDWHVDUHSURYLGHGRQWKHZHEVLWH
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                    Approved housing counseling agencies located in New York
                                          by County

  COUNTY        AGENCY                       ADDRESS                           CONTACT INFO       NOTES

  Albany        Affordable Housing           255 Orange St., Albany, NY        518-434-1730       HOPP
                Partnership                  12210                                                Also serves
                                                                                                  surrounding areas

                Albany County Rural          24 Martin Road,                   518-765-2425       HOPP
                Housing Alliance             Voorheesville, NY 12186                              Also serves
                                                                                                  surrounding areas

                United Tenants of Albany     33 Clinton Ave., Albany,          518-436-8997       HOPP
                                             NY 12207                                             For tenants whose
                                                                                                  buildings are in the
                                                                                                  process of foreclosure
                                                                                                  or have been
                                                                                                  foreclosed on

                Better Neighborhoods,        986 Albany St.,                   518-372-6469       HOPP
                Inc.                         Schenectady, NY 12307                                Spanish speaking staff
                                                                                                  available

                Clearpoint Credit            2 Computer Drive West,            1-800-750-2227     Formerly known as
                Counseling Solutions         Albany, NY 12205                                     Consumer Credit
                                                                                                  Counseling Service

                NYS Office For People        44 Holland Ave. Albany,           518-473-1973       Serving all NYS
                With Developmental           NY 12229                                             residents with
                Disabilities (OPWDD)                                                              developmental
                                                                                                  disabilities and their
                                                                                                  families

  Allegany      ACCORD                       84 Schuyler St., Belmont,         585-268-7605       HOPP
                                             NY 14813

                Neighborhood Housing         1937 South Park Ave.              716-823-3630       Also serving
                Services of Buffalo          Buffalo, NY 14220                                    surrounding counties

  Bronx         Neighborhood Housing         848 Concourse Village             718-992-5979       HOPP
                Services- South Bronx        West, Bronx, NY 10451                                Spanish speaking staff
                                                                                                  available

                Neighborhood Housing         1451 East Gun Hill Rd.,           718-881-1180       HOPP
                Services- North Bronx        Bronx, NY 10469                                      Spanish speaking staff
                                                                                                  available

                Parodneck Foundation         121 6th Ave., Suite 501           212-431-9700 ext   HOPP
                                             New York, NY 10013                391                Spanish speaking staff
                                                                                                  available

                MHANY Management,            1 Metro Tech Center North         718-246-8080 ext   HOPP
                Inc.                         11th Floor, Brooklyn, NY          203                Spanish speaking staff
                                             11201                                                available

                Brooklyn Housing and         415 Albemarle Rd.,                718-435-7585       HOPP
                Family Services, Inc.        Brooklyn, NY 11218                                   Spanish and French


                                             Rushmore Loan Management Services LLC
                                           15480 Laguna Canyon Rd. #100, Irvine, CA 92618
NC120-NY 90Day-16                                                                                                  Page 8
                                                                                                    Creole speaking staff
                                                                                                    available

                Grow Brooklyn, Inc.           1474 Myrtle Ave.,                 718-418-8232 ext.   HOPP
                                              Brooklyn, NY 11237                206                 Spanish and Bengali
                                                                                                    speaking staff
                                                                                                    available

                NYC Commission on             1932 Arthur Avenue, Room          718-579-6728 OR     Spanish speaking staff
                Human Rights                  203A, Bronx, NY 10457             718-579-6900        available

  Broome        Metro Interfaith Housing      21 New St., Binghamton,           607-772-6766        HOPP
                Council                       NY 13903

                Clearpoint Credit             The Metro Center, 49 Court        1-800-750-2227
                Counseling Solutions          St., Binghamton, NY 13901

  Cattaraugus   Chautauqua Opportunities,     402 Chandler St.,                 716-661-9430        HOPP
                Inc.                          Jamestown, NY 14701

                ACCORD                        84 Schuyler St., Belmont,         585-268-7605        HOPP
                                              NY 14813

                Neighborhood Housing          1937 South Park Ave.,             716-823-3630
                Services of South Buffalo     Buffalo, NY 14220

  Cayuga        Home Headquarters, Inc.       990 James St., Suite 1,           315-474-1939        HOPP
                                              Syracuse NY 13203                                     Spanish speaking staff
                                                                                                    available

                Clearpoint Financial          5794 Widewaters Parkway,          1-877-412-2227      Formerly known as
                Solutions                     Syracuse, NY 13214                                    Consumer Credit
                                                                                                    Counseling Service of
                                                                                                    Central NY

  Chautauqua    Chautauqua Opportunities,     402 Chandler St.,                 716-661-9430        HOPP
                Inc.                          Jamestown, NY 14701

                Chautauqua Home               2 Academy St., Mayville,          716-753-4650        Spanish speaking staff
                Rehabilitation and            NY 14757                                              available
                Improvement Corp.
                (CHRIC)

                Neighborhood Housing          1937 South Park Ave.,             716-823-3630
                Services of South Buffalo     Buffalo, NY 14220

  Chemung       Arbor Housing and             26 Bridge St., Corning, NY        607-654-7487        HOPP
                Development                   14830

                Catholic Charities of         215 East Church St., Suite        607-734-9784        HOPP
                Chemung                       101, Elmira, NY 14901

  Chenango      Metro Interfaith Housing      21 New St., Binghamton,           607-772-2766        HOPP
                Council                       NY 13903

                Clearpoint Credit             The Metro Center, 49 Court        1-800-750-2227
                Counseling Solutions          St., Binghamton, NY 13901

  Clinton       Friends of the North          1 Mill St., Keeseville, NY        518-834-9606        HOPP
                Country                       12944




                                              Rushmore Loan Management Services LLC
                                            15480 Laguna Canyon Rd. #100, Irvine, CA 92618
NC120-NY 90Day-16                                                                                                   Page 9
                Housing Assistance            103 Hand Ave.,                    518-873-6888           HOPP
                Program of Essex County       Elizabethtown, NY 12932
                (HAPEC)

  Columbia      Housing Resources of          252 Columbia St., Hudson,         518-822-0707           HOPP
                Columbia County, Inc.         NY 12534

  Cortland      Home Headquarters, Inc.       990 James St., Suite 1,           315-474-1939           HOPP
                                              Syracuse NY 13203                                        Spanish speaking staff
                                                                                                       available

                Cortland Housing              36 Taylor St. Cortland, NY        607-753-8271
                Assistance Council, Inc.      13045

                Clearpoint Credit             The Metro Center, 49 Court        1-800-750-2227
                Counseling Solutions          St., Binghamton, NY 13901

                Western Catskills             125 Main St., Suite A,            607-652-2823           HOPP
                Community Revitilization      Stamford, NY 12167
                Council

  Delaware      RUPCO                         301 Fair St. Kingston, NY         845-331-9860           HOPP
                                              12401                                                    Spanish speaking staff
                                                                                                       available

                Delaware Opportunities,       35430 State Hgwy. 10              607-746-1650
                Inc.                          Hamden, NY 13782

                Clearpoint Credit             The Metro Center, 49 Court        1-800-750-2227
                Counseling Solutions          St., Binghamton, NY 13901

  Dutchess      Hudson River Housing          291 Mill St Poughkeepsie,         845-454-9288           HOPP
                                              NY 12601

                Putnam County Housing         11 Seminary Hill Rd.,             845-225-8493
                Corp.                         Carmel, NY 10512

  Erie          Belmont Housing               1195 Main St. Buffalo, NY         716-884-7791           HOPP
                Resources                     14209

                West Side & Black Rock        359 Connecticut St.,              Tuesdays and           HOPP
                Riverside NHS, Inc.           Buffalo, NY 14213                 Wednesdays at (716)
                                                                                885-2344, Thursdays
                                                                                and Fridays at (716)
                                                                                877-3910

                Buffalo Urban League          15 Genesee Street                 (716) 250-2400         HOPP
                                              Buffalo, NY 14203

                Chautauqua Opportunities,     402 Chandler St.,                 716-661-9430           HOPP
                Inc.                          Jamestown, NY 14701

                Consumer Credit               40 Gardenville Parkway,           1-800-926-9685 or      HOPP
                Counseling Services of        Suite 300, West Seneca, NY        716-712-2060
                Buffalo, Inc.                 14224

                Neighborhood Assistance       135 Delaware Ave Ste 102          716-834-6222
                Corp. of America              Buffalo, New York 14202-
                                              2410

                Neighborhood Housing          1937 South Park Ave.,             716-823-3630



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                                            15480 Laguna Canyon Rd. #100, Irvine, CA 92618
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                Services of South Buffalo     Buffalo, NY 14220

  Essex         Friends of the North          1 Mill St., Keeseville, NY        518-834-9606        HOPP
                Country                       12944

                Housing Assistance            103 Hand Ave.,                    518-873-6888        HOPP
                Program of Essex County       Elizabethtown, NY 12932
                (HAPEC)

                Homefront Development         568 Lower Allen St.,              518-747-8250
                Corp.                         Hudson Falls, NY 12839

  Franklin      Friends of the North          1 Mill St., Keeseville, NY        518-834-9606        HOPP
                Country                       12944

                Housing Assistance            103 Hand Ave.,                    518-873-6888        HOPP
                Program of Essex County       Elizabethtown, NY 12932
                (HAPEC)

                Franklin County               337 West Main St. Malone,         (518) 483-5934      HOPP
                Community Housing             NY 12953
                Council Inc.

                Clearpoint Credit             215 Washington St. Suite          1-800-750-2227
                Counseling Solutions          005, Watertown, NY 13601

  Fulton        Better Neighborhoods,         986 Albany St.,                   518-372-6469        HOPP
                Inc.                          Schenectady, NY 12307

                UNHS NeighborWorks            1611 Genesee Street, Utica,       315-724-4197        HOPP
                Homeownership Center          NY 13501

  Genesee       The Housing Council           75 College Ave., 4th Floor,       585-546-3700 ext.   HOPP
                                              Rochester, NY 14607               3015

                Consumer Credit               1000 University Ave., Suite       1-888-724-2227      HOPP
                Counseling Services of        900 Rochester, NY 14607
                Rochester, Inc.

                Belmont Housing               1195 Main St., Buffalo, NY        716-884-7791        HOPP
                Resources                     14209

                Consumer Credit               40 Gardenville Parkway,           1-800-926-9685 or
                Counseling Services of        Suite 300, West Seneca, NY        716-712-2060
                Buffalo, Inc.                 14224

  Greene        Albany County Rural           24 Martin Road,                   518-765-2425        HOPP
                Housing Alliance              Voorheesville, NY 12186

                RUPCO                         301 Fair St. Kingston, NY         845-331-9860        HOPP
                                              12401                                                 Spanish speaking staff
                                                                                                    available

                Western Catskills             125 Main St., Suite A,            607-652-2823
                Community Revitilization      Stamford, NY 12167
                Council

                Clearpoint Credit             2 Computer Drive West,            1-800-750-2227      Formerly known as
                Counseling Solutions          Albany, NY 12205                                      Consumer Credit
                                                                                                    Counseling Service of
                                                                                                    Central NY



                                              Rushmore Loan Management Services LLC
                                            15480 Laguna Canyon Rd. #100, Irvine, CA 92618
NC120-NY 90Day-16                                                                                                  Page 11
  Hamilton      Housing Assistance           103 Hand Ave.,                    518-873-6888     HOPP
                Program of Essex County      Elizabethtown, NY 12932
                (HAPEC)

                Clearpoint Credit            289 Genesee St., Utica, NY        1-800-750-2227
                Counseling Solutions         13501

                Homefront Development        568 Lower Allen St.,              518-747-8250
                Corp.                        Hudson Falls, NY 12839

  Herkimer      UNHS NeighborWorks           1611 Genesee Street, Utica,       315-724-4197     HOPP
                Homeownership Center         NY 13501

                Clearpoint Credit            289 Genesee St., Utica, NY        1-800-750-2227
                Counseling Solutions         13501

  Jefferson     Home Headquarters, Inc.      990 James St., Suite 1,           315-474-1939     HOPP
                                             Syracuse NY 13203                                  Spanish speaking staff
                                                                                                available

                Clearpoint Credit            215 Washington St. Suite          1-800-750-2227
                Counseling Solutions         005, Watertown, NY 13601

  Kings         Cypress Hills Local Dev.     625 Jamaica Avenue,               718-647-2800     HOPP
                Corp.                        Brooklyn, NY 11208                                 Spanish speaking staff
                                                                                                available

                Pratt Area Community         1000 Dean St., Brooklyn,          718-522-2613     HOPP
                Council                      NY 11238

                Grow Brooklyn, Inc.          1474 Myrtle Ave.,                 718-418-8232     HOPP
                                             Brooklyn, NY 11237                                 Spanish and Bengali
                                                                                                speaking staff
                                                                                                available

                Bridge Street Dev. Corp.     460 Nostrand Ave.,                718-636-7596     HOPP
                                             Brooklyn, NY 11216                                 Spanish Speaking
                                                                                                staff available

                MHANY Management,            1 Metro Tech Center North         718-246-8080     HOPP
                Inc.                         11th Floor, Brooklyn, NY                           Spanish speaking staff
                                             11201                                              available

                Neighbors Helping            621 Degraw St., Brooklyn,         718-237-2017     HOPP
                Neighbors (NHN)              NY 11217                                           Spanish speaking staff
                                                                                                available

                Brooklyn Housing and         415 Albemarle Rd.,                718-435-7585     HOPP
                Family Services, Inc.        Brooklyn, NY 11218                                 Spanish and French
                                                                                                Creole speaking staff
                                                                                                available

                Parodneck Foundation         121 6th Ave., Suite 501           212-431-9700     HOPP
                                             New York, NY 10013                                 Spanish speaking staff
                                                                                                available

                Neighborhood Housing         1012 Gates Ave., 2nd Floor,       718-919-2100     HOPP
                Services of Bedford-         Brooklyn, NY 11221
                Stuyvesant

                CAMBA                        1720 Church Ave., 2nd             718-287-0010     HOPP



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                                               Floor, Brooklyn, NY 11226

                Neighborhood Housing           2806 Church Ave.,                 718-469-4679       HOPP
                Services- East Flatbush        Brooklyn, NY 11226                                   Spanish speaking staff
                                                                                                    available

                Greater Sheepshead Bay         2105 East 22nd St.,               718-332-0520
                Dev. Corp.                     Brooklyn, NY 11229

                Southern Brooklyn              4006 18th Ave., Brooklyn,         718-435-1300
                Community Organization         NY 11218

                Brooklyn Neighborhood          1482 Saint James Pl., Suite       718-773-4116
                Improvement Association        1C, Brooklyn, NY 11213

                Council of Jewish              1523 Avenue M, Brooklyn,          718-377-2900 ext   Arabic, Russian and
                Organizations of Flatbush,     NY 11230                          7625               Spanish speaking staff
                Inc.                                                                                available

                Money Management               26 Court St., Suite 2610,         1-866-232-9080     Spanish speaking staff
                International, Inc.            Brooklyn, NY 11242                                   available

                GreenPath Debt Solutions       175 Remsen St., Suite 1102,       866-285-4033
                                               Brooklyn, NY 11201

                NY Commission of               275 Livingston St.,               718-722-3130       Spanish speaking staff
                Human Rights- Brooklyn         Brooklyn, NY 11217                                   available

  Lewis         Home Headquarters, Inc.        990 James St., Suite 1,           315-474-1939       HOPP
                                               Syracuse NY 13203

                Clearpoint Credit              215 Washington St. Suite          1-800-750-2227
                Counseling Solutions           005, Watertown, NY 13601

  Livingston    Consumer Credit                1000 University Ave., Suite       1-888-724-2227     HOPP
                Counseling Services of         900 Rochester, NY 14607
                Rochester, Inc.

                The Housing Council            75 College Ave., 4th Floor,       585-546-3700       HOPP
                                               Rochester, NY 14607

  Madison       Home Headquarters, Inc.        990 James St., Suite 1,           315-474-1939       HOPP
                                               Syracuse NY 13203                                    Spanish speaking staff
                                                                                                    available

                UNHS NeighborWorks             1611 Genesee Street, Utica,       315-724-4197       HOPP
                Homeownership Center           NY 13501

                Community Action               3 East Main St., Morrisville,     315-684-3144       ASL trained staff
                Program for Madison            NY 13408                                             available
                County

                Clearpoint Credit              289 Genesee St., Utica, NY        1-800-750-2227
                Counseling Solutions           13501

  Monroe        Consumer Credit                1000 University Ave., Suite       1-888-724-2227     HOPP
                Counseling Services of         900 Rochester, NY 14607
                Rochester, Inc.

                Marketview Heights             308 North Street, Rochester,      585-423-1540       HOPP
                Association                    NY 14605



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                The Housing Council          75 College Ave., 4th Floor,       585-546-3700          HOPP
                                             Rochester, NY 14607

                Urban League of              265 North Clinton Ave.,           585-325-6530
                Rochester                    Rochester, NY

  Montgomery    Better Neighborhoods,        986 Albany St.,                   518-372-6469          HOPP
                Inc.                         Schenectady, NY 12307                                   Spanish speaking staff
                                                                                                     available

                UNHS NeighborWorks           1611 Genesee Street, Utica,       315-724-4197          HOPP
                Homeownership Center         NY 13501

  Nassau        American Debt Resources,     248C Larkfield Road, East         1-800-498-0766        HOPP
                Inc.                         Northport, NY 11731                                     Spanish speaking staff
                                                                                                     available

                Community Development        333 No Main St., Freeport,        631-471-1215 x158     HOPP
                Corporation of Long          NY 11520                                                Spanish speaking staff
                Island                                                                               available

                Hispanic Brotherhood of      59 Clinton Ave., Rockville        516-766-6610          HOPP
                Rockville Centre, Inc.       Centre, NY 11570                                        Spanish speaking staff
                                                                                                     available

                La Fuerza Unida, Inc.        1 School St., Suite 302,          516-759-0788          HOPP
                                             Glen Cove, NY 11542                                     Spanish speaking staff
                                                                                                     available

                LIFE, Inc.                   112 Spruce St., Cedarhurst,       516-374-4564          HOPP
                                             NY 11516                                                Spanish speaking staff
                                                                                                     available

                Long Island Housing          180 Oser Ave.,                    631-435-4710          HOPP
                Partnership, Inc.            Hauppaugue, NY 11788                                    Spanish speaking staff
                                                                                                     available

                Long Island Housing          640 Johnson Ave., Suite 8,        631-567-5111 x383     HOPP
                Services, Inc.               Bohemia, NY 11716                                       Spanish speaking staff
                                                                                                     available

                Rockaway Development         1920 Mott Ave. Rm #2, Far         718-327-5300          HOPP
                and Revitilization Corp      Rockaway, NY 11691                                      funded in NYC Serves
                                                                                                     Western Nassau

                CHHAYA                       37-43 77th St., Jackson           718-478-3848          HOPP
                                             Heights, NY 11372                                       funded in NYC
                                                                                                     Southeast Asian
                                                                                                     speaking Counselors
                                                                                                     on staff

                GreenPath Debt Solutions     300 Garden City Plaza,            888-776-6738          HOPP
                                             Suite 220 Garden City, NY
                                             11530

                Debt Counseling Corp.        3033 Express Dr. N,               1-888-354-6332 ext.   HOPP
                                             Hauppauge, NY 11749               316                   Spanish speaking staff
                                                                                                     available

                Safeguard Credit             67 Salonga Rd. Northport,         1-800-673-6933        HOPP
                Counseling, Inc.             NY 11768                                                Spanish speaking staff



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                                                                                                       available

  New York      MHANY Management,             1 Metro Tech Center North         718-246-8080           HOPP
                Inc.                          11th Floor, Brooklyn, NY                                 Spanish speaking staff
                                              11201                                                    available

                Grow Brooklyn, Inc.           1474 Myrtle Ave.,                 718-418-8232           HOPP
                                              Brooklyn, NY 11237                                       Spanish and Bengali
                                                                                                       speaking staff
                                                                                                       available

                Parodneck Foundation          121 6th Ave., Suite 501           212-431-9700           HOPP
                                              New York, NY 10013                                       Spanish speaking staff
                                                                                                       available

                AAFE Community                111 Division St., New York,       212-964-2288           Chinese and Korean
                Development Fund, Inc.        NY 10002                                                 speaking staff
                                                                                                       available

                Abyssinian Development        2283 7th Avenue, New              646-442-6545
                Corp.                         York, NY 10030

                Neighborhood Housing          307 West 36th St., 12th           212-519-2500           Spanish and Creole
                Services of NYC               floor, New York, NY 10018                                speaking staff
                                                                                                       available

                Harlem Congregations for      2854 Frederick Douglass           212-281-4887 ext.      Spanish speaking staff
                Community Development         Blvd., New York, NY 10039         206 or 231             available

                West Harlem Group             1652 Amsterdam Ave. New           212-862-1399
                Assistance, Inc.              York, NY 10031

                GreenPath Debt Solutions      One Penn Plaza, Suite 2108,       866-285-4059
                                              New York, NY 10119

  Niagara       Belmont Housing               1195 Main St., Buffalo, NY        716-884-7791           HOPP
                Resources                     14209

                West Side & Black Rock        203 Military Rd., Buffalo,        Tuesdays and           HOPP
                Riverside NHS, Inc.           NY 14207                          Wednesdays at (716)
                                                                                885-2344, Thursdays
                                                                                and Fridays at (716)
                                                                                877-3910

                Neighborhood Housing          1937 South Park Ave.,             716-823-3630
                Services of South Buffalo     Buffalo, NY 14220

  Oneida        UNHS NeighborWorks            1611 Genesee Street, Utica,       315-724-4197           HOPP
                Homeownership Center          NY 13501

                Clearpoint Credit             5794 Widewaters Parkway,          1-800-750-2227
                Counseling Solutions          Syracuse, NY 13214

                Northeast Hawley              101 Gertrude St., Syracuse,       315-425-1032
                Development Corp.             NY 13202

  Onondaga      Home Headquarters, Inc.       990 James St., Suite 1,           315-474-1939           HOPP
                                              Syracuse NY 13203                                        Spanish speaking staff
                                                                                                       available

                Clearpoint Credit             5794 Widewaters Parkway,          1-800-750-2227



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                Counseling Solutions          Syracuse, NY 13214

                Cooperative Federal           800 N. Salina St., Syracuse,      315-476-5290     Service for credit
                Credit Union                  NY 13208                                           union members only

  Ontario       Consumer Credit               1000 University Ave., Suite       1-888-724-2227   HOPP
                Counseling Services of        900 Rochester, NY 14607
                Rochester, Inc.

                Community Action in Self      48 Water St., Lyons, NY           315-946-6992     HOPP
                Help                          14489

                Keuka Housing Council         160 Main St. Penn Yan, NY         315-536-8707     HOPP
                                              14527

  Orange        Hudson River Housing          291 Mill St Poughkeepsie,         845-454-9288     HOPP
                                              NY 12601

                Orange County Rural           59b Boniface Drive, Pine          845-713-4568     HOPP
                Development Advisory          Bush, NY 12566
                Corp.

  Orleans       Belmont Housing               1195 Main St., Buffalo, NY        716-884-7791     HOPP
                Resources                     14209

                The Housing Council           75 College Ave., 4th Floor,       585-546-3700     HOPP
                                              Rochester, NY 14607

                Consumer Credit               1000 University Ave., Suite       1-888-724-2227   HOPP
                Counseling Service of         900 Rochester, NY 14607
                Rochester, Inc.

  Oswego        Fulton Community              125 West Broadway, Fulton,        315-593-7166     HOPP
                Development Agency            NY 13069

                Oswego Housing                2971 County Rte. 26, Parish,      315-625-4520
                Development Council, Inc.     NY 13131

                Clearpoint Credit             5794 Widewaters Parkway,          1-800-750-2227
                Counseling Solutions          Syracuse, NY 13214

  Otsego        UNHS NeighborWorks            1611 Genesee Street, Utica,       315-724-4197     HOPP
                Homeownership Center          NY 13501

                Clearpoint Creidt             The Metro Center, 49 Court        1-800-750-2227
                Counseling Solutions          St., Binghamton, NY 13901

  Putnam        Housing Action Council        55 South Broadway,                914-332-4144     HOPP
                                              Tarrytown, NY 10591

                Putnam County Housing         11 Seminary Hill Rd.,             845-225-8493     HOPP
                Corp.                         Carmel, NY 10512

  Queens        Neighborhood Housing          60-20 Woodside Ave.,              718-457-1017     HOPP
                Services of Northern          Flushing, NY 11377                                 Spanish and French
                Queens                                                                           Creole speaking staff
                                                                                                 available




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                Neighborhood Housing         89-70 162nd St., Jamaica,         718-291-7400     HOPP
                Services- Jamaica            NY 11432                                           Spanish speaking staff
                                                                                                available

                CHHAYA                       37-43 77th St., Jackson           718-478-3848     HOPP
                                             Heights, NY 11372                                  Southeast Asian
                                                                                                speaking Counselors
                                                                                                on staff

                Rockaway Development         1920 Mott Ave., Second            718-327-5300     HOPP
                and Revitilization Corp      Floor, Far Rockaway, NY
                                             11691

                Parodneck Foundation         121 6th Ave., Suite 501           212-431-9700     HOPP
                                             New York, NY 10013                                 Spanish speaking staff
                                                                                                available

                MHANY Management,            1 Metro Tech Center North         718-246-8080     HOPP
                Inc.                         11th Floor, Brooklyn, NY                           Spanish speaking staff
                                             11201                                              available

                Brooklyn Housing and         415 Albemarle Rd.,                718-435-7585     HOPP
                Family Services, Inc.        Brooklyn, NY 11218                                 Spanish and French
                                                                                                Creole speaking staff
                                                                                                available

                NY Commission of             153-01 Jamaica Ave.               718-657-2465     Spanish speaking staff
                Human Rights- Queens         Jamaica, NY 11432                                  available

                GreenPath Debt Solutions     80-02 Kew Gardens Road,           866-285-4036
                                             Suite 710 Kew Gardens, NY
                                             11415-3607

                Margert Community            325 Beach 37th Street Far         718-471-3724
                Corporation                  Rockaway, NY 11691

                Queens Community House       108-25 62nd Drive, Forest         718-592-5757
                                             Hills, NY 11375

  Rensselaer    Troy Rehabilitation and      415 River St., Troy, NY           518-690-0020     HOPP
                Improvement Program          12180
                (TRIP)

                United Tenants of Albany     33 Clinton Ave., Albany,          518-436-8997     HOPP
                                             NY 12207                                           For tenants whose
                                                                                                buildings are in
                                                                                                process of being
                                                                                                foreclosed or whose
                                                                                                building has been
                                                                                                foreclosed

                Albany County Rural          24 Martin Road,                   518-765-2425     HOPP
                Housing Alliance             Voorheesville, NY 12186

                Affordable Housing           255 Orange St., Albany, NY        518-434-1730     HOPP
                Partnership                  12210

                Clearpoint Credit            2 Computer Drive West,            1-800-750-2227   Formerly known as
                Counseling Solutions         Albany, NY 12205                                   Consumer Credit
                                                                                                Counseling Service of
                                                                                                Central NY


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  Richmond      Northfield Community           160 Heberton Ave. Staten          718-442-7351     HOPP
                Local Dev. Corp. of Staten     Island, NY 10302
                Island

                MHANY Management,              1 Metro Tech Center North         718-246-8080     HOPP
                Inc.                           11th Floor, Brooklyn, NY                           Spanish speaking staff
                                               11201                                              available

                Parodneck Foundation           121 6th Ave., Suite 501           212-431-9700     HOPP
                                               New York, NY 10013                                 Spanish speaking staff
                                                                                                  available

                Neighborhood Housing           770 Castleton Ave., Staten        718-442-8080     HOPP
                Services, Staten Island        Island, NY 10310                                   Spanish speaking staff
                                                                                                  available

                NYC Commission on              60 Bay St. 7th Floor, Staten      718-390-8506     Spanish speaking staff
                Human Rights- Staten           Island, NY 10301                                   available
                Island

  Rockland      Housing Action Council         55 South Broadway,                914-332-4144     HOPP
                                               Tarrytown, NY 10591

                Rockland Housing Action        120-126 North Main St.,           845-708-5799     HOPP
                Coalition                      Annex-First Floor, New                             Spanish, Creole,
                                               City, NY 10956                                     Hebrew, and ASL
                                                                                                  speaking staff
                                                                                                  available

  Saratoga      Albany County Rural            24 Martin Road,                   518-765-2425     HOPP
                Housing Alliance               Voorheesville, NY 12186

                Affordable Housing             255 Orange St., Albany, NY        518-434-1730     HOPP
                Partnership                    12210

                Troy Rehabilitation and        415 River St., Troy, NY           518-690-0020     HOPP
                Improvement Program            12180                                              Serving residents of
                (TRIP)                                                                            Southern Saratoga
                                                                                                  County

                Better Neighborhoods,          986 Albany St.,                   518-372-6469     HOPP
                Inc.                           Schenectady, NY 12307                              Spanish speaking staff
                                                                                                  available

                Clearpoint Credit              2 Computer Drive West,            1-800-750-2227   Formerly known as
                Counseling Solutions           Albany, NY 12205                                   Consumer Credit
                                                                                                  Counseling Service of
                                                                                                  Central NY

                Homefront Development          568 Lower Allen St.,              518-747-8250     Serving residents of
                Corp.                          Hudson Falls, NY 12839                             Northern Saratoga
                                                                                                  County

  Schenectady   Better Neighborhoods,          986 Albany St.,                   518-372-6469     HOPP
                Inc.                           Schenectady, NY 12307                              Spanish speaking staff
                                                                                                  available

                Affordable Housing             255 Orange St., Albany, NY        518-434-1730     HOPP
                Partnership                    12210

                Albany County Rural            24 Martin Road,                   518-765-2425     HOPP



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                Housing Alliance             Voorheesville, NY 12186

                Schenectady Community        913 Albany St.,                   518-374-9181     For tenants whose
                Action Program (SCAP)        Schenectady, NY 12307                              buildings are in
                                                                                                process of being
                                                                                                foreclosed or whose
                                                                                                building has been
                                                                                                foreclosed

                Clearpoint Credit            2 Computer Drive West,            1-800-750-2227   Formerly known as
                Counseling Solutions         Albany, NY 12205                                   Consumer Credit
                                                                                                Counseling Service of
                                                                                                Central NY

  Schoharie     Albany County Rural          24 Martin Road,                   518-765-2425     HOPP
                Housing Alliance             Voorheesville, NY 12186

                Western Catskills            125 Main St., Suite A,            607-652-2823
                Community                    Stamford, NY 12167
                RevitilizationCouncil

                Clearpoint Credit            2 Computer Drive West,            1-800-750-2227   Formerly known as
                Counseling Solutions         Albany, NY 12205                                   Consumer Credit
                                                                                                Counseling Service of
                                                                                                Central NY

  Schuyler      Arbor Housing and            26 Bridge St., Corning, NY        607-654-7487     HOPP
                Development                  14830

                Catholic Charities of        215 East Church St., Suite        607-734-9784     HOPP
                Chemung                      101, Elmira, NY 14901

  Seneca        The Housing Council          75 College Ave., 4th Floor,       585-546-3700     HOPP
                                             Rochester, NY 14607

                Community Action in Self     48 Water St., Lyons, NY           315-946-6992     HOPP
                Help                         14489

  St.           Housing Assistance           103 Hand Ave.,                    518-873-6888     HOPP
  Lawrence      Program of Essex County      Elizabethtown, NY 12932
                (HAPEC)

                North Country Housing        19 Main St., Canton, NY           315-386-8576
                Council                      13617

                Clearpoint Credit            215 Washington St. Suite          1-800-750-2227
                Counseling Solutions         005, Watertown, NY 13601

  Steuben       Arbor Housing and            26 Bridge St., Corning, NY        607-654-7487     HOPP
                Development                  14830

                Accord                       84 Schuyler St., Belmont,         585-268-7605     HOPP
                                             NY 14813

                Catholic Charities of        215 East Church St., Suite        607-734-9784     HOPP
                Chemung                      101, Elmira, NY 14901

  Suffolk       American Debt Resources,     248C Larkfield Road, East         1-800-498-0766   HOPP
                Inc.                         Northport, NY 11731                                Spanish speaking staff
                                                                                                available




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                Community Development           2100 Middle Country Rd.,          631-471-1215 ext.     HOPP
                Corporation of Long             Suite 300, Centereach NY          158                   Spanish speaking staff
                Island                          11720                                                   available

                Economic Opportunity            320 Carleton Avenue Suite         631-647-3765 x 1204   HOPP
                Council of Suffolk, Inc.        7800 Central Islip NY             or 1205
                                                11722

                La Fuerza Unida, Inc.           1 School St., Suite 302,          516-759-0788          HOPP
                                                Glen Cove, NY 11542                                     Spanish speaking staff
                                                                                                        available

                Long Island Housing             180 Oser Ave.,                    631-435-4710          HOPP
                Partnership, Inc.               Hauppaugue, NY 11788                                    Spanish speaking staff
                                                                                                        available

                Long Island Housing             640 Johnson Ave., Suite 8,        631-567-5111 x383     HOPP
                Services, Inc.                  Bohemia, NY 11716                                       Spanish speaking staff
                                                                                                        available

                CHHAYA                          37-43 77th St., Jackson           718-478-3848          HOPP
                                                Heights, NY 11372                                       funded for NYC
                                                                                                        Southeast Asian
                                                                                                        speaking Counselors
                                                                                                        on staff

                Central Islip Civic Council     68 Wheeler Rd. Central            631-348-0669          HOPP
                                                Islip, NY 11722                                         Spanish speaking staff
                                                                                                        available

                Debt Counseling Corp.           3033 Express Dr. N,               1-888-354-6332 ext.   HOPP
                                                Hauppauge, NY 11749               316                   Spanish speaking staff
                                                                                                        available

                Greenpath                       1300 Veterans Memorial            888-776-6738          HOPP
                                                Highway, Suite 305,
                                                Hauppaugue NY 11788

                Safeguard Credit                67 Salonga Rd. Northport,         1-800-673-6933        HOPP
                Counseling, Inc.                NY 11768                                                Spanish speaking staff
                                                                                                        available

                Housing Help, Inc.              91-101 Broadway, Suite 6,         631-754-0373
                                                Greenlawn NY 11740

                North Fork Housing              110 South St., Greenport,         631-477-1070
                Alliance                        NY 11944

                Bellport, Hagerman, East        1492 Montauk Highway,             631-286-9236
                Patchogue Alliance, Inc.        Bellport, NY 11713

                Wyandanch Community             59 Cumberbach St.                 631-253-0139 OR       Only serves part of
                Development                     Wyandanch, NY 11798               631-643-4786          Western Suffolk

  Sullivan      RUPCO                           301 Fair St. Kingston, NY         845-331-9860          HOPP
                                                12401                                                   Spanish speaking staff
                                                                                                        available

                Rural Sullivan Housing          6 Pelton St. Monticello, NY       845-794-0348
                Corp.                           12701




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  Tioga         Catholic Charities of        215 East Church St., Suite        607-734-9784     HOPP
                Chemung                      101, Elmira, NY 14901

                Metro Interfaith Housing     21 New St., Binghamton,           607-772-6766     HOPP
                Council                      NY 13903

                Clearpoint Financial         The Metro Center, 49 Court        877-412-2227
                Solutions                    St., Binghamton, NY 13901

  Tompkins      Catholic Charities of        215 East Church St., Suite        607-734-9784     HOPP
                Chemung                      101, Elmira, NY 14901

  Ulster        RUPCO                        301 Fair St. Kingston, NY         845-331-9860     HOPP
                                             12401                                              Spanish speaking staff
                                                                                                available

  Warren        Housing Assistance           103 Hand Ave.,                    518-873-6888     HOPP
                Program of Essex County      Elizabethtown, NY 12932
                (HAPEC)

                Albany County Rural          24 Martin Road,                   518-765-2425     HOPP
                Housing Alliance             Voorheesville, NY 12186

                Clearpoint Financial         2 Computer Drive West,            1-877-412-2227   Formerly known as
                Solutions                    Albany, NY 12205                                   Consumer Credit
                                                                                                Counseling Service of
                                                                                                Central NY

                Homefront Development        568 Lower Allen St.,              518-747-8250
                Corp.                        Hudson Falls, NY 12839

  Washington    Housing Assistance           103 Hand Ave.,                    518-873-6888     HOPP
                Program of Essex County      Elizabethtown, NY 12932
                (HAPEC)

                Albany County Rural          24 Martin Road,                   518-765-2425     HOPP
                Housing Alliance             Voorheesville, NY 12186

                Homefront Development        568 Lower Allen St.,              518-747-8250
                Corp.                        Hudson Falls, NY 12839

  Wayne         Community Action in Self     48 Water St., Lyons, NY           315-946-6992     HOPP
                Help                         14489

                Keuka Housing Council        160 Main St. Penn Yan, NY         315-536-8707     HOPP
                                             14527

                Consumer Credit              50 Chestnut Plaza,                1-888-724-2227   HOPP
                Counseling Service of        Rochester, NY 14604
                Rochester, Inc.

  Westchester   Community Housing            75 South Broadway, Ste 340        914-683-1010     HOPP
                Innovations, Inc.            White Plains, NY 10601

                Housing Action Council       55 South Broadway,                914-332-4144     HOPP
                                             Tarrytown, NY 10591

                Human Development            28 Adee St. Port Chester,         914-939-2005     HOPP
                Services of Westchester,     NY 10573                                           Spanish speaking
                Inc.                                                                            counselors available




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                Westchester Residential      470 Mamaroneck Ave.,              914-428-4507 OR   HOPP
                Opportunities                Suite 410 White Plains, NY        877-WRO-4YOU      Spanish and French
                                             10605                                               speaking staff
                                                                                                 available

                Putnam County Housing        11 Seminary Hill Rd.,             845-225-8493
                Corp.                        Carmel, NY 10512

                Greenpath                    One Barker Ave., Suite 420        888-366-9140
                                             White Plains, NY 10601

                Belmont Housing              1195 Main St. Buffalo, NY         716-884-7791      HOPP
                Resources                    14209

  Wyoming       Consumer Credit              50 Chestnut Plaza,                1-888-724-2227    HOPP
                Counseling Services of       Rochester, NY 14604
                Rochester, Inc.

                ACCORD                       84 Schuyler St., Belmont,         585-268-7605      HOPP
                                             NY 14813

                The Housing Council          75 College Ave., 4th Floor,       585-546-3700      HOPP
                                             Rochester, NY 14607

                Community Action in Self     48 Water St., Lyons, NY           315-946-6992      HOPP
                Help                         14489

  Yates         Keuka Housing Council        160 Main St. Penn Yan, NY         315-536-8707      HOPP
                                             14527




                                             Rushmore Loan Management Services LLC
                                           15480 Laguna Canyon Rd. #100, Irvine, CA 92618
NC120-NY 90Day-16                                                                                              Page 22
USPS.com® - USPS Tracking® Results                                               Page 1 of 2




  USPS Tracking
                                ®


                               FAQs  (https://www.usps.com/faqs/uspstracking-faqs.htm)




                             Track Another Package +



                                                                              Remove 
  Tracking Number: 92148901155826444000126075

  Your shipment was received at 7:22 pm on April 26, 2018 in NASHVILLE, TN 37230.
  The acceptance of your package is pending.




  Accepted
  April 26, 2018 at 7:22 pm
  Shipment Received, Package Acceptance Pending
  NASHVILLE, TN 37230




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    Return Receipt Electronic


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    Tracking History


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    Product Information



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                 Can’t find what you’re looking for?
            Go to our FAQs section to find answers to your tracking questions.


              FAQs (https://www.usps.com/faqs/uspstracking-faqs.htm)




https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=2&text28777=&tL... 11/1/2018
USPS.com® - USPS Tracking® Results                                              Page 2 of 2




       The easiest tracking number is the one you don't have to know.

  With Informed Delivery®, you never have to type in another tracking number. Sign up
  to:

  • See images* of incoming mail.

  • Automatically track the packages you're expecting.

  • Set up email and text alerts so you don't need to enter tracking numbers.

  • Enter USPS Delivery Instructions™ for your mail carrier.



                                         Sign Up

                            (https://reg.usps.com/entreg/RegistrationAction_input?
  *NOTE: Black and white (grayscale) images show the outside, front of letter-sized
                           app=UspsTools&appURL=https%
  envelopes and mailpieces that are processed through USPS automated equipment.




https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=2&text28777=&tL... 11/1/2018
USPS.com® - USPS Tracking® Results                                               Page 1 of 2




  USPS Tracking
                                ®


                               FAQs  (https://www.usps.com/faqs/uspstracking-faqs.htm)




                             Track Another Package +



                                                                              Remove 
  Tracking Number: 92148901155826444000126082

  Your shipment was received at 7:22 pm on April 26, 2018 in NASHVILLE, TN 37230.
  The acceptance of your package is pending.




  Accepted
  April 26, 2018 at 7:22 pm
  Shipment Received, Package Acceptance Pending
  NASHVILLE, TN 37230




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    Return Receipt Electronic


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    Tracking History


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    Product Information



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                 Can’t find what you’re looking for?
            Go to our FAQs section to find answers to your tracking questions.


              FAQs (https://www.usps.com/faqs/uspstracking-faqs.htm)




https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=2&text28777=&tL... 11/1/2018
USPS.com® - USPS Tracking® Results                                              Page 2 of 2




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  • Enter USPS Delivery Instructions™ for your mail carrier.



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  *NOTE: Black and white (grayscale) images show the outside, front of letter-sized
                           app=UspsTools&appURL=https%
  envelopes and mailpieces that are processed through USPS automated equipment.




https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=2&text28777=&tL... 11/1/2018
EXHIBIT 7
                                     New York State Department of Financial Services
                                       One State Street Plaza, New York, NY 10004

                                                   Proof of Filing Statement
To Whom It May Concern:

Section 1306 of the Real Property Actions and Proceedings Law (RPAPL) requires lenders, assignees or mortgage loan servicers
servicing loans on 1-to-4 family residential properties in New York State to file certain information with the Superintendent of
the Department Financial Services within three days after the mailing of a 90-Day Pre-Foreclosure Notice.

The information below pertains to a filing submitted to the Department of Financial Services as required in Section 1306 of
RPAPL. The information is presented as filed by the lender, assignee or mortgage loan servicer.

Filer Information:
Name                        : Rushmore Loan Management Services
Address                     : 15480 Laguna Canyon Road, Suite 100
                              Irving CA 92618
Filing Information:
Tracking Number             : NYS4614169
Mailing Date Step 1         : 26-APR-18 12.00.00.000 AM
Mailing Date Step 2         :
Judgment Date Step 3        :
Filing Date Step 1          : 30-APR-18 03.55.46.000 AM
Filing Date Step 1 Orig     : 30-APR-18 03.52.55.000 AM
Filing Date Step 2          :
Filing Date Step 3          :
Owner Occupd at Jdgmnt      :
Property Type               : 1 to 4 Family Home
Property Address            : 99 WILSON AVENUE AMITYVILLE
                              NY 11701
County                      : Suffolk
Date of Original Loan       : 19-OCT-06 12.00.00.000 AM
Amt of Original Loan        : 290800
Loan Number Step 1          :
Loan Number Step 2          :
Loan Reset Frequency        :
Loan Type                   : 1st Lien
Loan Details                : Fixed Rate
Loan Term                   : Other
Loan Modification           : No Modification
Days Delinquent             : Other
Borrower's Name             : RYSZARD KOZIKOWSKI
Address                     : 99 WILSON AVENUE
                              AMITYVILLE 11701
Borrower's Phone No         :
Filing Status               : Step 1 Completed

Sincerely,

New York State Department of Financial Services
EXHIBIT 8
                                                                                          PAGE
                      7600367995_NOI_000225_06252018




                                                            RYSZARD KOZIKOWSKI


  Rushmore Loan Management Services LLC
  PO Box 111209
  Nashville, TN 37222
  (For Return Mail Only)

7600367995 81760419 NC121 900845 01




                                                                                 June 25, 2018




                                      00225 PRPA
                                      RYSZARD KOZIKOWSKI
                                       9 WILSON AVENUE
                                      AMITYVILLE NY 11701
             Rushmore Loan Management Services LLC
             PO Box 111209
             Nashville, TN 37222
             (For Return Mail Only)




    00225 PRPA
                                                                                    Date: June 25, 2018
    RYSZARD KOZIKOWSKI
    CZESLAW CHELSTOWSKI
    ANNA CHELSTOWSKA
    99 WILSON AVENUE                                                                RE: Loan Number:
    AMITYVILLE, NY 11701
                                                                                    Property Address:
                                                                                    99 WILSON AVENUE
                                                                                    AMITYVILLE, NY 11701




:

                                NOTICE OF INTENT TO FORECLOSE

Dear Mortgagor(s):

IMPORTANT: AS OF THE DATE OF THIS NOTICE, OUR RECORDS SHOW THAT THE REFERENCED
MORTGAGE LOAN IS DELINQUENT. IF THIS MORTGAGE LOAN HAS BEEN PAID CURRENT SINCE
THE DATE OF THIS NOTICE, PLEASE DISREGARD THIS LETTER.

Your Note and Security Instrument are presently in DEFAULT due to non-payment of the monthly installments,
beginning on 02/01/2016 and any other installments, costs, or fees due.


Failure to cure the default amount of $95,446.36 on or before 07/25/2018 may result in acceleration of the sums
secured by this Security Instrument, foreclosure by judicial proceeding and sale of the Property.


Please remit your payment in certified funds only (cashier's check, money order or certified check) and send to:


                 Overnight Mail:                                           Western Union:
                 Rushmore Loan Management Services LLC                     Quick Collect (any location)
                 ATTN: Cashiering Department                               CodeState: CA
                 15480 Laguna Canyon Road, Suite 100                        CodeCity: Rushmore
                 Irvine, CA 92618




                                               Rushmore Loan Management Services LLC
                                             15480 Laguna Canyon Rd. #100, Irvine, CA 92618
NC121-NY 30Day-04A                                                                                         Page 2
Partial payments received may be applied to any amounts outstanding, but any partial payments that are applied will
not invalidate our right to commence foreclosure proceedings.

If this amount is not in our possession within thirty (30) days of the date of this notice, we intend to initiate
foreclosure proceedings and accelerate the loan balance as soon as allowable under applicable laws and regulations.
In such case, your property will be sold at a duly held foreclosure sale or sheriff's sale and you will be required to
vacate the premises.

You have the right to reinstate after acceleration and the right to assert in the foreclosure proceeding the
non-existence of a default or any other defense to acceleration and foreclosure.

You may be eligible for home ownership counseling from one of the approved home ownership counseling agencies.
Please call us at 1-888-504-7300 for information regarding the approved counseling agency nearest you.

Under Internal Revenue Code Regulation, we must report any foreclosure to the IRS on form 1099-A. Any
foreclosure may result in income tax consequences to you. Please consult the IRS or your tax advisor for further
information.




Sincerely,


Rushmore Loan Management Services LLC




                                          Rushmore Loan Management Services LLC
                                        15480 Laguna Canyon Rd. #100, Irvine, CA 92618
NC121-NY 30Day-04A                                                                                        Page 3
DEBT COLLECTION

This communication is for the purpose of collecting a debt, and any information obtained from the trustor(s) will be
used for that purpose. Rushmore is acting as a “debt collector” as that term is defined in the Federal Fair Debt
Collection Practices Act. This notice is required by the provisions of the Fair Debt Collection Practices Act and does
not imply that we are attempting to collect money from any one who has discharged the debt under the bankruptcy
laws of the United States.


CREDIT REPORTING

We may report information about your account to credit bureaus. Late payments, missed payments, or other defaults
on your account may be reflected in your credit report.


BANKRUPTCY

If you have received a discharge of this debt through bankruptcy, you are not personally liable to us if you do not pay
us the above amount. We can recover only the real property from you and you will not be obligated to pay us the
difference between what we may get from the sale of the real property and the balance due on the loan. This notice is
provided to inform you of what you must do to retain possession of your real property.


HUD STATEMENT

Pursuant to section 169 of the Housing and Community Development Act of 1987, you may have the opportunity to
receive counseling from various local agencies regarding the retention of your home. You may obtain a list of the
HUD approved housing counseling agencies by calling the HUD nationwide toll free telephone at 1-800-569-4287.




                                          Rushmore Loan Management Services LLC
                                        15480 Laguna Canyon Rd. #100, Irvine, CA 92618
NC121-NY 30Day-04A                                                                                        Page 4
    Servicemembers Civil Relief                     U . S. Department of Housing                            OMB Approval 2502 - 0584
    Act Notice Disclosure                               and Urban Development                                         Exp 3/31/2021
                                                           Office of Housing

    Legal Rights and Protections Under the SCRA

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    Who May Be Entitled to Legal Protections Under the SCRA?
      x 5HJXODUPHPEHUVRIWKH86$UPHG)RUFHV $UP\1DY\$LU)RUFH0DULQH&RUSVDQG&RDVW
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        x    1DWLRQDO*XDUGSHUVRQQHOXQGHUDFDOORURUGHUWRDFWLYHGXW\IRUPRUHWKDQFRQVHFXWLYHGD\VXQGHU
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             GHFODUHGE\WKH3UHVLGHQWDQGVXSSRUWHGE\)HGHUDOIXQGV
        x    $FWLYHVHUYLFHPHPEHUVRIWKHFRPPLVVLRQHGFRUSVRIWKH3XEOLF+HDOWK6HUYLFHDQGWKH1DWLRQDO
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        x    &HUWDLQ8QLWHG6WDWHVFLWL]HQVVHUYLQJZLWKWKHDUPHGIRUFHVRIDQDWLRQZLWKZKLFKWKH8QLWHG6WDWHV
             LVDOOLHGLQWKHSURVHFXWLRQRIDZDURUPLOLWDU\DFWLRQ

    What Legal Protections Are Servicemembers Entitled To Under the SCRA? 
        x    7KH6&5$VWDWHVWKDWDGHEWLQFXUUHGE\DVHUYLFHPHPEHURUVHUYLFHPHPEHUDQGVSRXVHMRLQWO\SULRUWR
             HQWHULQJPLOLWDU\VHUYLFHVKDOOQRWEHDULQWHUHVWDWDUDWHDERYHGXULQJWKHSHULRGRIPLOLWDU\VHUYLFHDQGRQH
             \HDUWKHUHDIWHULQWKHFDVHRIDQREOLJDWLRQRUOLDELOLW\FRQVLVWLQJRIDPRUWJDJHWUXVWGHHGRURWKHUVHFXULW\LQWKHQDWXUH
             RIDPRUWJDJHRUGXULQJWKHSHULRGRIPLOLWDU\VHUYLFHLQWKHFDVHRIDQ\RWKHUREOLJDWLRQRUOLDELOLW\
        x    7KH6&5$VWDWHVWKDWLQDOHJDODFWLRQWRHQIRUFHDGHEWDJDLQVWUHDOHVWDWHWKDWLVILOHGGXULQJRUZLWKLQRQH
             \HDUDIWHUWKHVHUYLFHPHPEHU¶VPLOLWDU\VHUYLFHDFRXUWPD\VWRSWKHSURFHHGLQJVIRUDSHULRGRIWLPHRU
             DGMXVWWKHGHEW,QDGGLWLRQWKHVDOHIRUHFORVXUHRUVHL]XUHRIUHDOHVWDWHVKDOOQRWEHYDOLGLILWRFFXUVGXULQJ
             RUZLWKLQRQH\HDUDIWHUWKHVHUYLFHPHPEHU¶VPLOLWDU\VHUYLFHXQOHVVWKHFUHGLWRUKDVREWDLQHGDYDOLGFRXUW
             RUGHUDSSURYLQJWKHVDOHIRUHFORVXUHRUVHL]XUHRIWKHUHDOHVWDWH
        x    7KH6&5$FRQWDLQVPDQ\RWKHUSURWHFWLRQVEHVLGHVWKRVHDSSOLFDEOHWRKRPHORDQV

    How Does A Servicemember or Dependent Request Relief Under the SCRA?

        x    ,QRUGHUWRUHTXHVWUHOLHIXQGHUWKH6&5$IURPORDQVZLWKLQWHUHVWUDWHVDERYHDVHUYLFHPHPEHURUVSRXVH
             PXVWSURYLGHDZULWWHQUHTXHVWWRWKHOHQGHUWRJHWKHUZLWKDFRS\RIWKHVHUYLFHPHmEHU¶VPLOLWDU\RUGHUV
             >1RWH /HQGHUVKRXOGSODFHLWVQDPHDGGUHVVDQGFRQWDFWLQIRUPDWLRQKHUH@
        x    7KHUHLVQRUHTXLUHPHQWXQGHUWKH6&5$KRZHYHUIRUDVHUYLFHPHPEHUWRSURYLGHDZULWWHQQRWLFHRUDFRS\
             RIDVHUYLFHPHPEHU¶VPLOLWDU\RUGHUVWRWKHOHQGHULQFRQQHFWLRQZLWKDIRUHFORVXUHRURWKHUGHEWHQIRUFHPHQW
             DFWLRQDJDLQVWUHDOHVWDWH 8QGHUWKHVHFLUFXPVWDQFHVOHQGHUVVKRXOGLQTXLUHDERXWWKHPLOLWDU\VWDWXVRID
             SHUVRQE\VHDUFKLQJWKH'HSDUWPHQWRI'HIHQVH¶V'HIHQVH0DQSRZHU'DWD&HQWHU¶VZHEVLWHFRQWDFWLQJWKH
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             VHUYLFHPHPEHUVWRDOHUWWKHOHQGHURIWKHLUPLOLWDU\VWDWXVLQWKHVHVLWXDWLRQVLWVWLOOLVDJRRGLGHDIRUWKH
             VHUYLFHPHPEHUWRGRVR

    How Does a Servicemember or Dependent Obtain Information About the SCRA? 

        x    6HUYLFHPHPEHUVDQGGHSHQGHQWVZLWKTXHVWLRQVDERXWWKH6&5$VKRXOGFRQWDFWWKHLUXQLW¶V-XGJH$GYRFDWHRU
             WKHLULQVWDOODWLRQ¶V/HJDO$VVLVWDQFH2IILFHU$PLOLWDU\OHJDODVVLVWDQFHRIILFHORFDWRUIRUDOOEUDQFKHVRIWKH
             $UPHG)RUFHVLVDYDLODEOHDWKWWSOHJDODVVLVWDQFHODZDIPLOFRQWHQWORFDWRUSKS
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        x    ³0LOLWDU\2QH6RXUFH´LVWKH86'HSDUWPHQWRI'HIHQVH¶VLQIRUPDWLRQ UHVRXUFH,I\RXDUHOLVWHGDVHQWLWOHGWR
             OHJDOSURWHFWLRQVXQGHUWKH6&5$ VHHDERYH SOHDVHJRWRZZZPLOLWDU\RQHVRXUFHPLOOHJDORUFDOO
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             WKH8QLWHG6WDWHVDUHSURYLGHGRQWKHZHEVLWH
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                      7600367995_NOI_000227_06252018




                                                            ANNA CHELSTOWSKA


  Rushmore Loan Management Services LLC
  PO Box 111209
  Nashville, TN 37222
  (For Return Mail Only)

7600367995 81760419 NC121 900845 01




                                                                               June 25, 2018




                                      00227 S2PA
                                      ANNA CHELSTOWSKA
                                       9 WILSON AVENUE
                                      AMITYVILLE NY 11701
              Rushmore Loan Management Services LLC
              PO Box 111209
              Nashville, TN 37222
              (For Return Mail Only)




    000227 S2PA
                                                                                     Date: June 25, 2018
    RYSZARD KOZIKOWSKI
    CZESLAW CHELSTOWSKI
    ANNA CHELSTOWSKA
    99 WILSON AVENUE                                                                 RE: Loan Number:
    AMITYVILLE, NY 11701
                                                                                     Property Address:
                                                                                     99 WILSON AVENUE
                                                                                     AMITYVILLE, NY 11701




:

                                 NOTICE OF INTENT TO FORECLOSE

Dear Mortgagor(s):

IMPORTANT: AS OF THE DATE OF THIS NOTICE, OUR RECORDS SHOW THAT THE REFERENCED
MORTGAGE LOAN IS DELINQUENT. IF THIS MORTGAGE LOAN HAS BEEN PAID CURRENT SINCE
THE DATE OF THIS NOTICE, PLEASE DISREGARD THIS LETTER.

Your Note and Security Instrument are presently in DEFAULT due to non-payment of the monthly installments,
beginning on 02/01/2016 and any other installments, costs, or fees due.


Failure to cure the default amount of $95,446.36 on or before 07/25/2018 may result in acceleration of the sums
secured by this Security Instrument, foreclosure by judicial proceeding and sale of the Property.


Please remit your payment in certified funds only (cashier's check, money order or certified check) and send to:


                  Overnight Mail:                                           Western Union:
                  Rushmore Loan Management Services LLC                     Quick Collect (any location)
                  ATTN: Cashiering Department                               CodeState: CA
                  15480 Laguna Canyon Road, Suite 100                        CodeCity: Rushmore
                  Irvine, CA 92618




                                                Rushmore Loan Management Services LLC
                                              15480 Laguna Canyon Rd. #100, Irvine, CA 92618
NC121-NY 30Day-04A                                                                                          Page 2
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not invalidate our right to commence foreclosure proceedings.

If this amount is not in our possession within thirty (30) days of the date of this notice, we intend to initiate
foreclosure proceedings and accelerate the loan balance as soon as allowable under applicable laws and regulations.
In such case, your property will be sold at a duly held foreclosure sale or sheriff's sale and you will be required to
vacate the premises.

You have the right to reinstate after acceleration and the right to assert in the foreclosure proceeding the
non-existence of a default or any other defense to acceleration and foreclosure.

You may be eligible for home ownership counseling from one of the approved home ownership counseling agencies.
Please call us at 1-888-504-7300 for information regarding the approved counseling agency nearest you.

Under Internal Revenue Code Regulation, we must report any foreclosure to the IRS on form 1099-A. Any
foreclosure may result in income tax consequences to you. Please consult the IRS or your tax advisor for further
information.




Sincerely,


Rushmore Loan Management Services LLC




                                          Rushmore Loan Management Services LLC
                                        15480 Laguna Canyon Rd. #100, Irvine, CA 92618
NC121-NY 30Day-04A                                                                                        Page 3
DEBT COLLECTION

This communication is for the purpose of collecting a debt, and any information obtained from the trustor(s) will be
used for that purpose. Rushmore is acting as a “debt collector” as that term is defined in the Federal Fair Debt
Collection Practices Act. This notice is required by the provisions of the Fair Debt Collection Practices Act and does
not imply that we are attempting to collect money from any one who has discharged the debt under the bankruptcy
laws of the United States.


CREDIT REPORTING

We may report information about your account to credit bureaus. Late payments, missed payments, or other defaults
on your account may be reflected in your credit report.


BANKRUPTCY

If you have received a discharge of this debt through bankruptcy, you are not personally liable to us if you do not pay
us the above amount. We can recover only the real property from you and you will not be obligated to pay us the
difference between what we may get from the sale of the real property and the balance due on the loan. This notice is
provided to inform you of what you must do to retain possession of your real property.


HUD STATEMENT

Pursuant to section 169 of the Housing and Community Development Act of 1987, you may have the opportunity to
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NC121-NY 30Day-04A                                                                                        Page 4
    Servicemembers Civil Relief                     U . S. Department of Housing                            OMB Approval 2502 - 0584
    Act Notice Disclosure                               and Urban Development                                         Exp 3/31/2021
                                                           Office of Housing

    Legal Rights and Protections Under the SCRA

    6HUYLFHPHPEHUVRQ³DFWLYHGXW\´RU³DFWLYHVHUYLFH´RUDVSRXVHRUGHSHQGHQWRIVXFKDVHUYLFHPHPEHUPD\EHHQWLWOHGWR
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    Who May Be Entitled to Legal Protections Under the SCRA?
      x 5HJXODUPHPEHUVRIWKH86$UPHG)RUFHV $UP\1DY\$LU)RUFH0DULQH&RUSVDQG&RDVW
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        x    5HVHUYHDQG 1DWLRQDO*XDUGSHUVRQQHOZKRKDYHEHHQDFWLYDWHGDQGDUHRQ)HGHUDODFWLYHGXW\
        x    1DWLRQDO*XDUGSHUVRQQHOXQGHUDFDOORURUGHUWRDFWLYHGXW\IRUPRUHWKDQFRQVHFXWLYHGD\VXQGHU
             VHFWLRQ I RIWLWOH8QLWHG6WDWHV&RGHIRUSXUSRVHVRIUHVSRQGLQJWRDQDWLRQDOHPHUJHQF\
             GHFODUHGE\WKH3UHVLGHQWDQGVXSSRUWHGE\)HGHUDOIXQGV
        x    $FWLYHVHUYLFHPHPEHUVRIWKHFRPPLVVLRQHGFRUSVRIWKH3XEOLF+HDOWK6HUYLFHDQGWKH1DWLRQDO
             2FHDQLFDQG$WPRVSKHULF$GPLQLVWUDWLRQ
        x    &HUWDLQ8QLWHG6WDWHVFLWL]HQVVHUYLQJZLWKWKHDUPHGIRUFHVRIDQDWLRQZLWKZKLFKWKH8QLWHG6WDWHV
             LVDOOLHGLQWKHSURVHFXWLRQRIDZDURUPLOLWDU\DFWLRQ

    What Legal Protections Are Servicemembers Entitled To Under the SCRA? 
        x    7KH6&5$VWDWHVWKDWDGHEWLQFXUUHGE\DVHUYLFHPHPEHURUVHUYLFHPHPEHUDQGVSRXVHMRLQWO\SULRUWR
             HQWHULQJPLOLWDU\VHUYLFHVKDOOQRWEHDULQWHUHVWDWDUDWHDERYHGXULQJWKHSHULRGRIPLOLWDU\VHUYLFHDQGRQH
             \HDUWKHUHDIWHULQWKHFDVHRIDQREOLJDWLRQRUOLDELOLW\FRQVLVWLQJRIDPRUWJDJHWUXVWGHHGRURWKHUVHFXULW\LQWKHQDWXUH
             RIDPRUWJDJHRUGXULQJWKHSHULRGRIPLOLWDU\VHUYLFHLQWKHFDVHRIDQ\RWKHUREOLJDWLRQRUOLDELOLW\
        x    7KH6&5$VWDWHVWKDWLQDOHJDODFWLRQWRHQIRUFHDGHEWDJDLQVWUHDOHVWDWHWKDWLVILOHGGXULQJRUZLWKLQRQH
             \HDUDIWHUWKHVHUYLFHPHPEHU¶VPLOLWDU\VHUYLFHDFRXUWPD\VWRSWKHSURFHHGLQJVIRUDSHULRGRIWLPHRU
             DGMXVWWKHGHEW,QDGGLWLRQWKHVDOHIRUHFORVXUHRUVHL]XUHRIUHDOHVWDWHVKDOOQRWEHYDOLGLILWRFFXUVGXULQJ
             RUZLWKLQRQH\HDUDIWHUWKHVHUYLFHPHPEHU¶VPLOLWDU\VHUYLFHXQOHVVWKHFUHGLWRUKDVREWDLQHGDYDOLGFRXUW
             RUGHUDSSURYLQJWKHVDOHIRUHFORVXUHRUVHL]XUHRIWKHUHDOHVWDWH
        x    7KH6&5$FRQWDLQVPDQ\RWKHUSURWHFWLRQVEHVLGHVWKRVHDSSOLFDEOHWRKRPHORDQV
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    How Does A Servicemember or Dependent Request Relief Under the SCRA?

        x    ,QRUGHUWRUHTXHVWUHOLHIXQGHUWKH6&5$IURPORDQVZLWKLQWHUHVWUDWHVDERYHDVHUYLFHPHPEHURUVSRXVH
             PXVWSURYLGHDZULWWHQUHTXHVWWRWKHOHQGHUWRJHWKHUZLWKDFRS\RIWKHVHUYLFHPHmEHU¶VPLOLWDU\RUGHUV
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        x    7KHUHLVQRUHTXLUHPHQWXQGHUWKH6&5$KRZHYHUIRUDVHUYLFHPHPEHUWRSURYLGHDZULWWHQQRWLFHRUDFRS\
             RIDVHUYLFHPHPEHU¶VPLOLWDU\RUGHUVWRWKHOHQGHULQFRQQHFWLRQZLWKDIRUHFORVXUHRURWKHUGHEWHQIRUFHPHQW
             DFWLRQDJDLQVWUHDOHVWDWH 8QGHUWKHVHFLUFXPVWDQFHVOHQGHUVVKRXOGLQTXLUHDERXWWKHPLOLWDU\VWDWXVRID
             SHUVRQE\VHDUFKLQJWKH'HSDUWPHQWRI'HIHQVH¶V'HIHQVH0DQSRZHU'DWD&HQWHU¶VZHEVLWHFRQWDFWLQJWKH
             VHUYLFHPHPEHUDQGH[DPLQLQJWKHLUILOHVIRULQGLFLDRIPLOLWDU\VHUYLFH $OWKRXJKWKHUHLVQRUHTXLUHPHQWIRU
             VHUYLFHPHPEHUVWRDOHUWWKHOHQGHURIWKHLUPLOLWDU\VWDWXVLQWKHVHVLWXDWLRQVLWVWLOOLVDJRRGLGHDIRUWKH
             VHUYLFHPHPEHUWRGRVR
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    How Does a Servicemember or Dependent Obtain Information About the SCRA? 

        x    6HUYLFHPHPEHUVDQGGHSHQGHQWVZLWKTXHVWLRQVDERXWWKH6&5$VKRXOGFRQWDFWWKHLUXQLW¶V-XGJH$GYRFDWHRU
             WKHLULQVWDOODWLRQ¶V/HJDO$VVLVWDQFH2IILFHU$PLOLWDU\OHJDODVVLVWDQFHRIILFHORFDWRUIRUDOOEUDQFKHVRIWKH
             $UPHG)RUFHVLVDYDLODEOHDWKWWSOHJDODVVLVWDQFHODZDIPLOFRQWHQWORFDWRUSKS
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        x    ³0LOLWDU\2QH6RXUFH´LVWKH86'HSDUWPHQWRI'HIHQVH¶VLQIRUPDWLRQ UHVRXUFH,I\RXDUHOLVWHGDVHQWLWOHGWR
             OHJDOSURWHFWLRQVXQGHUWKH6&5$ VHHDERYH SOHDVHJRWRZZZPLOLWDU\RQHVRXUFHPLOOHJDORUFDOO
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                                                            RYSZARD KOZIKOWSKI


  Rushmore Loan Management Services LLC
  PO Box 111209
  Nashville, TN 37222
  (For Return Mail Only)

7600367995 81760419 NC121 900845 01




                                                                                 June 25, 2018




                                      000222 PRBA
                                      RYSZARD KOZIKOWSKI
                                      99 WILSON AVE
                                      AMITYVILLE NY 11701
             Rushmore Loan Management Services LLC
             PO Box 111209
             Nashville, TN 37222
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    000222 PRBA
                                                                                    Date: June 25, 2018
    RYSZARD KOZIKOWSKI
    CZESLAW CHELSTOWSKI
    ANNA CHELSTOWSKA
    99 WILSON AVE                                                                   RE: Loan Number:
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Failure to cure the default amount of $95,446.36 on or before 07/25/2018 may result in acceleration of the sums
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Please remit your payment in certified funds only (cashier's check, money order or certified check) and send to:


                  Overnight Mail:                                          Western Union:
                  Rushmore Loan Management Services LLC                    Quick Collect (any location)
                  ATTN: Cashiering Department                              CodeState: CA
                  15480 Laguna Canyon Road, Suite 100                       CodeCity: Rushmore
                  Irvine, CA 92618




                                               Rushmore Loan Management Services LLC
                                             15480 Laguna Canyon Rd. #100, Irvine, CA 92618
NC121-NY 30Day-04A                                                                                         Page 2
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You have the right to reinstate after acceleration and the right to assert in the foreclosure proceeding the
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You may be eligible for home ownership counseling from one of the approved home ownership counseling agencies.
Please call us at 1-888-504-7300 for information regarding the approved counseling agency nearest you.

Under Internal Revenue Code Regulation, we must report any foreclosure to the IRS on form 1099-A. Any
foreclosure may result in income tax consequences to you. Please consult the IRS or your tax advisor for further
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Sincerely,


Rushmore Loan Management Services LLC




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not imply that we are attempting to collect money from any one who has discharged the debt under the bankruptcy
laws of the United States.


CREDIT REPORTING

We may report information about your account to credit bureaus. Late payments, missed payments, or other defaults
on your account may be reflected in your credit report.


BANKRUPTCY

If you have received a discharge of this debt through bankruptcy, you are not personally liable to us if you do not pay
us the above amount. We can recover only the real property from you and you will not be obligated to pay us the
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    Who May Be Entitled to Legal Protections Under the SCRA?
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        x    $FWLYHVHUYLFHPHPEHUVRIWKHFRPPLVVLRQHGFRUSVRIWKH3XEOLF+HDOWK6HUYLFHDQGWKH1DWLRQDO
             2FHDQLFDQG$WPRVSKHULF$GPLQLVWUDWLRQ
        x    &HUWDLQ8QLWHG6WDWHVFLWL]HQVVHUYLQJZLWKWKHDUPHGIRUFHVRIDQDWLRQZLWKZKLFKWKH8QLWHG6WDWHV
             LVDOOLHGLQWKHSURVHFXWLRQRIDZDURUPLOLWDU\DFWLRQ

    What Legal Protections Are Servicemembers Entitled To Under the SCRA? 
        x    7KH6&5$VWDWHVWKDWDGHEWLQFXUUHGE\DVHUYLFHPHPEHURUVHUYLFHPHPEHUDQGVSRXVHMRLQWO\SULRUWR
             HQWHULQJPLOLWDU\VHUYLFHVKDOOQRWEHDULQWHUHVWDWDUDWHDERYHGXULQJWKHSHULRGRIPLOLWDU\VHUYLFHDQGRQH
             \HDUWKHUHDIWHULQWKHFDVHRIDQREOLJDWLRQRUOLDELOLW\FRQVLVWLQJRIDPRUWJDJHWUXVWGHHGRURWKHUVHFXULW\LQWKHQDWXUH
             RIDPRUWJDJHRUGXULQJWKHSHULRGRIPLOLWDU\VHUYLFHLQWKHFDVHRIDQ\RWKHUREOLJDWLRQRUOLDELOLW\
        x    7KH6&5$VWDWHVWKDWLQDOHJDODFWLRQWRHQIRUFHDGHEWDJDLQVWUHDOHVWDWHWKDWLVILOHGGXULQJRUZLWKLQRQH
             \HDUDIWHUWKHVHUYLFHPHPEHU¶VPLOLWDU\VHUYLFHDFRXUWPD\VWRSWKHSURFHHGLQJVIRUDSHULRGRIWLPHRU
             DGMXVWWKHGHEW,QDGGLWLRQWKHVDOHIRUHFORVXUHRUVHL]XUHRIUHDOHVWDWHVKDOOQRWEHYDOLGLILWRFFXUVGXULQJ
             RUZLWKLQRQH\HDUDIWHUWKHVHUYLFHPHPEHU¶VPLOLWDU\VHUYLFHXQOHVVWKHFUHGLWRUKDVREWDLQHGDYDOLGFRXUW
             RUGHUDSSURYLQJWKHVDOHIRUHFORVXUHRUVHL]XUHRIWKHUHDOHVWDWH
        x    7KH6&5$FRQWDLQVPDQ\RWKHUSURWHFWLRQVEHVLGHVWKRVHDSSOLFDEOHWRKRPHORDQV
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    How Does A Servicemember or Dependent Request Relief Under the SCRA?

        x    ,QRUGHUWRUHTXHVWUHOLHIXQGHUWKH6&5$IURPORDQVZLWKLQWHUHVWUDWHVDERYHDVHUYLFHPHPEHURUVSRXVH
             PXVWSURYLGHDZULWWHQUHTXHVWWRWKHOHQGHUWRJHWKHUZLWKDFRS\RIWKHVHUYLFHPHmEHU¶VPLOLWDU\RUGHUV
             >1RWH /HQGHUVKRXOGSODFHLWVQDPHDGGUHVVDQGFRQWDFWLQIRUPDWLRQKHUH@
        x    7KHUHLVQRUHTXLUHPHQWXQGHUWKH6&5$KRZHYHUIRUDVHUYLFHPHPEHUWRSURYLGHDZULWWHQQRWLFHRUDFRS\
             RIDVHUYLFHPHPEHU¶VPLOLWDU\RUGHUVWRWKHOHQGHULQFRQQHFWLRQZLWKDIRUHFORVXUHRURWKHUGHEWHQIRUFHPHQW
             DFWLRQDJDLQVWUHDOHVWDWH 8QGHUWKHVHFLUFXPVWDQFHVOHQGHUVVKRXOGLQTXLUHDERXWWKHPLOLWDU\VWDWXVRID
             SHUVRQE\VHDUFKLQJWKH'HSDUWPHQWRI'HIHQVH¶V'HIHQVH0DQSRZHU'DWD&HQWHU¶VZHEVLWHFRQWDFWLQJWKH
             VHUYLFHPHPEHUDQGH[DPLQLQJWKHLUILOHVIRULQGLFLDRIPLOLWDU\VHUYLFH $OWKRXJKWKHUHLVQRUHTXLUHPHQWIRU
             VHUYLFHPHPEHUVWRDOHUWWKHOHQGHURIWKHLUPLOLWDU\VWDWXVLQWKHVHVLWXDWLRQVLWVWLOOLVDJRRGLGHDIRUWKH
             VHUYLFHPHPEHUWRGRVR
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    How Does a Servicemember or Dependent Obtain Information About the SCRA? 

        x    6HUYLFHPHPEHUVDQGGHSHQGHQWVZLWKTXHVWLRQVDERXWWKH6&5$VKRXOGFRQWDFWWKHLUXQLW¶V-XGJH$GYRFDWHRU
             WKHLULQVWDOODWLRQ¶V/HJDO$VVLVWDQFH2IILFHU$PLOLWDU\OHJDODVVLVWDQFHRIILFHORFDWRUIRUDOOEUDQFKHVRIWKH
             $UPHG)RUFHVLVDYDLODEOHDWKWWSOHJDODVVLVWDQFHODZDIPLOFRQWHQWORFDWRUSKS
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        x    ³0LOLWDU\2QH6RXUFH´LVWKH86'HSDUWPHQWRI'HIHQVH¶VLQIRUPDWLRQ UHVRXUFH,I\RXDUHOLVWHGDVHQWLWOHGWR
             OHJDOSURWHFWLRQVXQGHUWKH6&5$ VHHDERYH SOHDVHJRWRZZZPLOLWDU\RQHVRXUFHPLOOHJDORUFDOO
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             WKH8QLWHG6WDWHVDUHSURYLGHGRQWKHZHEVLWH
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                                                            CZESLAW CHELSTOWSKI


  Rushmore Loan Management Services LLC
  PO Box 111209
  Nashville, TN 37222
  (For Return Mail Only)

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                                                                                  June 25, 2018




                                      000223 S1BA
                                      CZESLAW CHELSTOWSKI
                                      99 WILSON AVE
                                      AMITYVILLE NY 11701
              Rushmore Loan Management Services LLC
              PO Box 111209
              Nashville, TN 37222
              (For Return Mail Only)




    000223 S1BA
                                                                                     Date: June 25, 2018
    RYSZARD KOZIKOWSKI
    CZESLAW CHELSTOWSKI
    ANNA CHELSTOWSKA
    99 WILSON AVE                                                                    RE: Loan Number:
    AMITYVILLE, NY 11701
                                                                                     Property Address:
                                                                                     99 WILSON AVENUE
                                                                                     AMITYVILLE, NY 11701




:

                                 NOTICE OF INTENT TO FORECLOSE

Dear Mortgagor(s):

IMPORTANT: AS OF THE DATE OF THIS NOTICE, OUR RECORDS SHOW THAT THE REFERENCED
MORTGAGE LOAN IS DELINQUENT. IF THIS MORTGAGE LOAN HAS BEEN PAID CURRENT SINCE
THE DATE OF THIS NOTICE, PLEASE DISREGARD THIS LETTER.

Your Note and Security Instrument are presently in DEFAULT due to non-payment of the monthly installments,
beginning on 02/01/2016 and any other installments, costs, or fees due.


Failure to cure the default amount of $95,446.36 on or before 07/25/2018 may result in acceleration of the sums
secured by this Security Instrument, foreclosure by judicial proceeding and sale of the Property.


Please remit your payment in certified funds only (cashier's check, money order or certified check) and send to:


                  Overnight Mail:                                           Western Union:
                  Rushmore Loan Management Services LLC                     Quick Collect (any location)
                  ATTN: Cashiering Department                               CodeState: CA
                  15480 Laguna Canyon Road, Suite 100                        CodeCity: Rushmore
                  Irvine, CA 92618




                                                Rushmore Loan Management Services LLC
                                              15480 Laguna Canyon Rd. #100, Irvine, CA 92618
NC121-NY 30Day-04A                                                                                          Page 2
Partial payments received may be applied to any amounts outstanding, but any partial payments that are applied will
not invalidate our right to commence foreclosure proceedings.

If this amount is not in our possession within thirty (30) days of the date of this notice, we intend to initiate
foreclosure proceedings and accelerate the loan balance as soon as allowable under applicable laws and regulations.
In such case, your property will be sold at a duly held foreclosure sale or sheriff's sale and you will be required to
vacate the premises.

You have the right to reinstate after acceleration and the right to assert in the foreclosure proceeding the
non-existence of a default or any other defense to acceleration and foreclosure.

You may be eligible for home ownership counseling from one of the approved home ownership counseling agencies.
Please call us at 1-888-504-7300 for information regarding the approved counseling agency nearest you.

Under Internal Revenue Code Regulation, we must report any foreclosure to the IRS on form 1099-A. Any
foreclosure may result in income tax consequences to you. Please consult the IRS or your tax advisor for further
information.




Sincerely,


Rushmore Loan Management Services LLC




                                          Rushmore Loan Management Services LLC
                                        15480 Laguna Canyon Rd. #100, Irvine, CA 92618
NC121-NY 30Day-04A                                                                                        Page 3
DEBT COLLECTION

This communication is for the purpose of collecting a debt, and any information obtained from the trustor(s) will be
used for that purpose. Rushmore is acting as a “debt collector” as that term is defined in the Federal Fair Debt
Collection Practices Act. This notice is required by the provisions of the Fair Debt Collection Practices Act and does
not imply that we are attempting to collect money from any one who has discharged the debt under the bankruptcy
laws of the United States.


CREDIT REPORTING

We may report information about your account to credit bureaus. Late payments, missed payments, or other defaults
on your account may be reflected in your credit report.


BANKRUPTCY

If you have received a discharge of this debt through bankruptcy, you are not personally liable to us if you do not pay
us the above amount. We can recover only the real property from you and you will not be obligated to pay us the
difference between what we may get from the sale of the real property and the balance due on the loan. This notice is
provided to inform you of what you must do to retain possession of your real property.


HUD STATEMENT

Pursuant to section 169 of the Housing and Community Development Act of 1987, you may have the opportunity to
receive counseling from various local agencies regarding the retention of your home. You may obtain a list of the
HUD approved housing counseling agencies by calling the HUD nationwide toll free telephone at 1-800-569-4287.




                                          Rushmore Loan Management Services LLC
                                        15480 Laguna Canyon Rd. #100, Irvine, CA 92618
NC121-NY 30Day-04A                                                                                        Page 4
    Servicemembers Civil Relief                     U . S. Department of Housing                            OMB Approval 2502 - 0584
    Act Notice Disclosure                               and Urban Development                                         Exp 3/31/2021
                                                           Office of Housing

    Legal Rights and Protections Under the SCRA

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    FHUWDLQOHJDOSURWHFWLRQVDQGGHEWUHOLHISXUVXDQWWRWKH6HUYLFHPHPEHUV&LYLO5HOLHI$FW 86&3901-4043 
     6&5$ 
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    Who May Be Entitled to Legal Protections Under the SCRA?
      x 5HJXODUPHPEHUVRIWKH86$UPHG)RUFHV $UP\1DY\$LU)RUFH0DULQH&RUSVDQG&RDVW
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        x    5HVHUYHDQG 1DWLRQDO*XDUGSHUVRQQHOZKRKDYHEHHQDFWLYDWHGDQGDUHRQ)HGHUDODFWLYHGXW\
        x    1DWLRQDO*XDUGSHUVRQQHOXQGHUDFDOORURUGHUWRDFWLYHGXW\IRUPRUHWKDQFRQVHFXWLYHGD\VXQGHU
             VHFWLRQ I RIWLWOH8QLWHG6WDWHV&RGHIRUSXUSRVHVRIUHVSRQGLQJWRDQDWLRQDOHPHUJHQF\
             GHFODUHGE\WKH3UHVLGHQWDQGVXSSRUWHGE\)HGHUDOIXQGV
        x    $FWLYHVHUYLFHPHPEHUVRIWKHFRPPLVVLRQHGFRUSVRIWKH3XEOLF+HDOWK6HUYLFHDQGWKH1DWLRQDO
             2FHDQLFDQG$WPRVSKHULF$GPLQLVWUDWLRQ
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             LVDOOLHGLQWKHSURVHFXWLRQRIDZDURUPLOLWDU\DFWLRQ
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    What Legal Protections Are Servicemembers Entitled To Under the SCRA? 
        x    7KH6&5$VWDWHVWKDWDGHEWLQFXUUHGE\DVHUYLFHPHPEHURUVHUYLFHPHPEHUDQGVSRXVHMRLQWO\SULRUWR
             HQWHULQJPLOLWDU\VHUYLFHVKDOOQRWEHDULQWHUHVWDWDUDWHDERYHGXULQJWKHSHULRGRIPLOLWDU\VHUYLFHDQGRQH
             \HDUWKHUHDIWHULQWKHFDVHRIDQREOLJDWLRQRUOLDELOLW\FRQVLVWLQJRIDPRUWJDJHWUXVWGHHGRURWKHUVHFXULW\LQWKHQDWXUH
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        x    7KH6&5$VWDWHVWKDWLQDOHJDODFWLRQWRHQIRUFHDGHEWDJDLQVWUHDOHVWDWHWKDWLVILOHGGXULQJRUZLWKLQRQH
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    How Does A Servicemember or Dependent Request Relief Under the SCRA?

        x    ,QRUGHUWRUHTXHVWUHOLHIXQGHUWKH6&5$IURPORDQVZLWKLQWHUHVWUDWHVDERYHDVHUYLFHPHPEHURUVSRXVH
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             >1RWH /HQGHUVKRXOGSODFHLWVQDPHDGGUHVVDQGFRQWDFWLQIRUPDWLRQKHUH@
        x    7KHUHLVQRUHTXLUHPHQWXQGHUWKH6&5$KRZHYHUIRUDVHUYLFHPHPEHUWRSURYLGHDZULWWHQQRWLFHRUDFRS\
             RIDVHUYLFHPHPEHU¶VPLOLWDU\RUGHUVWRWKHOHQGHULQFRQQHFWLRQZLWKDIRUHFORVXUHRURWKHUGHEWHQIRUFHPHQW
             DFWLRQDJDLQVWUHDOHVWDWH 8QGHUWKHVHFLUFXPVWDQFHVOHQGHUVVKRXOGLQTXLUHDERXWWKHPLOLWDU\VWDWXVRID
             SHUVRQE\VHDUFKLQJWKH'HSDUWPHQWRI'HIHQVH¶V'HIHQVH0DQSRZHU'DWD&HQWHU¶VZHEVLWHFRQWDFWLQJWKH
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             VHUYLFHPHPEHUWRGRVR
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    How Does a Servicemember or Dependent Obtain Information About the SCRA? 

        x    6HUYLFHPHPEHUVDQGGHSHQGHQWVZLWKTXHVWLRQVDERXWWKH6&5$VKRXOGFRQWDFWWKHLUXQLW¶V-XGJH$GYRFDWHRU
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             $UPHG)RUFHVLVDYDLODEOHDWKWWSOHJDODVVLVWDQFHODZDIPLOFRQWHQWORFDWRUSKS
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